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             23-753
                                IN THE

   United States Court of Appeals
       for the Second Circuit
               ___________________________________________


                       ADRIAN THOMAS,
                       Plaintiff-Appellant,

                             – v. –

       ADAM R. MASON, RONALD FOUNTAIN, TIM
         COLANERI, AND MICHAEL SIKIRICA,
                      Defendants-Appellee.

              _________________________________________

      On Appeal from the United States District Court
          for the Northern District of New York
               Case No. 1:17-cv-00626 (DJS)



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     1      STATE OF NEW YORK

     2      COUNTY COURT                                       COUNTY OF RENSSELAER

     3                                  -    -   -     -   -    -   -   -   -   -   -   -    -   -   -   -   -   -   X

     4      THE PEOPLE OF THE STATE OF NEW YORK

     5      - against      -                                   Indictment           #08-1074

     6      ADRIAN THOMAS,

     7                          Defendant.

     8                                                 -   -    -   -   -   -   -   -   -    -   -   -   -   -   -   X

     9      JURY TRIAL         - VOLUME VI

    10                                                         County Courthouse
                                                               Congress and Second Streets
    11                                                         Troy, New York 12180
                                                               June 5, 2014.
    12
            Before:
~   13
                                HONORABLEANDREWG. CERESIA,
    14                          County Court Judge.

    15      Appearances:

    16                             For the People:
                                   ARTHUR F. GLASS JR., ESQ., Acting            District
    17                             Attorney,   Rensselaer       County,
                                   By:    CHRISTA M. BOOK, ESQ., and KELLY L. EGAN,
    18                             ESQ., Assistant     District      Attorneys,    of counsel,
                                   Rensselaer   County Courthouse,
    19                             Troy, New York.

    20                              For the Defendant:
                                    STEPHEN R. COFFEY, ESQ.
    21                              54 State  Street
                                    Albany,  New York.
    22
                                    JOHN C. TURI, ESQ., Public     Defender,
    23                              Rensselaer  County,   and ARTHUR R. FROST, ESQ.,
                                    Assistant  Public   Defender,  of counsel,
    24                              Rensselaer  County Courthouse,
                                    Troy, New York.

                                    ADRIAN THOMAS, Defendant,                               in   person.
                                                       Judy      A. DelCogliano
                                            Official           Senior  Court Reporter
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          4

          5      For     the     People:

          6
                 MICHAEL SIKIRICA                       774                 845              894        900
          7                                                                                  902        902
                                                                                             903
          8

          9
                 For     the     Defendant:
         10

         11      JEROME 0.          KLEIN               911                  935

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 1      let     me do this,                  if     I can.                Are you aware.                   of the         --     M-and

2       what       happened             in        Samaritan               Hospital            before         Albany             Medical

 3      Center?

 4                 A.        I am.

 5                 Q.       And have                you reviewed                      the     records?

 6                 A.       Yes.

 7                 Q.       And you were                        present           today          when Dr.               Sikirica

 8      testified?

 9                 A.        I was.

10                 Q.        Doctor,               talk         to    us,        if    you would,                 about         whether

11      ~ had                      septic           shock?

12                 A.        M-                    had septic                shock.              He had           an overwhelming

13      bacterial            infection                   that        led     to       shock;         that         is,      blood         pressure

14      diminished,                but       there          were          also        other       elements               in     the      severity

15       of his         illness.                  So,     when he comes                     to      Samaritan              Hospital,             it's

16       very      important              to       identify               that        his     white         count,             which      usually,

17       normally,           is     five           to      ten       thousand,              was 1,000.                   And that

18       indicated,            in the              context            of his           other         signs,             that     the      bone

19      marrow          had been             suppressed.                     White          cells          turn         over,         so that           you

20       have      new white              cells           produced               every        12 to         24 hours.                  Now, if

21       you have          them          suppressed                  and no new cells                       are         being         formed,

22       then      the     white          count            starts           dropping             off,       because             they      only

23       have      old     cells          that           are       present,            and that's                 a reflection               of

24       sepsis,         and       it     usually                indicates             that         that      process              has    been

25       going       on for,            perhaps,                 12 to       24 hours               and     the         initiator           of that

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 1      sepsis       element,            suppressing              bone marrow,            has been present                 for

 2      several          days.

 3                             So then~                       comes to the morning                 of the         21st,      and

4       he is in severe                  distress            with other          elements       of overwhelming

 5      sepsis.               As an example,              he's      not able          to maintain        his      oxygen

 6      saturation,                  so his     ability          to have oxygen            is measured            and drops

 7      steadily.               He's     not able            to maintain          his     temperature.               He

 8      drops,       and when he gets                     to Albany,           it's     94.     He's     not able           to

 9      maintain              his     blood     pressure          and,    most important,               his     blood

10      pressure,              including          his     white      cells,       which I mentioned                  are    so

11       low, but he also                     starts      to have a drift               down of his            platelets.

12      They are              115,000         in the      Samaritan           Hospital,       but when he gets                   to

13      Albany,          they         get down as low as 25,000,                        and that       means that

14      this      picture             of suppression              from the        overwhelming           sepsis-is

15      having          its     effect         on the bone marrow.

16                             He's     also      not able          to maintain           metabolic           functions,

17       such as a decreased                      glucose.            His pH is down, and he is

18       overwhelmed                 by this      infection           and there's          very     little        in that

19       picture         of where survival                    is likely.              So, he is        overwhelmed           by

20       the    infection,              and tbe physicians                    do what they          can to maintain

21       him, but it's                 inadequate            because      he's        so overwhelmed            by

22       infection,                 and he dies         within        two days.

23                 Q.          Well,      now, let's             go back if           we can.       First       of all,

24       you have treated                     patients,          little       babies      before       who have gone

25       into      septic            shock?

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     1      hemorrhagic             because        of this        phenomena.

     2                Q.       How about           the brain?         Is the            brain      affected         by DIC?

     3                A.      The DIC, the              failure      to clot,            can occur           anywhere;       and

     4      here      we saw that            there      was bleeding             in the         testes,       in the

     5      heart,         behind      the    retina,        in terms        of retinal              hemorrhage,         and

     6      throughout          the brain.              And the      fact        that      this      can be --        the    way

     7      we manage it              is we try         to replenish             platelets,           give

     8      fresh-frozen              plasma,        but that's       like        putting          your      finger     in a

     9      dike.          The process          continues          to flood         the     system         and may cause

    10      continued         bleeding.

    11                Q.       Can DIC -- withdrawn.                      Do you have an opinion                       in this

    12      case      -- and all         of the         opinions      that         I'm going          to ask you are

    13      based      upon a reasonable                 degree      of medical             certainty.              Do you

    14      have an opinion              as to whether              the     sepsis         caused         DIC in this

    15      case?

    16                A.       Yes.

    17                Q.       And do you have an opinion                          as to whether              the     DIC

    18      caused         swelling       in the brain?

    19                A.       Well,      that's        not quite         right.

    20                Q.       Okay.

    21                A.       The DIC is different                  from the             swelling         in the      brain.

    22       Swelling        in the brain             is caused       by the            infection,           and that

    23       causes        cerebral       edema or swelling,                 and that             can be pressure.

    24      Now, in a four-month-old,                        the    fontanelle             is     open,      so the     head
~
    25      may be enlarged.                  But in autopsy,               it     was noted          that     that

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 1       fontanelle,                that     little           soft         spot,      was bulging.                 So,         that's         an

 2       indicator             of    the     increased               pressure          in     the     brain.

 3                 Q.          Caused        by infection?

 4                 A.          Caused        by this            infection.

 5                 Q.          And this            infection               was sepsis?

 6                 A.          This        infection            was the             pneumococcus.                 The

 7      pneumococcus                  caused          the     sepsis.

 8                 Q.          Okay.         Now, the               pneumococc.us             causing            the     pressure             on

 9       the     brain,         what        effect           did     that      have         upon     the     eyes?

10                 A.          Upon the            eyes?

11                 Q.          Yes,        the     retina?

12                 A.          Well,        there's           swelling.               So,     the     swelling                can     cause

13       pressure          on different                     organisms.               Pressure         can        press         blood

14       vessels          or    cause            rupture           of others.

15                 Q.          Okay.             Did you see               some photographs                  of        the     autopsy?

16                 A.          I saw some of                   Dr.     Leestma's             photographs,                    and    I did

17       see     the      medical           examiner's               pictures.

18                 Q.          And did            you see           the     eyes      of     the     young        baby?

19                 A.          I don't            recall.

20                 Q.          Okay.             Now, Doctor,                this     process         of     sepsis,               does     --

21       and as the             pressure              builds         and the          infection,             can        that        cause

22       hemorrhaging                 around          the      eyes?

23                 A.          I would            think        it    would          cause     pressure            on all            the

24       blood         vessels,            including               those      in     the     brain         and    behind            the     eye.

25                 Q.          Now, we know in                      this      case         from     the     autopsy            that       there

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      1               A.          Well,      if    you have an open wound - so you if                                           have a

      2      disruption            of the         integrity         of the          skin         - then        organisms               can

      3      find     their        way into         that        wound and then                   can cause             sepsis,          but

      4      the     sepsis        is caused          by bugs,           not caused               by trauma.

      5               Q.          Now, Doctor,             assume there's                  no evidence                 that         on the

      6      weekend before               ~died                     or even a few days before                                   that       of

      7      any open wounds,                 no open head wound, no open wound to his                                                  body

      8      in his        feet     or any place.                 Do you have an opinion,                               to a

      9      reasonable            degree         of medical            certainty,               as to whether                  the

     10      pneumococcal             could        have gotten              into      that        -- how it             could          have

     11      gotten        into     ~is body?

     12               A.          The pneumococcus                is a respiratory                      organism.                   You put
-~   13      it     into    your mouth,             essentially,               having            had contact                 with

     14      somebody who had the organism.                                  So, it's             spread            by droplets              and

     15      you inhale            the droplets.                 And in the vast                      majority          of cases

     16      we all        have had that              experience.                  We have all                had experience
     17      with pneumococcus,                    but there         have been either                         no consequences
     18      or there's            been something                mild,       like         a cold        or otitis               or

     19      sinusitis.              In a very          few instances,                    though,            that      respiratory
     20      acquisition             leads        to the organism                  getting            into      the bloodstream;
     21      and even then,               the defense             mechanisms               are        such that              it's      clear.
     22      But this         baby,       at four months of age,                           it     wasn't            clear.           The
     23      organisms            multiplied,           and he had the unfortunate                                   consequences
     24      of overwhelming                 sepsis        causing          death.
     25               Q.          We have heard                testimony           that         the    sepsis          was secondary

                                                           Judy    A.      Del.Cogl.iano
                                                   Official.                  Court       Reporter
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 1      to     an aspiration                   which            was secondary                     to    the       trauma.              Doctor,

 2      what       is    aspiration?

 3                A.        Aspiration                     is    when you choke,                         essentially,                  and       food

 4      particles           or other                things             that         are     present              in     your     mouth           go

 5      down to          your      windpipe.                     And in             infants,            there's           a lot         of

 6      problems           where         they         may take                a small             toy      or      another         material

 7      and      swallow          it,      and        it        will        go down into                   their         windpipe            and

 8      they       could        choke.

 9                 Q.        Okay.             But         in    this         instance,                 do you          see     any     evidence

10      of aspiration?

11                A.         No.         There's                no evidence                  in     terms          of    clinical

12      history.            Often,             these            kids        start          coughing,               choking.             They          are

13      immediately               evident             to        the     parent,              who brings                 the     child        to       the

14      emergency            room.             There's             no evidence                    to     that.           That's         number

15      one.        Number          two,           there's             no evidence                  on the            x-ray.           Number

16      three,          there's          no evidence                    in     the         autopsy.

17                 Q.        So,        for        anybody             to     say         that      there's             aspiration               here,

18      do you have               an opinion,                    based         upon          a reasonable                     degree        of

19      medical          certainty,                 whether             that         is      shear         speculation?

20                 A.        It     is        speculation.

21                 Q.        There            is    objective                 and         subjective               elements            in

22      medicine;            correct?

23                 A.        Yes.

24                 Q.        We have               used         this        example              before.              Your      temperature

25       is    objective?

                                                                 Judy     A. DelCogliano
                                                    Official            Senior  Court Reporter
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 1                A.       It     is.

 2                 Q.      If     I say     I'm      in     pain,         that's       subjective?

 3                A.       Yes.

 4                 Q.      Did this         baby          have      objective          or     subjective                  signs          of

 5      sepsis?

 6                 A.      He did.

 7                 Q.      Objective?

 8                 A.      Objective.             Well,           you     know,       this     is        a four-month-old.

 9      So,     he's      not     going     to    have           symptoms.            He's     not           going        to     tell

10      you that          he had a headache.                        So,    everything              is        signs        or

11      laboratory           values.

12                 Q.      And do you have                  an opinion,               based        upon         a reasonable

13      degree          of medical         certainty,               of the         cause      of     death           of    this

14      baby?

15                 A.      I do.

16                 Q.      And what         is      it?

17                 A.      He died         of overwhelming                      bacterial           sepsis           due        to      the

18      pneumococcus.

19                 Q.      And Doctor,            based           upon      your      experience,                in       the        485

20      articles          that      you have         written,             the      hundreds             of    lectures               that

21       you have         delivered,          the         thousands             of babies           in       Boston        that          you

22       have            you are        a clinician,                as well;          correct?

23                 A.      Yes.

24                 Q.      That         you have          treated         and      consulted             on,     the           40,      over

25       40 years         .of vast        experience              that      you have          accumulated,                      do you

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 1       have      an opinion,                      based          upon        your     field             of pediatric                  infectious

 2       diseases,              whether                  trauma         played         any part                in    the       death       of     this

 3       poor      baby?

 4                 A.           No,         it      didn't.               This        baby      died,             and      the      sequence         of

 5       events,          where             the          baby      is     apparently                well          and      that,        soon      after,

 6       is     critically                  ill,          and then             follows          a deteriorating                         pathway          to

 7       death,          is     completely                   consistent                with         overwhelming                    pneumococcal

 8       sepsis.

 9                                               MR. COFFEY:                   One minute,                  if      I might,            Judge.

10                 That's             all          I have,              Your     Honor.

11                                               THE COURT:                Ms. Book?

12                                               MS. BOOK:                Thank        you,         Your          Honor.

13       CROSS-EXAMINATION

14       BY MS. BOOK:

15                  Q.           Hi,        Dr.          Klein.           I'm       Christa              Book.           I'm       an Assistant

16       District              Attorney                  here.           How are         you?

17                 A.            I'm        good.               Thank       you.

18                  Q.           Good.              Okay.               Now, I'm         going            to      ask      you a bunch              of

19       questions.                   If         you don't               understand,                just          ask      me to        repeat.

20       Sometimes               I talk             too         fast.          If     I am,         just          tell      me.         Okay?

21                 A.            I will.

22                  Q.           Is     there             a subspecialty                     for         infectious                disease,         in

23       that       is        there         a board              certification                     for      it?

24                  A.           There             is.

25                  Q.           Okay.               So,        you are          not     board            certified                in   infectious

                                                                  Judy A. De1Cog1iano

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 1              research                regarding            this          case.            Do not          request           or accept

 2              any payment                 in      return          for        supplying              information                regarding

 3              this        case.           Do not           make          any       judgments              regarding            this    case

 4              until        you have               heard          all        of     the     evidence              and    I have

 5              instructed                you as to                the        law.          And if          anyone        attempts          to

 6              improperly                influence                you,        please            report        that       directly          to

 7              me without                first           discussing                 it     with      anyone          else.         We will

 8              take        a break          until           4:10.

 9                                       (Brief           recess          taken.)

10                                       (Whereupon,                the        jury         entered          the      courtroom.)

11                                       COURT OFFICER:                        Jury         is     entering.

12                                       THE COURT:                 Please                be seated.            The People              may

13              call        their         next       witness.

14                                       MS. BOOK:                 Thank           you,      Your         Honor.          The People

15              call        India         Hicks.

16       INDIA HICKS, after                       first       having               been      duly      sworn          by the        Clerk        of

,-
- I      the   Court,        was examined                    and         testified               as   follows:

18                                       THE CLERK:                 The sworn                witness           is     India       Hicks,

19              H-I-C-K-S.

20                                       THE COURT:                 Are        you         okay?          Do you want             to    take      a

21              minute?

22                                       MS. BOOK:                 Do you            want        to   sit      with       your      mom for
                                    ?
23              a
                        •    J.,
                    TIU.nUL.6.            You do?

24                                       (Brief           pause          in    proceedings.)

25                                       MS. EFFl:1AN:                   Do we need                a recess,             Judge?

                                                             Judy     A. De1Cog1iano
                                                  Of£icial          Senior  Court Reporter



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                                                                                                    MS. EFFMAN: Objection                       as to time        frame,          Judge.
                                                               1

                                                               2                                    MS. BOOK: I'm going                    there     now, Your Honor.

                                                               3                                    THE COURT: Overruled.

                                                               4            Q.              Okay.      Did you ever             see Adrian          Thomas putting                t,.-1

                                                               5       in the        crib     in the week before                    he died?

                                                               6            A.              The week before,             the        same week?
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                                                                7            Q.             I 'rn sorry?

                                                                8            A.             The week before             or the         same week?

                                                                9               Q.      ·At any point           during           those     two weeks?

                                                               10               A.          Yeah.

                                                               11               Q.          Was it     the week before                 or the      same week?

                                                                                A.          When I saw him put the baby in the                            crib,          it     was the
                                                               12

                                                               13      same week.

                                                               14               Q.          The same week that                  ~ died?

                                                               15               A.          Yes.

                                                                                Q.          Okay, if        you could           talk     up just      a little           bit      louder
                                                               16
                                                                                        When you saw Adrian                     Thomas put ~in                           the     crib      the
                                                               17       for me.
                                                                                                    can you tell          me how he put              him in.the               crib?
                                                               18       week he died,

                                                               19               A.           Uh-huh.

                                                               20               Q.           How did he do it?

                                                               21               A.           He put him in the                 crib     hard.

                                                               22                Q.          And what do you mean by hard?

                                                                                A.           Like the baby's             head bounced              a little       bit.
                                                                23
                                                                                             Did he put him all                  the way down to the                crib         and let
                                                                24               Q.
                                                                                                                go of him before                   he got to the bottom                    of
                                                                25      him go, or did he let

                                                                                                                       Judy    A.    DelCogliano
                                                                                                            Official          Sez:1.ior Court Reporter



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                                                                                               (I. Hicks - Paq:,ie - Direct)                                                         1929                    935


                                                                             the     crib?

                                                                     2                                      MS. E.FFMAN: Objection,                              leading,          Judge.

                                                                                                            THE COURT: Sustained,                             although            I will       grant        her
                                                                     3

                                                                     4                 some leeway               with      this         witness.

                                                                                                   India,        can you tell                  me how ~a put               him .i:n "the         c~~ .
                                                                     5                 Q.

                                                                     6       exactly?
                                                                                                                                                      like       --   it     was like          a few
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                                                                     7                 A.          He, like,             right         before,

                                                                             inches,         like,        before          he put          the     baby       inside        the     crib,       and then
                                                                     8

                                                                      9      he just         let     him go and his                     head      bounced         down.

                                                                    10                 Q.          How did                         's head          bounce?

                                                                    11                 A.          Like     that,         and went              down really           hard        (indicating).

                                                                    12                 Q.          And when he put                     him in the            crib,         did he put him down

                                                               ~,   13       hard      or soft?

                                                                    14                                                                     ~jection,             leading.

                                                                    15                                      T:.i.£       OORT:           Overruled.

                                                                     16

                                                                     17                A.          He put           im down har.d.

                                                                                       Q.          Okay.         Now, do you remember                                 how        .1.d t-1-             --- '      w
                                                                     18

                                                                     19       was ~ after                           he      u~ h ·m ~ONn in                   h~ crib?

                                                                                       A.          Like       after        he put         him down,            like,~                          like,        he
                                                                     20

                                                                              was,     like,         really                he,     like,          started        screaming            really       loud.
                                                                     21

                                                                     22       He was crying.

                                                                     23                Q.          And how long                  did     he cry        for?

                                                                                       A.          Only,       like,        for         a few minutes;                like       one minute            or
                                                                     24

                                                                     25       two.

                                                                                     - -----·-,-----~--JU_czy'                            A.     De.lCog.liano
                                                                                                                       Of£icia1          Senior     Court     Reporter



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       THOMAS V SONY - 11-30-20 - India Hicks                               1     THOMAS V SONY - 11-30-20 - India Hicks
          STATE OF NEW YORK                                                 2
          COURT OF CLAIMS                                                          INDEX OF PROCEEDINGS
                                                                            3
       ADRIAN THOMAS,
                                                                                  INDIA HICKS; Sworn
       Claimant,                                                            4
                                                                                  Direct Examination by Ms. Calabrese              5
       v                         Claim No.: 128055                          5
                                                                                  Cross Examination by Mr. Klein              36
       THE STATE OF NEW YORK,                                               6
                                                                                  Redirect Examination by Ms. Calabrese            46
       Defendant.                                                           7
       __________________________________X
                                                                                  Recross Examination by Mr. Klein             55
                                                                            8
                                                                            9
       DEPOSITION OF:               INDIA HICKS                            10
                                                                           11
       DATE:                 November 30, 2020                             12
                                                                           13
       TIME:                10:17 a.m. to 11:56 a.m.                       14
                                                                           15
       VENUE:                 WebEx
                                                                           16
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  1   THOMAS V SONY - 11-30-20 - India Hicks                                1           THOMAS V SONY - 11-30-20 - India Hicks
  2
      APPEARANCES:                                                          2                  STIPULATIONS
  3
      FOR THE CLAIMANT:
                                                                            3           IT IS HEREBY STIPULATED AND AGREED by and
  4                                                                         4    between the attorneys for the respective parties hereto as
      BAILEY, JOHNSON & PECK
  5                                                                         5    follows:
      BY: CRYSTAL PECK, ESQ.                                                6           THAT the filing of the transcript of the
  6
      RHIANNON SPENCER, ESQ.                                                7    testimony in the County Clerk's office be waived;
  7
      Five Pine West Plaza, Suite 507                                       8           THAT all objections to questions except as to
  8                                                                         9    the form thereof be reserved until the time of trial; and
      Albany, New York 12205
  9                                                                        10           THAT the transcript of testimony may be signed
 10
      BRETT KLEIN, ESQ., PLLC                                              11    before any Notary Public or other officer authorized to
 11                                                                        12    administer oaths.
      BY: BRETT KLEIN, ESQ.
 12                                                                        13
      305 Broadway, Suite 600,
 13
                                                                           14
      New York, New York 10007                                             15
 14
 15                                                                        16
      FOR THE DEFENDANT:                                                   17
 16
      OFFICE OF THE NEW YORK STATE ATTORNEY GENERAL                        18
 17
      BY: CHRISTINA CALABRESE, A.A.G.                                      19
 18                                                                        20
      The Capitol
 19                                                                        21
      Albany, New York 12224
 20                                                                        22
 21                                                                        23
 22
 23                                                                        24
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  1            THOMAS V SONY - 11-30-20 - India Hicks              1            THOMAS V SONY - 11-30-20 - India Hicks
  2                 A. (Cont'g.) I -- I was eight years            2        exactly. He was upset because he always lost his
  3       old.                                                     3        jobs, and he couldn’t get a job. So he would be
  4                 Q. Eight, okay. And yes, eight and             4        upset and come back and do things to us. And then
  5       a half. Sorry.                                           5        one day my mom had told him to leave me alone and he
  6                 A. It's okay.                                  6        always used to tell her he did not want them babies.
  7                 Q. I'm really bad with math. Okay.             7        I would get up in the middle of the night to get them
  8       So you were eight and a half years old and do you        8        milk and I remember that one night I was so tired.
  9       remember when the twins were born?                       9        And I looked across the room, the room was right




                                                                                         -
 10                 A. Yes, I do.                                 10        across from mine and he just threw the baby down into
 11                 Q. Okay. And do you remember the              11        the bed. He didn't do anything to him. He just
 12       years leading up to when the twins were born?           12        threw him into the bed. And M           didn't do




                                                                                       - -
 13                 A. Yeah.                                      13        anything to anybody. He was just a baby.
 14                 Q. Okay. I'd like you to talk with            14                  Q. Do you remember how close in time
 15       me about -- the -- the apartment that you were living   15        to when M          died that that happened?
 16       in when the twins were born, do you remember where it   16                  A. Yes, that was about two weeks
 17       was located?                                            17        before, because I remember M           had fevers. He
 18                 A. Yeah, it was, if I'm not                   18        had bad fevers and he was getting boils on his face.
 19       mistaken, it was 2441 First Street, it was the Cedar    19        And that was probably from the fluid on his brain
 20       Park Apartments, apartment 1C.                          20        from having baby shaking syndrome. My mother told
 21                 Q. Okay. And when you were living             21        Adrian she wanted to bring the baby to the hospital,
 22       at the Cedar Park Apartments, apartment 1C, can you     22        and he refused. I remember it clear as day. It




                                                                                                                    -
 23       describe what your relationship with Adrian was like?   23        replays in my mind all the time.
 24                 A. It was terrible. He beat me all            24                  Q. Now other than the time that
 25       the time because I wasn't his child. I got molested.    25        you're describing, two weeks before M           died, did

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  2
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  6
                THOMAS V SONY - 11-30-20 - India Hicks
           My mother knew, you know. I had a very hard
           childhood. He made it very hard and he claimed he
           loved us. He did not love us. I witnessed him slam
           my brother against the crib. I witnessed it. He
           admitted to it. This is not right.
                                                                   1
                                                                   2
                                                                   3
                                                                   4
                                                                   5
                                                                   6
                                                                            other than that time?
                                                                                       A. Yes. He would squeeze the
                                                                                                                     -
                                                                                THOMAS V SONY - 11-30-20 - India Hicks
                                                                            you ever see him interact in that way with M


                                                                            babies. He would squeeze the both of them. This was
                                                                            like he -- something's wrong with him. Just for no




                                                                                     --
  7                   Q. Okay. Let's take a moment India.          7        reason. I don’t understand.
  8                   A. Get some water?                           8                   Q. And where would he put his hands
  9                   Q. Good. Get some water. Tell me             9        on, on M          and M         when he would squeeze
 10        when you're ready. Take your time.                     10        them?
 11                   A. I'm ready to go.                         11                   A. Like -- like, right here. Like
 12                   Q. Okay. So you just talked about a         12        on their ribs.
 13        lot of information that we have to go through, okay.   13                   Q. Okay, so for the record you're
 14        If at any point in time you need a break, you tell     14        using your hand to point to the area of your stomach
 15        me, we're gonna take a break for however long you      15        around your waist?
 16        need, okay. But I'm not going to know that you need    16                   A. Yes. Like right here.
 17        a break unless you tell me, okay.                      17                   Q. By your ribs?
 18                   A. Okay. I will tell you.                   18                   A. Yeah, above like their chest.




                                         -                                                   -
 19                   Q. Okay. Thank you. So you said             19        Right near their chest, he would squeeze.
 20        that you witnessed him do something with -- with the   20                   Q. Okay. And how often did you see
 21        baby. Are you talking about M           ?              21        him do that to M         ?
 22                   A. Yes.                                     22                   A. Very often. He would just get




                                                                                              -
 23                   Q. Okay, tell me -- we'll start             23        mad and do crazy things.
 24        there. Tell me about that.                             24                   Q. Okay. And what else did you
 25                   A. Okay. I remember the day                 25        observe him do to M           ?

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     1      STATE OF NEWYORK

     2      COUNTYCOURT                                     COUNTYOF RENSSELAER

     3                                -    -   -    -   -   -    -   -   -   -   -   -    -   -   -   -   -   -   X

     4      THE PEOPLE OF THE STATE OF NEWYORK

     5      - against      -                                Indictment           #08-1074

     6      ADRIAN THOMAS,

     7                         Defendant.

     8                                              -   -    -   -   -   -   -   -   -    -   -   -   -   -   -   X

     9      JURY T.RIAL - VOLUME III

    10                                                      County Courthouse
                                                            Congress and Second Streets
    11                                                      Troy, New York 12180
                                                            June 2, 2014.
    12
            Before:
~   13
                               HONORABLE ANDREWG. CERESIA,
    14                         County Court Judge.

    15      Appearances:

    16                            For the          People:
                                  ARTHURF. GLASS JR., ESQ., Acting District
    17                            Attorney,   Rensselaer     County,
                                  By: CHRISTA M. BOOK, ESQ., and KELLY L. EGAN,
    18                            ESQ., Assistant     District   Attorneys, of counsel,
                                  Rensselaer   County Courthouse,
    19                            Troy, New York.

    20                            For the          Defendant:
                                  STEPHEN R. COFFEY, ESQ.
    21                            54 State Street
                                  Albany, New York.
    22
                                  JOHN C. TURI, ESQ., Public Defender,
    23                            Rensselaer  County, and ARTHURR. FROST, ESQ.,
                                  Assistant  Public Defender,    of counsel,
    24                            Rensselaer  County Courthouse,
                                  Troy, New York.
    25
                                  ADRIAN THOMAS, Defendant,                              in person.
                                                   Judy A. Del.Cogl.iano
                                          0£fiaia1.    Senior  Court Reporter
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     6

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     8

     9      MICHAELBAYLY                  152            168              171

    10      KATRINAKARDOS                 173            206         233 & 241      238 & 242

    11       IFEOMAOJUKWU                 247            265              280           284

    12      WILLIAMTERRY                  306            316         370 & 379          376

    13

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                                     0££iaia1.   Senior  Court Reporter
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      1                 Q.       Did you perform                     any other            tests       on M-?

      2                 A.       We did          a chest         x-ray,           blood       work.              I believe            that's

      3       all.

      4                 Q.       Did the             blood      work       show his           white         blood          cell       count?

      5                 A.       Yes.

      6                 Q.       Do you recall                  what       that      was?

      7                 A.       Yes.           It    was 1.0.

      8                 Q.       Now, is             that     a normal            white       blood         cell          level       for      his

      9        age?

     10                 A.       No,     it's         low.

     11                 Q.       Did the             blood      work        show his          platelet              count?

     12                 A.       Yes.

     13                 Q.       And what             was that?

     14                 A.       115,000.

     15                 Q.       Is     that         a normal            level     for       his    age?

     16                 A.       It's      slightly             low.

     17                 Q.       Now, what              is    DIC?

     18                 A~       DIC is          a condition                --    the     letters           stands           for

     19        disseminated             intravascular                    coagulation.               It's          a condition                 in

     20        which      the    proteins             in     your        body     that       help     to         control           clotting

     21        get     used     up rapidly.                  As a result,                you can           get      small          clots       that

     22        can     form     in     various          parts        of your         body.          And as           it      progresses,

     23        when the         proteins             that     cause         clotting          get     used          up,      you      can

     2.4       actually         then     bleed          more        excessively.
~.
     25                 Q.       What are             signs         of    DIC?         Let    me rephrase                  that.            What

                                                              Judy A. De1Cog1iano
                                                                         Court Reporter
                                                                                                                    P020830
                                                      0££icia1    Senior
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     1                 Q.        Agreed.                So,      when you take                  the      blood           at        9:13      or      the

     2      blood       is      taken,        whatever              testing             of that          blood           is        done      at      9:13,

     3      ~ remained                         in         the     hospital              for     about          two hours               after

     4      that;       right?

     5                 A.        Yes.

     6                 Q.        So,     anything                that's           going        on in         his     blood            that         may

     7       surface         after       9:13           or      9:15,      it's         not      going         to    be picked                 up

     8      unless          there's          another             blood         test;          correct?

     9                 A.        Yes.

    10                 Q.        Do you agree                    with      me?

    11                 A.        Yes.

    12                 Q.        Again,         are          you hesitant                   about       this        or        not?

~   13                 A.        No.         I'm        just       trying          to make            sure         I understand                    your

    14       question.

    15                 Q.        Well,        if        you take           my blood              right         now,           it     will         take

    16       whatever           cells,        whatever              disease             or bacteria                 I have;               right?

    17                 A.        Yes.

    18                 Q.        But     if        at     12 o'clock,                  if     there's          a process                  going          on

    19       and     something           happened                between           11:30         and     12:00,               it     won't         pick

    20       that      up;      correct?

    21                 A.         Correct.

    22                 Q.         So,    therefore,                  if     this        baby        were       bleeding               out         after

    23       9:15,       this        blood         test         would       not        pick      that        up;     would            it?

    24                 A.        No,     it        would         not.

    25                 Q.         So,    if        this         baby      --      by the         way,        you      learned               later,

                                                                Judy A. De1Cog1iano
                                                        0££icia1    Senior Court Reporter
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 1       didn't         you,        that     he developed                  a disseminated               intravascular

 2       coagulopathy.                     You learned                 that;     didn't       you?

 3                 A.       That I did not learn,                               no.

 4                 Q.       If        I were to tell                    you that           the Albany         Medical            Center

 5       records         reflect            that,        would you agree?                     You wouldn't               have any

 6        reason        to dispute             that;            would you?

 7                 A.       No.

 8                 Q.      And with                regard          to DIC -- disseminated                        means

 9       throughout             his        body;       correct?

10                 A.       Correct.

11                 Q.       And when a child                           or a person           gets     disseminated

12        intravascular                coagulopathy,                    that     bleeding           occurs       all     through
13.      the body;          doesn't            it?

14                 A.       Typically.

15                 Q.          It     goes in the heart,                        the brain,           the     testes            for       a

16       boy?       Everywhere               that        that          blood     can't       clot,      that's          where it's

17       bleeding;          correct?

18                 A.          I believe             so.

19                 Q.       Well,           you told             _us before           --

20                 A.          I gave you the definition                               of DIC.          I actually               don't

21        see that        in the Emergency                         Department              record     because           it's         a

22        later     finding.

23                 Q.          Fair        enough.              In any event,               generally         speaking,                  DIC
24        is when the blood                    doesn't             clot        and a person           --     and I'm not
25       being      demeaning               to anyone.                  The person           is actually               bleeding

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 1       out;       correct?

 2                  A.         First      they      clot      too much.                 Once those.proteins                   are

 3       used up, they                 have the inability                      to clot       because        they       no lo~ger

 4       have the protein.

 5                  Q.       When they            infarct           too much -- do you know what

 6        infarct        is?

 7                  A.         Yes.

 8                  Q.         Can that      create           infarct?

 9                  A.         Yes.

10                  Q.       And that's             -- that          can be a blockage                 of tissue;

11        correct?

12                  A.       An infarct             is when an area                     of tissue      doesn't              have

13.       enough blood             supply         and the           cells       begin       to die.

14                  Q.         DIC is a very,                very        serious         complication;              isn't      it?

15                  A.         Yes.

16                  Q.         And that      blood,           if        it's     bleeding,          to your         knowledge,

17"       the person            can bleed           in the brain,                 correct,          because        it's       not

18        clotting        properly;           right?

19                  A.         Correct.

20                  Q.         So, when you say that                           he did not have DIC, all                       you.

21        are    saying         is that      the        9:13 blood               test      didn't     pick     it      up at

22        that      point;        correct?

23                  A.         Yes.
24                  Q.         But the       9:13 test              that        you did take          did     show a series
25        of very        serious          problems           with him; correct?

                                                           Judy    A.      Del.Cogl.iano
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     1                A.        Yes.
~

     2                Q.        Now, what         happens          when your           body     gets        septic         shock?

     3                A.        You have         many inflammatory                   mediators           released,              toxins

     4      get     released           and they      start         to     infect       all     different             organs           in

     5       your     body.

     6                Q.        And you came up with                      a provisional               diagnosis;

     7       correct?

     8                A.        Yes.

     9                Q.        And tell         us again          what      a provisional               diagnosis              is?

    10                A.        It's     a diagnosis              that     we come up with                  in   the

    11       Emergency          Department          when we have               only        limited       time        and      limited

    12       data     to    work with.

    13                Q.        All     right.       Now, your              provisional              diagnosis          for      this

    14       baby     was respiratory               failure,             leukopenia,           hypotension,

    15       tachycardia           and brachycardia;                     correct?

    16                A.        Yes.

    17                Q.        And these         conditions,               are     they      caused        by sepsis?

    18                A.        Yes.

    19                Q.        You found         no evidence               whatsoever,              from    your       analysis

    20       or your        review       - and      I understand               you were          preliminary               - of        any

    21       trauma        to   this     baby;      correct?

    22                A.        Correct.

    23                Q.        And Doctor,           is     it    true      that      the     likely        cause         of    this

    24       baby's        problems        was sepsis?

    25                A.        Yes.

                                                            Judy A. DelCogliano
                                                 0££icial       Senior Court Reporter
                                                                                                         P020861
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 1               Q.       So, as you sit                here      today,         you would agree               that     the

2       likely        cause      of his     problems           was sepsis;              correct?

 3               A.      With the          information                that     I had that          day,      yes,

 4      absolutely.

 5               Q.       Well,        as you sit          here         today,     you agree          that       the

 6      likely        cause      was sepsis;            correct?

 7               A.       Yes.

 8               Q.       Now, do you know what Gram staining                                  is?

 9               A.       Yes.

10               Q.       What does it            mean to Gram stain                       something?

11               A.       It's     when you take,                 in this         case,      the     patient's              blood

12      and you use different                   kinds       of dye to see if                  you can identify

13      the presence             or absence            of bacteria             in different           cells.

14               Q.       And what is bacteremia_?

15               A.       Bacteremia?             The presence                 of bacteria           in the         blood.

16               Q.       And how does bacteria                         get     in the      blood?

17               A.       Through a break                in the          skin     or the mucosal               surface         of

18      the body.

19               Q.       So -- and bacteria                     --     let    me ask you a little                    bit

20       about    this        in terms      of --        I use the word pyramid.                          You take

21       kids    in a day care             center        or,      say,        a class       of 20 kids.               A bunch

22       of those        kids     will     have some kind of a staphylococcal
23      pneumonia;            right?

24               A.       Staphylococcal                is a common pneumonia.
25               Q.       That's         a common bacteria;                     correct?

                                                    Judy    A.        DelCoglian.o

                                                                                                   P020862
                                           0££ici-al       Senior        Court Reporter
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 1      talking         to me,       that        would         be subjective;                    correct?

 2                A.       Subjective,                 correct.

 3                Q.       Now, there              were.no            objective              signs         at    all      that      you

 4      found      of any trauma                 to     this         baby;     correct?

 5                A.       Correct.

 6                Q.       The history                 of the         diarrhea            that        you       received          from

 7      Mom was within              -the      last          two or three               days;          correct?

 8                A.       Correct.

 9                Q.       In fact,           in       your       report       or      in     the         medical         report,

10      it's      specific,          two or three                    days;     correct?

11                A.       Correct.

12                Q.       You wouldn't                 have         guessed         at      that.          That's         what      she

13      told      you;     correct?

14                A.       If     I could             look      at    it     again.           I documented                 what      she

15      told      me.

16                Q.       Sure.

17                A.       I have        that          the     mom states              the       patient            has    been

18      having         diarrhea        for,        quote,            a few days.

19                Q.       All      right.             Let     me --         I'm      going          to    show you what's

20      part      of Exhibit           Number           8,      "diarrhea             for     two or            three      days."

21      See the          "two     or three             days"?

22                A.       That's          the        nursing         documentation.

23                Q.       That's          not        the     history         provided               to    you?

24                A.       No.       That         is    what         the     nurse          received.               This     is     what    I

25      received.

                                                         Judy A. Del.Cogl.iano
                                                                     Court Reporter
                                                                                                                P020867
                                                 0££icia1.   Senior
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       1                Q.       Okay.          You list         a provisional                diagnosis        of

      2        respiratory            failure,          leukopenia,             hypotension,            tachycardia            and

       3       bradycardia;             correct?

       4                A.       Yes.

       5                Q.       Now, is a provisional                         diagnosis           more defined         than     a

       6       differential             diagnosis?

       7                A.       Yes.

       8                Q.       It     is;      correct?

       9                A.       Correct.

      10                Q.       You have more information                             at that        point?

      11                A.       It's         based     on the      data        that      I have at that            point.

      12                Q.       So, when                         left         the     hospital,        that     was your

      13       diagnosis         at that·point;                 correct?

      14                A.       Correct.

      15                Q.       And all          of those        things         were consistent               with     septic

      16       shock;        right?

      17                A.       Correct.

      18                                      MR. COFFEY: One minute,                         if    I might.          That's     all

      19                I have,         Judge.          I have something                  I   want to address             with

      20                you later,             but     that's      all     I    have at        this     point.

      21                                      THE COURT: Ms. Egan,                      any redirect?

      22                                      MS. EGAN: Yes,               Your Honor.

      23       REDIRECT EXAMINATION

      24       BY MS. EGAN:
.~,
      25                Q.       I'm just             going     to grab         Exhibit        7 and 8.          Dr. Kardos,

                                                             Judy A. De1Cog1iano
                                                      Of£icia1   Senior Court Reporter
                                                                                                          P020868
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                         1      STATE OF NEWYORK

                         2      COUNTYCOURT                                                  COUNTYOF RENSSELAER

                         3

                         4      THE PEOPLE OF THE STATE OF NEW YORK

                         5      - against            -                                       Indictment           #08-1074

                         6      ADRIAN THOMP,_S,

                         7                               Defendant.

                         8      -   -   -    -   -   -   -   -    -   -    -   -     -   -    -   -   -   -   -   -   -    -   -   -    -        -      -   X

                         9      JURY        T.RL21..L- VOLUME V

                       10                                                                    County Courthouse
                                                                                             Congress and Second Street~
                       11                                                                    Troy, New York 12180        {.:
                                                                                             October 5, 2 00 9. -n   ~ V;:
                  _,   12                                                                                                          ?)            ~          ,;:_-~
    -:·~~-~ ;;",f:              Before:                                                                                                ~
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                       13                                                                                                                               \        c,r<'•
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                                                         HONORABLE ANDREWG. CERESIA,                                                        .,.,. "D
                                                                                                                                                                  ::,..-t.~,
                                                                                                                                                                   _,:_
                       14                                County Court Judge.

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                                                                                                                                                                     'c.;
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                                A p p e a r an                    c es:
                       16
                                                                 For the           People:
                       17                                        RICHARD J. MC NALLY, JR., ESQ.,
                                                                 District   Attorney,  Rensselaer   County,
                       18                                        By: ARTHURF. GLASS, JR., ESQ.,
                                                                 and CHRISTA M. BOOK, ESQ., Assistant
                        19                                       District   Attorneys,  of counsel,
                                                                 Rensselaer    County Courthouse,
                       20                                        Troy, New York.

                       21                                        For the           Defendant:
                                                                 JEROME K. FROST, ESQ.,
                       22                                        Public Defender,   Rensselaer  County,
                                                                 and INGRID EFFMAN, ESQ., Assistant     Public
                       23                                        Defender,  of counsel,
     ,.        :°'.
                                                                 Rensselaer  County Courthouse,
I    "tr~~~~~          24                                        Troy, New York.
'~.t- ....".




                       25                                        ADRIP._NTHOMAS, Defendant,                               in person.

                                                                                     Judy      A. DelCogliano
                                                                          0££icial           Senior  Court Reporter



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           5

           6
                   For the    People:
           7

           8
                   WALTER    EDGE                            954             981            1018             1029
           9
                   RONJl...LD FOUNTAIN                     1044             1073            1119             1122
          10
                   ADILM l:-t:U.SON                        1127
          11

          12
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          15

          16
                   For the    People:
          17

          18
                    11.   .Albany Medical Center
          19              Hospital  Records                                 970                         1028

          20        12.   Albany Medical Center
                          Hospital Records                                  1028                        1028
          21
                   13.    Albany Medical Center
          22              Hospital Records                                  1028                        1028

          23        14.   Miranda      Rights    Form                       1043                        1070

          24       15.    Deposition      of Witness                        1043                        1070
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...
          25        16.   Miranda      Rights    Form                       1127

                                                           Judy     A. DelCogliano
                                                Official          Senior  Court Reporter



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                                                                 1               A.
                                                                 2               Q.         You noted         in your report               and in your testimony,               too,

                                                                 3      that     this       child     was suffering            from coagulopathy;              right,       Doctor?

                                                                 4               A.         Yes.

                                                                 5               Q.         And that         means problems            with blood         clotting;       right?

                                                                 6               A.         Yes.

                                                                 7               Q.         And when you have coagulopathy                        problems,       that      can
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                                                                 8      cause      bleeding          into         bleeding          into     several      different       parts        of

                                                                 9      your body;           corLect?

                                                               lQ                A.         Yes.

                                                               11                Q.         Are you aware that                the    autopsy      report      showed or

                                                               12       indicates           that     this     child     had bleeding           in the testes,            bleeding

                                                               13       in the myocardium                   and bleeding         in several        cavities       of his body?

                                                               14                A.         Yes.

                                                               15                Q.         Coagulopathy          can be caused              by sepsis;       correct?

                                                               16                A.         Yes.

                                                               17                Q.         In your transfer             discharge           summary, Doctor,            that     you

                                                               18       signed        off    on, it         was noted     this       child     was suffering

                                                               19       respiratory           wise from ARDS symptoms.                        Is that      correct?

                                                               20                A.         Yes,

                                                               21                Q.         And ARDS stands             for    acute       respiratory        distress

                                                               22       syndrome;           right,      Doctor?

                                                               23                A.         Yes.

                                                               -24               Q.         Isn't     the most common cause                   of acute      respiratory

                                                               25       distress        sepsis?

                                                                                                                     Jndy A. Del.Cogl.ia:ao
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 1       STATE OF NEWYORK

 2      COUNTYCOURT                                       COUNTYOF RENSSELAER

 3                                 -    -   -     -   -    -   -   -   -   -   -   -    -   -   -   -   -   -   X

 4       THE PEOPLE OF THE STATE OF NEWYORK

 5       - against      -                                 Indictment           #08-1074

 6      ADRIAN THOMAS,

 7                          Defendant.

 8.                                               -   -    -   -   -   -   -   -   -    -   -   -   -   -   -   X

 9       JURY T.RIAL - VOLUME VII

10                                                        County Courthouse
                                                          Congress and Second Streets
11                                                        Troy, New York 12180
                                                          June 6, 2014.
12
         Before:
13
                            HONORABLE ANDREWG. CERESIA,
14                          County Court Judge.

15       Appearances:

16                             For the          People:
                               ARTHURF. GLASS JR., ESQ., Acting District
17                             Attorney,  Rensselaer     County,
                               By: CHRISTA M. BOOK, ESQ., and KELLY L. EGAN,
18                             ESQ., Assistant    District   Attorneys, of counsel,
                               Rensselaer   County Courthouse,
19                             Troy, New York.

20                             For the          Defendant:
                               STEPHEN R. COFFEY, ESQ.
21                             54 State Street
                               Albany, New York.
22
                               JOHN C. TURI, ESQ., Public Defender,
23                             Rensselaer  County, and ARTHURR. FROST, ESQ.,
                               Assistant  Public Defender,    of counsel,
24                             Rensselaer  County Courthouse,
                               Troy, New YorK.
25
                               ADRIAN THOMAS, Defendant,                               in person.
                                                  Judy      A. Del.Cogliano
                                       Official           Senior   Court Reporter
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     4

     5

     6      For   the   Defendant:

     7
            JEROME 0. KLEIN                               997            1016
     8      JAN EDWARDLEESTMA         1038                1088           1139            1143
             (Voir Dire - 1048, 1052)
     9

    10
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    12
                                                    Identification              . Evidence·
~   13

    14
            For   the   Peo:ele:
    15

    16     26.     Photograph                           1135                        1136

    17

    18
            For   the   Defendant:
    19

    20     H.     Documents                             1046
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                                     0££icia1    Senior Court Reporter
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                                             (Leestma              - De£endant              - Direct)


 1                      in,         please     ..

 2                                       COURT OFFICER:                        All      rise.          Jury       entering.

 3                                       THE COURT:                   Please          be seated.               The sworn             witness

 4                remains              Jan    Leestma.                Doctor,           I will         remind        you that             you

 5                are         still      under            oath.        Mr.      Coffey,           you may proceed.

 6                                       MR. COFFEY:                   Thank          you,       Judge.

 7                Q.            Doctor

 8                A.           Yes.

 9                Q.            I want         to      ask     you --          and      I'm      not     going       to     go back          to

10      the     slides.               You have              done      that,          and we appreciate                    that.           Tell

11      me:       Do you have                 an opinion,                based          upon      a reasonable                 degree        of

12      medical          certainty              - I'm          not     going          to     repeat        that      phrase          in

13      every      sentence              but         - as to          this      baby's           cause        of death?

14                A.            Yes.

15                Q.           And what              is     that      opinion?

16                A.            The baby             died      from      the         effects          of bacterial                 sepsis

17      from      shock.

18                Q.            Dr.     Sikirica,              who was in               the      courtroom,            indicated

19      that,      in         his      opinion,~                              died      from      a subdural              or      from

20      trauma.               Do you agree                  with      that?

21                A.           A contributing                      cause.            There       clearly          was a subdural

22      fluid      collection                 which           imposed          some stress               on the       brain.              And I

23      guess      when we are                      listing         something              in    a death          certificate               or a

24      report,          we would             put         bacterial            sepsis           and    so forth           first,          and

25      contributing.cause                           would         be intracranial                    pressure        due to           the

                                                             Judy A. De1Cog1iano

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 1   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 2   - - - - - - - - - - - - - - - - - - - - - - - - - - - -

 3   ADRIAN THOMAS,

 4                                Plaintiff,

 5                    - against -

 6   CITY OF TROY, ADAM R. MASON, RONALD FOUNTAIN,
     TIM COLANERI,
 7   RENSSELAER COUNTY, and MICHAEL SIKIRICA,

 8                        Defendants.
     - - - - - - - - - - - - - - - - - - - - - - - - - - - -
 9   NEW YORK STATE
     COURT OF CLAIMS
10   - - - - - - - - - - - - - - - - - - - - - - - - - - - -

11   ADRIAN P. THOMAS,

12                                Claimant,

13                    - against -

14   THE STATE OF NEW YORK,

15                        Defendant.
     - - - - - - - - - - - - - - - - - - - - - - - - - - - -
16

17                    DEPOSITION of Non-Party Witness, JASPER

18   ESTARIS, held on the 21st day of August 2019, commencing

19   at 2:36 p.m., at the Law Offices of Bailey, Johnson &

20   Peck, P.C., 5 Pine West Plaza, Washington Avenue

21   Extension, Albany, New York 12205, before Jeanne

22   O'Connell, Registered Professional Reporter and Notary

23   Public in and for the State of New York.
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                                                                             2


 1   APPEARANCES:

 2   Brett H. Klein, Esq.
     305 Broadway
 3   Suite 600
     New York, New York 10007
 4   Attorney for Plaintiff/Claimant

 5   Pattison Sampson Ginsberg & Griffin, PLLC
     22 First Street
 6   Troy, New York 12180
     By: Joseph T. Perkins, Esq.
 7   Attorneys for City of Troy, Adam R. Mason,
     Ronald Fountain and Tim Colaneri
 8
     Bailey, Johnson & Peck, P.C.
 9   5 Pine West Plaza
     Washington Avenue Extension
10   Albany, New York 12205
     By: Crystal R. Peck, Esq.
11   Attorneys for Michael Sikirica

12   New York State Office of the Attorney General
     The Capitol
13   Albany, New York 12224
     By: Christina M. Calabrese, Assistant Attorney General
14
     Also present:        Katherine Hamilton
15

16

17

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 1                    (Jasper Estaris - by Mr. Klein)

 2       Q.    So, Mr. Estaris, do you remember, at the time

 3   Mr. Thomas -- you did this interview of him, you had

 4   reason to know that he was facing charges involving his

 5   alleged commission of the death of his child, correct?

 6       A.    Yes.

 7                    (Thomas Exhibit 1 marked for

 8            identification.)

 9   BY MR. KLEIN:

10       Q.    Before going into the meeting, did you have a

11   preinterview meeting with anyone in your office --

12       A.    No.

13       Q.    If you could just give me a second or so after

14   the question before you answer so the reporter can get

15   it down, okay?

16       A.    No.

17       Q.    Did anyone at any time, either that day of your

18   interview of Mr. Thomas or the day or days before,

19   advise you to ask him if he wanted an attorney present

20   during your interview with him?

21       A.    No.

22       Q.    You said you informed him of the death of his

23   child, correct?
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 1                    (Jasper Estaris - by Mr. Klein)

 2       A.    Yes.

 3       Q.    Do you believe you were the first person to tell

 4   him?

 5       A.    At that time, yes.

 6       Q.    What did you tell him, just that his son passed

 7   away?

 8       A.    I'm sorry.      Your son passed away.

 9       Q.    Did you tell him that before you asked him any

10   questions, or did you ask him questions about the

11   situation with M                first?

12       A.    No.    I told him before that.

13       Q.    And what was -- you said, I think, a couple

14   things, that he was comfortable, and that he wasn't

15   cuffed, and things like that, correct?

16       A.    Yes.

17       Q.    But you also said that he was distraught, right?

18       A.    Yes.

19       Q.    Did he become distraught when you told him his

20   son passed away?

21       A.    Yes.

22       Q.    Did he appear to be genuinely distraught at the

23   passing of his son?
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 1                    (Jasper Estaris - by Mr. Klein)

 2       A.    Yes.

 3       Q.    When you say he was distraught, was he

 4   hysterically crying or sobbing or something else?

 5       A.    He was crying.

 6       Q.    I think you said you had tissues for him -- which

 7   was very nice of you -- correct?

 8       A.    Yes.

 9       Q.    For how long was he crying for before you were

10   able to speak with him and he was able to gain his

11   composure?

12       A.    I can't really recall the amount of minutes.

13   But, once he got his composure, we were able to conduct

14   the interview.

15       Q.    Did you offer to give him some time, given that

16   you just told him that his son died, to collect his

17   thoughts and speak with his counsel, now that this is,

18   in his mind, a new development --

19       A.    No.    We --

20                    MS. PECK:      Objection to form.

21                    MR. KLEIN:      I didn't finish the

22            question.

23                    MS. PECK:      I thought you were done.
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 1                     (Jasper Estaris - by Mr. Klein)

 2   BY MR. KLEIN:

 3         Q.   Did you offer to -- given this development, given

 4   what you just told him, did you offer to give him time

 5   to either gather his thoughts before you interviewed him

 6   or to speak with his counsel or anyone else he wanted

 7   to?

 8         A.   We gave him some time to just relax.

 9         Q.   In your presence.

10         A.   Yes.

11         Q.   When you say in your presence, when I say in your

12   presence, I mean, your testimony is that your colleague

13   was with you?

14         A.   Kelly Barry was with me.

15         Q.   Do you have an independent recollection of her

16   being present for the interview with Adrian Thomas at

17   the time of the interview?

18         A.   Yes.

19         Q.   When you say the law library, where were you?

20              What was the layout of the law library?

21         A.   There was a table.         Adrian was there and the two

22   of us were here.

23         Q.   When you say that there was a table, were you on
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 1                    (Jasper Estaris - by Mr. Klein)

 2   the opposite side of the table of Adrian?

 3       A.    Yes.

 4       Q.    Where was Kelly?

 5       A.    Beside me.

 6       Q.    Was she sitting even with you, or was she at some

 7   location behind you, or somewhere else in the room?

 8       A.    We were even.

 9       Q.    Was she with you during the entire interview,

10   including when you told Adrian that his son had passed,

11   or just a part of it?

12       A.    For the whole thing.

13       Q.    How long did that meeting last?

14       A.    I can't recall how long.

15       Q.    Do you know if it was minutes, hours, days?

16       A.    It was, I believe, close to an hour.

17       Q.    During that time of this interview, did you ever

18   offer or think to offer Adrian an opportunity to call an

19   attorney?

20       A.    No.

21                    MS. CALABRESE:        I'm sorry.       Can you

22            repeat that question and answer?

23                    (Question and answer repeated by
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 1                     (Jasper Estaris - by Mr. Klein)

 2                     THE WITNESS:      Yes.

 3   BY MR. KLEIN:

 4       Q.    And you said at some point he gained his

 5   composure so that you could interview him?

 6       A.    Yes.

 7       Q.    Once he gained his composure, did he at any other

 8   time after that break out in tears or become sobbing or

 9   historical, or was he in a calmer mood after that?

10       A.    Calmer mood.

11       Q.    Do you recall whether there were any other CPS,

12   county, Troy, or any other officials or persons in the

13   law library at the time you spoke with Adrian Thomas

14   that day?

15       A.    No.

16       Q.    Were there any --

17       A.    I mean, Kelly Barry.           I'm sorry.

18       Q.    Other than Kelly Barry.

19       A.    Okay.

20       Q.    Were there any, for instance, county jail

21   officers assigned to the library or librarians or

22   anything else?

23       A.    Not that I remember.           No.
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 1                      (Jasper Estaris - by Mr. Klein)

 2         Q.   Your recollection is that it was just the three

 3   of you in that room?

 4         A.   Yes.

 5         Q.   Do you recall if there were any CCTV or other

 6   video surveillance equipment apparently in the room,

 7   whether or not it worked?

 8         A.   I can't recall, I mean.

 9         Q.   Was your interview recorded in any manner other

10   than what you claim to be notes of Kelly Barry?

11         A.   No.

12         Q.   Going back to the August 18, '08 incident.

13              Do you recall when you became aware of that

14   incident?         In other words, was it on August 18, '08, or

15   was it a day or two after that?

16         A.   When I got the report?

17         Q.   Yeah.

18         A.   The report was the 19th, I believe.

19         Q.   Were you made aware of the report that same day?

20         A.   Yes.

21         Q.   What did you do in response to that report coming

22   in?

23         A.   Can I take a look at my progress notes?
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 1                   (Jasper Estaris - by Mr. Klein)

 2       A.   I mean, I read what's being said.

 3       Q.   And so, what is your understanding of what caused

 4   his death?

 5                   MS. PECK:       Objection.

 6                   MR. PERKINS:        Objection to the form.

 7                   MS. CALABRESE:         Object to the form.

 8                   Obviously, he can answer if he knows.

 9                   Calls for expert conclusion.

10                   MR. KLEIN:       No.    I'm just asking -- he

11            said he read what was said.

12   BY MR. KLEIN:

13       Q.   So what did you read, that it was a bacterial

14   infection?

15       A.   I read that part.

16       Q.   But you just know what you read.                You don't know

17   either way --

18       A.   No, I don't.

19       Q.   You don't know whether trauma caused his death or

20   whether a bacterial infection caused his death.

21            You just conducted some interviews, correct?

22       A.   Right.

23       Q.   Your claim is that Mr. Thomas described about
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 1                   (Jasper Estaris - by Mr. Klein)

 2   four incidents, starting 10 or 15 days before M

 3   going into the hospital, up until the morning of the

 4   hospital, where he either threw M                      on a bed or

 5   bumped his head into M                  on a bed, in sum and

 6   substance, correct?

 7       A.   Yes.

 8                   MS. PECK:       Objection to form.

 9   BY MR. KLEIN:

10       Q.   You don't know whether those claims that are set

11   forth in Ms. Kelly's notes --

12       A.   Kelly Barry.

13       Q.   Ms. Barry's notes.

14            You don't whether those notes -- what's stated in

15   those notes, those incidents, whether they actually

16   happened or not, do you?

17            That's just what you claim you were told,

18   correct?

19                   MS. PECK:       Objection to form.

20                   THE WITNESS:        That's what Adrian told

21            me.

22   BY MR. KLEIN:

23       Q.   So, prior to going there that day, did you have
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
___________________________________________________
ADRIAN THOMAS,

                                      Plaintiff,
                                                                         ATTORNEY REPLY
                                                                           DECLARATION
               -against-                                           Civil Action No.: 1:17-cv-626
                                                                            (GTS/DJS)
ADAM R. MASON, RONALD FOUNTAIN,
TIM COLANERI, and MICHAEL SIKIRICA,

                              Defendants.
___________________________________________________

       RHIANNON I. SPENCER, ESQ., under penalty of perjury, sets forth the following:

       1.      I am an attorney duly licensed and admitted to practice in all Courts of the State of

New York and I am admitted to practice in the United States District Court for the Northern District

of New York. I am employed by the law firm of Pattison, Sampson Ginsberg & Griffin, PLLC

who are the attorneys for the above-named defendants Adam R. Mason, Ronald Fountain and Tim

Colaneri (hereinafter referred to as the “City defendants”).

       2.      I submit this Reply Declaration, together with the accompanying Memorandum of

Law in reply to the Plaintiff’s Opposition to the City Defendants’ Motion for Summary Judgement,

and the City Defendants’ Objection and Response to Plaintiff’s purported Local Rule 56.1 Counter

Statement.

       3.      First, as argued in the accompanying Reply Memorandum of Law and in response

to Plaintiff’s purported Local Rule 56.1 Counter Statement, such submission is completely

improper and fails to comply with the Local Rules. Based upon such failure to comply with the

Local Rules, the Court ought to reject to consider the same.


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        4.      Next, Plaintiff basis a majority of his opposition to summary judgment upon the

assertion that the Court must find that a question of material fact exists “regarding whether the

entire narrative that a murder had occurred in the first was place was engineered by the TPD

defendants, beginning with Fountain’s false claim that Dr. Edge had told him that this was a

murder, words Dr. Edge denied he would have ever uttered.” (See, pg. 22 of E.C.F. Doc. No. 152).

        5.      Critically though, such assertion is a misstatement because Dr. Edge did not recall

whether he said verbatim “this is a murder” during a deposition some twelve years after the fact.

(pp. 116, L. 14-18; 118, L. 21-24 of Edge EBT, Exhibit “F” to Spencer Moving Declaration).

        6.      More importantly, whether Dr. Edge said verbatim the word “murder,” or recalls

saying such word, is irrelevant and does not support Plaintiff’s assertion that a genuine issue of

material fact exists.

        7.      Irrespective of what words were precisely told to Defendant Fountain, Dr. Edge

explicitly signed a witness deposition, one day after M.T. was admitted to AMC and before

Plaintiff was interrogated the second time, that stated that Dr. Edge was concerned that M.T. was

“a victim of child abuse” and that the injury that M.T. suffered, “typically is a high impact injury

or other acceleration/ deceleration. This type of injury can be caused by very violent shaking or

shaking and forced against a hard object.” (Exhibit “B” to Mason Affidavit).

        8.      Dr. Edge further stated, prior to Plaintiff’s second interview, M.T. “also has brain

swelling caused by severe trauma . . . [and] this type of injury could not have been caused by

merely bumping [M.T.’s] head against a hard object, there needs to be severe acceleration prior to

striking the hard object.” (Id.).

        9.      To accept Plaintiff’s assertions that the City Defendants somehow engineered a


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narrative regarding the injuries to M.T. would require this Court to find that there’s a question of

fact as to whether the City Defendants altered or manufactured such witness deposition that was

obtained prior to Plaintiff’s questioning.

        10.     However, such finding would be in contravention to Dr. Edge’s testimony that the

“information that’s contained in that deposition of a witness [is] accurate as far as [he] knows.” (p.

66, L. 9-14, L. 24-p. 67, L. 9 of Exhibit “F” to Spencer Moving Declaration).

        11.     Additionally, notations in M.T.’s medical records, which the police would not have

had access to prior to Plaintiff’s interview, confirm that the medical professionals or, at least Dr.

Edge, were primarily concerned that such injuries to M.T. was criminal in nature, for example: on

September 21, 2008, an entry at 14:03 (2:03PM, before the police even responded to the PICU at

2110): “Per MD, this is suspect injury.” (AT 0220, attached as Exhibit “A” hereto).

        12.     Furthermore, on September 22, 2008, another entry was made at 14:50, prior to

Plaintiff’s release from Samaritan Hospital and prior to his second interview, that stated “suspected

child abuse.” (Id.).

        13.     It is submitted that the evidence in this matter defeats Plaintiff’s assertion that the

City Defendants somehow manufactured M.T.’s injuries.

        14.     Additionally, in support of his assertion that a question of fact exits as to his

conspiracy claim, the Plaintiff improperly distorted Dr. Sikirica’s Testimony.

        15.     For instance, the Plaintiff asserted that “Dr. Sikirica admitted that he omitted any

mention of sepsis, despite his recognition of the presence of sepsis, because including the diagnosis

would divert from his (and the TPD defendants’) position that M.T. had died from trauma at the

hands of Thomas.” (E.C.F. Doc. No. 152, citing ⁋⁋69-73, 77-81 of his improper counter statement).


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       16.      Indeed, despite Plaintiff’s Attorney’s repeated attempts to get Dr. Sikirica to admit

to such assertion, Dr. Sikirica repeatedly rebuffed such. Critical portions of Dr. Sikirica’s

testimony omitted by the Plaintiff, include:

   Q. Do you feel that in retrospect you should have listed sepsis in the death certificate as a
      contributing cause of death? [emphasis supplied].

       A. No.

   Q. Why not?

       A. Because I think it's confusing. I think it unnecessarily diverts the real cause of death
          from what is going to be the closed head injury with cerebral edema. [p. 209, L. 12-
          20 of Sikirica EBT attached as Exhibit “B” to Spencer Moving Declaration]

    . . . . [p. 211, L. 4 of Sikirica EBT]. Q. Is that your understanding generally, a bacterial
    infection that caused the death?

       A. That was an argument made by the defense that a bacterial infection did cause the
          death.

   Q. Would it have been more transparent if you had put sepsis in your report?

       [Sikirica]: A medical professional would have read my report and understood that the
           positive cultures indicated that he did have sepsis. I didn't use the word ‘sepsis’, but
           I did describe the positive cultures which are synonymous with sepsis.

   Q. Well, I understood your answer before to be different, so correct me if I'm wrong. I
      thought the positive cultures are synonymous with streptococcus pneumoniae which is
      not in and of itself sepsis.

       A. No. It is sepsis.

   Q. So, strep –

       A. Positive blood cultures are synonymous with either two things, bacteremia or sepsis.

   Q. So streptococcus pneumoniae is bacteremia and sepsis both?

       A. Streptococcus pneumoniae is the organism that was identified in his blood that was
          the cause of his sepsis that caused the blood to be infected with strep pneumoniae.

   Q. So, given that that was the cause of his sepsis, saying he had streptococcus pneumoniae,
      does someone who has streptococcus pneumoniae necessarily have sepsis?

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       A. No.

   Q. So, then, it would not be accurate that just putting the streptococcus pneumoniae in the
      report would lead someone to conclude that he had sepsis, is it?

       A. If I said it was isolated from the blood it would be the same as saying he had sepsis.

   Q. But you didn't say that.

       A. Correct. I simply said it was isolated from the blood.

                   MS. CALABRESE: You did say that?

       [Sikirica]: Streptococcus pneumoniae was isolated from the blood. Blood culture positive
       for streptococcus pneumoniae on initial presentation.

                   MS. PECK: So, you did say that.

       [Sikirica]: I did say that it was in his blood. It is equivalent to sepsis.

   BY MR. KLEIN: Q. That is the equivalent of saying he had sepsis?

       A. Yeah. [p. 211, L. 4—p. 213, L. 9 of Sikirica EBT].

       17.      The Plaintiff’s Opposition contains additional misrepresentations as to the facts in

this matter which are disputed in the Defendants’ detailed Reply to Plaintiff’s Counter Statement.

       18.      Further, attached hereto as Exhibit “B” is copy of the criminal trial court’s Huntley

decision regarding Thomas’ motion to suppress his statement.

       19.      Attached as Exhibits “C”, “D” and “E” is a Copy of Defendant Fountain’s,

Defendant Mason’s and Defendant Colaneri’s deposition transcripts respectively.

Dated: October 25, 2021.

                                               _________________________________________
                                               Rhiannon I. Spencer, Esq.
                                               Pattison, Sampson, Ginsberg & Griffin, PLLC
                                               Attorneys for Defendants, Adam R. Mason,
                                               Ronald Fountain, and Tim Colaneri
                                               22 First Street - P. O. Box 208
                                               Troy, New York 12181-0208

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             Exhibit “A”
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         ~ALBANYMED
                DEPARTMENT - Health Information Services

          43 New Scotland Avenue,MC-67,Albany, NewYork 12208-3497                                        P 518,262.3151
                                                                                                         F 518.262.3624
         This is a certification from Albany Med on the following patient:

         Patient Name:
         Medical Record
         Date of Birth:
         Date Of Service:




         The affiant is the duly authorized custodian or other qualified witness and has authority to make the
         certification;

             1. To the best of the affiant's knowledge, after reasonable inquiry, the records or copies thereof are
                accurate versions of the documents described in the request that are in the possession, custody, or
                control of the person receiving the request;

             2. To the best of the affiant's knowledge, after reasonable inquiry, the records or copies produced
                represent all the documents described in the request, or if they do not represent a complete set of
                the documents requested, an explanation of which documents are missing and a reason for their
                absence is provided; and




             3. The records or copies produced were made by the personnel or staff of the business, or persons
                acting under their control, in the regular course of business, at the time of the act, transaction,
                occurrence or event recorded therein, or within a reasonable time thereafter, and that is was the
                regular course of business to make such records .



                                                               .,,

         NAME Susan Riley ~ (G ~.
         Title    Asa V11                                   cl"
         Health Information Services
         Albany Med                                                                          DEBORAH JOHNSON
         Sworn to before me this 16th the day of October 2020                            Notary Public State of New York
                                                                                                t~o 01JO63B0i97
                                                                                          Qm,Wied in 15e~sselaer County:v--
                                                                                        Commission Expires Sept 4, 20_




                                                                                                           www.amc.edu




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          UNITED STATESDISTRICTCOURT
          NORTHERNDISTRICTOF NEW YORK

          ADRIANTHOMAS,

                                               Plaintiff,
                                                                          SUBPOENADUCESTECUM
                         -against-                                         Civil ActionNo.: 1:17-cv-626
                                                                                     (GTS/DJS)
         CITY OF TROY,ADAMR. MASON,RONALDFOUNTAIN,
         TIM COLANERI,COUNTYOF RENSSELAERand
         MICHAELSIKIRICA,

                                               Defendants.

                               THE PEOPLEOF THE STATEOF NEW YORK
         To:     Albany Medical Center
                 Attn: Medical Records
                 43 New Scotland Avenue
                 Albany, New York 12208

                 WE,COMMANDYOU, pursuant to CPLR §2305(b), that all busme,ssand excuse
                                                                                                    s being
         laid aside,,and that you produce the followingdocuments of the above-captio
                                                                                     ned matter at the Law
         firm of Pattison, Sampson Ginsberg& Griffin~PLLC on or before October 16,
                                                                                        2020 at 9:30 a.m.
                Any and all documentation relating to


                 Failure to complywith this subpoenais punishableas a contemptof Court and
                                                                                                 shall make
         you liable to the person on whose behalf this subpoena was issued for a penalt
                                                                                        ynot to exceed fifty
         dollars and all damagessustainedby reason of your failure to comply.
         Dated: October 1, 2020.                     R.Ju.1J           d). S.pe.nAc2
                                                          ../i.J\IJ..-f:..
                                                      Rhiannon I. Spencer, Esq.
                                                      Pattison S.ams,on   Ginsberg& Griffin, PLLC
                                                      Attorney for Defendants,
                                                      City of Troy, Adam R. Mason and Tim Colaneri
                                                      22 First Street, P.O. Box 208
                                                      Troy, New York 12180
                                                      Tel. (518) 266-1001




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               AUTHORIZATION FOR RELEASE OF HEALTH INFORMATION PURSUANT
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                                                                                       4OCA
                                                                                         of 7Official Form No.: 960
                                                                                           TO HIPAA                         1967
                        [Thisformhas beenapprovedby the New York StateDepartmentof Health]

                                                                                                                     Social Security Number

      Patient Address
         Deceased
     I, or my authorized representative, request that health information regarding my care and
                                                                                                     treatment be released as set forth on this form:
     In accordance with New York State Law and the Privacy Rule of the Health Insurance Portabilit
                                                                                                            y and Accountability Act of 1996
     (HIPAA), I understand that:
     1. This authorization may include disclosure of information relating to ALCOHOL.
                                                                                                       and. DRUG ABUSE, MENTAL HEALTH
     TREA'fME T, except psychotherapy notes, and CONFIDENTIALHIV* RELATEDINFORM
                                                                                                                 ATIO only if I place my initials on
     the appropriate line in Item 9(a). In the event the health information described below includes
                                                                                                             any of these types of information, and 1
     initial the line on the box in Item 9(a), 1 specifically authorize release of such information
                                                                                                      to the person(s) indicated in Item 8.
     2. If I am authorizing the release of HIV-related, alcohol or drug treatment, or mental
                                                                                                      health treatment information, the recipient is
     prohibited from redisclosing such information without my authorization unless permitted
                                                                                                           to do so under federal or state law. I
     understand that I have the right to request a list of people who may receive or use my HIV-relat
                                                                                                            ed information without authorization. If
    I experience discrimination because of the release or disclosure of ffiV-related informati
                                                                                                   on, I may contact the New York State Division
    of Human Rights at (212) 480-2493 or the New York City Commission of Human Rights
                                                                                                            at (212) 306-7450. These agencies are
    responsible for protecting my rights.
    3. I have the right to revoke this authorization at any time by writing to the health care
                                                                                                    provider listed below. I understand that I may
    revoke this authorization except to the extent that action has already been taken based on
                                                                                                    this authorization.
    4. I understand that signing this authoriza~ion is voluntary. My treatment, payment,
                                                                                                    enrollment in a health plan, or eligibility for
    benefits will not be conditioned upon my authorization of this disclosure.
    5. Information disclosed under this authorization might be redisclosed by the recipient
                                                                                                       (except as noted above in Item 2), and this
    redisclosure may no longer be protected by federal or state law.
    6. THIS AUTHORIZATION               DOESNOT AUTHORIZEYOU TO DISCUSSMY
                                                    HEALTHINFORMATIONOR MEDICAL
    CAREWITHANYONEOTlIERTHANTHEATTORNEYOR GOVERNMENTAL
                                                     AGENCYSPECIFIEDIN ITEM9 (b).
    7. Name and address of health provider or entity to release this information:
         Albany Medical Center, 43 New Scotland Avenue~Albany, New York 12208
    8. Name and address of person(s) or category of person to whom this infonnation will be
                                                                                                  sent:
         Pattison, Sampson, Ginsberg & Griffin, PLLC, 22 First St., Troy, New York 12180
    9(a). Specific information to be released:
          caMedical Record from (insert date)                             to (insert date)
          ca
           Entire Medical Record, including patient histories, office notes (except psychotherapy notes),
                                                                                                             test results, radiology studies, films,
            referrals, consults, billing records, insurance records, and records sent to you by other health
                                                                                                             care providers.
         □ Other:
                                                                                               ~l\ d~: (Indicate by Initialing)
                                                                                                L\. 1\~'~Alcohol/Drug Treatment
                                                                                                /\\~~,, ~entaJ HealthInformation
    Authorizationto DiscussHealthInformation                                                    •-\\}l 'WHIV-Related Information
     (b) □ By initialing here                I authorize
                                    Initials                                 Name of individualhealth care provider
          to discuss my health information with my attorney, or a governmental agency, listed here:

                                              (Attorney/FinnName or GovernmentalAeencyName)
    10. Reason for release of information:                              11. Date or event on which this authorization will expire:
        0 At request of individual
        0 Other: Litigation                                             At the conclusion of litigation
    12. If not the patient, name of person signing form:                13. Authority to sign on behalf of patient:
    Adrian Thomas                                                          Father of decedent
   All items on this form have been completed and my questions about this form have been
                                                                                         answered. In addition, I have been provided a
   copy of the form.

                                                                                       10 / 01 / 2020
                                                                             Date: ___________                       _
     Signature of patient or representative authorized by law.
    * HumanImmunodeficiencyVirus that causes AIDS. The New York State Public Health Law
                                                                                           protectsinformationwhich reasonablycould
      identifysomeone as having HIV symptomsor infectionand information regarding a person's
                                                                                             contacts.


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                Directive?:No
         Advanced                                       IAdvDirDate:            DO~""                    Reasoo:


         CurrentDME/ HomecareServices:None/Noneeds

                       Resources:ChildProtective
         CurrentCommunity

         PhysicalFunctionLevel: Infant                                     MentalStatus:Coma

                               - ALS
                       Ambulance
         Transportation:                                                                          Medicaid
                                                                                  Resources:Managed
                                                                           Financial

         InitialAssessments/   Comments:Delamater,  AdairSW 09/21/0823:4409212008       1920SWwascalledby PICUstaff,to meetwithpt'smotherto provide
         emotional  support.Pt is a 4 montholdboytransferred to PICUfromSamaritan    Hospitalonfulllifesupport.Hismotherstatedshefoundhimlimpwhenshe
         gotupthisam,andpt wastakento Samaritan      withc/o respiratorydistress.Pt hasb/1subduralhematomas,      andis in extremely criticalcondition.A reportto
         CPSwas     made  earlier.SW  metwithpt'smotherand her  brother,and theon-duty chaplinresponded     also. SWstayed  with pt'smotherwhenDr.Edgemet
         withherto explainthatpt'sinjuriesarelifethreatening,andhedoesnotbelievept willlive. At requestof Dr.Edge,SWcontacted         theTroypolice,andat
         2110,Del.RonFountainresponded      to thePICU.Hisdieskphone                 SWalsospokex 2 withoncallCPSworker,AndreaFandholt,             to explainpt's
         gravecondition,  andextremely  poorprognosis.Sheconfirmed                               histwinbrother,havebeenremoved
                                                                     thatpt'ssixsiblings,including                                      fromthehome,and
         placedin fostercare. SWmetwithpt'smother,andmatermal       grandmother to confirmforthemthattheotherchildrenhavebeenplaced.Pt'sgrandmother
         explained  thattherewas         an
                                   already  open  CPScase on  pt. She saidthe caseworkeris JasperEsposit                 SWmetwithchargenurse,andPeds
         resident.Thereis to benovisitationotherthanimmediate    family,andthatvisitationmustbesupervised.SWexplained        to chargenurse,andnursecaring

         frontof pt'schart.AdairDelamater,LMSW4011                                      /J~a
         for pt thata reportmustbemadeto theNYSChildAbuseandNeglectHotline(1-800,635-1522)

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                                                                                                     if pt expires.Th~for nd2hone umberwasleftonthe
                                                                                                              /;)p
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         DischarqeHomeCare Services/ DME NeedsBelow                                                                                  L/01/
                                                                                        StartI
         HomeCareAgency/DMEVendor                          Phone            Order       Delivery Needs
                                                                            Date        Date


         HC/ DMENotes:



                                                                        PatientFamilyInteraction

         09/21/0814:03       By: Alexander, B SW09-21-20081404:Calledto PICUbythePEDSMD(DanielleDunetz)regarding      thisbaby.Hewasapparently
         transferredfromSamaritan Hospital.HasheadCTherewhichshoweda bleed.POssible                              of this). PerMD,thisis a suspect
                                                                                                      confirmation
                                                                                       skullfx(awaiting
         injury.Patient'sMother(Wilhemina  Hicksaccompanied                  faintedandwassentto theEDfor evaluation.Limitedinfoavailable.Per
                                                          patientbutapprarently
                                                         thisbaby'stwin. CPScontacted
         report,thereare6 otherchildrenin thehomeincluding                           andthecasewastaken(R                                      ..
                                                                                                                            -workerZewdieTibebu)
         WillhaveSWfollowup intheAM>BA
                                                                          Response
         FacilityReferred To                              ReferralDate Date               Response



                   date
         Interaction                                 at MultidisciplinaryRounds?
                                         CaseDiscussed


         09/21/0814:03



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AT0220
                               Case
                            Case    23-753, DocumentDocument
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                                                                       MR#·2257912                  Ac I No·                        ID Plate:




                                      23:44
                         Date: 09/21/08
          InitialAssessment                                                 I DOB

                 Directive?:No
          Advanced                                      I AdvDirDate:                   I DischargePlanReason:
          CurrentDME/ HomecareServices:

                        Resources:ChildProtective
          CurrentCommunity

          PhysicalFunctionLevel: Infant                                    MentalStatus:Coma

                                -ALS
                        Ambulance
          Transportation:                                                                           Medicaid
                                                                           FinancialResources:Managed

          InitialAssessments/ Comments:Delamater,     AdairSW 09/21/0823:44092120081920         SWwascalledbyPICUstaff,to meetwithpt'smotherto provide
          emotional  support.Pt is a 4 montholdboytransferred to PICUfromSamaritan    Hospitalonfull lifesupport.Hismotherstatedshefoundhimlimpwhenshe
          gotupthisam,andpt wastakento Samaritan       withc/orespiratorydistress.Pt hasb/1subduralhematomas,      andis in extremelycriticalcondition.A reportto
          CPSwasmadeearlier.SWmetwithpt'smotherandherbrother,andtheon-dutychaplinresponded                   also. SWstayedwithpt'smotherwhenDr.Edgemet
          withherto explainthatpt'sinjuriesarelifethreatening,andhedoesnotbelievept willlive. At requestof Dr.Edge,SWcontacted        theTroypolice,andat
          2110,Del.RonFountainresponded      to the PICU.Hisdieskphone                 SWalsospokex 2 withoncallCPSworker,AndreaFandholt,           to explainpt's
          gravecondition,  andextremely poorprognosis.Sheconfirmed    thatpt'ssixsiblings,includinghistwinbrother,havebeenremoved       fromthehome,and
          placedin fostercare. SWmetwithpt'smother,andmatermal       grandmother  to confirmfor themthattheotherchildrenhavebeenplaced.Pt'sgrandmother
          explained  thattherewasalreadyanopenCPScaseon pt. Shesaidthecaseworkeris JasperEsposit                          SWmetwithchargenurse,andPeds
          resident.Thereis to be novisitationotherthanimmediate   family,andthatvisitationmustbesupervised.SWexplained        to chargenurse,andnursecaring
          for pt thata reportmustbemadeto the NYSChildAbuseandNeglectHotline(1-800-635-1522)           if pt expires.Theformandphonenumberwasleftonthe
          frontof pt'schart.AdairDelamater,LMSW4011


                                 / DMENeedsBelow
                  HomeCareServices
          Discharge
                                                                                        Start/
          HomeCareAgency/ DMEVendor                        Phone            Order       Delivery Needs
                                                                            Date        Date


          HC/ DMENotes:



                                                                        PatientFamilyInteraction

           09/21/0814:03       By: Alexander, B SW09-21-2008  1404:Calledto PICUbythePEDSMD(DanielleDunetz)regarding         thisbaby. Hewasapparently
           transferredfromSamaritan Hospital.HasheadCTherewhichshoweda bleed.Possibleskullfx(awaiting       confirmationof this). PerMD,thisis a suspect
           injury.Patient'sMother(Wilhemina  Hicksaccompaniedpatientbutapprarently  faintedandwassentto theEDforevaluation.Limitedinfoavailable.Per
           report,thereare6 otherchildrenin thehomeincludingthisbaby'stwin. CPScontacted     andthecasewastaken(RE                 -workerZewdieTibebu) ..
         ~11-have·S~w        upin theAM>BA
           09/22/0814:50 '     By: Jones,KathyRNCM          4 montholdinfanttransferrred   fromOSHto AMCPICUfor HLOCevalandmanagment         of bilateral
         --srn=rolvaryingagesandacutedeclinein mentalstatus;respiratory  failure. Infantis unJ~eonslve,nogagor pupilreflex~s;comatose.Suspected     child
           abuse.AcceptedCPScaseRenselaer       Cly. CM/SWfollowingfor dispos~on.              '· t'A/v--Pe✓ u,v, ~ r-1 ~u
                                                                                                 /
                                                                                Response
           FacilityReferredTo                                ReferralDate       Date               Response



                    date
          Interaction                   I CaseDiscussed                 Rounds?
                                                      at Multidisciplinary



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AT0221
                            Case
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                                                   MR#:2257912     AcctNo             ID Plate:

         09/21/0814:03
         09/22/0814:50                 at rounds
                                Reviewed

                   Facility:
         CMDischarge




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                           2   STATE OF NEW YORK                 COUNTY COURT
                               COUNTY OF RENSSELAER              CRIMINAL TERM
                           3   ******************************************
                               THE PEOPLE OF THE STATE OF NEW YORK,
                           4

                           5   - against       -                            Indictment      08-1074
                           6   ADRIAN THOMAS,
                           7                           Defendant.
                               ****************************************
                           8                           Rensselaer    County Courthouse
                                                       Congress   and Second Streets
                           9                           Troy, New York      12180
                                                       September    11, 2009
                         10
                                                   Decision
         ~-              11

                         12
                               Before:
                                         HONORABLEANDREWCERESIA,
                         13                         County Court Judge
                         14    Appearances:
                         15    For   THE PEOPLE OF THE STATE OF NEW YORK:
                         16          RICHARD J. McNALLY, JR., ESQ.
                                     Rensselaer    County District   Attorney
                         17          Rensselaer    County Courthouse
                                     Congress   and Second Streets
                         18          Troy, New York 12180
                         19          BY:      ARTHUR GLASS, ESQ.
                                              Assistant District Attorney
                         20

                         21    For       DEFENDANT:
                         22          JEROME K. FROST, ESQ.
                                     Rensselaer    County Public   Defender
     '"'l' ....          23          Rensselaer    County Courthouse
                                     Congress   and Second Streets
..'"                     24          Troy, New York 12180
 "
                         25          BY:      INGRID EFFMAN, ESQ.
                                              Assistant Public Defender

                                                   Cheryl M. Moore, Senior Court Reporter
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                                                                                2

         1   People v. Adrian Thomas

        2    Also   Present:
         3          Adrian      Thomas, Defendant
                    Clerk      of the Court
         4

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                                Cheryl M. Moore, Senior Court Reporter
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    1   People v. Adrian Thomas

    2                            ( In open            court.            )

    3                            THE COURT:                   Please               be seated.

    4                            (Whereupon,                  the           defendant                 entered           the

    5                 courtroom.)

    6                            THE COURT:                   Okay.                We're             back       on the

    7                 record         in       the     matter                of     the         People          versus

    8                Adrian          Thomas.

    9                           The Court                  will       now deliver                       its

   10                 decisions               --    its      decision                    for        each       of the

   11                 hearings.

   12                           The Court                  will         start            with         the      Dunaway

   13                hearing.                 The following                        constitutes                   the

   14                 opinion,            decision                and        order             of     the      Court.

   15                           The defendant,                        claiming                  that          the      police

   16                 lacked         probable               cause            to      take           him       into

   17                 custody           seeks         to     suppress                    his        statements

   18                 subsequently                  obtained                 by law enforcement.

   19                           The People                  assert                that         the     defendant

   20                was not            in     custody              until           he was placed                       under

   21                arrest,            at     which         time,               there          was probable

   22                cause        for        that         arrest.

   23                           The          People         have            the      burden            of      proving

   24                that      the        police            had      probable                   cause          to    take

   25                the     defendant                into          custody.


                            Cheryl M. Moore, Senior Court Reporter
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    1   People v. Adrian Thomas

    2                           With        regard          to     the      suppression                    of

    3                 evidence,             the      People         have         the        burden          of

    4                 going          forward         to     show the              legality            of        the

    5                 police          conduct         and the              defendant               then         has

    6                 the      ultimate            burden          of     proof         that         the        police

    7                 conduct          was unlawful.

    8                           A pretrial                 suppression                 hearing             was

    9                 conducted             before         this          Court         on September

   10                 9th,      10th        and      11th,         2009.

   11                           The Court                has     reviewed              the     entire

   12                 videotaped             interview              of      the        defendant                and

   13                 has      also      considered                the      testimony                of

   14                 Sergeant          Adam Mason                 and      Detective                Ronald

   15                 Fountain.

   16                           The Court                makes       the      following               findings

   17                 of     fact.          In     the      late         evening            hours          of

   18                 September             21,      2008,         after         having            conducted             a

   19                 preliminary                 investigation,                   Sergeant               Mason

   20                 and      Detective             Fountain              went        to    the

   21                 defendant's                 home and          asked          him if            he would

   22                 be willing             to      accompany              them        to     the        police

   23                 station          to    speak          to     them.

   24                           The defendant                    voluntarily                 agreed             and

   25                 was driven             to      the       police         station              by the


                             Cheryl M. Moore, Senior Court Reporter
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    1   People v. Adrian Thomas

    2                 police          officers               in     an unmarked                  vehicle.

    3                              At approximately                            5:45      p.m.        on September

    4                 22,      2008,           the        defendant              was released                      from

    5                 Samaritan                Hospital,             having              been        determined

    6                 not      to     be a threat                   to         harm      himself,             which

    7                 was the             sole        reason             for     his       hospitalization.

    8                               He met           with         Sergeant              Mason        and       Sergeant

    9                 Joseph          Centanni,               who were                 waiting          for         him in

   10                 the      lobby           outside             the         Mental         Health.Unit.

   11                               Sergeant              Mason          asked          the     defendant                 if

   12                 he would             be willing                    to     return          to     the         police

   13                 station             to     continue                speaking             with      him.             The

   14                 defendant                voluntarily                     agreed         and      was driven

   15                 to     the      police              station              by the         police          officers

   16                 in     an unmarked                   vehicle.

   17                               The Court               makes         the         following

   18                 conclusions                    of     law:          As a general                  rule

   19                 custodial                detention                 and         interrogation                  can

   20                 only         be justified                    upon         a showing              of     probable

   21                 cause          to    arrest.                 However,              when        a defendant

   22                 voluntarily                    consents             to         accompany          the         police

   23                 to     the      police              station              for      the    purpose              of

   24                 questioning,                    that         consent              obviates             the      need

   25                 to     show that                the     officer                 had probable                  cause.


                             Cheryl M. Moore, Senior Court Reporter
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    1   People v. Adrian Thomas

    2                            Here,         in     both         instances,                the         defendant

    3                 voluntarily               agreed             to     accompany               the         police

    4                 officers           to     the         police          station              for

    5                 questioning.                   Accordingly,                     the        defendant's

    6                 motion       to      suppress                his      statements                  based          upon

    7                 a lack       of      probable                cause         is    denied.

    8                            The Court                 will         now address                the        Hunt1ey

    9                 issue.            The     following                 constitutes                   the

   10                 opinion,           decision                 and     order        of        the      Court.

   11                            The defendant,                         claiming            to    be aggrieved

   12                 by an unlawful                   acquisition                    of     evidence,                 has

   13                 moved       to     suppress                 statements               made        by him on

   14                 September            22nd        of         2008      to     Sergeant              Adam

   15                 Mason       and      Detective                 Ronald           Fountain                on the

   16                 grounds           that        they          were      involuntarily                      made

   17                 within       Criminal                 Procedure              Law 60.45.

   18                            A confession,                     admipsion                or     statement                 is

   19                 admissible               at     trial          only        if    its

   20                 voluntariness                   is      established                  by the             People

   21                 beyond       a reasonable                      doubt.

   22                            A pretrial                 suppression                hearing                was

   23                 conducted            before             this        Court        on September

   24                 9th,       10th      and        11th,          2009.

   25                            The Court                 has     reviewed            the         entire


                             Cheryl M. Moore, Senior Court Reporter
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    1   People v. Adrian Thomas

    2                 videotaped                interview               of      the        defendant              and

    3                 has      also         considered                 the      testimony              of

    4                 Sergeant             Adam Mason                  and      Detective              Ronald

    5                 Fountain.

    6                           The Court                  makes        the          following              findings

    7                 of     fact:             In    the        late         evening          hours          of

    8                 September                21,    2008,            Sergeant             Mason        and

    9                 Detective                Fountain            went         to     the      defendant's

   10                 home and             asked           him if            he would           be willing                to

   11                 accompany                them        to    the         police          station          to

   12                 speak          to    them.

   13                           The defendant                      agreed             to     do so.

   14                           The defendant                      was driven                  to   the         police

   15                 station             in    an unmarked                   police          vehicle.

   16                           Upon arriving                      at        the      police        station              the

   17                 police          officers              and        the      defendant              went        to     an

   18                 interview                room        on the            third         floor.

   19                           The defendant                      was given                 his    Miranda

   20                 warnings              and      signed            a written              waiver.

   21                           The defendant                      was         interviewed                for      just

   22                 under          two hours              and        then          reviewed          and        signed

   23                 a one          page       written            statement.

   24                           The defendant                      then            indicated           that        he

   25                 felt      like           he could            jump         off        of a bridge.


                             Cheryl M. Moore, Senior Court Reporter
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    1   People v. Adrian Thomas

    2                 The police                asked          him if           he wanted            to        speak

    3                 to      someone           about          that.            The defendant

    4                 declined             and        then         continued            a brief

    5                 conversation                    with         the       police.

    6                            The police                   again          asked      the      defendant                  if

    7                 he wished             to        speak         to       someone         and     the

    8                 defendant             then           indicated             that        he would                like

    9                 to      speak        to     a counselor.

   10                            The police                   prepared            a mental           hygiene

   11                 form      and        then        drove           the      defendant            to

   12                 Samaritan             --        to     the         Samaritan           Hospital

   13                 Mental          Health           Unit.

   14                            Having              been      found          by a doctor                 at

   15                 Samaritan             Hospital                that        he did         not    pose            a

   16                 threat          to    harm           himself,             the     defendant               was

   17                 discharged                at     approximately                    5:45       p.m.         on

   18                 September             22,        2008.

   19                            Upon his               release              from      the     hospital,                  the

   20                 defendant             asked            the       hospital          staff        if        it

   21                would       be all               right         for       him to         remain            there

   22                 until       the       police             arrived           to     speak        to        him.

   23                            The defendant                      met       with      Sergeant               Mason,

   24                who was already                         waiting            for     him in        the            lobby

   25                 outside           of the             Mental            Health      Unit.


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     1   People v. Adrian Thomas

     2                            Sergeant               Mason     asked          the      defendant                 if

     3                 he would           be willing               to     return         to     the         police

     4                 station           to    continue            speaking             with         him.            The

     5                 defendant              agreed        and was driven                     to     the

     6                 police         station             by the         police         officers                ih    an

     7                 unmarked           vehicle.

     8                           Upon arriving                    at     the      police            station           the

     9                 defendant              was given            Miranda            warnings              and

    10                 again       signed            a written            waiver.

    11                           The defendant                    was interviewed                         for     just

    12                 over      seven         hours        during            which      time         a ten

    13                 page      statement                was prepared.                  The defendant

    14                 reviewed           and        signed        that         statement.

    15                           The Court                makes         the     following

    16                 conclusions                  of    law:         With       respect            to     the

    17                 first       interview,               the        defendant             was not

    18                 subjected              to     custodial            interrogation.                         The

    19                 defendant              voluntarily                agreed         to     accompany

    20                 the      police         officers            to     the      police            station              to

    21                 talk      to      them.            He was not              forced        or

    22                 threatened              in        any way to             go with         the         police,

    23                 nor      was he handcuffed,                        shackled             or

    24                 restrained              in        any manner.

    25                           Also,             the    defendant             was not             searched              or


                               Cheryl M. Moore, Senior Court Reporter
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     1   People v. Adrian Thomas

     2                 frisked          before         being             taken      to      the         police

     3                 station.

     4                            He was driven                    to     the      police           station             in

     5                 an unmarked               police            car     which         had       no

     6                 protective              screen         between              the    front            and back

     7                 seats.           Although             the        door      to     the       interview

     8                 room at          the     police             station          was closed

     9                 throughout             most        of the           interview,                it     was

    10                never        locked.             Also,            there       was nothing

    11                blocking           the      defendant's                    path     of       access          to

    12                the       door.

    13                            At no point                did         the     defendant                ever     ask

    14                to     leave       or     to     stop         the         interview           or      to     call

    15                anyone,           including             a lawyer.                  The interview

    16                lasted         under        two hours.

    17                            Under        these         circumstances,                       the      Court

    18                finds       that        a reasonable                     person        in     the

    19                defendant's               position,                 innocent           of     any         crime,

    20                would       have         felt      that           he or       she     was          free      to

    21                leave.

    22                            The Court             notes           that,       in    any        event,

    23                even       assuming             that      the        defendant              was in

    24                custody,           he was properly                         read     his       Miranda

    25                warnings,           voluntarily                     signed         a written


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     1   People v. Adrian Thomas

     2                 waiver,        and        never          unequivocally                       requested                an

     3                 attorney.

     4                            Regarding            the        second           interview,                    the

     5                 defendant           was not               subjected               to     custodial

     6                 interrogation.

     7                            The defendant                   voluntarily                      agreed          to

     8                 accompany           the        police            officers              to      the        police

     9                 station        to    talk           to     them.            He was not                    forced

    10                 or   threatened                in    any        way to            go with             the

    11                 police,        nor       was he handcuffed,                              shackled                or

    12                 restrained           in        any manner.

    13                            Aiso,         the    defendant                was not                searched              or

    14                 frisked        before           being            taken        to       the        police

    15                 station.

    16                            He was driven                   to      the      police              station            in

    17                 an unmarked               police           car      which          had         no

    18                 protective           screen               between           the         front         and        back

    19                 seats.         Although              the         door       to     the         interview

    20                 room was closed                     during          most          of     the

    21                 interview,           it        was never                locked.               Also,          there

    22                 was nothing               blocking               the     defendant's

    23                 access        --    path        of        access         to       the        door.

    24                            At no point                   did     the     defendant                   ever        ask

    25                 to   leave,         to     stop           the     interview                  or      to     call


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     2                 anyone.

     3                            Although            the     interview                 lasted

     4                 approximately                  seven        hours,          a lengthy

     5                 interrogation                  alone        does        not          render        a

     6                 defendant's               statement              involuntary                  where         the

     7                 defendant           is      given         breaks          and         does        not

     8                 request       food,            water        or     the      use        of     a

     9                 bathroom.

    10                            Here,         the      defendant              was offered                    food,

    11                 drink       and     bathroom              breaks,           all        of     which         he

    12                 declined.                The defendant                   asked         for        and was

    13                 provided           cigarette              breaks.

    14                            Under         these        circumstances,                        a reasonable

    15                 person       in     the        defendant's                position,                innocent

    16                 of   any     crime,            would        have         felt         that        he or         she

    17                 was free           to     leave.

    18                            The Court              notes         that,           in    any      event,

    19                 even       assuming            that       the      defendant                 was in

    20                 custody,           he was properly                       read         his     Miranda

    21                 warnings           and      voluntarily                  signed             a written

    22                 waiver.

    23                            With         respect        to       the      defendant's                    signing

    24                 of   the     written              waiver,          the      defendant's

    25                 statement           that          he did         not      feel         safe        and


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     2                 Sergeant             Mason's               response             to      that         did      not

     3                 impact         the        voluntariness                     of       said        waiver.

     4                           The defendant                       was simply                    referring                to

     5                 his     fear         of       retribution                 from          his      wife's

     6                 family,         which            had        no bearing                  on his             ability

     7                 to    understand                 and        waive         his        Miranda               rights.

     8                           It        is    also         noted         that         the         defendant                  did

     9                 not     request               an attorney.

    10                           Although               the        defendant                 did      mention               a

    11                 lawyer         at        one     point         during             the         interview,                  it

    12                 is    clear          that        he was merely                       inquiring

    13                 whether          he would                  need     an attorney                      for      an

    14                 upcoming             Family           Court         proceeding.

    15                           The defendant                       never         invoked                 his      right

    16                 to    counsel             for        the     present              matter.

    17                           The defendant                       argues             that         the         police

    18                 engaged          in       coercive             tactics               that        created              a

    19                 substantial                   risk      he would                falsely

    20                 incriminate                   himself.

    21                           Although               there            were      several                 instances

    22                 throughout                the        videotaped                 interviews                  where

    23                 the     police            indicated                that         the      defendant                 was

    24                 not     going            to     be arrested                 at       the       present

    25                 time,      a promise                  not      to     arrest             a defendant                      at


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     2                 the      present            time        does      not          constitute                 a

     3                 coercive           police           tactic.

     4                            Significantly,                       the      Court            also         notes

     5                 that       when the              defendant               asked

     6                 specifically                  asked        Sergeant                 Mason,          "So

     7                 what's         the      next        step?             Will          I be         criminally

     8                 prosecuted?"                     Sergeant             Mason          responded,

     9                 "I     can't       promise              that's           never            going         to

    10                 happen,         because             I don't              know what's                    going         to

    11                 happen,         but,          you       know,          it's         not     going             to

    12                 happen         right         now."

    13                            Accordingly,                   the         Court         concludes                 that

    14                 no promises                 of     leniency              were        made         to      the

    15                 defendant.

    16                            And,        in     addition,                any       lies        that         may

    17                 have       been       told         to    the      defendant                 by the

    18                 police         do not            amount          to      coercive                police

    19                 tactics.

    20                            Accordingly,                   the         Court         finds         that          the

    21                 police         did      not        engage         in          any    coercive

    22                 tactics         that         were        so fundamentally                           unfair            as

    23                 to     deny     the         defendant             due          process.

    24                            The police               did         not      engage            in     any

    25                 conduct         which            created          a substantial                         risk


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     2                 that     the     Court              (sic)         would        falsely

     3                 incriminate              himself.

     4                            The defendant                     argues           that         the      fact         that

     5                 he was admitted                      to      Samaritan               Hospital              for      a

     6                 psychological                  evaluation                 between             the     two

     7                 police         interviews                  rendered            his         statements

     8                 involuntarily.

     9                            The defendant                     was taken               to     Samaritan

    10                 Hospital          for         the         limited         purpose             of

    11                 evaluating              his         threat          to    harm         himself             and      it

    12                 was determined                      that      he could               safely          be

    13                 released         because                  he was not               a danger           to

    14                 himself.

    15                            During         this            period         of    evaluation                  there

    16                 was no police                  questioning                    of     the      defendant.

    17                            The Court                notes         that        the      brief

    18                 discussion              that         occurred             between             the

    19                 defendant           and        the         officers            after          the

    20                 defendant           initially                 stated           that         he felt              like

    21                 he could          "jump             off      of     a bridge"               was

    22                 initiated           by the                defendant.

    23                            The defendant                     volunteered                   certain

    24                 statements              that         were         not     in       response           to

    25                 police         questioning.                       The police                repeatedly


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     2                 asked          him whether                   or    not      he wanted              to     speak

     3                 to    someone               until         the      defendant               eventually

     4                 stated          he would                 like      to     speak       to      a

     5                 counselor.

     6                           At that                point,           all      discussions              ceased

     7                 and      the     defendant                   was brought              directly                to

     8                 Samaritan              Hospital.

     9                           With         respect               to    the      preprinted              mental

    10                 hygiene          form            which          referenced            the         word

    11                 "custody",                  to     the       extent         that      it     could         be

    12                 argued          that         the         defendant           was in          custody               at·

    13                that       point,             any         such      custody          was      for        the

    14                 limited          purpose                of transporting                     the

    15                defendant               to        Samaritan               Hospital           and     the

    16                defendant               was not               in    custody          for      the        purpose

    17                of     any       interrogation.

    18                           Moreover,                    the      police        transported                 --       the

    19                Court        notes            that         the      police          tra~sported                 the

    20                defendant               to        the      hospital·          at     his      request.

    21                           Furthermore,                       during         the     second

    22                interview,                   following              the      defendant's

    23                hospitalization,                           the      Court       notes         that        the

    24                defendant               --        from        having         viewed          the

    25                videotape,               the         Court          notes       that         the


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     2                 defendant          remained                coherent,                alert          and

     3                 aware.

     4                            The Court's               review             of    the        videotaped

     5                 interview          revealed                that     the         defendant                 did

     6                 not    appear          to    be fatigued,                     nor        did       he ever

     7                 indicate         or     state          that        he was tired.

     8                            Therefore,              under          the        totality              of     the

     9                 circumstances,                 the         People            have        established,

    10                 beyond       a reasonable                   doubt,            that          the

    11                 defendant's             statements                 were         voluntarily

    12                made.

    13                           Accordingly,                 the        defendant's                     motion         to

    14                 suppress         his        oral       and written                   statements                  is

    15                 denied.

    16                            The Court            will        now address                     the     Mapp

    17                 hearing.           The following                    constitutes                     the

    18                 opinion,         decision              and order                of       the       Court.

    19                            The defendant,                   claiming                to      be aggrieved

    20                 by an unlawful                  search            and        seizure,             has      moved

    21                 to    suppress          various             household                items          that

   22                  were      seized        from         his      home at

    23                 Street,       Apartment                1-C,        Troy,         New York

   24                 pursuant          to     two search                 warrants.

   25                             The People              assert          that         the         seizure             of


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     2                 the     items      were         lawful          because             the         search

     3                 warrants          were         lawfully             issued.

     4                            The People               have       the        burden          in     the      first

     5                 instance          of     going           forward           to     show the

     6                 legality          of     the        police          conduct.

     7                            The defendant,                    however,             bears          the

     8                 ultimate          burden            of proving              by a

     9                 preponderance                  of     the     evidence              that         the

    10                 physical          evidence               should        be suppressed.

    11                            A pretrial               suppression                  hearing            was

    12                 conducted          before             this      Court            on September

    13                 9th,       10th    and         11th,         2009.

    14                            The Court            considered                 the      testimony              of

    15                 Sergeant          Adam Mason,                  Detective                Ronald

    16                 Fountain          and     Sergeant              Joseph            Centanni.

    17                            The Court            makes          the        following              findings

    18                 of     fact:       On September                     22,         2008,        Detective

    19                 Fountain          submitted                 a written             search            warrant

    20                 application              to     the         Troy     City         Court          seeking

    21                 to     search      the         residence             located              at

    22                 Street,          Apartment               1-C in           the     City         of      Troy.

    23                            He sought            evidence             of         child          abuse      --

    24                 I'm     sorry.           The search                 warrant             application

    25                 sought         evidence             of      child         abuse         or     child


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     2                 neglect,              including,                  but        not     limited               to,      a

     3                 baby      crib,             a metal           truck,            a black               and        brown

     4                 belt,       blood            or      any      other           evidence                that        child

     5                 abuse       or        child          neglect             has        ever         taken           place

     6                 inside          the         residence.

     7                            The stated                  basis            for        the     search            warrant

     8                 included              the         injuries              sustained             by the

     9                 victim;           a statement                     by Dr.            Edge         at    Albany

    10                 Medical           Center             that         it     is     typically                  a high

    11                 impact          injury             caused              by violent                shaking           or

    12                 severe          acceleration                      and        deceleration                    on a

    13                 hard      object;                 statements                 by the         defendant,

    14                 including              that          the      victim           was probably

    15                 injured           in        his      care;             and    statements                   made by

    16                                              at      the      START Children's                             Center

    17                 that      the         defendant               had        thrown            the        victim

    18                 into      the         crib         very       roughly.

    19                            The search                  warrant                was sworn               to     by

    20                 Detective              Fountain               and        signed            by Judge

    21                 Christopher                  Maier           in        Troy     City        Court.

    22                            On September                      23,        2008,            Sergeant

    23                 Centanni              submitted               a written                   search           warrant

    24                 application                  to      the      Troy           City        Court         seeking

    25                 to      search         the         same premises.


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     2                            He sought             mattresses               --     the         search

     3                 warrant          application               searched             mattresses,                 box

     4                 springs,          sheets,              comforters,              pillows,               pillow

     5                 cases       and       blankets.

     6                            The stated              basis         for     the         second          search

     7                 warrant          were        identical            to    the          first       search

     8                 warrant          application               with        one      addition,               that

     9                 addition          being          statements             made by the

    10                 defendant             that       on three           separate                 occasions,

    11                 on September                 17th,        18th      and        20th,          2008,       he

    12                 had     slammed            the    victim          down on a mattress.

    13                            The second              search          warrant             was      sworn       to

    14                 by Sergeant                Centanni         and        signed           by Judge

    15                 Maier       in    Troy          City     Court.

    16                            The Court             makes       the       following

    17                 conclusions                of    law:       The search                  warrants

    18                 were      not     overly          broad.            Rather,             they         were

    19                 limited          to    search           household              items          that      might

    20                 constitute             evidence            of     child         abuse          or

    21                 neglect          as    ascertained                from         the      police

    22                 investigation.

    23                            The search              warrants            were          not      unduly

    24                 vague.           Rather,          they      particularly                      described

    25                 the     place         to     be searched,               including                the


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     2                 apartment               number          and      each        item     to        be    seized.

     3                            The search                warrants               were     supported                 by

     4                 reasonable                cause.

     5                            The allegations                       contained                in    the      search

     6                 warrant              applications                constituted                   reasonable

     7                 cause           to    believe           that        evidence          of        child

     8                 abuse           and/or         child         neglect          may be found                    on

     9                 the       premises             to    be searched.

    10                            Accordingly,                   the       police          conduct             in

    11                 searching               the      defendant's                 home and            seizing

    12                 items           of personal              property             was reasonable,

    13                 and       the        defendant's               motion         to     suppress                those

    14                 items           is    denied.

    15                            Those             three      decisions             constitute                 the

    16                 decisions               and      order         of     the     Court.

    17                            This         matter          will        now be adjourned                         for

    18                 trial.               Trial       will        commence          on Tuesday,

    19                 September               29th.

    20                            Jury          selection             will         begin      at       10:00          a.m.

    21                            This         matter          is      adjourned.

    22                            MR. GLASS:                   Thank         you,         your        Honor.

    23                             (Whereupon,                 the      matter         was adjourned.)

    24

    25


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     1    People v. Adrian Thomas

     2

     3

     4                                                             CERTIFICATION
     5                       I, CHERYL M. MOORE, Senior   Court
       Reporter   for the Third Judicial       District  and
     6 Notary   Public     in and for the State    of New York,
       do hereby    certify:
     7
                           The foregoing      to be a true  and
     8 accurate  transcription,         to the best  of my
       ability,  of the stenographic          notes as taken by me
     9 of the aforesaid       proceedings.
    10
                                                          IN WITNESS WHJfuE-EOF,I have
    11    h~                                    set   my hand this   /5!!.1-day of
         ~~-~..,_._,._..   ..............   1    J:-£/L.i~2009.
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    16                                                                    Court    Reporter
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 1   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 2   - - - - - - - - - - - - - - - - - - - - - - - - - - - -

 3   ADRIAN THOMAS,

 4                                Plaintiff,

 5                   - against -

 6   CITY OF TROY, ADAM R. MASON, RONALD FOUNTAIN,
     TIM COLANERI,
 7   RENSSELAER COUNTY, and MICHAEL SIKIRICA,

 8                        Defendants.
     - - - - - - - - - - - - - - - - - - - - - - - - - - - -
 9   NEW YORK STATE
     COURT OF CLAIMS
10   - - - - - - - - - - - - - - - - - - - - - - - - - - - -

11   ADRIAN P. THOMAS,

12                                Claimant,

13                   - against -

14   THE STATE OF NEW YORK,

15                        Defendant.
     - - - - - - - - - - - - - - - - - - - - - - - - - - - -
16

17                     DEPOSITION of Defendant, RONALD FOUNTAIN,

18   held on the 13th day of September 2019, commencing at

19   8:59 a.m., at the Law Offices of Pattison Sampson

20   Ginsberg & Griffin, PLLC, 22 First Street, Troy, New

21   York, before Jeanne O'Connell, Registered Professional

22   Reporter and Notary Public in and for the State of New

23   York.
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 1   APPEARANCES:

 2   Brett H. Klein, Esq.
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 3   Suite 600
     New York, New York 10007
 4   Attorney for Plaintiff/Claimant

 5   Pattison Sampson Ginsberg & Griffin, PLLC
     22 First Street
 6   Troy, New York 12180
     By: Joseph T. Perkins, Esq.
 7   Attorneys for City of Troy, Adam R. Mason,
     Ronald Fountain and Tim Colaneri
 8
     Bailey, Johnson & Peck, P.C.
 9   5 Pine West Plaza
     Washington Avenue Extension
10   Albany, New York 12205
     By: Crystal R. Peck, Esq.
11   Attorneys for Michael Sikirica

12   New York State Office of the Attorney General
     The Capitol
13   Albany, New York 12224
     By: Christina M. Calabrese, Assistant Attorney General
14
     Also present:       Katherine Hamilton
15

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 1                   S T I P U L A T I O N S

 2   It is hereby stipulated and agreed by

 3   and between the attorneys for the respective

 4   parties hereto that, this examination may be signed and

 5   sworn to before any Notary Public of the State of New

 6   York.

 7

 8   It is further stipulated and agreed that the filing and

 9   certification of the said examination shall be waived.

10

11   It is further stipulated and agreed that all objections

12   to questions, except as to form, shall be reserved for

13   the trial of this action.

14

15   It is further stipulated and agreed that there are no

16   objections to Notice of this Examination Before Trial

17   and the qualifications of the court reporter to take

18   this deposition and administer an oath or affirmation.

19

20

21

22

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 1                   (Ronald Fountain - by Mr. Klein)

 2                    (Thomas Exhibits 19 through 23 marked for

 3   identification.)

 4   RONALD FOUNTAIN, after first having been duly sworn, was

 5   examined and testified as follows:

 6   EXAMINATION

 7   BY MR. KLEIN:

 8       Q.   Good morning, Mr. Fountain.

 9       A.   Thanks.

10       Q.   My name is Brett Klein and I represent Adrian

11   Thomas in two civil actions.             One is pending in the New

12   York State Court of Claims, defended by Ms. Calabrese,

13   who you met before the proceedings today.                  And one is in

14   US District Court for the Northern District of New York

15   in a case where you're represented by Mr. Perkins who's

16   here today, correct?

17       A.   Correct.

18       Q.   Also here today is Ms. Peck who's representing

19   Dr. Sikirica.

20       A.   Okay.

21       Q.   You're here today because we've asked you to be

22   produced to answer questions about your involvement in

23   the arrest and prosecution of Adrian Thomas.
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 1                    (Ronald Fountain - by Mr. Klein)

 2             Do you understand that's why you're here today?

 3       A.    I do.

 4       Q.    Do you know that the oath you took today is the

 5   same oath that you would take as if you were in a court

 6   of law?

 7       A.    I understand that.

 8       Q.    Any reason why you can't testify fully and

 9   accurately today?

10       A.    No.

11       Q.    You've had sufficient time to prepare with Mr.

12   Perkins, your attorney?

13       A.    Sure.

14       Q.    And you feel well today.           Have you consumed any

15   medications, alcohol or anything else, that might impair

16   your ability to testify fully and accurately?

17       A.    No.

18       Q.    Other than today, have you ever been in a civil

19   deposition before?

20       A.    Yes.

21       Q.    How many times?

22       A.    Three or four.

23       Q.    You may have heard these rules, but I'm just
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 1                   (Ronald Fountain - by Mr. Klein)

 2   going to go over them briefly.

 3            Even if you know an answer to a question, wait a

 4   second, if you could, and just let me finish the

 5   question.      This is so the reporter can take down the

 6   questions and answers.           If we speak over each other,

 7   which I sometimes do, then we'll just have to repeat

 8   ourselves.

 9       A.   Okay.

10       Q.   If you don't understand a question I ask you,

11   will you let me know?

12       A.   I will.

13       Q.   If you don't let me know and you answer a

14   question that you didn't understand, it will be assumed

15   for the record that you understood it, okay?

16       A.   Okay.

17       Q.   Also, if you'd like me to rephrase a question I'm

18   happy to do so.        Just let me know.          Okay?

19       A.   Okay.

20       Q.   Also, if you need a break, that's fine.                     I'm just

21   going to ask that you answer any pending question before

22   you take a break.

23       A.   Okay.
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 1                   (Ronald Fountain - by Mr. Klein)

 2       Q.   Finally, at the conclusion of the proceedings,

 3   couple days or a few weeks, there will be a transcript

 4   generated by the reporter.             We'll provide a copy to

 5   Mr. Perkins and ask that you review it and that you sign

 6   it before a notary, okay?

 7       A.   I understand.

 8       Q.   If you find that there are any changes that you

 9   wish to make in your testimony, you can note them on a

10   separate page.        Those changes should be notarized, okay?

11       A.   Yes.

12       Q.   Also, I want to advise you that we can ask you

13   about those changes maybe in a subsequent deposition or

14   at trial, okay?

15       A.   Sounds good.

16       Q.   Also, if you believe there are any transcription

17   errors in the transcript, you should note that as well

18   on a separate page and have those changes notarized,

19   okay?

20       A.   Yes.

21       Q.   In connection with today's deposition, have you

22   reviewed any documents --

23       A.   Yes.
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 1                   (Ronald Fountain - by Mr. Klein)

 2       Q.   -- videos, photos, or anything else to prepare

 3   for the deposition?

 4       A.   Yes.

 5       Q.   Without telling me if any of it was discussed

 6   with your attorney, I don't want to know about those

 7   conversations, if you could just walk me through what

 8   you looked at to prepare for the deposition.

 9       A.   My trial transcript and some notes pertaining to

10   the case very briefly.

11       Q.   What were the notes from?

12       A.   My notes, I believe, from the case file of the

13   Adrian Thomas investigation.

14       Q.   Do you remember, whether generally or

15   specifically, what they were?

16            In other words, did they start at Albany Med and

17   go through the Thomas interview, the Start Center, or

18   anything else?

19       A.   There was some notes that I took at the Start

20   Center in there.         I believe all the other notes, as far

21   as what we did, was done by Adam Mason.

22            There was some other things in there that were

23   handwritten notes that I had done during the course of
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 1                  (Ronald Fountain - by Mr. Klein)

 2   the investigation.

 3      Q.    Did they refresh your recollection of anything

 4   that you didn't recall before looking at them recently?

 5      A.    A little bit.

 6      Q.    What?

 7      A.    I mean, I haven't looked at this in ten years.

 8      Q.    So, in other words, is there anything that

 9   looking at the file reminded you about your role or your

10   involvement that you didn't remember if I spoke to you a

11   month ago?

12      A.    I think I'll remember most of it.               There's going

13   to be some things I just tried to block out.

14      Q.    Like what?

15      A.    Like looking at a little dead baby, stuff like

16   that, still comes back.

17      Q.    Anything else?

18      A.    I mean, I didn't remember much of the Hicks

19   daughter,                   ' statement, but I read a little

20   bit of what was said at the Start Center.

21      Q.    Anything else that was refreshed?

22      A.    Not really.

23      Q.    Have you looked at any videos or listened to any
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 1                   (Ronald Fountain - by Mr. Klein)

 2   recordings or read any other transcripts?

 3      A.    No.

 4      Q.    Are you in possession of any documents relating

 5   to this case?

 6      A.    Just my transcript.

 7      Q.    Have you ever cut any press clippings, looked at

 8   the documentary, or anything else?

 9      A.    No.

10      Q.    You never saw the documentary?

11      A.    When I was still a police officer when it first

12   came out I peeked at the little things.                 I never watched

13   the whole thing.        No.

14      Q.    You never saw it from beginning to end?

15      A.    No.    I did not.

16      Q.    Did you agree to do that on your own or were you

17   asked to appear in that?

18      A.    No.    I believe the chief told us we were allowed

19   to do it, so we all did it.

20      Q.    And was everything you said to the documentary

21   filmmakers true and correct?

22      A.    Yes.

23      Q.    Was there anything that you can recall that you
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 1                   (Ronald Fountain - by Mr. Klein)

 2   said to them that was not accurate?

 3      A.    I don't recall.

 4      Q.    You would have been truthful with them.

 5      A.    Yes.

 6      Q.    At that point that you gave that interview, Mr.

 7   Thomas was still convicted and his conviction had not

 8   yet been overturned, correct?

 9      A.    Correct.

10      Q.    Did you know, when you gave that interview, that

11   the DA would be speaking as well to the filmmakers?

12      A.    I did.

13      Q.    Did you confer with them or did they confer with

14   you or both about even just the idea of doing it?

15      A.    A little bit.

16      Q.    Was there a meeting about it?

17      A.    No.

18      Q.    What was the extent or nature of the contact

19   about it?

20      A.    I believe it was a general conversation when I

21   was over at the DA's office with Ms. Book and Mr. Glass

22   about how they were looking to do this documentary.                    I

23   believe I might have -- I actually don't recall exactly
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 1                   (Ronald Fountain - by Mr. Klein)

 2   what went on.

 3      Q.    They were in favor of doing it, to the best of

 4   your recollection, meaning Ms. Book and Mr. Glass?

 5      A.    Yes.

 6      Q.    Were they present when you gave your interviews?

 7      A.    No.

 8      Q.    Did you testify in the grand -- during this case?

 9      A.    Yes.    I believe so.        Maybe I didn't.

10      Q.    You're not sure?

11      A.    I am not sure.

12      Q.    You haven't looked at the grand jury testimony.

13      A.    I believe just my trial testimony is what I

14   looked at.

15      Q.    You did testify at a Huntley hearing, correct, a

16   pretrial Huntley hearing?

17      A.    Probably.      I don't recall.

18      Q.    You did testify at trial in 2009?

19      A.    I did testify at trial.            I recall that.

20      Q.    After the 2009 trial and up until today, have you

21   given any sworn testimony in this case?

22      A.    No.

23      Q.    You didn't testify in connection with the
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 1                    (Ronald Fountain - by Mr. Klein)

 2   retrial, correct?

 3      A.     No, I did not.

 4      Q.     In connection with the first prosecution leading

 5   to the conviction, did you have meetings with the

 6   district attorney's office for prep?

 7      A.     Yes.

 8      Q.     Those are standard when you're getting ready for

 9   trial, correct?

10      A.     Correct.

11      Q.     Did you attend the autopsy in this case?

12      A.     I don't believe so.         I'm not sure.

13      Q.     Have you ever spoken with Dr. Sikirica about his

14   findings in this case?

15      A.     Maybe with Mr. Mason, Adam Mason, but I don't

16   recall.     I'm sure Adam was in charge, so.

17      Q.     So, what we don't want you to do is speculate.

18             So, if you don't remember --

19      A.     I don't recall.

20      Q.     And so, I'm just trying to gather who you've

21   given statements or spoken to in terms of the universe

22   of statements out there.

23             So, other than speaking with the DA, doing trial
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 1                  (Ronald Fountain - by Mr. Klein)

 2   prep, testimony at a hearing that I'm aware, at trial

 3   that you're aware of, and testifying today, and then

 4   speaking to the filmmakers, have you spoken with anyone

 5   else about this case that you can recall?

 6      A.    Probably.      I'm assuming, and I looked at some

 7   notes, I spoke with child protective services during the

 8   investigation.       That was probably more my part in the

 9   investigation.

10      Q.    Do you recall what your part was in that

11   investigation?

12      A.    The entire investigation?

13      Q.    Yeah.

14      A.    I was assigned to the juvenile department, so I

15   was like the liaison between our department and child

16   protective.      So, I did a lot of work with them.

17      Q.    With the Thomas-Hicks matter?

18      A.    With every child matter.

19      Q.    But I'm asking specifically about this.

20            So, from the notes we have while -- there were

21   two interviews of Adrian Thomas, correct?

22      A.    Correct.

23      Q.    You were present for the first of the two.
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 1                  (Ronald Fountain - by Mr. Klein)

 2      A.    That is it.

 3      Q.    Our understanding from the testimony in this case

 4   is that during the second of two interviews you were, I

 5   believe, at the Start Center conducting interviews of

 6   the children or present for interviews.

 7                   MR. PERKINS:       Object to the form.

 8                   You can answer.

 9   BY MR. KLEIN:

10      Q.    Do you recall that?

11      A.    I was not working that day.

12      Q.    There were some interviews conducted that week,

13   correct?

14      A.    Correct.

15      Q.    Were you present for interviews conducted after

16   that week with the Thomas-Hicks family?

17      A.    With the family, yes.

18      Q.    Did you have any DB followup reports or other

19   reports of those interviews that you did?

20      A.    Not to my knowledge.          Whatever you have is all

21   there is.

22      Q.    I'll show you the file that we were given and I

23   believe we just have notes from that week.                  You will
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 1                   (Ronald Fountain - by Mr. Klein)

 2   confirm that.

 3      A.    Sure.

 4      Q.    I'm assuming there are no notes after what was

 5   discussed -- meetings you attended that week?

 6      A.    Correct.

 7      Q.    If there were subsequent interviews that you

 8   attended would you have taken notes?

 9      A.    Yes.

10      Q.    So any notes you took, would they have been

11   maintained as part of the Troy PD file for this case?

12      A.    Correct.

13      Q.    You didn't have your own separate file that you

14   would maintain?

15      A.    I did not.

16      Q.    When did you join the Troy PD?

17      A.    December of 1993.

18      Q.    Prior to that were you with the county?

19      A.    Yes.

20      Q.    What did you do with the county?

21      A.    I was a deputy sheriff.            And prior to that, I was

22   a corrections officer.

23      Q.    So, when did you -- was it with Rensselaer
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 1                    (Ronald Fountain - by Mr. Klein)

 2   County?

 3      A.     Yes.

 4      Q.     Was Rensselaer County corrections your first law

 5   enforcement job?

 6      A.     It was.

 7      Q.     What year did you start that job?

 8      A.     1988, June of 1988.

 9      Q.     You did that until '90?

10      A.     '93, when I went to Troy.

11      Q.     So, you started as is it a deputy sheriff with

12   the corrections department?

13      A.     No.    I started as a corrections officer.

14      Q.     Did you work at the Rensselaer County jail?

15      A.     I did.

16      Q.     What were your duties at the jail?

17             Security?

18      A.     Securing custodian of inmates in the Rensselaer

19   County jail.

20      Q.     At some point, while you worked for the county,

21   did you then become a deputy sheriff?

22      A.     I did.

23      Q.     What year was that?
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 1                   (Ronald Fountain - by Mr. Klein)

 2      A.    February of '90.

 3      Q.    Did your duties and responsibilities change?

 4      A.    They did.

 5            I became --

 6      Q.    Go ahead.

 7      A.    I became a deputy sheriff.             I was a road patrol

 8   officer.

 9      Q.    Did you attend a police academy before doing

10   that?

11      A.    Yes.

12      Q.    Was that like a New York State police academy?

13      A.    No.

14      Q.    Where did you attend?

15      A.    Zone five police academy.            At the time it was at

16   the Hudson Valley Community College.

17      Q.    Was that about a five and a half month course of

18   training?

19      A.    Six months, yes.

20      Q.    Included classroom training?

21      A.    Yes.

22      Q.    Topics for law, police science, and things like

23   that?
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 1                   (Ronald Fountain - by Mr. Klein)

 2      A.    Yes.

 3      Q.    As well as range, automobile and other trainings

 4   as well?

 5      A.    Yes.

 6      Q.    Did you pass all those courses?

 7      A.    I did.

 8      Q.    Why did you leave the county sheriff's office?

 9      A.    Money.

10      Q.    You got a better paying job with the Troy PD?

11      A.    Correct.

12      Q.    When you left the sheriff's office, did you

13   resign voluntarily?

14      A.    Yes.

15      Q.    And did you thereafter have to enter an academy

16   before entering the Troy PD, or did your zone five

17   training with the county translate over to Troy PD?

18      A.    Same training.        Didn't have to take any other

19   training.

20      Q.    You didn't have to do it again.

21      A.    No.

22      Q.    When you went to your zone five training, did you

23   learn that -- generally about the constitution, fourth
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 1                   (Ronald Fountain - by Mr. Klein)

 2   amendment, search and seizure, things like that?

 3      A.    Yes.

 4      Q.    Did you learn in the police academy generally

 5   that law enforcement officers -- did you learn about

 6   Miranda?

 7      A.    Yes.

 8      Q.    Did you learn that law enforcement officers have

 9   to have -- can't coerce statements from witnesses that

10   they're speaking with?

11      A.    Yes.

12      Q.    Statements have to be voluntary, both to abide by

13   the constitution and to be admissible in court?

14      A.    Yes.

15      Q.    You knew that from training.

16      A.    Yes.

17      Q.    Did you also learn in training that all police

18   officers, regardless of what department you're in, have

19   an affirmative duty to intercede if they become aware of

20   or witness misconduct by other officers?

21      A.    Yes.

22      Q.    In other words, if you see an officer using

23   excessive force, you have an affirmative duty to stop
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 1                    (Ronald Fountain - by Mr. Klein)

 2   and/or report that officer.

 3      A.     Yes.

 4      Q.     Similarly with an interrogation, is it your

 5   understanding that would apply to that as well, or to an

 6   arrest?

 7             If you're aware that someone's conducting an

 8   arrest that was not warranted, you would have a duty to

 9   intercede or report that?

10      A.     Yes.

11      Q.     That is something that, to your knowledge, all

12   police officers learn in their training.

13      A.     Yes.

14      Q.     Was that an obligation that you understood from

15   your training to be required by the constitution?

16      A.     Yes.

17      Q.     Also, did the Troy PD have specific orders or

18   guidelines that said that any officer witnessing or

19   observing misconduct by another officer must report it?

20      A.     I don't know exactly what the regulations say.               I

21   couldn't tell you word for word.              But, yes, generally,

22   if you saw something wrong, you have to report it.

23      Q.     You were aware at Troy that you were under an
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 1                    (Ronald Fountain - by Mr. Klein)

 2   obligation.

 3      A.     Yes.

 4      Q.     To your knowledge, all your colleagues would have

 5   been aware of that as well.

 6      A.     To my knowledge.

 7      Q.     So, when you joined the Troy PD, did you go right

 8   to patrol?

 9      A.     I did.

10      Q.     For how long were you assigned to patrol?

11      A.     I never really left the patrol division.                   So, 23

12   years I was a patrol officer.

13      Q.     In November, I'm sorry, September of 2008,

14   specifically September 21st, do recall that being on or

15

16
     about the date that the M

     the office?
                                       -         Thomas matter came into



17      A.     Yes.

18      Q.     You came to work that day, correct?

19      A.     Yes.

20      Q.     Were you assigned to the patrol bureau at that

21   time?

22      A.     I was a patrolman assigned to the detective

23   bureau.
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 1                   (Ronald Fountain - by Mr. Klein)

 2      Q.    At some point, did your assignment change from

 3   the patrol duties to the detective bureau?

 4      A.    Yes.

 5      Q.    When in your career did that happen?

 6   Approximately.       Five, ten years in?          A couple months

 7   before Thomas?

 8      A.    Yeah.     A few months before Thomas.

 9      Q.    What were the circumstances of that?

10            Did you put in for it, did someone ask you to, or

11   something else?

12      A.    So, basically, at Troy Police Department we bid

13   our positions by seniority.            There was a spot open in

14   the detective bureau as juvenile officer with very

15   flexible hours.        I bid that position based on seniority.

16      Q.    Did you get it the first time you requested it?

17      A.    So you don't request.

18      Q.    You bid.

19      A.    You bid, if that makes sense.

20      Q.    Was your bid accepted?

21      A.    They couldn't not accept it.

22      Q.    So, was it, to the best of your recollection,

23   sometime early in 2008 that you transferred to the
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 1                  (Ronald Fountain - by Mr. Klein)

 2   detective bureau?

 3      A.    I believe it was 2008, 2007, 2008.

 4      Q.    What were your duties as -- I think you said the

 5   juvenile officer?

 6      A.    Correct.

 7      Q.    What were your duties and responsibilities?

 8      A.    So, I was -- initially it had a lot to do with

 9   school truancy and then I moved into where I was in

10   charge of -- I don't know.            Sorry.     I wasn't in charge.

11            I was being assigned to all cases having to do

12   with juveniles, whether they were the party that was

13   injured.     A lot of it had to do with sexual assaults and

14   then it blossomed from there as my career went on.

15      Q.    Was it the arrest and prosecution of juveniles

16   either in family or criminal court, or were you dealing

17   with juvenile victims, or both?

18      A.    Both.

19      Q.    So, if there was a sex crime involving, God

20   forbid, a juvenile victim, but there was an adult

21   defendant, you would be involved -- you might be

22   involved in that case?

23      A.    95 percent of them.
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 1                     (Ronald Fountain - by Mr. Klein)

 2         Q.   So, juvenile victim or juvenile defendant you

 3   would be involved more likely than not?

 4         A.   More likely.

 5         Q.   Were there any other co-juvenile officers with

 6   you or were you the primary?

 7         A.   For about seven years I was the primary.

 8         Q.   From about '07-'08 until about 2015-2016?

 9         A.   Yes.

10         Q.   How did you become involved in the Thomas matter?

11              Was that part of your standard duties in the

12   detective bureau as the juvenile officer?

13         A.   No.

14         Q.   It was a one off or something else?

15              Why don't you tell me in your own words how that

16   came about.

17         A.   I was on call every sixth weekend.              Sadly, that

18   was my weekend on call.

19         Q.   So, when you were on call, did that mean that you

20   could be assigned to a non-juvenile matter if it came

21   in?

22         A.   Correct.

23         Q.   Had you ever worked on a homicide prior to that?
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 1                  (Ronald Fountain - by Mr. Klein)

 2      A.     I don't recall.

 3      Q.     At the time it came in it was attempted -- it

 4   went in as an attempted murder at the time of arrest,

 5   correct?

 6      A.     Correct.

 7      Q.     But it evolved into a fatality, correct?

 8      A.     Correct.

 9      Q.     It was a homicide investigation, correct?

10      A.     Correct.

11      Q.     In terms of any detective bureau training, do you

12   recall if you had any specific training when you went

13   from the patrol bureau to the detective bureau?

14      A.     I was sent to different trainings throughout my

15   detective career, yes.

16      Q.     We were given a copy of your in-service training

17   record.

18      A.     Okay.

19      Q.     It looks like in June of 2008 you had

20   interrogation training.

21             Do you recall that?

22      A.     I do.

23      Q.     What do you recall about it?
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 1                   (Ronald Fountain - by Mr. Klein)

 2      A.    It was in Colonie.

 3      Q.    It was called interview and interrogation course?

 4      A.    Yes.

 5      Q.    Is it Loudonville, New York?

 6      A.    Correct.

 7      Q.    Is that Colonie or is that different?

 8      A.    Part of Colonie.

 9      Q.    What do you recall about the course?                 How many

10   days was it?       Do you know who gave it?

11      A.    The guest speaker's name fails me right now, but

12   it was put on by senior detectives throughout the state,

13   talking about interrogation and interviewing techniques

14   used through New York State.

15      Q.    Was that the first time you had received training

16   on interrogation techniques?

17      A.    Besides basic training at the police academy,

18   yes.

19      Q.    Do you know if Adam Mason went to that training

20   with you?

21      A.    I don't recall.

22      Q.    Did you receive any course materials during that

23   training?
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 1                  (Ronald Fountain - by Mr. Klein)

 2      A.    I don't recall.

 3      Q.    Was it your practice to take them back to the

 4   office or take them home with you if you did receive

 5   them?

 6      A.    Probably would have shoved them in my desk drawer

 7   somewhere, yes.

 8      Q.    What did the training consist of?               Was it just

 9   lectures for two days?          Was it interactive where you had

10   to do some mock interrogations?              Or something else?

11      A.    Pretty much lectures.

12      Q.    Did you become familiar with any techniques that

13   you didn't know before, or was it just kind of guidance

14   in conducting interrogations?

15      A.    Type of guidance as far as I can recall.

16      Q.    Were there any techniques, theories or methods

17   that you learned that you implemented in the Adrian

18   Thomas case?

19      A.    Not that I recall.

20      Q.    Was there anything meaningful that you can recall

21   about that training that you did implement, even if it

22   was a very minor nuance in your technique?

23      A.    Not that I recall.
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 1                     (Ronald Fountain - by Mr. Klein)

 2         Q.   In the interrogation training, was there a

 3   discussion of the risks of obtaining coerced

 4   confessions?

 5         A.   Not that I recall.

 6         Q.   Was there guidance on ensuring voluntariness of

 7   statements so that they're admissible in court?

 8         A.   Not that I recall.

 9         Q.   Were you aware, prior to the Thomas interviews,

10   that voluntariness was always an issue with statements

11   of accused?

12         A.   I knew a voluntary statement was the best way to

13   go.

14         Q.   Well, the form was entitled "voluntary

15   statement", correct?

16         A.   Yes.

17         Q.   But did you know as a matter of law enforcement

18   practice, through your training and experience, that to

19   be lawful all statements had to be voluntary?

20         A.   Yes.

21         Q.   In other words, they couldn't be coerced.

22         A.   Correct.

23         Q.   They had to be from their own judgment and mind
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 1                   (Ronald Fountain - by Mr. Klein)

 2   of the person.       You couldn't introduce your own judgment

 3   for that person's judgment as the interrogator.

 4            You couldn't put words in someone's mouth.                  They

 5   had to make a statement on their own volition, correct?

 6                   MR. PERKINS:       Object to the form.

 7                   You can answer.

 8      A.    Yes.

 9      Q.    So, you were aware of the concept of

10   voluntariness, that you couldn't coerce someone into

11   saying something.         They had to say it on their own for

12   it to be valid and legal, correct?

13      A.    Correct.

14      Q.    Other than that interrogation and training

15   technique in Loudonville, that was two days that you

16   said didn't really impact your interrogation in this

17   case, did you have any other interrogation training in

18   your career even if it was after?

19      A.    Yes.

20      Q.    How many times?

21      A.    Two, three.

22      Q.    Do you recall where they were?

23            Were they at Loudonville also or somewhere else?
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 1                    (Ronald Fountain - by Mr. Klein)

 2      A.     It was interviewing of children.              It was in

 3   Albany.     And that was the New York State best practices

 4   for the forensic interviewing of children.

 5             And I believe later in my career I went to the

 6   advanced best practice for interviewing children.

 7      Q.     Were those different than interrogation

 8   techniques of potential defendants?

 9      A.     Yes.

10      Q.     So those were about speaking with child victims,

11   perhaps, in sensitive matters like sex crimes, correct?

12      A.     Not perhaps.      It was for sex crimes.

13      Q.     So, was the interrogation and training that you

14   had in 2008 the only one that dealt with the type of

15   interrogation that you did with Adrian Thomas?

16      A.     To the best of my knowledge, yes.

17      Q.     Do you know what the REID technique is?

18      A.     No.

19      Q.     Is that something that you recall learning in

20   training?

21      A.     I don't recall.

22      Q.     Just to be clear:        Whatever you learned at that

23   training, you exercised your own independent judgment in
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 1                   (Ronald Fountain - by Mr. Klein)

 2   how you conducted this interrogation with Adrian Thomas,

 3   correct?

 4                   MR. PERKINS:       Objection to the form.

 5      Q.    When you conducted your interrogation of Adrian

 6   Thomas, interview one, you acted based on your

 7   instincts, not with regard to any specific training that

 8   you learned, correct?

 9                   MS. CALABRESE:        Objection.

10                   MR. PERKINS:       Object to the form.

11                   You can answer.

12      A.    Yes.

13   BY MR. KLEIN:

14      Q.    Were you guided by any training or experience in

15   that interview, or was it just kind of you and Mason

16   went in and were kind of riffing off each other about

17   who would ask what about what to ask next?

18                   MR. PERKINS:       Object to the form.

19                   You can answer.

20      A.    I believe we were just bouncing off of each

21   other.

22      Q.    Had you ever had that type of interaction with

23   Mason before?
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 1                   (Ronald Fountain - by Mr. Klein)

 2      A.    I don't recall.

 3      Q.    Did you work with him on any interrogations, kind

 4   of like you and him together in tandem like that on any

 5   subsequent cases?

 6      A.    Yes.

 7      Q.    How many?

 8      A.    I don't recall.

 9      Q.    In this case, were you aware, or did you become

10   aware, that the statements of Adrian Thomas were found

11   to violate the constitution by the New York State Court

12   of Appeals?

13      A.    Yes.

14      Q.    Did you read the decision?

15      A.    No.

16      Q.    Did anyone share with you the contents of it,

17   whether they read it to you and just said in sum and

18   substance, this is what the court said?

19      A.    Not like that, no.

20      Q.    What did you hear about it?

21      A.    I believe the district attorney's office said it

22   was coming back and they threw out the statements.

23      Q.    Other than that, do you remember hearing anything
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 1                  (Ronald Fountain - by Mr. Klein)

 2   else about the decision from the Court of Appeals?

 3      A.    Never looked at it.

 4      Q.    The court suppressed the statements, finding that

 5   they were coercive.

 6            Is this the first you're hearing about it in

 7   terms of the reason why it was suppressed?

 8      A.    I knew they were suppressed.             Exactly why, no.

 9      Q.    The court found that they weren't voluntary, they

10   were the products of coercion, and violated due process

11   and the 14th amendment.

12            Did anyone ever talk to you about guidance for

13   future interrogations after this decision came down?

14                   MR. PERKINS:       Object to the form.

15                   You can answer.

16      A.    No.

17      Q.    Did anything change within the department,

18   whether you knew it was from this case or not, with

19   regard to interrogation tactics and techniques, after

20   this decision came down?

21                   MR. PERKINS:       Object to the form.

22                   You can answer.

23      A.    Not to my recollection.
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 1                    (Ronald Fountain - by Mr. Klein)

 2   BY MR. KLEIN:

 3         Q.     The court found that, among other things, where

 4   the police officers threatened that if the defendant

 5   continued to deny responsibility for his child's injury

 6   his wife would be arrested and removed from his ailing

 7   child's bedside, where he immediately agreed to "take

 8   the fall" in response to this threat.

 9                The officers told him 21 times that his

10   disclosure of circumstances --

11                     MS. CALABRESE:      Can we mark that and admit

12   it?        We've been reading from it.        I think it should be

13   marked and entered.

14                     MR. KLEIN:    I'm not done with my question.

15   Can I finish my question and then we'll do it.

16                     MS. CALABRESE:      I apologize for interrupting

17   you.

18   BY MR. KLEIN:

19         Q.     The court found, among other holdings, that

20   incriminating statements by the murder defendant, which

21   is Mr. Thomas, were not voluntary, but were products of

22   coercion, in violation of the due process clause of the

23   14th amendment, where police officers threatened that if
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 1                  (Ronald Fountain - by Mr. Klein)

 2   the defendant continued to deny responsibility for his

 3   child's injury, his wife would be arrested and removed

 4   from his ailing child's bedside.              The defendant

 5   immediately agreed to take the fall in response to the

 6   threat.

 7             Officers told the defendant 21 times that his

 8   disclosure of circumstances under which he injured his

 9   child was essential to assist doctors attempting to save

10   the child's life.

11             And officers assured the defendant that whatever

12   had happened was an accident, that he could be helped if

13   he disclosed all, and that once he had done so he would

14   not be arrested but would be permitted to return home.

15             Did you ever know that that was the gist of the

16   court's findings in the case?

17                   MS. CALABRESE:        Object to the form.

18                   MR. PERKINS:       Object to the form.

19                   You can answer.

20      A.     I never read it.

21   BY MR. KLEIN:

22      Q.     Well, did anyone ever share with you -- other

23   than that the court sent the case back to be retried and
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 1                  (Ronald Fountain - by Mr. Klein)

 2   the statement wasn't coming in, did you know anything in

 3   the nature of what I just read to you now, before now?

 4      A.    To the best of my understanding, there was a

 5   problem with the eight- or nine-hour interview that Adam

 6   Mason did with Mr. Thomas and that was the reason it

 7   came back, but I never read the entire thing and I don't

 8   believe anyone ever read it to me like that, no.

 9      Q.    You were present during the first interview when

10   he was told his wife would be arrested if he continued

11   to deny responsibility.

12            Do you recall that?

13      A.    No, I don't, but I believe you.

14      Q.    And I'll show you the testimony of you.

15      A.    That's fine.

16      Q.    He ultimately agreed to quote "take the fall" in

17   response to what the court called a threat during your

18   interview.

19            Do you recall that he said the word "I'll take

20   the fall"?

21      A.    I do.

22      Q.    He was told, during your first interview, that

23   the disclosure of the circumstances under which he
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 1                   (Ronald Fountain - by Mr. Klein)

 2   injured the child were essential to assist the doctors

 3

 4
     to save M

        A.
                 -       's life, correct?

              I believe either myself or Mason said that.                   I

 5   don't know which one.

 6      Q.    You were present when either you or Mason or both

 7   assured him that whatever had happened was an accident.

 8      A.    Yes.

 9      Q.    I just recently reviewed that first statement.

10   There were numerous times where Mason said, it's an

11   accident, and if it's an accident you're going to go

12   home.

13            Do you recall that or words to that effect?

14      A.    Yes.

15      Q.    So, do you know who told you that it was the

16   second interview only that was a problem and not

17   starting with the first interview?

18      A.    I don't recall.

19      Q.    So, until now, you didn't know that it was the

20   whole chain of events that the court considered in its

21   decision that the statement was not voluntary?

22                   MR. PERKINS:       Objection.

23                   You may answer.
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 1                   (Ronald Fountain - by Mr. Klein)

 2      A.    I did not know that.

 3   BY MR. KLEIN:

 4      Q.    We'll go back to that in a few minutes and we'll

 5   mark it, as Christina asked, and give you a chance to

 6   review it and ask you some more questions about it.

 7            Were you involved, either as a lead officer or as

 8   an assisting officer, in any other case where any court,

 9   other than this court, found that a statement was not

10   voluntary or otherwise suppressed, a statement of an

11   accused?

12      A.    I don't know.

13      Q.    Not that you're aware of?

14      A.    Not that I'm aware of.

15      Q.    Has any court found, other than this court, found

16   that you or conduct attributed to you, in whole or in

17   part, has violated anyone's constitutional rights?

18      A.    Not to the best of my knowledge.

19      Q.    Did you continue to work on juvenile cases

20   through your departure from the department, with the

21   exception of your on-call days when you might get

22   non-juvenile cases?

23      A.    Yes.
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 1                   (Ronald Fountain - by Mr. Klein)

 2      Q.    And was it 2015 or '16 that you left the

 3   department?

 4      A.    Yes.

 5      Q.    Which one?

 6      A.    It's been three years and seven months.

 7            Do you want me to backdate?             Let's go with '15.

 8   No, 2016.       February.

 9      Q.    What were the circumstances of your leaving?

10      A.    I was offered another job.

11      Q.    Where was that?

12      A.    Ready for this?        The Rensselaer County Sexual

13   Assault and Crime Victims Center.               The rest of it is at

14   Samaritan Hospital through St. Peter's Health Partners,

15   a Division of Trinity Health.

16      Q.    Was that a non-police department job?

17      A.    Yes.

18      Q.    Did you leave there when you were indicted?

19      A.    No.

20                    MR. PERKINS:      Object to the form.

21      Q.    Did you get indicted around that time?

22                    MR. PERKINS:      Object to the form.

23      Q.    Well, around 2015 or '16 did you get arrested?
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 1                   (Ronald Fountain - by Mr. Klein)

 2                   MR. PERKINS:       Object to the form.          I'm going

 3   to direct him not to answer.             I think we need to call

 4   the judge.      These charges were dropped, they were

 5   sealed.     They don't involve anything regarding

 6   constitutional rights.

 7                   MR. KLEIN:      I want to ask him about it.

 8      Q.     Had you ever been convicted of a crime?

 9                   MR. PERKINS:       Object to the form.

10                   You know what?        You can answer that.           Go

11   ahead.

12      A.     No.

13   BY MR. KLEIN:

14      Q.     Did you leave the Troy PD voluntarily or was it

15   due to some administrative situation which I don't want

16   you to talk about.

17      A.     Totally voluntary.

18      Q.     So, did you resign from the PD with a full

19   pension or did you leave under different circumstances?

20                   MR. PERKINS:       Object to the form.

21                   You can answer.

22                   MS. CALABRESE:        I'm going to also object

23   under Civil Rights Law 50A.
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 1                  (Ronald Fountain - by Mr. Klein)

 2                   MR. KLEIN:      You can just say "objection".

 3                   MS. CALABRESE:        I'm making a record for

 4   myself.

 5                   I think this line of questioning violates

 6   Civil Rights Law 50A for the Court of Claims action.

 7   Mr. Klein can make an application to the court to elicit

 8   any of this information relating to any disciplinary or

 9   any purpose other than voluntarily leaving for whatever

10   reason the Troy Police Department.

11                   MR. PERKINS:       And I would note one further

12   objection for the record.

13                   The personnel file, the entire personnel

14   file of Mr. Fountain, was provided to Judge Stewart in

15   this action.       The judge reviewed and issued a text order

16   saying there was nothing of relevance involved.

17                   MR. KLEIN:      I'm asking about publicly

18   available and reported information.

19                   There was some information reported about

20   some criminal proceeding involving you, correct, in the

21   news.

22                   MR. PERKINS:       Object to the form.

23                   Don't answer.
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 1                  (Ronald Fountain - by Mr. Klein)

 2                   MR. KLEIN:      We'll mark it for a ruling.

 3                   MS. PECK:      Hold on.      We did this the last

 4   time we marked it for a ruling.              All that means is we

 5   may end up coming back here.             Judge Stewart said that

 6   he's available to us today.

 7                   MR. KLEIN:      Well, I will --

 8                   MS. PECK:      Why not make the call?           He

 9   already made an order on part of this subject matter

10   anyway.

11                   MR. KLEIN:      Well, because I want to see if

12   there's any other issues.            I didn't call last time

13   because I chose not to, but today I very likely will.                      I

14   don't want to call the court piecemeal.                 If there's

15   three or four questions, I want to raise them at once

16   and I will.      So, I could raise it in writing at a later

17   time.

18                   MS. PECK:      It is also Joe's prerogative,

19   too, if he wants to call the Court and get a ruling on

20   it right now, not just yours.

21                   MR. KLEIN:      Sure, yeah, but I'm not pursuing

22   the question.       I'm marking it.         I could call the Court.

23   I very well might.         I could also write the Court.             So,
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 1                    (Ronald Fountain - by Mr. Klein)

 2   let's take it step by step, one step at a time.

 3   BY MR. KLEIN:

 4      Q.     What were your duties when you went to the

 5   Rensselaer County Sexual Assault and Crime Victims

 6   Center?

 7      A.     I'm an educator.

 8      Q.     You teach a class or courses?

 9      A.     Many.

10      Q.     What do you teach?

11      A.     I talk to college students about consent.                  I talk

12   to high school students about sexual harassment.                     I talk

13   to kindergartners about safe and unsafe touches.                     I talk

14   to fourth and fifth graders about standing up for each

15   other when it comes to somebody doing something sexually

16   offensive.

17      Q.     Is your background for that your law enforcement

18   training or did you have any additional training?

19      A.     I've had additional training.             Mostly was my law

20   enforcement training.

21      Q.     How long did you have that job for, or do you

22   still have it today?

23      A.     Yes.    Since I retired on a Friday, I started
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 1                   (Ronald Fountain - by Mr. Klein)

 2   there on a Monday, two days after I retired.

 3      Q.    You've been there ever since?

 4      A.    Swear to God.

 5            Sadly I'm not being paid right now because I'm

 6   here with you.

 7      Q.    You are being represented and indemnified by the

 8   City of Troy in this case, correct?

 9      A.    As far as I know.

10      Q.    Have you had any other employment since you left

11   the Troy PD?

12      A.    Yes.

13      Q.    What else?

14      A.    A friend of mine owns Earl B. Feiden Appliances.

15   I sell some on Friday afternoons.               I've known Brad

16   Feiden for about 30 years.

17      Q.    Any other jobs?

18      A.    No.

19      Q.    Have you had any other law enforcement jobs other

20   than what you've told me?

21      A.    No.

22      Q.    Have you ever served in military?

23      A.    No.
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 1                  (Ronald Fountain - by Mr. Klein)

 2             Do I look that old?         Date back to 1988 when I

 3   started.

 4      Q.     Directing your attention back to the Thomas

 5   incident.

 6             Were you working that day?            Or I think you said

 7   you were on call.

 8      A.     Correct.

 9      Q.     Can you walk us through your involvement in the

10   case, starting with getting the call, going in, what you

11   did.

12      A.     Okay.    I was at my nephew's birthday party when

13   the call came in.         I brought my one and three year old

14   home with my wife.         I went to the police department, met

15   up with Sergeant Mason, who advised me there was a child

16   victim of unknown circumstances at the time.

17             I believe we met with child protective about

18   going to a residence on 21st Street in Troy, where we,

19   along with child protective, removed some children.

20             After that, I went with Sergeant Mason I believe

21   to Albany Medical Center, where we interviewed the

22   mother.     And then sometime during the evening we got

23   back to the police station -- or I'm sorry -- we went
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 1                    (Ronald Fountain - by Mr. Klein)

 2   back to 21st Street, asked Mr. Thomas if he would come

 3   down to the police station and talk to us about what

 4   could have happened.

 5             He came down.       We spoke until about 3 in the

 6   morning.     I believe we brought him to Samaritan

 7   Hospital, and after that I went home.

 8      Q.     Let's pause there.

 9             When you first got to work and heard the nature

10   of the call, do you recall Nicole Noel from CPS being at

11   the precinct?

12      A.     I believe she was at the desk waiting for us,

13   yes.

14      Q.     Had you worked with her prior to this incident?

15      A.     Yes.

16      Q.     Did you have a good working relationship with

17   Nicole?

18      A.     Yes.

19      Q.     Did she go with you to Samaritan, I believe it

20   was, or was it Albany Med you went to first?

21      A.     I believe Samaritan.         I don't recall if -- she

22   definitely didn't come with us in our car.                  If she

23   followed us there first, I don't recall.
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 1                  (Ronald Fountain - by Mr. Klein)

 2      Q.    Who did you first speak with, if anyone,

 3   regarding the case that day?

 4      A.    Sergeant Mason or Captain Mason.

 5      Q.    When you got to the hospital.

 6      A.    I don't remember who we spoke to.

 7      Q.    Have you looked at the detective bureau followups

 8   for this case?

 9      A.    Very briefly.

10      Q.    You can feel free to look at them today if you

11   wanted to help to remember.

12            Is there anything that would refresh your

13   recollection?

14      A.    If you'd like me to look at something, I'd be

15   more than happy to.

16      Q.    Sure.     Well, I'll tell you that we marked as

17   Thomas Exhibit 2 the followups in this case.                   And on

18   9/21 it's noted by then Sergeant Mason that he and you

19   were called in for report of a baby at Albany Med.

20            You've said that, correct?

21      A.    Correct.

22      Q.    You were briefed by Nicole Noel from child

23   protective services.          You've indicated that as well.
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 1                  (Ronald Fountain - by Mr. Klein)

 2            Then Noel stated that you received the report

 3   from Albany Med about 2 p.m. that day.

 4            Does that sound about right?

 5      A.    Sounds about right.

 6      Q.    And the report was that a four month old baby was

 7   transported from his residence at the Thomas-Hicks

 8   household to Samaritan, and then later transferred to

 9   Albany Med.

10            Do you recall that?

11      A.    I do.

12      Q.    Initial report was that the baby was having

13   respiratory problems and hospital exams revealed trauma

14   to the head.

15            Do you recall that?

16      A.    I do.

17      Q.    Then, in sum and substance, CPS notified the PD

18   at about 5:20 p.m. of the incident and after that you

19   came in, correct?

20      A.    Correct.

21      Q.    Then it says IOs -- that's investigating

22   officers?

23      A.    Correct.
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 1                   (Ronald Fountain - by Mr. Klein)

 2      Q.    So, were you and now Captain Mason the two

 3   assigned officers or investigators to this case?

 4      A.    Correct.

 5      Q.    No one else.

 6            Was anyone else assigned?

 7      A.    I'm sure during the course of the investigation

 8   there was other detectives that were assigned to help

 9   out.

10      Q.    Do you recall?

11      A.    From what I read over the last couple days, when

12   I had a chance to peek, I saw now Captain Centanni, used

13   to be Sergeant Centanni's in there.               Sergeant Colaneri

14   is in there.       I don't know who else.           I'm sure there's

15   more that I didn't read.

16      Q.    But is it your understanding that you and Mason

17   were the lead investigators on this case?

18      A.    Yes.

19      Q.    It says that you guys went to Samaritan Hospital

20   first.

21            Any reason to doubt that?

22      A.    No.

23      Q.    It says the initial report was that the victim
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 1                   (Ronald Fountain - by Mr. Klein)

 2   was having respiratory problems and was unresponsive.

 3            Do you recall hearing that?

 4      A.    Yes.

 5      Q.    The victim left Samaritan, went to Albany Med at

 6   11:50.

 7            So this is information you were informed that

 8   day, correct?

 9      A.    Correct.

10      Q.    And you then responded to -- it says that the

11   doctor who saw the victim at Samaritan was Katrina

12   Kardos, MD.      She was off duty when you guys arrived

13   there.

14            So, do you recall that you didn't speak with any

15   doctors at Samaritan?

16      A.    I don't recall.

17      Q.    Then, it says IOs then responded to the victim's

18   residence along with CPS.

19            Were you part of that response?

20      A.    Yes.

21      Q.    So, did you go to the Thomas-Hicks household and

22   were you there for the removal of the children?

23      A.    Yes.
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 1                    (Ronald Fountain - by Mr. Klein)

 2      Q.     Is that when you first met Adrian Thomas?

 3      A.     Yes.

 4      Q.     Had you ever met him before that date?

 5      A.     No.

 6      Q.     Did you know anything about him prior to that

 7   date from any investigations or jobs that you were

 8   involved in?

 9      A.     No.

10      Q.     Did you know anyone in the Hicks household prior

11   to that date?

12      A.     No.

13      Q.     Can you tell us what you observed at the

14   Thomas-Hicks household when you went there with CPS that

15   first day, if you recall?

16      A.     That it was an apartment in the Cedar Park

17   Apartments.       I've seen numerous of them.            I grew up

18   about a block from there.            They all kind of look the

19   same.     There's a living room, a little kitchen kind of

20   attached, a couple of bedrooms, and a bathroom in the

21   middle.

22      Q.     Small apartment for that many kids and two

23   parents, correct?
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 1                   (Ronald Fountain - by Mr. Klein)

 2      A.    I would say, yeah.

 3      Q.    Was it in relatively neat and good condition?

 4      A.    Yes.

 5      Q.    Did the children appear to be well groomed and

 6   otherwise physically okay?

 7      A.    Yes.

 8      Q.    Do you remember any of the kids who didn't seem

 9   okay when you first went there?

10      A.    One of the children I remember was kind of

11   bopping around without a care in the world.                   I noticed

12   other things, but...

13      Q.    What else did you notice?

14      A.    There was no toys.

15      Q.    Do you know if they had been -- if they were in a

16   bin somewhere in a closet, or did you look?

17      A.    I believe at the end we found them in a bin in a

18   closet up on top, but there just wasn't much there for

19   seven people.

20      Q.    Do you remember anything else that stood out?

21      A.    Just a lot of kids in a small space.

22      Q.    Then the children were removed from the home,

23   correct?
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 1                    (Ronald Fountain - by Mr. Klein)

 2      A.     Correct.

 3      Q.     Were you there as they were like physically

 4   escorted out?

 5      A.     Yes.

 6      Q.     Did you stay there after with Adrian Thomas for a

 7   few minutes?

 8      A.     Yes.

 9      Q.     How long was it, approximately?

10      A.     I don't recall.

11      Q.     What do you recall about Adrian at that time?

12      A.     I remember he was a big fellow sitting down

13   with...

14             He was -- his demeanor was fine.              He didn't seem

15   overly upset about anything.

16      Q.     Did he seem upset, though?

17      A.     I mean, I don't recall.

18      Q.     You don't recall him being in tears or bawling?

19      A.     Correct.

20      Q.     But you don't know that he wasn't.

21             He just didn't seem overly upset.

22      A.     Correct.

23      Q.     Do you know whether he was upset?
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 1                   (Ronald Fountain - by Mr. Klein)

 2                   MR. PERKINS:       Object to the form.

 3      Q.    Do you know if he was the kind of person who

 4   expressed outwardly his emotions or whether he had them

 5   all bundled up for whatever reason?

 6                   MS. PECK:      Objection to the form.

 7      A.    I didn't know him that well.

 8      Q.    You didn't know either way.

 9      A.    Didn't know.

10      Q.    What else do you recall about Adrian, if

11   anything, at that time?

12      A.    Not a lot.

13      Q.    What, if anything, was said, either by you, Mason

14   or Adrian at that time?

15      A.    I don't recall.

16      Q.    Was there an initial interview of him at that

17   time?

18      A.    Yes.

19      Q.    You don't remember it?

20      A.    The exact words of the interview, no, I don't.

21      Q.    How about in sum and substance, can you tell us

22   what you remember?

23            We're talking about the apartment.                Okay?
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 1                   (Ronald Fountain - by Mr. Klein)

 2      A.    Okay.

 3      Q.    In the apartment, do you recall what was said

 4   even if it's in sum and substance?

 5      A.    I don't.

 6      Q.    Did he tell you, in sum and substance, that all

 7   he knew essentially was that he was woken up that

 8   morning by his wife who was frantic, and that the baby

 9   was not responsive.         They called 911 and did some CPR.

10                    MR. PERKINS:      Object to the form.

11                    You can answer.

12      Q.    Was that the sum and substance of what he told

13   you?

14      A.    Yes.

15      Q.    What happened after you spoke with him at the

16   residence after the children were removed?

17      A.    I don't know what he did.            We left.

18      Q.    You left.      What did you do next?

19      A.    I believe myself and sergeant -- Captain Mason

20   went to Albany Med.

21      Q.    According to the DB followup, at the residence,

22   Mr. Thomas told you guys that the victim had a fever and

23   diarrhea for the past two days.
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 1                   (Ronald Fountain - by Mr. Klein)

 2            Do you recall that?

 3      A.    I do.

 4      Q.    Was that corroborated by the mother when you

 5   spoke with her as well?

 6      A.    I believe so, yes.

 7      Q.    Then the other things I just said.                Around 8:30

 8   to 9 his wife woke him up because the victim was not

 9   responding.

10            Do you recall that?

11      A.    Yes.

12      Q.    He sprinkled some water on the victim's face but

13   the victim was still unresponsive.

14            Do you recall that?

15      A.    Yes.

16      Q.    He called 911 from his cell phone and gave the

17   phone to his wife.

18            He told you that?

19      A.    He did.

20      Q.    His wife performed CPR and the ambulance came

21   after that.

22      A.    Yes.

23      Q.    At Albany Med, according to this, you got there
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 1                    (Ronald Fountain - by Mr. Klein)

 2   at around 9:30 p.m.

 3            Does that sound about right?

 4      A.    Sounds about right.

 5

 6
        Q.    M
                  -      Thomas was in the PICU, which is the E

     building, seventh floor.

 7            Do you recall that?

 8      A.    Yes.

 9      Q.    There's notes about a charge nurse, Rebecca

10   Peccano, who said that there was a bilateral subdural

11   hematoma and the baby was not likely to survive.

12            Do you recall whether you spoke with her or did

13   your partner?

14      A.    I don't recall who spoke with her.

15      Q.    Did you learn that that evening?

16      A.    Yes.

17      Q.    There appeared to be both old blood and new blood

18   on the victim's brain, indicating there's an old injury

19   as well as a new injury.

20            Do you recall being told that that night?

21      A.    Yes.

22      Q.    And then it says, the victim was initially

23   diagnosed with a skull fracture but that was later
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 1                   (Ronald Fountain - by Mr. Klein)

 2   determined to be inaccurate.

 3            Is that true?

 4      A.    Yes.

 5      Q.    So, was there anything else that the doctors or

 6   nurses told you that you later learned to be untrue that

 7   you can recall?

 8                    MR. PERKINS:      Object to the form.

 9                    You can answer.

10      A.    That was found to be untrue?

11      Q.    Yeah.

12      A.    I don't recall.

13      Q.    That was a big one, though.

14                    MR. PERKINS:      Object to the form.

15      A.    Right.

16      Q.    And it says around 9:45, so about 15 minutes

17   after getting there, you spoke with Walter Edge?

18      A.    Dr. Edge.

19      Q.    Do you remember Dr. Edge?

20      A.    Yes.

21      Q.    Had you ever spoken with him before the incident?

22      A.    No.

23      Q.    Did you ever speak with him on other cases after
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 1                    (Ronald Fountain - by Mr. Klein)

 2   this incident?

 3      A.     I don't remember.

 4      Q.     He stated to you that the injuries were typically

 5   caused by a high speed impact or by slamming a very hard

 6   object.

 7             That's what this report says.             Is that what he

 8   told you?

 9      A.     Yes.

10      Q.     So what were the circumstances of your meeting

11   with Dr. Edge?       Where was it?        How long did you speak to

12   him for?     How did it go down?

13      A.     I believe it was the hallway.             It was very brief.

14   He said he was very busy.            I asked him if he could

15   conclude what happened.           I recall him saying this is a

16   homicide and telling me about the injury, and how the

17   speed of the impact would have had to have happened to

18   make this injury.

19      Q.     Did he also tell you that he hadn't slept for two

20   days?

21      A.     Yes.

22      Q.     Was he kind of walking or rushing around to get

23   out of there while you were speaking with him?
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 1                  (Ronald Fountain - by Mr. Klein)

 2         A.   He was definitely trying to get out.

 3         Q.   Tell me more about that.

 4              Did he seem harried or exhausted or what?

 5                   MR. PERKINS:       Object to the form.

 6                   You can answer.

 7         A.   He seemed very busy.

 8         Q.   What do you mean by "very busy"?

 9         A.   He had other matters involving very sick children

10   that he had to attend to and didn't have time to talk to

11   me.

12         Q.   So, how much of his time did he give you?

13              Was it like within a minute that he kind of

14   rolled off his opinions and you guys went separate ways?

15         A.   Maybe three or four minutes.

16         Q.   But you felt like it was hard to get his

17   attention.

18                   MR. PERKINS:       Object to the form.

19                   You can answer.

20         A.   I thought I had his attention.

21         Q.   How did you learn that he hadn't slept for two

22   days?

23              Did he volunteer that?
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 1                   (Ronald Fountain - by Mr. Klein)

 2      A.    Yes.

 3      Q.    How did it come up?          Was he saying, look, I'm not

 4   sure about this?        Did he say, I'm just exhausted?              Or

 5   how did he -- what were the circumstances in which he

 6   told you that?

 7                   MR. PERKINS:       Object to the form.

 8                   You can answer.

 9      A.    To the best of my current recollection, he said

10   he was very busy.         He hadn't slept in a couple days.

11   This was a homicide.          He had other matters to attend to

12   and he didn't have time to talk to me.

13      Q.    Do you recall anything else about that meeting

14   with him?

15      A.    No.

16      Q.    Then, at 10 p.m., do you recall interviewing

17   Wilahemina Hicks?

18      A.    Yes.

19      Q.    And that was at Albany Med.

20      A.    Yes.

21      Q.    Do you recall her relatives were there, her

22   mother and her sister?

23      A.    Yes.
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 1                   (Ronald Fountain - by Mr. Klein)

 2      Q.    According to this, you took a deposition from her

 3   at around 11:10 p.m.

 4            Do you recall that?

 5      A.    Yes.

 6      Q.    Was her mother and her sister present when you

 7   took the deposition from her, or would you have spoken

 8   with her just you and her privately or you and/or Mason

 9   and her privately?

10      A.    I don't recall.

11      Q.    Do you recall what she told you, in sum and

12   substance?

13      A.    That the baby had been sick, about the vomiting,

14   about waking up in the morning and trying CPR, about

15   going to Samaritan Hospital a couple days before.                    In

16   sum and substance, that was about it.

17      Q.    She didn't know, she wasn't aware of anything

18   that Adrian did to hurt the child.               She didn't tell you

19   anything about that, right?

20      A.    She did not.

21      Q.    Thomas Exhibit 19 is a two-page deposition of a

22   witness, of Wilahemina Hicks, dated 9/21/08 at 23:10.

23            Is that your signature at the bottom as a
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 1                    (Ronald Fountain - by Mr. Klein)

 2   witness?

 3      A.     Yes.

 4      Q.     Is this the two-page statement that you obtained

 5   from Wilahemina Hicks at the hospital?

 6      A.     Yes.

 7      Q.     Did you write out the narrative or did she write

 8   it out?

 9      A.     The narrative I wrote out.

10      Q.     From there, you went back to Adrian Thomas'

11   house, correct?

12      A.     Correct.

13      Q.     What was the reason you went directly from the

14   hospital back to Adrian at that time rather than waiting

15   to the next day or something else?

16             Was there some urgency to it, or was it just that

17   you guys were on the job and you were going to continue

18   plugging away?

19      A.     Yes.    Continue plugging away.

20      Q.     And so when you went back to the home, did you

21   know if Adrian was there?

22             Did you call first?

23      A.     I don't believe so.         I don't recall.
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 1                  (Ronald Fountain - by Mr. Klein)

 2      Q.    What happened when you got back to the Thomas

 3   household?

 4      A.    We knocked on the door and asked Adrian if he

 5   would come with us down to the police station to talk

 6   for a little while.

 7      Q.    Did you go into the apartment at all?

 8      A.    I don't recall.

 9      Q.    Other than telling him you wanted him to come

10   with you, do you recall anything else?

11      A.    I don't recall.

12      Q.    Was there a particular reason or reasons why he

13   was asked to come to the precinct rather than speaking

14   with him at his home given that he was alone?

15      A.    Just that's where we did our interviews, at the

16   police station on videotape, so that was where he was

17   brought.

18      Q.    So, at that time did you make a determination

19   that you wanted to videotape this next statement from

20   him, or was it Mason or was it a joint decision?

21      A.    I'll say it was Mason because he was in charge,

22   but I don't recall.

23      Q.    When you say Mason was in charge, just tell me
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 1                  (Ronald Fountain - by Mr. Klein)

 2   what you mean by that.

 3      A.    He's a sergeant and I'm not.

 4      Q.    He was a higher rank?

 5      A.    Correct.

 6      Q.    Do you know if you or Mason checked with the

 7   detective captain or the chief or anyone else about

 8   going to the station house to do the interview at that

 9   point in time?

10      A.    I believe we kept the chief of detectives

11   advised, but I'm not sure who spoke to him, whether it

12   was myself or Mason.

13      Q.    Would the chief of detectives or anyone like that

14   have made the call to bring him back to the precinct, to

15   the station house, or was that something that probably,

16   in your view, Mason more likely than not decided?

17      A.    I don't recall.

18      Q.    Thomas went with you cooperatively, correct?

19      A.    Correct.

20      Q.    He went in your vehicle?

21      A.    Front seat.

22      Q.    Do you remember -- were you driving?

23      A.    I was.
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 1                   (Ronald Fountain - by Mr. Klein)

 2      Q.    Do you remember anything he said or did during

 3   the ride?

 4      A.    I don't.

 5      Q.    Then you brought him right up to the third floor?

 6      A.    Yes.

 7      Q.    To the interrogation room?

 8      A.    Interview room.

 9      Q.    That's when the first video statement was

10   recorded over the next two hours or so, correct?

11      A.    Correct.

12      Q.    We'll get into the substance of that in a few

13   minutes, but when it ended it was about 1:45 a.m.,

14   correct?

15      A.    Correct.

16      Q.    That's when you determined that you would

17   transport him to Samaritan Crisis because of his

18   statements about jumping off a bridge?

19      A.    I didn't determine that, but it was determined.

20      Q.    Who made that determination?

21      A.    Either myself or Mason.            It was probably jointly,

22   I'll go with that.

23      Q.    Did you guys discuss it outside of Thomas'
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 1                  (Ronald Fountain - by Mr. Klein)

 2   presence or was it a judgment call made in the room with

 3   him?

 4      A.    I don't recall.

 5      Q.    So, the next day, Sergeant Mason was at Samaritan

 6   and then Albany Med doing interviews, but my

 7   understanding is you were not with him.

 8            Do you recall whether you were or were not with

 9   him the next day?

10      A.    I do recall.

11      Q.    What did you do the next day?

12      A.    I took care of my kids.

13      Q.    The entire day of 9/22/08?

14      A.    I mean, until my wife got home at 4 p.m. from

15   work, yes.

16      Q.    And then what happened?

17            Did you go back to work on the evening of

18   9/22/08?

19      A.    I don't recall.

20      Q.    When did you next go back to work?

21      A.    One day that week.

22      Q.    Well, Thomas gave his second interview when he

23   got back from Samaritan starting about 5 p.m., let's
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 1                  (Ronald Fountain - by Mr. Klein)

 2   say, on the 22nd.

 3            Do you recall that generally?

 4      A.    I wasn't there.

 5      Q.    Did you come to learn, either at the time or

 6   since, that after you dropped him off at Samaritan he

 7   then was met by Colaneri -- by Detective Mason and

 8   Centanni in the lobby of the hospital and they brought

 9   him back to the interview room?

10                   MR. PERKINS:       Object to the form.

11                   You can answer.

12      A.    I did learn that later on, yes.

13   BY MR. KLEIN:

14      Q.    Do you know if they kept you in the loop that day

15   or the next day, or did you find out like much later on?

16            When did you find out?

17      A.    That week.

18      Q.    And they then interviewed him from about 5 p.m.

19   until let's say 2 in the morning, and then he was placed

20   under arrest.

21            Were you generally aware of that?

22      A.    Not that day.

23      Q.    That week you were?
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 1                   (Ronald Fountain - by Mr. Klein)

 2      A.    Yes.

 3      Q.    When he was placed in the morning, it was into

 4   the morning of September 23, 2008.               He was processed and

 5   booked by Sergeant Mason.

 6            Did you come to work at any time while he was

 7   being booked or processed?

 8      A.    No.

 9      Q.    What was your next involvement in the case?

10      A.    To the best of my recollection, it was

11   interviewing of the children.

12      Q.    When was that?

13            Do you know if it was on the 23rd?

14      A.    I don't recall.

15      Q.    Mason, just as a frame of reference, Mason was

16   arraigned on the 23rd and sent to the county jail on the

17   23rd.

18      A.    Thomas.

19      Q.    Thomas, I'm sorry.

20      A.    That's all right.

21      Q.    Do you know if it was around that time?

22      A.    I believe it was within the first few days of the

23   investigation that I started interviewing the kids.                    I
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 1                  (Ronald Fountain - by Mr. Klein)

 2   don't recall the exact date.

 3      Q.    Did you interview the kids or did CPS interview

 4   them and you stood by?

 5      A.    CPS interviewed them and I stood by.

 6      Q.    So, you were present for interviews of the kids.

 7      A.    Correct.

 8      Q.    What kids, what interviews were you present for?

 9      A.    The ones that were verbal.             Some of the children

10   weren't.

11      Q.    Do you remember the names of the kids that you

12   were present for?

13      A.    I know                    was one.      I believe there was

14   an older boy I stayed for also.               I'm not sure what his

15   first name is.       Might have been two boys.             I'm unsure.

16   And there was one other girl.             It's a big family.

17

18
        Q.    There was
                            -      , who was born in
                                                            -
              You believe you were present for her interview?
                                                                 .



19      A.    I was.

20

21
        Q.

        A.
              -
              So, yes.
                         was born in
                                         -     ?



22      Q.    You believe you were present for hers?

23      A.    I believe so.        I don't believe there was any
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 1                        (Ronald Fountain - by Mr. Klein)

 2   substance or anything said, but yes.

 3

 4   in
          Q.


          -    ?
                   The other kids were                      ,
                                                                -         , born



 5        A.       Okay.

 6        Q.       Do you recall whether you were present for an

 7   interview of him?

 8        A.       I'm sure I was.

 9

10
          Q.       There was                   born in

     have been about three and change at that time.
                                                          -     , so he would



11                 Do you know if he was interviewed or was he too

12   little?

13        A.       I don't know exactly.      I can honestly say I don't

14   recall.         I'm sure they tried to interview everybody and

15   I'm sure I stuck around.

16

17
                   But, again, there was no substance from a

     year old and there was nothing to write down.
                                                                          -
18        Q.       Whatever was of substance you wrote down in your

19   notes?

20        A.       Yes.

21        Q.       The notes that you looked at before this

22   deposition, you saw those notes?

23        A.       I did.
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 1                   (Ronald Fountain - by Mr. Klein)

 2      Q.       Because we're going to pull them out.              I just

 3   want to make sure we have the same notes.

 4

 5
                 So, you said with

     anything of substance.
                                       -          you don't recall



 6      A.       I just don't recall the interview.             I recall

 7

 8
     -  Q.
             .   That was about it.

                 How many interviews of
                                              -       did you attend?

 9      A.       I don't recall.

10      Q.       Do you know if it was more than one?

11      A.       I believe so.

12      Q.       Do you know if it was more than two?

13               Just trying to get a ballpark.

14      A.       I have no idea.     Don't recall.

15      Q.       Was it many?

16      A.       I don't recall.

17      Q.       Do you even know if it was more than one?

18      A.       I believe there was more than one interview of

19

20
     -  Q.
             .

                 What was the gist of it?

21               What do you remember she said?

22      A.       What sticks out in my head, I remember one of the

23   interviews of her saying how Adrian touched her
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 1                  (Ronald Fountain - by Mr. Klein)

 2   sexually.

 3      Q.    Did you ever learn that that was unfounded or

 4   that she had issues of credibility?

 5                   MS. PECK:      Objection to the form.

 6                   MR. PERKINS:       Object to the form.

 7                   You can answer if you can.

 8   BY MR. KLEIN:

 9      Q.    Did you ever follow through on any investigation

10   of that?

11      A.    I did.

12      Q.    What was your role in that?

13      A.    I did an investigation into a sexual abuse and

14   handed what I had over to the DA's office.

15      Q.    Were there any charges brought for that?

16      A.    Not to the best of my knowledge.

17      Q.    What did you conclude?

18      A.    That he had sexually abused his daughter.

19      Q.    Did you speak with anyone other than her about

20   those allegations?

21                   MR. PERKINS:       Object to the form.

22                   You can answer.

23      A.    Not that I recall.
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 1                  (Ronald Fountain - by Mr. Klein)

 2       Q.   Whatever you gave to the DA's office about that

 3

 4
     was not part of the M

     a separate matter, correct?
                                 -         Thomas prosecution, that was



 5       A.   Correct.

 6

 7
         Q.   Other than interviewing
                                               -
     you got to the DA's office, separate from the M
                                                       and giving whatever


                                                                     -
 8   Thomas investigation, did you do anything else in regard

 9

10
     to the
              -       allegations?

              Did you interview anyone else about it?

11                   MR. PERKINS:       Object to the form.

12                   You can answer if you remember.

13       A.   I don't recall.

14       Q.   Did you investigate any other allegations

15   relating to any of the other kids?

16       A.   Not that I recall.

17       Q.   On October 3, 2008 there was a video interview of

18   Wilahemina Hicks regarding her role, if any, in the

19

20
     M
         -     Thomas incident.

              Do you recall that?

21       A.   I don't.

22       Q.   In that interview she said that she, in sum and

23   substance -- she was interviewed for an hour.                   You just
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 1                  (Ronald Fountain - by Mr. Klein)

 2   don't recall that?

 3      A.    I don't.

 4      Q.    In sum and substance, she said that she didn't

 5   know, had no idea, whether Adrian did anything to the

 6   child.

 7            Do you recall generally that that's what she

 8   said?

 9                   MR. PERKINS:       Object to the form.

10                   You can answer.

11      A.    I don't recall the interview.              I do recall

12   Wilahemina, talking to her and her having no idea what

13   he could have done at some point in the investigation,

14   yes.

15      Q.    Having no idea what he could done.

16      A.    Correct.

17      Q.    Wilahemina, do you recall her telling you that to

18   her knowledge he had never abused the kids?

19      A.    I don't recall.

20      Q.    That she didn't think he would hurt the kids.

21            Do you remember her telling you that?

22      A.    I don't recall.

23      Q.    So, other than the Wilahemina Hicks interview,
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 1                   (Ronald Fountain - by Mr. Klein)

 2   which is in the paperwork, are there any other

 3   interviews that you attended, even if you don't remember

 4   them but you know from looking at the paperwork?

 5      A.    I don't recall.

 6      Q.    I'm showing you Thomas 21.

 7            This is the pretrial Huntley hearing transcript.

 8      A.    Yes.

 9      Q.    If you haven't seen it, I'm just going to ask you

10   to take a few minutes to take a look at it.                   If you have

11   seen it, just breeze through it.              If you didn't, in

12   fact, look at before today, in preparation for today,

13   let me know.

14      A.    (Witness complies.)

15      Q.    So I will represent to you Exhibit 21, which you

16   just looked at briefly, is your pretrial Huntley hearing

17   testimony.

18            Do you recall generally testifying in court at a

19   pretrial hearing?

20      A.    Not really.

21      Q.    Did you testify truthfully to all matters before

22   the court?

23      A.    Yes.
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 1                   (Ronald Fountain - by Mr. Klein)

 2      Q.    Is there anything that you recall that you

 3   testified to the court that was not accurate or you wish

 4   to clarify today?

 5      A.    Not that I recall.          No.

 6      Q.    Thomas 22 is, I'll represent to you, your 2009

 7   trial testimony.

 8            Have you had a chance to skim through that before

 9   coming here today?

10      A.    I did.

11      Q.    Was everything that you said before the court

12   accurate in that transcript?

13      A.    As far as I can recall, yes.

14      Q.    At the pretrial Huntley hearing, not only did

15   Edge tell you he was tired, but I think you testified

16   that he said he had to go to sleep and that's why he

17   couldn't spend much time talking to you.

18            Do you recall words to that effect?

19      A.    Yes.

20      Q.    I believe you said that you saw the baby at the

21   hospital.

22            Do you recall that?

23      A.    Yes.
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 1                   (Ronald Fountain - by Mr. Klein)

 2      Q.    And that you were six to eight feet away, about?

 3      A.    Yes.

 4      Q.    That there were no signs, outward signs, of

 5   trauma to the baby that you saw.

 6      A.    That I recall, yes.

 7      Q.    You testified at the hearing that when there are

 8   high speed crashes, like the type of impact that Dr.

 9   Edge talked about, in your experience with like high

10   speed accident, there would be bleeding, broken bones,

11   marks and scratches and things like that.

12            But you didn't see any things like that in this

13   case to your eye.

14      A.    Correct.

15      Q.    During the interview -- and you testified to this

16   -- Adrian Thomas told you many, many times that he

17   didn't do anything, correct?

18      A.    Correct.

19      Q.    You didn't put that in the Thomas deposition of a

20   witness that was written out, did you?

21      A.    Not that I recall.

22      Q.    So, in that regard, in Thomas Exhibit 19 there's

23   a deposition of a witness of Adrian Thomas dated 9/22/08
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 1                   (Ronald Fountain - by Mr. Klein)

 2   at 1:41 a.m.

 3            It's not even a full page; is that right?

 4      A.    That's right.

 5      Q.    Is that the supporting -- is that the deposition

 6   of Adrian Thomas that you wrote out?

 7      A.    Yes.

 8      Q.    Are you the witness that signed at the bottom?

 9      A.    I am one of them.

10      Q.    Sergeant Mason was the other?

11      A.    Correct.

12      Q.    The other statement is the longer, ten-page

13   statement.

14            You were not present for that longer, ten-page

15   statement, correct?

16      A.    Correct.

17      Q.    You didn't put the fact that Adrian Thomas

18   repeatedly denied knowing what happened to the baby in

19   there.

20            Is that something that you continued to do

21   throughout your career in these types of statements, or

22   did you change that practice as time went on?

23                   MR. PERKINS:       Objection to the form.
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 1                  (Ronald Fountain - by Mr. Klein)

 2                   MS. PECK:      Objection.

 3                   MS. CALABRESE:        Objection.

 4   BY MR. KLEIN:

 5      Q.     What was your practice with regard to that as

 6   your career went on?          If you had denials of

 7   responsibility -- culpability from an accused, from a

 8   witness, would you put those in or generally you weren't

 9   concerned by it?

10                   MR. PERKINS:       Object to the form.

11                   You can answer.

12      A.     Generally, later on in my career, I didn't take a

13   statement at all.

14      Q.     Why not?

15      A.     Because it was on video.

16      Q.     No need to have it in writing if you had the

17   verbal.

18      A.     Correct.

19      Q.     Did someone instruct you that it was better just

20   to have the video and not go with the writing because

21   the writing makes things more complicated in court, or

22   was that just a conscious decision that you made based

23   on your experience?
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 1                  (Ronald Fountain - by Mr. Klein)

 2      A.    I'm going with a conscious decision.

 3      Q.    It wasn't like some type of guidance that you

 4   got.

 5      A.    No.

 6      Q.    Now, in that interview, the first video

 7   interview, you told Adrian Thomas that a child couldn't

 8   have done it, that Dr. Edge said it couldn't have been

 9   by a child, it had to have been done by an adult,

10   correct?

11      A.    Correct.

12      Q.    That was a lie, correct?

13      A.    Correct.

14      Q.    Do you agree that you were the first person to

15   suggest that Thomas could have bumped the baby, perhaps

16   by bumping his head into the crib?

17      A.    Correct.

18      Q.    You are the one that suggested that scenario of

19   bumping before it was ever brought up by Adrian,

20   correct?

21      A.    Correct.

22      Q.    As we touched on earlier, Mason, I believe, kept

23   telling Thomas multiple times that you guys thought it
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 1                  (Ronald Fountain - by Mr. Klein)

 2   was an accident and that, in sum and substance, you guys

 3   were on his side.

 4             Do you remember that?

 5      A.     Correct.

 6      Q.     At the point in the interview where Adrian said

 7   he wanted to jump off the bridge, he felt bad, you

 8   continued to ask him questions like did his head bounce

 9   and other things like that, correct?

10      A.     Correct.

11      Q.     Did you do that because he was particularly

12   vulnerable at that point?

13             What was the reason you did that?

14                   MR. PERKINS:       Object to form.

15                   You can answer.

16      A.     Just going on with the interview.

17      Q.     Even though he said he wanted to jump off a

18   bridge.

19             In other words, was there any -- looking back at

20   that, would you have gone about it differently later in

21   your career?

22                   MR. PERKINS:       Object to form.

23                   You can answer.
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 1                   (Ronald Fountain - by Mr. Klein)

 2                   MS. PECK:      Objection.

 3      A.    I don't know.

 4   BY MR. KLEIN:

 5      Q.    He did say he wanted to be with his son a couple

 6   times during the interview.

 7            Do you recall that?

 8      A.    I don't recall.

 9      Q.    ADA Glass was present -- I believe this came up

10   in the testimony -- was present with you during the

11   interview of the children, watching behind one-way

12   glass.

13      A.    Yes.

14      Q.    So, it wasn't that you gave your work product to

15   Glass.     He was present during the interviews himself,

16   correct?

17      A.    Correct.

18      Q.    Again, that's separate from the prosecution of

19

20
     Adrian Thomas for M

        A.    Correct.
                               --       T        , correct?



21      Q.    Did Adam Mason have any involvement in that

22   separation investigation?

23      A.    I don't recall.
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 1                   (Ronald Fountain - by Mr. Klein)

 2            I...

 3      Q.    Go ahead.

 4      A.    Just to go back, I believe when Art Glass was

 5   there, that was pertaining to the Thomas homicide, to

 6   see if the kids had known anything.

 7            I don't believe that had anything to do with a

 8   different investigation at that time.                Just to clarify

 9   that.

10      Q.    So, there were two investigations, or at least

11   two investigations.

12

13
              One was M

     allegations?
                           -        Thomas and another was abuse



14      A.    That came later.

15      Q.    How much later?

16      A.    I don't recall.

17      Q.    It was later.

18      A.    After the Thomas.         Thomas was our first priority.

19      Q.    Did you ever make efforts or seek authority to

20   arrest Adrian Thomas for the separate abuse allegations?

21                   MR. PERKINS:       Object to the form.

22                   You can answer.

23      Q.    Did that ever come up?
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 1                  (Ronald Fountain - by Mr. Klein)

 2      A.     I believe I ran it by the district attorney's

 3   office.

 4      Q.     It was declined?

 5      A.     It was declined.

 6      Q.     Do you know what the reason for the declination

 7   was?

 8      A.     Didn't ask.

 9      Q.     So, any such matters, to your knowledge, given

10   that they were declined, are they sealed, to your

11   knowledge?

12      A.     I don't know.

13      Q.     Do you know if they were declined because of

14   credibility determinations relating to the child

15   witnesses?

16                   MR. PERKINS:       Objection to the form.

17                   You can answer.        It's a side irrelevant

18   investigation.       You can answer if you can recall.

19                   MS. PECK:      Object to form.

20                   THE WITNESS:       To the best of my

21   recollection, they didn't believe there was enough to

22   move forward with a new case.

23   BY MR. KLEIN:
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 1                   (Ronald Fountain - by Mr. Klein)

 2       Q.   With regard to the one-page statement, the

 3   deposition of Adrian Thomas that you wrote out, is it

 4   true that at that time you did not view anything he said

 5

 6
     as contributing to the injuries that M

     sustained that you were aware of?
                                                         -         had



 7                   MS. PECK:      Object to the form.

 8       A.   Yes.

 9   BY MR. KLEIN:

10       Q.   You just wanted to get something on paper rather

11   than nothing?

12       A.   Yes.

13       Q.   After that statement -- you didn't believe there

14   was probable cause to arrest him at that time, correct?

15       A.   Correct.

16       Q.   I think you said you didn't remember what was

17   said in the apartment.          At trial, you testified that you

18   guys asked him questions in the apartment, that he told

19

20
     you that M
                  -         had been to a doctor, a bunch of

     doctors in the past couple weeks, that he had diarrhea

21

22
     for two days, and M
                               -        had taken a bottle from the

     mother around 3, and he was woken up that morning with

23   M
         -     nonresponsive, and 911 was called from his cell,
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 1                   (Ronald Fountain - by Mr. Klein)

 2   and the mother performed CPR.

 3            Does that sound about right?

 4       A.   Yes.

 5       Q.   And that Adrian told you he didn't know why

 6

 7
     M
         -
     apartment.
               was having breathing problems.               This is at the



 8            Does that sound right?

 9       A.   Yes.

10       Q.   This is what you testified to.

11            Any reason to doubt that?

12       A.   No.

13       Q.   You testified at trial when you spoke to

14   Wilahemina later Sunday evening she confirmed that

15

16
     M
         -
         A.
               had not been well for a few days, right?

              Correct.

17       Q.   You acknowledged at trial that questions about

18   slamming were first suggested by you, correct?

19       A.   Correct.

20

21
         Q.   You suggested to him more than once that M

     was slammed on something hard, right?
                                                                          -
22       A.   Yes.

23       Q.   Do you recall telling Adrian that you were going
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 1                   (Ronald Fountain - by Mr. Klein)

 2   to have to scoop up his wife because he was saying he

 3   didn't do anything, so therefore she must have done

 4   something?

 5      A.    I don't recall if I said that or not.

 6      Q.    Do you recall it being said in your presence,

 7   either you said it or your partner said it?

 8      A.    Yes.

 9      Q.    You testified at trial that you really didn't

10   think Thomas was a danger to himself when you took him

11   to Samaritan.

12            Do you recall giving that testimony?

13      A.    Vaguely.

14      Q.    Is that your recollection?             You didn't think he

15   was a danger to himself?

16      A.    I don't recall.

17      Q.    Just to be more particular, in terms of

18   suggesting first to Thomas that the baby was slammed, as

19   opposed to Adrian saying it first, either you or Mason

20   suggested during the interview first that the baby had

21   been slammed on the bed or thrown on the bed, right?

22      A.    Yes.

23      Q.    I believe it was you that suggested multiple
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 1                   (Ronald Fountain - by Mr. Klein)

 2   times that the baby had to have been whacked on the side

 3   of the crib, right?

 4      A.    As far as I can recall, yes.

 5      Q.    You were throwing out possible scenarios to see

 6   if Adrian would adopt them.

 7            Is that what you were doing?

 8                   MR. PERKINS:       Object to the form.

 9                   You can answer.

10      A.    Yes.

11   BY MR. KLEIN:

12      Q.    Your testimony is that -- correct me if I'm wrong

13   -- that Adrian wasn't in custody at the time?

14      A.    Correct.

15      Q.    Do you remember Adrian Thomas saying, on at least

16   one or two occasions, that he felt like he was in jail

17   at the time?

18      A.    I don't recall.

19      Q.    That he said, I'm in jail here.

20            He wanted to be with his son but he was in jail

21   here?

22      A.    I don't know.

23                   MR. PERKINS:       Object to the form.
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 1                  (Ronald Fountain - by Mr. Klein)

 2      Q.     Do you have any reason to doubt that he said

 3   that?

 4      A.     I don't recall him ever saying that, but if you

 5   say so.

 6      Q.     Do you recall him saying, quote, it's my

 7   birthday, spending my birthday in jail, or words to that

 8   effect, when you guys said "happy birthday"?

 9      A.     I don't recall.

10      Q.     So, whether or not you had him in custody, you

11   don't know whether or not he felt like he was in

12   custody, do you?

13                   MR. PERKINS:       Object to the form.

14                   You can answer if you can.

15                   MS. CALABRESE:        Objection.

16      A.     I don't know what his feelings were.

17   BY MR. KLEIN:

18      Q.     The camera in the interview room, was it obvious

19   to anyone walking into the room that there was a camera

20   on the wall, or was it somewhat inconspicuous?

21      A.     I don't know.       I knew it was there.

22      Q.     Well, did you ever say that anyone walking in the

23   room, a layperson walking in the room, would not know it
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 1                   (Ronald Fountain - by Mr. Klein)

 2   was a camera.

 3      A.    I don't know.

 4      Q.    It wasn't like a -- something that looked like a

 5   handheld or camera on a bracket, correct?

 6      A.    Correct.

 7      Q.    It was a piece of white plastic that looked like

 8   it could have been some type of fixture or thermostat or

 9   something else on the wall, correct?

10      A.    Yes.

11      Q.    If I told that you said you would not know it's

12   there, would you doubt that?

13      A.    No.    I wouldn't doubt that.

14      Q.    It wasn't obvious to anyone walking in unless you

15   knew what it was, correct?

16      A.    Unless you're looking for it, correct.

17      Q.    But if I'm looking for something that looks like

18   a camera, that didn't look like what traditionally you

19   would think would be a camera unless you knew what that

20   technology was specifically.

21                   MR. PERKINS:       Object to the form.

22                   You can answer.

23      A.    Correct.
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 1                   (Ronald Fountain - by Mr. Klein)

 2   BY MR. KLEIN:

 3      Q.    Is it true that you never used that camera or a

 4   recorded interview like this before this case?

 5      A.    I believe that was the first.

 6      Q.    Did you use it on any occasions after?

 7      A.    Yes.

 8      Q.    How many?      A few, dozen?

 9      A.    I would go with a dozen.

10      Q.    Do you know if it was Mason's first as well?

11      A.    I believe so.

12      Q.    You started off the interview with rapport

13   building, correct?

14      A.    Correct.

15      Q.    You talked to Adrian about what he did for work

16   and his kids and things like that, correct?

17      A.    Correct.

18      Q.    Did you say that Adrian sat in what you called

19   the king's chair in his home?

20      A.    Yes.

21      Q.    What did you mean by that?

22      A.    It seemed to me that there was a single big chair

23   in that house that was meant for Adrian, and it was his.
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 1                   (Ronald Fountain - by Mr. Klein)

 2      Q.    He was a big guy, right?

 3      A.    Correct.

 4      Q.    Do you know, did you ever speak to him when he

 5   was sitting in that chair or that was just the inference

 6   you drew from seeing the apartment?

 7      A.    I believe it was my inference.              I don't recall if

 8   I asked him about it.

 9      Q.    Did Dr. Edge tell you that the child is going to

10   die, or did he say the child was murdered?

11      A.    I believe exact words were "this is a homicide".

12   And then the substance afterwards -- I know I wrote it

13   down right after he told me, but I don't know exactly

14   what it was.

15      Q.    Well, did you ever interpret his words as a

16

17
     statement that M

        A.    Yes.
                           -        was murdered?



18      Q.    Homicide could be an accident as well, correct?

19      A.    I thought homicide was an intentional death,

20   but...

21      Q.    Something at the hands of another, right?

22      A.    Correct.

23      Q.    There could be -- someone could --
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 1                  (Ronald Fountain - by Mr. Klein)

 2                   MR. PERKINS:       Object to the form.

 3      Q.    I didn't finish the question.

 4            Someone could cause the death of someone else in

 5   self-defense, correct?

 6            You could -- someone could be in a domestic

 7   violence situation and they could be defending

 8   themselves against their accuser and caused the death of

 9   the accuser, and it could be a homicide but it may be

10   justified.

11                   Do you agree with that?

12                   MR. PERKINS:       Object to the form.

13                   You can answer if you can.

14      A.    I don't know.

15   BY MR. KLEIN:

16      Q.    Well, do you remember whether Dr. Edge said

17   "homicide" or whether he said "murder"?

18      A.    I don't recall.

19      Q.    In your mind, was homicide the same as murder?

20      A.    Correct.

21      Q.    Is it fair to say that you interpreted the word

22   "homicide" and conveyed it to your colleagues as Dr.

23   Edge saying this is a murder?
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 1                    (Ronald Fountain - by Mr. Klein)

 2       A.    He might have said murder.            Whatever I wrote down

 3   is what he said.

 4       Q.    Well, if murder and homicide were interchangeable

 5   to you, would you have written "murder"?

 6       A.    I believe I wrote this child was murdered because

 7   that's exactly what he told me.

 8       Q.    But you're not sure.

 9       A.    I am not sure exactly without looking at my

10   notes, which you have somewhere.

11       Q.    Okay, we will go through them.

12             Your notes say, quote, high speed impact.                  Quote,

13   slamming very hard into a hard object.                 Quote, this is a

14   murder.

15             Is it your belief that you wrote verbatim what he

16   told you?

17       A.    Yes.

18       Q.    During the first interview, was it your belief or

19   your focus that Adrian Thomas had done something to

20

21
     M
         -
         A.
               ?

               Yes.

22       Q.    So you went into that first recorded interview

23   that led to the one-page statement not knowing what
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 1                    (Ronald Fountain - by Mr. Klein)

 2   happened but believing he did something?

 3      A.     Yes.

 4      Q.     Why did you believe he did something as opposed

 5   to Wilahemina or someone else or the kids or some other

 6   person?

 7      A.     Just the way everything came together, it seemed

 8   like it was him.

 9      Q.     Other than it seeming like it was him, is there

10   any factual basis for that other than your gut feeling?

11                    MR. PERKINS:      Object to the form.

12                    You can answer.

13      A.     The doctor said it was a murder.              Wilahemina was

14   very credible.       The kids probably couldn't have caused

15   that much damage according to what the doctor was

16   telling us.       Adrian seemed like the likely suspect in

17   the house.

18      Q.     You kind of -- is it called deduction?

19             You ruled out people who were less likely to have

20   done it and were left with Adrian?

21                    MR. PERKINS:      Object to the form.

22                    You can answer.

23      A.     I didn't rule anybody out, but Adrian was our
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 1                   (Ronald Fountain - by Mr. Klein)

 2   prime suspect.

 3       Q.   He was your prime suspect going into that

 4   recorded interview.

 5       A.   Correct.

 6       Q.   Is that why it was recorded?

 7       A.   It was new technology at the police department

 8   and the chief said to record it.

 9       Q.   You would agree that none of the examples of how

10

11
     M
         -     could have gotten hurt in the one-page statement

     that you wrote out were consistent with what Dr. Edge

12   said.

13                   MR. PERKINS:       Object to the form.

14       Q.   Would you agree with that?

15                   MR. PERKINS:       You can answer.

16       A.   Correct.

17       Q.   Did you tell Adrian that you had quit smoking two

18   packs a day earlier that year?

19       A.   Yes.

20       Q.   Was that true?

21       A.   Yes.

22       Q.   Telling Adrian repeatedly that you guys knew it

23   was an accident, you were on his side, he was going to
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 1                   (Ronald Fountain - by Mr. Klein)

 2   go home, was that a ploy, from an interrogation

 3   standpoint, to get him to feel comfortable speaking with

 4   you?

 5       A.   Yes.

 6       Q.   Saying it's you or your wife, was that another

 7   ploy from an interrogation tactic perspective?

 8       A.   Yes.

 9       Q.   Do you recall it was you that suggested that he

10   was slammed, bumped into the wall and possibly bumped

11   into the kitchen table, you asked him all of those

12   scenarios.

13       A.   To the best of my recollection.

14       Q.   You said to him, either you did it or your wife

15   did it, essentially, right?

16       A.   Yes.

17       Q.   Did you have any understanding at that time that

18   you could have caused a false confession based on the

19   techniques that you employed?

20                   MR. PERKINS:        Object to the form.

21                   You can answer.

22       A.   Not at that time.

23                   MS. CALABRESE:        Objection.
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 1                   (Ronald Fountain - by Mr. Klein)

 2       Q.   At any other time since then did you have that

 3   understanding?

 4                   MR. PERKINS:        Objection to the form.

 5                   You can answer.

 6       A.   I didn't think I did anything wrong since then.

 7       Q.   Well, did you say to Adrian, your wife must have

 8   done this?      If you didn't do it then your wife must have

 9   done it?

10       A.   Yes.

11       Q.   After that first interview, did you come to work

12   and either read or watch the video of the second

13   interview?

14       A.   I don't recall.

15       Q.   As the coinvestigator on the file, on the case,

16   is it more likely than not that Sergeant Mason would

17   have conferred with you even if you were not at the

18   office to let you know what happens with the

19   interrogation?

20       A.   He might have called me.            I don't recall if we

21   actually talked that day or the next day.

22       Q.   Were you consulted in the determination to arrest

23   Adrian after the second interview?
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 1                   (Ronald Fountain - by Mr. Klein)

 2         A.   To the best of my recollection, no.

 3         Q.   At any point, as the assigned investigator to the

 4   case, do you believe you would have watched the second

 5   video interrogation?

 6         A.   I can honestly say there's no way I watched an

 7   eight-hour interview.

 8         Q.   Can you honestly say that you watched portions of

 9   it?

10         A.   Not that I recall.

11         Q.   Did you review the ten-page statement?

12         A.   Very possible.

13         Q.   If you were still in the department and had the

14   same case come in, the same circumstances, would you

15   employ the same techniques today?

16                   MS. PECK:       Objection.

17                   MS. CALABRESE:        Objection.

18                   MR. PERKINS:        Object to the form.

19                   You know --

20                   MR. KLEIN:       That's all you can do.

21                   You can answer.

22                   MR. PERKINS:        Don't answer.

23                   MR. KLEIN:       You can't direct him not to
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 1                    (Ronald Fountain - by Mr. Klein)

 2   answer.

 3                    MR. PERKINS:       I did.

 4                    MR. KLEIN:      Mark that one for a ruling as

 5   well as the prior question.

 6   BY MR. KLEIN:

 7       Q.    Do you believe that anything you did was improper

 8   during the interrogation?

 9                    MR. PERKINS:       Object to the form.

10                    You can answer.

11       A.    No.

12       Q.    Did you testify at the first trial essentially

13   regarding your role in the events of Sunday the 21st and

14   your involvement in the interview early into the morning

15   hours of the 22nd?

16       A.    Yes.

17       Q.    So, your conduct in investigating this case and

18   speaking to Adrian Thomas during the first recorded

19   interview, that was information that was given to

20   prosecutors and that you testified at the trial,

21   correct?

22       A.    Correct.

23       Q.    You knew that even though the first interview
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 1                   (Ronald Fountain - by Mr. Klein)

 2   didn't lead to, in your view, fruit that Adrian

 3   committed the murder, it was a part of a process that

 4   lead ultimately to the second interview.

 5            Is that your understanding?

 6       A.   Yes.

 7       Q.   So, you were part of the chain of events that

 8   lead to Adrian ultimately giving a confession that was

 9   used by prosecutors to prosecute; is that right?

10                   MS. PECK:       Objection.

11                   MR. PERKINS:        Object to the form.

12                   You can answer.

13       A.   If you say so.

14       Q.   Well, I'm asking you.           I mean, you testified, you

15   were called to testify about your role in the first

16   interview?

17       A.   Correct.

18       Q.   So, it was relevant in the prosecution as far as

19   you know, correct?

20       A.   Correct.

21                   MS. CALABRESE:        Object to the form.

22       Q.   You knew that, when you testified against Adrian,

23   even though you weren't present for the second
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 1                    (Ronald Fountain - by Mr. Klein)

 2   interview, you were part of a case that was with the

 3   goal of convicting him of murder, correct?

 4                    MR. PERKINS:       Object to the form.

 5                    You can answer.

 6       A.    Yes.

 7       Q.    Other than his statements in police custody, plus

 8   the findings of Dr. Sikirica, are you aware of any other

 9

10
     evidence that linked Adrian to the death of M

     Thomas?
                                                                   -
11       A.    Not that I know of.

12       Q.    In terms of the criminal court information in

13   this case, that's how the criminal case was started, to

14   your knowledge; is that right?

15       A.    If you say so.

16       Q.    Well, do you know that in the file is a criminal

17   court information that Sergeant Mason drafted charging

18   Adrian?

19       A.    I never read it, but yes, okay.

20       Q.    Only one person could be the officer that signs

21   off on the arrest paperwork, right?

22             Typically one arresting officer for the

23   paperwork?
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 1                   (Ronald Fountain - by Mr. Klein)

 2       A.   Sometimes a supervisor signs it afterwards.

 3       Q.   But other than an approving sign off, it's one

 4   officer that's the paperwork officer, correct?

 5       A.   Usually.

 6       Q.   You maintained responsibility for this file

 7   through the first trial, correct?

 8       A.   Absolutely not.

 9       Q.   When did you stop working on the file?

10       A.   I never had the file in my office or my

11   possession.

12       Q.   You were the assigned -- one of two assigned

13   officers on the case, correct?

14       A.   I was the second officer assigned to the case.

15   Yes.

16       Q.   The arresting officer maintained the file?

17       A.   Sergeant Mason, also being the supervisor,

18   maintained everything.

19       Q.   But typically only one person on a team of

20   investigators maintains the file.

21            There's one file, correct?

22       A.   Typically.

23       Q.   So just because you didn't maintain a paper file
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 1                   (Ronald Fountain - by Mr. Klein)

 2   didn't mean that you weren't involved in the

 3   prosecution, correct?

 4                   MR. PERKINS:        Object to the form.

 5       Q.   You were personally involved in the prosecution

 6   of Adrian Thomas, correct?

 7                   MR. PERKINS:        Object to the form.

 8       A.   I did testify against him, yes, absolutely.

 9       Q.   I'm going to show you what's been marked as

10   Thomas Exhibit 20.

11            These are the notes that I believe we were given

12   in the PD file.        There were some documents that aren't

13   notes there.       This is how it was given to us.

14            If you could stop at the first page that were

15   notes that you filled out.

16       A.   That's my writing.

17       Q.   For the record, this is a page that starts with

18   "Wilahemina Hicks" and there's a phone number, correct?

19       A.   Correct.

20       Q.   Halfway down the page it says Dave Merritt Matter

21   and works at Sam's Club at night?

22       A.   Yes.

23       Q.   So, this is a note about Adrian Thomas' friend?
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 1                   (Ronald Fountain - by Mr. Klein)

 2       A.   Correct.

 3       Q.   Just looking through --

 4       A.   That's all mine.

 5       Q.   On the next page, starting with the words "45 of

 6   46", girlfriend, white, 40s.             Dave question mark.          White

 7   large guy, shorter than six foot.               Sam's Club in Latham.

 8   Friend of Adrian.         Might know something.           Was hanging

 9

10
     around house a lot.          Lives on

     spoken with Adrian, Adrian's seat?
                                              - -    by            .    Have you



11       A.   Yes.

12       Q.   Do you know that what means?

13       A.   No.

14

15
         Q.   Then it says neighbors find

              Did I read that page accurately?
                                                     -      CK neighbors.



16       A.   Yes.

17       Q.   Does this appear to be notes that you took during

18   Wilahemina Hicks' interview?

19       A.   I don't recall.

20       Q.   Did you ever interview Dave?

21       A.   I don't recall.

22       Q.   On the next page is a document that says -- it's

23   a police form that reflects a meeting with Art Glass.
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 1                   (Ronald Fountain - by Mr. Klein)

 2            Is this Mason's notes or yours?

 3       A.   Mine.

 4       Q.   So, is it fair to say that it says on January 8,

 5   '09?

 6       A.   Date of this report, yes.

 7       Q.   That on that date, at 12:30 p.m., you were going

 8   through the case file with Art Glass, ADA?

 9       A.   Yes.

10       Q.   Regarding discovery needs, and you turned over to

11   him the 911 tapes.

12       A.   Correct.

13       Q.   Were you meeting with him alone or with Mason or

14   anyone else?

15       A.   I don't recall.

16       Q.   So, other than trial prep, you were involved in

17   meetings well before the trial with the DAs in this

18   case.

19       A.   Sure.

20       Q.   Do you recall any others?

21       A.   I don't recall.

22       Q.   Flipping through, there's then a meeting with the

23   New York State Police evidence team?
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 1                   (Ronald Fountain - by Mr. Klein)

 2       A.   Okay.

 3       Q.   You weren't present for that, were you?

 4       A.   I don't recall.

 5       Q.   Do you see your name on there, or your writing?

 6       A.   I don't see my name or my writing.

 7       Q.   Next page starts with a time of 4:10.

 8            Is this your writing?

 9       A.   Yes.

10       Q.   What is this note from?

11       A.   I believe this was the Start Center interview

12   with                  .

13       Q.   You're not sure?

14       A.   To the best of my knowledge.              I'm pretty sure.

15

16       Q.
              The next one is
                                     -        's interview.

              Starts at the top, it says, CPS Valerie Clayton?

17       A.   Yup.

18

19
         Q.

         A.
              That page is

              Yes.
                                -         ?



20       Q.   And then, there's a page after that?

21       A.   Yes.

22       Q.   Then says mommy got hurt.

23            Is that part of
                                     -        ?
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 1                   (Ronald Fountain - by Mr. Klein)

 2       A.   Yes.

 3       Q.   There's a last page starting at 4:28.

 4            Do you see that?

 5       A.   You're right.

 6       Q.   Do you know whose interview that is?

 7       A.   I don't.

 8       Q.   Would reading it refresh your recollection of who

 9   it is?

10       A.   I am reading it.

11

12
         Q.   Why don't you start at the
                                                    -
              Are these notes, the one that says 4:10, are
                                                            notes.



13   these notes you took while watching CPS interview her?

14       A.   Correct.

15       Q.   Do you know if Art Glass was present for that

16   interview?

17       A.   I'm going to say yes.

18

19
         Q.   Do you know if
                                   -       was telling the truth during

     that interview or you just were writing down what was

20   said?

21       A.   I believe she was telling the truth to the best

22   of my knowledge.

23       Q.   But you don't -- do you know either way?
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 1                   (Ronald Fountain - by Mr. Klein)

 2                   MS. CALABRESE:        Objection.

 3                   MR. PERKINS:        Object to the form.

 4                   You can answer.

 5       A.    I don't know.

 6   BY MR. KLEIN:

 7       Q.    You didn't do like a lie detector test on her?

 8       A.    I didn't interview her.

 9       Q.    Right, so I'm saying you didn't go through --

10       A.    CPS did go through the best practices, procedures

11   of explaining to a child the difference between right

12   and wrong and trying to elicit them to tell the truth.

13

14
         Q.    And then the page with
                                              -
     that interview was conducted on the same day as the
                                                        , do you know if



15

16
     -   A.
              interview?

               I believe so.

17

18
         Q.    It looks like

     then came back at 4:20.
                                  -       started at 4:10, left, and



19

20       A.
               And it looks like

               3:30 ish.
                                       -         ...



21       Q.    3:30 ish.

22       A.    Goes to about 3:54.

23       Q.    And that's where it says ADA Art Glass?
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 1                    (Ronald Fountain - by Mr. Klein)

 2       A.    Yes.

 3       Q.    Who are the other individuals there?

 4       A.    Cara Chelsea is also a CPS worker.               Art Glass is

 5   an ADA.     Renee Roman is the -- she's the grand poopa at

 6   the Start Center, so she would be the executive

 7   director, I believe.          Heather Frankoviak is a therapist

 8   at the Start Children's Center.              And BCI Investigator

 9   Gonzalez was, I believe he's retired now also, he was a

10   BCI State Police investigator assigned to the children's

11   Start Center.

12       Q.    So, other than what's in these notes, do you

13   remember anything about these interviews?

14       A.    No.

15       Q.    Are there any other notes that you looked at that

16   aren't in the packet we just reviewed that you can

17   recall?

18       A.    That I did?

19

20
         Q.    Yes.

     investigation.
                       That relate to the M
                                                  -         Thomas



21       A.    I'm sure there are other ones, but not that I

22   did.

23       Q.    That you did.
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 1                   (Ronald Fountain - by Mr. Klein)

 2       A.   Correct.

 3       Q.   So, there are no other ones that you did with

 4

 5
     regard to the M

         A.   Correct.
                          -        Thomas investigation.



 6       Q.   So, these kids were asked about things like

 7   corporal punishment, but they were also asked -- your

 8

 9
     understanding was that this related to M

     correct?
                                                            -         as well,



10       A.   Correct.

11       Q.   Your testimony is that you were involved in a

12   subsequent investigation that lead to charges that were

13   not prosecuted by the district attorney's office.

14       A.   Farther down the road.            Yes.

15       Q.   Was it months later or the following year?

16       A.   Could have been a year or two.

17       Q.   Did you ever testify in that matter?

18       A.   No.

19       Q.   It was just discussed with the DA and declined,

20   to the best of your knowledge?

21       A.   Correct.

22       Q.   Anything else about the notes that jogs your

23   memory other than what's said in them?
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 1                       (Ronald Fountain - by Mr. Klein)

 2       A.    No.

 3       Q.    There are notes at the end of it that are in the

 4   handwriting of someone else, not you, correct?

 5       A.    Correct.

 6       Q.    Do you know if this is a CPS worker or someone

 7   else?

 8       A.    I have no idea.

 9       Q.    So you don't know whose notes those are.

10             And then there's another page right before that

11   -- well, there's additional notes here.                 Let's go

12   through them.

13             After the Start Center interviews there's a page

14   that says "by Investigator Gonzalez".                 Does that appear

15   to be notes of Investigator Gonzalez, even if you don't

16   know --

17       A.    His handwriting?        It appears to be.

18       Q.    Then after that there's a page that says -- looks

19   like number 8?

20

21   age,
         A.


              -
               At 8:00, spoke with 9 year old

                     .
                                                         -      , 9 years of

                          Inconsistencies with asking if any problems

22   in front of                   .

23       Q.    What did that mean?
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 1                    (Ronald Fountain - by Mr. Klein)

 2       A.    I spoke with her in front of her grandmother,

 3

 4
     -      , and she was inconsistent with whatever she was

     telling me.

 5

 6
               That was done at the apartment on

     because at 8:15 p.m. the kids are off the scene with
                                                             -      Street



 7   CPS.

 8                    MR. PERKINS:       You answered the question.

 9   BY MR. KLEIN:

10       Q.    What was she telling you about and what was

11   inconsistent about it?

12       A.    I have no idea.

13                    MS. CALABRESE:       Short break.

14                    (Recess taken.)

15   BY MR. KLEIN:

16       Q.    So, going back to Thomas Exhibit 20, page

17   starting with 8.

18             It then goes on to say, "spoke with dad in his

19   apartment"?

20       A.    Yes.

21       Q.    Is that the initial interview with him after CPS

22   removed the kids?

23       A.    To the best of my knowledge, yes.
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 1                   (Ronald Fountain - by Mr. Klein)

 2       Q.   These are your contemporaneous notes at the time?

 3       A.   These are my notes at the time.

 4       Q.   I'm not going to read this all to you because I

 5   think your handwriting is pretty clear, but this is

 6

 7
     where he tells you what happened to M

     apartment, correct?
                                                           -      at the



 8       A.   Correct.

 9       Q.   You wrote at the end of the notes on the second

10   page "who could have done this".

11            Did you write that in the apartment, if you know?

12       A.   I don't recall.         No.


                                                    ■-
13       Q.   There's notes about struck               ,           with hand

14   on hand couple months ago.

15            Is that stuff that he told you at the apartment?

16       A.   To the best of my knowledge, yes.

17       Q.   He admitted to some corporal punishment type

18   stuff, correct?

19       A.   Correct.

20       Q.   Then the next page starts at 24:41, and there is

21

22
     notes about baby M
                              --
              Are these your notes?
                                       T



23       A.   Yes.
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 1                   (Ronald Fountain - by Mr. Klein)

 2       Q.   Do you know when they were written, what they're

 3   from?

 4       A.   I have no idea.

 5       Q.   There's notes about Dr. Kardos.

 6            So, we discussed earlier you found out -- at some

 7   point you found out she was the doctor at Samaritan,

 8   correct?

 9       A.   Correct.

10       Q.   You might have been taking some information down

11   from people about the case, correct?

12       A.   I believe so, correct.

13       Q.   It says, 9:21, baby went to doctor within last

14   two weeks for vaccines.           8:30 to 9, baby not responding.

15   Diarrhea for two days.           Took bottle from mom, 3:00 a.m.

16   Called 911 from cell.           Tried to do CPR.

17            Who did you speak to when you took those notes?

18       A.   I don't know.

19       Q.   Do you know if that was Wilahemina at the

20   hospital?

21       A.   I don't recall.

22       Q.   This list of the family members and dates of

23   birth, is that your handwriting?
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 1                   (Ronald Fountain - by Mr. Klein)

 2       A.   Absolutely.

 3       Q.   Then there's a note at 9:30, Dr. Edge, attending.

 4            That's the next page, correct?

 5       A.   Correct.

 6       Q.   This is where you jotted down what he told you?

 7       A.   Correct.

 8       Q.   It says, "not very good will never".

 9            What does that mean?           Will never recover?

10       A.   To the best of my knowledge, yes.

11       Q.   The notes after that are the notes of someone

12   else.

13       A.   I have no clue.

14       Q.   It looks like pages of an interview at Start, but

15   they were taken by someone else?

16       A.   Correct.

17       Q.   Are there any other notes that you took, that

18

19
     you're aware of, relating to the M

     investigation?
                                                    --       T



20       A.   Not that I'm aware of.

21       Q.   When you interviewed Adrian during the interview

22   that lead to the one-page statement, did you take any

23   notes?
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 1                   (Ronald Fountain - by Mr. Klein)

 2            You seemed to have a notepad on your lap.

 3       A.   I don't recall.

 4            If I did, Sergeant Mason or Captain Mason would

 5   have them.      They were all handed to him because he was

 6   in charge of the whole thing.

 7       Q.   In preparing for this deposition, are you aware

 8   of any other notes or have you looked at any other notes

 9   other than what I have showed you?

10       A.   No.

11       Q.   Detective Mason testified in the grand jury on

12   September 26th.

13            Do you know if you went with him?

14       A.   I don't recall.

15       Q.   The interview with Wilahemina Hicks that was on

16   video on October 3rd of 2008, did you have notes of that

17   interview?

18       A.   I don't believe so.          I don't recall.

19       Q.   There's a variety of news articles in the file.

20            Do you know if you were clipping those and

21   putting them in the files, or someone else?

22       A.   Was not me.

23       Q.   There was a Troy PD media release issued on the
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 1                   (Ronald Fountain - by Mr. Klein)

 2   23rd.

 3            Did you have any role in drafting that or

 4   disseminating that?

 5       A.   No.

 6

 7
         Q.

         A.
              Did you attend M

              No.
                                     -       's funeral?



 8       Q.   This is the decision from People versus Adrian

 9   Thomas dated February 20th of 2014.                We were talking

10   about it before.

11            Do you recall that?

12       A.   I recall.

13       Q.   So, in one of the paragraphs of the decision it

14   says the following:          The premise of the interrogation

15   was that an adult within the Thomas-Hicks household must

16   have inflicted traumatic head injuries on the infant.

17            Do you agree with that statement?

18       A.   Yes.

19       Q.   It then says, indeed, one of the interrogating

20   officers told defendant that he had been informed by

21

22
     M
         -    's doctor that M

     into something very hard.
                                     -        had been, quote, slammed

                                          It's like a high speed impact

23   in a vehicle.        This baby was murdered...            This baby is
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 1                   (Ronald Fountain - by Mr. Klein)

 2   going to die and he was murdered.

 3            Do you agree that he was told that?

 4       A.   Yes.

 5       Q.   Do you recall it was you that told him that?

 6       A.   Yes.

 7       Q.   Then it says, the interrogators, however,

 8   repeatedly reassured defendant that they understood

 9

10
     M
         -    's injuries to have been accidental.

              Do you agree with that statement?

11       A.   Yes.

12       Q.   You were one of those interrogators, correct?

13       A.   Yes.

14       Q.   Then says, next, they said they were not

15   investigating what they thought to be a crime and that

16   once defendant had told them what had happened he could

17   go home.

18            Do you agree with that statement?

19       A.   Yes.

20       Q.   It then says, he would not, they reassured over

21   and again, be arrested.

22            Do you agree with that?

23       A.   Yes.
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 1                       (Ronald Fountain - by Mr. Klein)

 2          Q.    When, however, defendant continued to deny having

 3

 4
         hurt M
                  -      , even accidentally, the officers falsely

         represented that his wife had blamed him for M
                                                                    -       's

 5       injuries, and then threatened that, if he did not take

 6       responsibility, they would "scoop" Ms. Hicks out from

 7       the hospital and bring her in, since one of them must

 8       have injured the child.

 9                Do you agree with that statement?

10                       MR. PERKINS:    Object to the form.

11                       You can answer.

12          A.    Yes.

13          Q.    And you were the person that said she would be

14       scooped up, or words to that effect.

15                Do you recall that?

16          A.    I don't.    If you say I did, I'm fine with it.

17          Q.    By the end of the initial two-hour interrogation,

18       defendant agreed to "take the fall" for his wife.

19                You agree with that?

20          A.    Yes.

21                       MR. PERKINS:    Object to the form.

22          Q.    He said that he had not harmed the child and did

23       not believe that his wife had either because "she is a

     I
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 1                    (Ronald Fountain - by Mr. Klein)

 2   good wife", but that he would take responsibility to

 3   keep her out of trouble.

 4             Do you agree with that last sentence?

 5                    MR. PERKINS:       Object to the form.

 6                    You can answer.

 7       A.    Yes.

 8       Q.    The threat that if Adrian continued to deny

 9   responsibility for his child's injury his wife would be

10   arrested and taken from the hospital where she was by

11

12
     M
         -
     threat?
               's bedside, do you believe that was a reasonable



13                    MR. PERKINS:       Object to the form.

14                    You can answer if you can.

15       A.    I don't remember saying it, but if it was said,

16   okay.

17       Q.    Did you know there was -- was there anything

18   wrong with saying that in your opinion?

19                    MR. PERKINS:       Object to the form.

20                    You can answer.

21       Q.    To him.

22       A.    No.

23       Q.    Did you make a conscious choice to say that to
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 1                   (Ronald Fountain - by Mr. Klein)

 2   him in this interview as part of your --

 3       A.   I don't recall if I said it or not.

 4       Q.   Well, whether it was said by Mason or you, you

 5   were aware that that was said, correct?

 6       A.   I just don't recall that being said.                 I'm sorry.

 7   It could have been.

 8       Q.   I'll show you during the interview.

 9            Assuming it was said, did you have any problem

10   with it at the time that you can recall?

11       A.   No.

12       Q.   Did you have any problem with hearing it here

13   today?

14       A.   No.

15       Q.   Did you view Adrian Thomas' statement that he

16   would take the fall in response to the statements that

17   his wife would be brought in as a key turning point in

18   the interrogation?

19                   MR. PERKINS:        Object to the form.

20                   You can answer.

21       A.   No.

22       Q.   In retrospect, did you realize that it was?

23       A.   Not sure.
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 1                   (Ronald Fountain - by Mr. Klein)

 2                   MR. PERKINS:        Object to the form.

 3       Q.   Did you know either way whether it was?

 4       A.   No.

 5                   MR. PERKINS:        Object to the form.

 6       Q.   The representations made to Adrian that the

 7

 8
     disclosure of the circumstances under which M

     injured -- he injured M
                                     -                             -
                                              was essential to assist
                                                                            was



 9   the doctors attempting to save the child's life, did you

10   believe that was a proper course of speaking to him at

11   the time?

12                   MR. PERKINS:        Object to the form.

13                   You can answer.

14       A.   Was that during the first interview?

15       Q.   Do you recall it?

16       A.   I don't.

17       Q.   Go back to that in a second.

18            The repeated assurances offered by you and Mason

19   or in each other's presence that whatever happened was

20   an accident, and that he could be helped if he disclosed

21   all, and that once he did so he wouldn't be arrested and

22   could go home, did you think that was proper?

23                   MR. PERKINS:        Object to the form.
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 1                   (Ronald Fountain - by Mr. Klein)

 2       A.   Yes.

 3       Q.   Do you still think that was proper looking back

 4   at it today?

 5                   MR. PERKINS:        Object to the form.

 6                   You can answer.

 7       A.   Yes.

 8       Q.   Did you believe that Adrian relied on those

 9   assurances when you spoke with him during your

10   interviews?

11                   MR. PERKINS:        Object to the form.

12                   You can answer.

13       Q.   That he could go home if he told you what you

14   wanted to hear.

15       A.   I have no idea what he believed.

16       Q.   The court found that every scenario of trauma

17   induced head injury equal to exploiting the infant's

18   symptoms was suggested to defendant by his

19   interrogators.

20            Do you agree with that as to your part of the

21   interview, that the bumping of the head on the crib,

22   bumping the head on the kitchen, bumping head on the

23   wall, those things were suggested by you first?
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 1                   (Ronald Fountain - by Mr. Klein)

 2       A.   Yes.

 3       Q.   Do you recall the part of the second interview,

 4   even though you weren't there?              Did you come to see it

 5   or hear about it where Colaneri went into the room and

 6   spoke with Adrian?

 7       A.   I heard about it.          I never watched it.

 8       Q.   How about the part where Adrian took the file

 9   folder and demonstrated throwing it to the ground after

10   Adam did it first?

11       A.   I believe Adam told me.

12       Q.   You never saw it once up until today?

13       A.   I don't recall ever watching the video.

14       Q.   How about seeing it on the news or TV?

15       A.   Maybe.      Maybe I saw it on that little clip that

16   was online with that little documentary.                  That might

17   have been part of the clip now that you say it, but I...

18       Q.   Is it your understanding that Adam, that Sergeant

19   Mason, suggested to Adrian every scenario of trauma that

20   Adrian ended up admitting to as well?

21                   MR. PERKINS:        Object to the form.

22                   You weren't there and you didn't watch it.

23                   MR. KLEIN:       He can say that or he can say he
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 1                   (Ronald Fountain - by Ms. Peck)

 2   knows.

 3                   MR. PERKINS:        Object to the form.

 4                   You can answer if you can.

 5                   THE WITNESS:        I don't know.

 6                   MR. KLEIN:       Two-minute break.

 7                   (Recess taken.)

 8   BY MR. KLEIN:

 9       Q.   So, Mr. Fountain, is there anything else

10   regarding your role in the arrest and prosecution of

11

12
     Adrian Thomas for the death of M
                                                 --
     can recall that we haven't discussed on the record
                                                           T        that you



13   today?

14       A.   Not that I can recall.

15       Q.   Are there any other pertinent documents that

16   would be helpful for you to review that you haven't

17   looked at today to refresh your recollection?

18       A.   No.

19                   MR. KLEIN:       I believe that's all I have for

20   now.

21   EXAMINATION

22   BY MS. PECK:

23       Q.   Officer Fountain, my name is Crystal Peck.                   I'm
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 1                   (Ronald Fountain - by Ms. Peck)

 2   an attorney in the case representing County of

 3   Rensselaer and Dr. Sikirica.             I just have a couple

 4   questions for you.

 5            I believe you testified that you were not at the

 6   autopsy; is that accurate?

 7       A.   To the best of my knowledge, I don't remember

 8   being there.       I could have been.

 9       Q.   Have you had any conversations with Dr. Sikirica

10

11
     about the autopsy of M

         A.   No.
                                   -         Thomas?



12       Q.   Have you had any conversations with Dr. Sikirica

13   about the arrest or prosecution of Adrian Thomas?

14       A.   Not to my recollection.

15       Q.   Have you had any conversations with Dr. Sikirica

16

17
     about his autopsy findings regarding M

         A.   If I did, I don't remember.
                                                           --      T       ?



18       Q.   Did you have any conversations with Dr. Sikirica

19   that would have been to the effect of what you thought

20

21
     the injuries were for M

         A.   Not that I can recall.
                                     --       T        ?



22       Q.   Is that a conversation you would typically have

23   with Dr. Sikirica?
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 1                (Ronald Fountain - by Ms. Calabrese)

 2       A.   Typically, but Sergeant Mason might have had it.

 3   I thought he was running point on that part of it.                     I

 4   just don't remember.

 5       Q.   So, to your memory, Sergeant Mason would have had

 6   the primary contact with Dr. Sikirica with respect to

 7   this case.

 8       A.   I believe so, yes.

 9                   MS. PECK:       No further questions.

10   EXAMINATION

11   BY MS. CALABRESE:

12       Q.   I just have a few questions.

13       A.   Fire away.

14       Q.   I think you mentioned you spoke with Nicole Noel

15   from CPS?

16       A.   Yes.

17       Q.   At any point in time did you direct her or

18   anybody else from CPS to do anything on your behalf or

19   on behalf of the Troy Police Department?

20       A.   Not to the best of my recollection, no.

21       Q.   That wouldn't be something you would do.

22       A.   No.

23       Q.   You wouldn't direct CPS to obtain statements from
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 1                (Ronald Fountain - by Ms. Calabrese)

 2   a suspect in a case in order to further your

 3   investigation?

 4       A.   I would not.

 5       Q.   And you did not do that in this case, correct?

 6       A.   Correct.

 7       Q.   Anything that CPS did in this case was on their

 8   own behest and behalf?

 9                   MR. KLEIN:       Objection.

10                   MR. PERKINS:        You can answer.

11                   MR. KLEIN:       If you know.

12       A.   Yes.

13   BY MS. CALABRESE:

14       Q.   You didn't tell them, nor are you aware that Adam

15   Mason or anyone else from your department told them to

16   do anything to further your investigation.

17       A.   Correct.

18       Q.   In talking about the written statements, two

19   written statements given by Adrian Thomas and the one

20   written statement given by Wilahemina Hicks, it's common

21   police practice for the investigator him- or herself to

22   write down what the witness is stating; isn't that

23   right?
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 1                (Ronald Fountain - by Ms. Calabrese)

 2       A.   Because it was such a new thing with the

 3   videotaping, we wanted to get something on paper because

 4   we had no clue what was going to happen.

 5            So, yes, we wanted something hard just to have a

 6   basis of what happened in case we could never find it

 7   again on the hard drive.

 8       Q.   In writing that statement, it's commonplace for

 9   the officer, himself or herself, to write it down rather

10   than ask the witness to do it.

11       A.   Absolutely.

12       Q.   Because it's a quicker, easier process?

13       A.   Correct.

14       Q.   However, you give the witness an opportunity to

15   review it.

16       A.   We do.

17       Q.   Make any changes that they want.

18       A.   Absolutely.

19       Q.   After they're satisfied with that statement, they

20   acknowledge that by initialing it in several places.

21       A.   Correct.

22       Q.   And signing it.

23       A.   Yes.
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 1                (Ronald Fountain - by Ms. Calabrese)

 2       Q.   Verifying that that is, in fact, a true and

 3   accurate version of their events?

 4       A.   Correct.

 5                   MR. KLEIN:       Object to the line of

 6   questioning as leading.           Objection to the form.

 7   BY MS. CALABRESE:

 8       Q.   You were asked questions about throwing out

 9   information to Adrian and suggesting information to

10   Adrian Thomas when you interviewed him.

11            Do you recall that?

12       A.   Yes.

13       Q.   That information was based on information that

14   you gathered from other members of law enforcement,

15   witnesses, and medical personnel?

16       A.   Correct.

17       Q.   You were asked questions about the information

18   that was contained in Adrian Thomas' two written

19   depositions.

20            Do you recall those questions?

21       A.   Yes.

22       Q.   Specifically that there was nothing in that

23   statement that said, I didn't do this or Adrian Thomas
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 1                (Ronald Fountain - by Ms. Calabrese)

 2   didn't do this.

 3            Do you recall that?

 4       A.   The first one, yes.

 5       Q.   Adrian Thomas had an opportunity to put in that

 6   statement whatever he wanted to, correct?

 7       A.   Correct.

 8       Q.   What was put in that statement was exactly what

 9   he wanted to be put in that statement.

10       A.   Correct.

11       Q.   He didn't ask you to add anything to it?

12       A.   He did not.

13       Q.   He didn't ask you to delete anything from it.

14       A.   Did not.

15       Q.   In fact, he acknowledged it by signing it and

16   initialing it, that it was a true and accurate version

17   of his events.

18       A.   Correct.

19       Q.   With regard to questions that you were asked

20   about the Court of Appeals decision that we marked as

21   Thomas 23, it wouldn't be commonplace for you, as a

22   police officer, to read a legal decision, would it?

23       A.   It would not.
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 1                (Ronald Fountain - by Ms. Calabrese)

 2                      MR. KLEIN:    Objection.

 3         Q.   You would rely on your corporation counsel and/or

 4   the district attorney's office to advise you of any and

 5   all matters of law?

 6                      MR. KLEIN:    Objection.

 7         A.   Correct.

 8         Q.   When you were asked questions about things that

 9   you did then and whether or not you would do them now,

10   as you sit here today, and as you sat in the interview

11   room with Adrian Thomas then, you believed him to be

12   guilty of the events that he was originally convicted

13   of?

14         A.   I do.

15                      MR. KLEIN:    Objection.

16                      MS. CALABRESE:     I have no further questions.

17                      MS. PECK:    I have one follow up question.

18   FURTHER EXAMINATION

19   BY MS. PECK:

20         Q.   As a secondary officer on an investigation, would

21   you typically have the contact with the medical examiner

22   regarding autopsy findings, or would that be left to the

23   primary officer?
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 1                   (Ronald Fountain - by Mr. Klein)

 2       A.   I mean, I guess it depends on how we were

 3   working.      If we were together that day, we might have

 4   both went.      I just don't recall.           I believe it was Adam

 5   who did it, he was the point man, but I don't recall.

 6       Q.   But you wouldn't tell Dr. Sikirica what you think

 7   his findings should be on an autopsy.

 8       A.   I definitely would not tell Dr. Sikirica anything

 9   about what he does on his job.              I know no medical.         My

10   wife's a nurse.

11                   MS. PECK:       Thank you.

12   FURTHER EXAMINATION

13   BY MR. KLEIN:

14       Q.   So, you were asked if you believe Adrian Thomas

15   is guilty, right?

16            After your interview with him, you didn't have

17   probable cause to arrest, correct?

18       A.   Correct.

19       Q.   You only know what you know about the subsequent

20   interview by being told it secondhand by Adam or other

21   colleagues, correct?

22       A.   Correct.

23       Q.   You do respect the rule of law, correct?
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 1                    (Ronald Fountain - by Mr. Klein)

 2       A.    Yes.

 3       Q.    You do know that Adrian was found not guilty.

 4       A.    I do.

 5       Q.    In the eyes of the law, he is innocent.

 6             Do you understand --

 7                     MS. CALABRESE:      Objection.       That's not

 8   accurate.

 9                     He wasn't found innocent.           He was not

10   guilty.     There's a difference.

11                     MR. KLEIN:     We're not going to have a

12   discussion about it.

13       Q.    You acknowledge he was acquitted after trial,

14   correct?

15       A.    Yes.

16       Q.    As of your personal involvement in the

17   investigation, you had no basis to know whether he was

18   guilty of anything.

19             You didn't even have probable cause, correct?

20       A.    Correct.

21       Q.    Your response to Ms. Calabrese's question that

22   you believe he's guilty is based on what your colleagues

23   told you?
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 1                   (Ronald Fountain - by Mr. Klein)

 2                    MR. PERKINS:       Object to the form.

 3                    You can answer.

 4       A.   Based on my belief.

 5   BY MR. KLEIN:

 6       Q.   That belief is based on the subsequent interview

 7   that you were informed about?

 8       A.   And the fact that I believe somebody killed that

 9   baby and I still believe it was him.

10       Q.   Did you become aware that there was a bacterial

11   infection that was proffered as a contributing cause of

12   death?

13       A.   Yes.

14       Q.   Did you ever look into those allegations either

15   on your own or speaking with your colleagues?

16       A.   No.

17       Q.   Do you know what caused the death?

18       A.   Do I know?

19       Q.   Yeah.

20       A.   No, I don't.

21       Q.   And do you know who caused the death, if anyone?

22                    MR. PERKINS:       Object to the form.

23       A.   I believe Mr. Thomas.
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 1                   (Ronald Fountain - by Mr. Klein)

 2       Q.   Right, but you don't know whether it was, in

 3   fact, a bacterial infection or whether it was a --

 4       A.   I don't know, no.          I'm not a medical person.

 5                   MR. KLEIN:       That's all the questions I have.

 6   Thank you for your time.

 7                   (Deposition concluded at 11:38 a.m.)

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 1                   Questions marked for a ruling:

 2                   1. So, did you resign from the PD with a
                     full pension or did you leave under
 3                   different circumstances?

 4                   2. If you were still in the department and
                     had the same case come in, the same
 5                   circumstances, would you employ the same
                     techniques today?
 6
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 8
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 9
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10
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 1   STATE OF NEW YORK            )

 2   COUNTY OF

 3

 4   I, RONALD FOUNTAIN, do hereby certify that I have read

 5   the foregoing record of my testimony taken at the time

 6   and place noted in the heading hereof and that it is

 7   a true and correct transcript of the same and the whole

 8   thereof.

 9

10

11

12

13                        ________________________________
                                   RONALD FOUNTAIN
14   Subscribed and sworn to

15   before me this ________ day

16   of _________________, 2019

17

18

19

20

21   _______________________________

22

23
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 1                         C E R T I F I C A T I O N

 2

 3

 4   I, Jeanne O'Connell, Registered Professional Reporter

 5   and Notary Public in and for the State of New York, do

 6   hereby certify that the foregoing to be a true and

 7   accurate transcription of the stenographic notes as

 8   taken by me of the aforesaid proceedings.

 9

10

11

12   _________________                 ___________________________
        Date                                    Jeanne O'Connell
13

14

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 1   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 2   - - - - - - - - - - - - - - - - - - - - - - - - - - - -

 3   ADRIAN THOMAS,

 4                                Plaintiff,

 5                    - against -

 6   CITY OF TROY, ADAM R. MASON, RONALD FOUNTAIN,
     TIM COLANERI,
 7   RENSSELAER COUNTY, and MICHAEL SIKIRICA,

 8                        Defendants.
     - - - - - - - - - - - - - - - - - - - - - - - - - - - -
 9   NEW YORK STATE
     COURT OF CLAIMS
10   - - - - - - - - - - - - - - - - - - - - - - - - - - - -

11   ADRIAN P. THOMAS,

12                                Claimant,

13                    - against -

14   THE STATE OF NEW YORK,

15                        Defendant.
     - - - - - - - - - - - - - - - - - - - - - - - - - - - -
16

17                     DEPOSITION of Defendant, ADAM R. MASON,

18   held on the 12th day of September 2019, commencing at

19   9:04 a.m., at the Law Offices of Pattison Sampson

20   Ginsberg & Griffin, PLLC, 22 First Street,

21   Troy, New York, before Jeanne O'Connell, Registered

22   Professional Reporter and Notary Public in and for the

23   State of New York.
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 1   APPEARANCES:

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11   Attorneys for Michael Sikirica

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     The Capitol
13   Albany, New York 12224
     By: Christina M. Calabrese, Assistant Attorney General
14
     Also present:        Katherine Hamilton
15

16

17

18

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 1                    S T I P U L A T I O N S

 2   It is hereby stipulated and agreed by

 3   and between the attorneys for the respective

 4   parties hereto that, this examination may be signed and

 5   sworn to before any Notary Public of the State of New

 6   York.

 7

 8   It is further stipulated and agreed that the filing and

 9   certification of the said examination shall be waived.

10

11   It is further stipulated and agreed that all objections

12   to questions, except as to form, shall be reserved for

13   the trial of this action.

14

15   It is further stipulated and agreed that there are no

16   objections to Notice of this Examination Before Trial

17   and the qualifications of the court reporter to take

18   this deposition and administer an oath or affirmation.

19

20

21

22

23
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 1                      (Adam Mason - by Mr. Klein)

 2                     ADAM R. MASON, after first having been

 3            duly sworn, was examined and testified as

 4            follows:

 5   EXAMINATION

 6   BY MR. KLEIN:

 7       Q.    Good morning, Captain Mason.

 8       A.    Good morning.

 9       Q.    My name is Brett Klein, and I represent Adrian

10   Thomas in actions that are related that are pending in

11   the New York State Court of Claims against the state,

12   and an action in US District Court for the Northern

13   District, alleging Section 1983 claims.

14             I'm here to ask you questions about your

15   involvement in Adrian's prosecution.                 Do you understand

16   that's why you're here today?

17       A.    I do.

18       Q.    And do you understand that you just took an oath

19   to tell the truth?

20       A.    I do.

21       Q.    That oath you took is the same oath you would

22   take if you were in a court of law.

23             Do you understand that?
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 1                       (Adam Mason - by Mr. Klein)

 2       A.    Understood.

 3       Q.    Is there any reason why you can't testify fully

 4   and accurately today?

 5       A.    No.

 6       Q.    Do you feel well today?

 7       A.    I do.

 8       Q.    Did you get enough sleep or did you work

 9   overnight?

10       A.    I'm fine to testify.

11       Q.    Great.

12             You've had sufficient time to prepare with

13   Mr. Perkins?

14       A.    I have.

15       Q.    Are you on any medications, or do you have any

16   physical or mental condition that might impair your

17   ability to testify fully and accurately?

18       A.    I do not.

19       Q.    In terms of today's deposition, there are just

20   some rules that I'll ask you abide by.                  First, that you

21   let me finish the question before you give an answer,

22   really for the sake of the court reporter, so that she

23   can take everything down, okay?
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 1                      (Adam Mason - by Mr. Klein)

 2       A.    Yes.

 3       Q.    And then also I ask that you continue to answer

 4   with a verbal response rather than a gesture or a shake

 5   of the head or an uh-huh, again, so the reporter can

 6   take a clean record, okay?

 7       A.    Okay.

 8       Q.    If you don't understand a question I ask, will

 9   you let me know?

10       A.    Yes.

11       Q.    If you don't understand but you don't let me know

12   and you give an answer, it will be assumed for the

13   record that you understood the question at the time of

14   trial, okay?

15       A.    Okay.

16       Q.    Finally, if you need a break, just let me know.

17   We'll just ask that you a take break after any pending

18   question has been answered, okay?

19       A.    Okay.

20       Q.    It's my understanding that you have given a

21   number of -- there have been a number of occasions where

22   you've given sworn testimony related to this case,

23   correct?
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 1                      (Adam Mason - by Mr. Klein)

 2       A.    Yes.

 3       Q.    One would be the grand jury?

 4       A.    Yes.

 5       Q.    Second would be the pre-2009 trial Huntley

 6   hearing?

 7       A.    Yes.

 8       Q.    And then approximately two different dates when

 9   you testified at trial on the direct case for the

10   prosecution?

11       A.    That's correct.

12       Q.    Then one day for rebuttal for the prosecution.

13       A.    Yes.

14       Q.    Other than those occasions and today, have you

15   given any sworn testimony about the Adrian Thomas

16   matter?

17       A.    No.

18       Q.    Did you ever testify in any other courts, such as

19   family court?

20       A.    No.

21       Q.    Other than today, and other than statements or

22   conversations with your attorneys which you should not

23   divulge, have you discussed the facts and circumstances
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 1                      (Adam Mason - by Mr. Klein)

 2   of your role in this investigation with anyone else?

 3       A.    I've had casual conversations with other members

 4   of the police department at various times.

 5       Q.    Well, let's talk about the more formal

 6   conversations.

 7             You did have meetings with medical examiner,

 8   Michael Sikirica, correct?

 9             Did you attend the autopsy?

10       A.    I did.

11       Q.    There were inevitably, I would think, discussions

12   about the investigation?

13       A.    During the autopsy?

14                    MS. PECK:      Objection.

15   BY MR. KLEIN:

16       Q.    Were there discussions about the investigation?

17             You can answer.

18       A.    Yes.     There was discussions about the autopsy.

19       Q.    So we'll get into these conversations.                  I just

20   want to identify them.

21             And also for the record, in terms of

22   instructions, you may hear objections.                  Lawyers will say

23   "objection" from time-to-time to preserve objections for
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 1                      (Adam Mason - by Mr. Klein)

 2   trial or to note certain objections, but unless you're

 3   told not to answer, you should give an answer.

 4      A.    Okay.

 5      Q.    If you need a question read back because there

 6   was so much talking and you got distracted, you can ask

 7   the reporter.       I think she can do that for you.

 8      A.    Okay.

 9      Q.    So, how many meetings did you have with the

10   medical examiner, Michael Sikirica, including the

11   autopsy?

12      A.    I wouldn't describe the autopsy as a meeting.

13            And to the best of my recollection, that's the

14   only time that I encountered him during this

15   investigation.       And as you said, there were discussions

16   about the investigation, about the autopsy, during that

17   autopsy.     And to the best of my recollection, that's the

18   only time that I encountered him during this

19   investigation.

20      Q.    For purposes of this question of who you've

21   spoken with about the case, it doesn't need to be a

22   formal meeting.        Just any encounter with anyone where

23   you've been asked or you've given information about this
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 1                      (Adam Mason - by Mr. Klein)

 2   case, okay?

 3      A.    Okay.

 4      Q.    So, in addition to attending the autopsy, did you

 5   have meetings with members of the Rensselaer County

 6   District Attorney's Office?

 7      A.    Yes, I did.

 8      Q.    On how many occasions, to the best of your

 9   recollection?

10      A.    I couldn't guess, but there were numerous

11   occasions.

12      Q.    What was the nature of these?

13            I would think some of them were trial prep,

14   correct?

15      A.    Yes.    Trial prep, as well as during the initial

16   stages of the investigation, after the arrest, there

17   were conversations.         I don't recall specifically what

18   they were, but I'm sure there were conversations leading

19   up to grand jury and leading up to the hearing, as well.

20      Q.    So, in the initial stages, conversations with

21   them leading up to the grand jury, leading up to the

22   hearings, and then prep before the trial, correct?

23      A.    Yes.
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 1                      (Adam Mason - by Mr. Klein)

 2      Q.    Would you have taken notes at any of your

 3   meetings with the district attorney's office?

 4      A.    I don't believe so.

 5      Q.    Did you meet with a particular assistant district

 6   attorney like Christa Book, or would you have met with

 7   multiple people at different times?

 8      A.    No.    It would have been Christa Book and Art

 9   Glass, as well.

10      Q.    Anyone else in that office, or that's it?

11      A.    Not to my recollection.

12      Q.    After the 2009 trial, did you have any meetings

13   with the district attorney's office from then up until

14   today about this case?

15      A.    After the...

16      Q.    Conviction.

17      A.    After the -- after it was overturned and then

18   there was some prep for the second trial.                  I honestly

19   can't remember her name.           There was an ADA that

20   presented that case in court, and I met with her on an

21   occasion or two.

22      Q.    Did you testify at the second trial?

23      A.    I did not.
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 1                      (Adam Mason - by Mr. Klein)

 2      Q.    What was the reason, if you know?

 3      A.    I honestly don't know the reason.               I know that

 4   the interview was not allowed, and I think that that may

 5   have been the reason, but I don't know for certain.

 6      Q.    Was it your understanding that it wasn't allowed

 7   pursuant to the Court of Appeals decision?

 8      A.    Yes.

 9      Q.    Did you ever personally read a copy of it?

10      A.    I've looked it over.

11      Q.    The ADA that you met with once or twice to

12   prepare for the second trial, it was a female?

13      A.    It was.

14      Q.    Do you know if it was Tracy Egan?

15      A.    I don't know.        That sounds familiar.           I don't

16   believe she's with the DA's office any longer.

17      Q.    So, other than discussing aspects of the

18   investigation at the autopsy with Sikirica, the number

19   of meetings with the district attorney's office, have

20   you given statements or discussed this matter in any

21   context with anyone else?

22      A.    No.

23      Q.    Did you give an interview that was in a
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 1                       (Adam Mason - by Mr. Klein)

 2   documentary?

 3         A.   Yes, I did.

 4         Q.   What were the circumstances of that?

 5         A.   I was contacted by a company and they explained

 6   that they were doing a documentary about the case and

 7   asked if we would be interested in participating.

 8         Q.   Did you consult with any counsel or supervisor to

 9   get approval, or did you make your own decisions?

10         A.   I spoke with the chief of police.             He authorized

11   it.

12         Q.   Were you interviewed for that?

13         A.   I was.

14         Q.   Where were you interviewed?

15         A.   At the Troy Police Department.

16         Q.   And was Ronald Fountain interviewed, as well?

17         A.   Yes.

18         Q.   Anyone else?

19         A.   I don't know if anyone else was interviewed.

20         Q.   Was Ron Fountain interviewed in your presence?

21         A.   I don't believe so.

22         Q.   Was Ron Fountain present when you were

23   interviewed, if you know?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    I don't believe so.

 3      Q.    Did you tell the truth to the interviewers

 4   regarding your role in the investigation?

 5      A.    Yes.

 6      Q.    Did you ever see the finished product?

 7      A.    I did.

 8      Q.    Do you own a copy of it?

 9      A.    I do not.

10      Q.    Who showed it to you?

11      A.    I may have watched it.           I don't recall how.          I

12   may have watched it online somehow.

13      Q.    Can you recall specifically what you said, and if

14   not specifically, in sum and substance what you said?

15      A.    I don't recall specifically or in sum and

16   substance what I said.

17      Q.    Did you say in the video that you lied to Adrian

18   repeatedly?

19                   MS. CALABRESE:        Objection.

20                   MS. PECK:      Objection.

21                   MR. PERKINS:       Object to the form.

22                   You can answer.

23                   THE WITNESS:       I don't know.        I don't
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 1                      (Adam Mason - by Mr. Klein)

 2           recall if I said that in the interview.

 3   BY MR. KLEIN:

 4      Q.    Sitting here today, you would state for this

 5   record that you told the truth to those interviewers?

 6      A.    Yes.

 7      Q.    So whatever you said on that interview you were

 8   being truthful?

 9      A.    Yes.

10      Q.    Do you know if all of your statements were put

11   into the final version of the documentary or if parts

12   were edited out?

13      A.    I don't know.

14      Q.    How long were you interviewed for?

15      A.    I don't recall.

16      Q.    Do you know if it was like hours, a day, 20

17   minutes?

18      A.    I believe it was probably longer than 20 minutes.

19   I don't recall how many minutes it was.

20      Q.    No.    I'm not saying exact.

21      A.    It wasn't a full day.

22      Q.    Do you think it was a half day, or was it like --

23      A.    I met with them on a couple different occasions.
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 1                      (Adam Mason - by Mr. Klein)

 2   And the interview that was going into the finished

 3   product was -- it was probably an hour, maybe two, but

 4   if you told me that you knew for a fact it was four, I

 5   wouldn't be surprised.

 6      Q.    Is there anything that you refused to tell the

 7   filmmakers that they asked you, or did you answer all of

 8   their questions to the best of your ability?

 9      A.    I believe I answered all their questions.

10      Q.    Was the chief or any supervisor from the

11   department present during your question-and-answer

12   session with the filmmakers?

13      A.    No.

14      Q.    Were you pleased with the final product?

15      A.    No.

16      Q.    Why not?

17      A.    I felt as though it was -- it was misrepresented

18   as to what their intentions were.

19      Q.    Whose intentions?

20      A.    The intentions of the people that made the

21   documentary.

22      Q.    What was your understanding of what their

23   intentions were?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    My understanding was that it was going to just be

 3   a presentation of the facts of the case.                 And when the

 4   finished product came out, it appeared as though it was

 5   pro-defendant as opposed to a non-biased version of the

 6   facts of the case.

 7      Q.    What about it lead you to feel that way?

 8      A.    I don't recall.        I haven't watched it in ten

 9   years.

10      Q.    When you watched it and felt that there was a

11   pro-defendant bias, did you reach out to the filmmakers

12   and let them know your thoughts or anyone else?

13      A.    I did not.

14      Q.    Other than the interviews with the filmmakers,

15   speaking to the district attorney's office, and

16   attending the autopsy, did you give statements or

17   discuss this matter with anyone else other than passing

18   conversation?

19      A.    No.

20      Q.    And other than your counsel?

21      A.    No.

22      Q.    Are you in possession of any documents that

23   relate to this matter?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    Yes.

 3      Q.    What?

 4      A.    I have the -- my testimony from the hearings.                 I

 5   was in possession of the case file, which I turned over

 6   to this office here.          And what remains in my possession

 7   are copies of my testimony.

 8      Q.    Did you review that testimony in preparation for

 9   today's deposition?

10      A.    Yes.

11      Q.    That would be the grand jury?

12      A.    Yes.

13      Q.    The Huntley hearing?

14      A.    Yes.

15      Q.    And the three different dates of your trial

16   testimony?

17      A.    Yes.

18      Q.    Are you in possession of any other documents or

19   materials?

20            And when I say materials, photos, videos, or any

21   other media that relate to this incident.

22      A.    I have a copy of the video in my office, which I

23   did not watch in preparation for this.
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 1                      (Adam Mason - by Mr. Klein)

 2      Q.    When was the last time you had seen it?

 3      A.    Several years.

 4      Q.    Anything else?

 5      A.    And I do have a copy of the case file that was

 6   turned over to me by Mr. Perkins.

 7      Q.    So, a copy of the case file that you turned over

 8   to this office was given back to you?

 9      A.    The copy of the case file that I turned over to

10   this office was substantial.             What I received back is

11   copies to review to prepare for this hearing today was

12   not substantial.        It was more of a -- maybe like an inch

13   wide of a stack.

14      Q.    What was in that stack?

15            Well, did you review that stack?

16      A.    I did review it.

17      Q.    What was in it?

18      A.    It was copies of the police report, notes, the

19   statements, depositions.           There may have been other

20   stuff in there, as well.

21      Q.    If you think of it, let me know.

22      A.    I will.

23      Q.    Did you meet with counsel, without saying what
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 1                      (Adam Mason - by Mr. Klein)

 2   was said, to prepare for today?

 3      A.    Yes.

 4      Q.    So other than looking at the stack, meeting with

 5   counsel, reviewing your testimony, have you spoken with

 6   or done anything else to prepare for today's deposition?

 7      A.    No.

 8      Q.    Other than what you've told me, are you in

 9   possession of any other documents or materials that

10   relate to this case?

11      A.    No.

12            There are copies of search warrants in that

13   stack, as well.

14      Q.    There were two in this case, right?

15      A.    I didn't review the search warrants, but they

16   were there.

17      Q.    Were you given an opportunity to review

18   transcripts of the two interviews of Adrian Thomas, not

19   his written statements, but the actual transcripts that

20   the DA prepared of the interview one and interview two?

21      A.    No.

22      Q.    The videos, you haven't watched them in several

23   years, correct?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    That's correct.

 3      Q.    Do you understand the first video to be about two

 4   hours?

 5      A.    Yes.

 6      Q.    The second video to be how long, about seven or

 7   seven and a half hours?

 8      A.    Yes.

 9      Q.    Can we call the first one video one?

10      A.    Yes.

11      Q.    And the second one video two?

12      A.    Yes.

13      Q.    The video that we've been given is the video that

14   I believe was used in the criminal case, the video

15   one -- well, withdrawn.

16            The video that we've referred to as video one,

17   were there any parts of that interview, that first

18   interview with Adrian Thomas, that were not depicted --

19   parts of your meeting with him that were not depicted on

20   that video, or did that video encompass the entire

21   interview with him?

22      A.    It did.

23      Q.    And video two, did that video record the entire
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 1                      (Adam Mason - by Mr. Klein)

 2   interview of him for round two of the interview?

 3      A.    Yes.

 4      Q.    Are there any other videos of Adrian Thomas that

 5   exist?

 6                   MR. PERKINS:       Object to the form.

 7                   You can answer.

 8   BY MR. KLEIN:

 9      Q.    That you know of?

10      A.    Pertaining to me interviewing Adrian Thomas, no.

11      Q.    Pertaining to anything that you know of.

12                   MR. PERKINS:       Same objection.

13                   THE WITNESS:       I have no idea if there

14            were videos of Adrian Thomas that exist.

15   BY MR. KLEIN:

16      Q.    Well, that you would know of.

17      A.    That I know of, no.

18      Q.    Like, was there surveillance of him at some other

19   time that you have in your file or anything else?

20      A.    No.

21                   (Recess taken.)

22   BY MR. KLEIN:

23      Q.    Other than today, have you ever given a
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 1                      (Adam Mason - by Mr. Klein)

 2   deposition in any civil case?

 3      A.    I have not.

 4      Q.    Other than this case, have you been named as a

 5   party in any other civil case?

 6      A.    Yes.

 7      Q.    How many others?

 8      A.    One.

 9      Q.    What was that case?

10      A.    The plaintiff's name was Otis Bridgeforth.                  It

11   was a -- it never got to the point where I was served

12   with the paperwork.         It never got to the point where I

13   had to participate in the deposition.

14      Q.    Do you know if that case was filed in federal

15   court or state court?

16      A.    Honestly, I have no idea.

17      Q.    Do you remember the nature of his allegation,

18   even if you vehemently dispute it, did he allege

19   excessive force or false arrest or auto accident or

20   something else?

21      A.    I don't recall the nature of his accusation.

22      Q.    Did the circumstances of his accusation arise out

23   of any case involving an interrogation?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    No.

 3      Q.    You've testified in criminal court, correct?

 4      A.    Yes.

 5      Q.    When I say criminal, is there a lower criminal

 6   court and a superior or supreme court here, or is it

 7   just one criminal court?

 8      A.    There's just one criminal court.

 9      Q.    For misdemeanors and felonies?

10      A.    There's the Troy police court and then there's

11   the county court.

12      Q.    And you've testified in both?

13      A.    Yes.

14      Q.    How many times have you testified in court in

15   your career?

16      A.    I have no idea.        Hundreds.

17      Q.    Is it hundreds?

18      A.    Yes.    If not thousands.

19      Q.    This case involved the interrogation of someone

20   leading to a written and a video statement, correct?

21      A.    Yes.

22      Q.    It resulted in ultimately a court saying that the

23   statements were obtained in violation of the
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 1                      (Adam Mason - by Mr. Klein)

 2   Constitution, generally.

 3            Do you agree with that?

 4      A.    Can you repeat the question?

 5      Q.    That the court ultimately found that the

 6   statements were obtained in violation of the

 7   Constitution?

 8      A.    Yes.

 9      Q.    Has that ever happened in any other case that

10   you've been involved in?

11      A.    No.

12      Q.    Are you aware of any other case where that

13   happened within the department, not necessarily the

14   Court of Appeals, but where the trial court granted a

15   motion to suppress a statement because it was considered

16   involuntary or coerced or something else?

17                   MR. PERKINS:       Object to the form.

18                   You can answer.

19                   THE WITNESS:       Other officers?

20                   MR. KLEIN:      Yeah.     Colleagues of yours,

21           whether you knew about it firsthand,

22           anecdotally, or whatever.

23                   THE WITNESS:       I'm not aware of it.
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 1                      (Adam Mason - by Mr. Klein)

 2   BY MR. KLEIN:

 3      Q.    So is this the only case that you're aware of in

 4   the Troy PD where a court has said that a statement was

 5   obtained in violation of the rights of the accused?

 6      A.    Yes.

 7      Q.    Has any court or body ever found that you

 8   violated anyone's -- an individual's rights in any other

 9   case?

10      A.    No.

11      Q.    Have you ever brought any action against the Troy

12   Police Department?

13                    MR. PERKINS:      Object to the form.

14                    You can answer.

15                    THE WITNESS:      No.

16   BY MR. KLEIN:

17      Q.    What is your highest level of education?

18      A.    I have an associate's degree.

19      Q.    From what school?

20      A.    Hudson Valley.

21      Q.    What year was that?

22      A.    1995.

23      Q.    What did you do after you got your associate's
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 1                      (Adam Mason - by Mr. Klein)

 2   degree?

 3      A.     I worked as a corrections officer in the

 4   Rensselaer County jail.

 5      Q.     How long after graduating Hudson Valley did you

 6   go to corrections?

 7             Was it right away?

 8      A.     I was actually working there while I was

 9   attending Hudson Valley part-time.

10      Q.     What was the associate's degree in, what subject?

11      A.     Applied sciences.

12      Q.     How long were you a corrections officer for the

13   Rensselaer County jail?

14      A.     Three years.

15      Q.     And why did you leave that job?

16      A.     Well, because I was hired at the Troy Police

17   Department.

18      Q.     What year was that?

19      A.     1997.

20      Q.     So did you resign from the corrections

21   department?

22      A.     Yes.

23      Q.     Have you ever served in the military?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    No.

 3      Q.    When you joined the Troy Police Department, you

 4   had submitted a paper application?

 5      A.    Yes.

 6      Q.    Did you also have to undergo psychological

 7   screening?

 8      A.    Yes.

 9      Q.    And a physical screening?

10      A.    Yes.

11      Q.    Did you pass all aspects of the exam?

12      A.    Yes.

13      Q.    The first time around?

14      A.    Yes.

15      Q.    Same with corrections, when you applied to

16   corrections did you undergo psychological screening and

17   a physical screening, etc.?

18      A.    Yes.

19      Q.    Did you pass all of that the first time?

20      A.    Yes.

21      Q.    When you got accepted to the Troy Police

22   Department, did you go right to work or did you enter an

23   academy?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    I went to the police academy.

 3      Q.    Where was that located?

 4      A.    That was located in Troy, on the Hudson Valley

 5   Community College campus.

 6      Q.    And who ran that training?

 7            Was it the Troy PD or the state?

 8      A.    No.     It was zone five, which is combination of

 9   multiple PDs in the area.

10      Q.    Is that who does training today, or has that

11   changed since the time you were in training?

12      A.    The way it's run is the same.              The location is

13   changed.

14      Q.    What are the municipalities or police departments

15   that run the training, if you know, when you did it?

16      A.    When I went through the academy?

17      Q.    Yeah.

18      A.    I don't recall who was participating.

19      Q.    How long was the course of training?

20      A.    Five and a half months.

21      Q.    Were you considered a cadet at that point?

22            What was your title at that time?

23      A.    I guess I was considered a cadet.               That's what
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 1                      (Adam Mason - by Mr. Klein)

 2   they consider them today.            I don't know what they

 3   considered us back then.

 4      Q.    Did the five and a half months entail a course of

 5   classroom training?

 6      A.    Yes.

 7      Q.    Was it on a variety of topics, such as law?

 8      A.    Yes.

 9      Q.    Police science?

10      A.    Yes.

11      Q.    Anything else that you can remember?

12      A.    I don't recall.

13      Q.    You learned about constitutional law, among other

14   issues, like penal law, in the academy, correct?

15      A.    Yes.

16      Q.    You also had range training, auto training, and

17   other types of training as well, correct?

18      A.    Yes.

19      Q.    Did you pass all of your courses in the academy

20   the first time around?

21      A.    Yes.

22      Q.    Upon completion of the academy, what happened

23   next?
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 1                      (Adam Mason - by Mr. Klein)

 2            Where were you assigned?

 3      A.    Then there would have been a field training

 4   program that I would have had to have gone through with

 5   the police department.          I don't recall how long that

 6   was.

 7      Q.    Was that a period of time when you got experience

 8   in different departments or commands of the police

 9   department?

10      A.    Yes.

11      Q.    When that ended, what was your next assignment?

12      A.    Then I was assigned to patrol.

13      Q.    For how long were you assigned to patrol?

14      A.    I was in the patrol division from that point

15   until 2008, when I was promoted to sergeant.

16      Q.    What month, if you know, in 2008 were you

17   promoted to sergeant?

18      A.    April.

19      Q.    When you became sergeant, were you then a

20   detective sergeant or just a patrol sergeant?

21      A.    Actually, when I -- the way it works in the Troy

22   Police Department is, it's based on seniority.                       So, I

23   was lucky enough that, when I was promoted to sergeant,
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 1                      (Adam Mason - by Mr. Klein)

 2   that I was able to be a detective sergeant immediately.

 3   But not too long after there was a bid, and another

 4   sergeant who had seniority on me bid the position so I

 5   was bumped out for a period of time.

 6      Q.    So that was -- so due to seniority or seniority

 7   reasons you then became detective?

 8      A.    Then I became a patrol sergeant for a period of

 9   time.

10      Q.    In September of '08, at the time of the Adrian

11   Thomas investigation, were you a detective sergeant?

12      A.    Yes.

13      Q.    When you got promoted in April of '08, did you

14   have to take any type of exam to become a detective

15   sergeant?

16      A.    There was an exam to become a sergeant.                     Nothing

17   specific for a detective sergeant, but yes.

18      Q.    So you passed the sergeant's exam?

19      A.    Correct.

20      Q.    Did you pass that the first time?

21      A.    Yes.

22      Q.    So, is it fair to say that, due to the way the

23   department handled promotions at that time, you were
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 1                      (Adam Mason - by Mr. Klein)

 2   fortunate enough to be promoted to sergeant but not just

 3   a patrol sergeant but detective sergeant, as well?

 4      A.    A detective sergeant is not considered a

 5   promotion.       I was fortunate enough to get promoted to

 6   sergeant.       And then it so happened that I was fortunate

 7   enough to bid the detective sergeant position.

 8      Q.    Was there any special training to become a

 9   detective, or was that just a title change?

10      A.    It was just a title change.

11      Q.    So, from the time you joined the PD around '97 to

12   the time you were promoted in April of '08, you were

13   patrol, correct?

14      A.    Yes.

15      Q.    Just briefly, for the record, what were your

16   duties and responsibilities in patrol?

17      A.    I responded to calls, took reports, conducted

18   traffic, did preliminary investigations before it was

19   turned over to the detective bureau.

20      Q.    When you became a detective sergeant, how did

21   those duties and responsibilities change, if at all?

22      A.    I no longer responded to everyday calls.                    Those

23   calls were -- after the preliminary investigation was
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 1                      (Adam Mason - by Mr. Klein)

 2   done by the patrol officer, then the case was turned

 3   over to the members of the detective bureau for further

 4   investigation.

 5      Q.    In April of '08, how many other detectives were

 6   there in the detective bureau at the Troy PD,

 7   approximately?

 8            Was it like a hundred?           Was it like ten of you?

 9      A.    Probably 15 to 20 detectives.

10      Q.    And how did you guys break up the work?

11            Did you have different day tours and night tours

12   and things like that?

13      A.    Yes.

14      Q.    As a detective sergeant, did you have any

15   supervisory responsibilities over the other detectives

16   right away, or was that just a title but you had

17   supervisors that you responded to, reported to?

18      A.    The detective sergeant was a title, but there

19   were also patrolmen in the detective bureau that were

20   detectives, as well.          And there was no supervisory

21   function over those patrolmen, but there was a captain

22   in charge of the detective bureau who supervised the

23   entire unit.
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 1                      (Adam Mason - by Mr. Klein)

 2      Q.    Is that what you do now?

 3      A.    I do not supervise the detective bureau.                    No.

 4      Q.    Who was the captain who supervised the detective

 5   bureau at the time of the Adrian Thomas matter?

 6      A.    Robert Cipperly.

 7      Q.    Is he still with the PD?

 8      A.    He retired.

 9      Q.    Was he the detective supervisor when you got

10   promoted in April of '08?

11      A.    Yes.

12      Q.    And continued to be the detective supervisor at

13   the time of the Adrian Thomas investigation?

14      A.    Yes.

15      Q.    Was he the detective supervisor at the time you

16   testified in 2009?

17      A.    I believe so.        I don't recall the year he

18   retired.

19      Q.    But do you recall anyone other than Robert

20   Cipperly being your direct supervisor during the time

21   that you were involved in the Adrian Thomas case?

22      A.    I do not.

23      Q.    Were there any other detective captains that you
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 1                      (Adam Mason - by Mr. Klein)

 2   would have reported to other than Robert Cipperly during

 3   that time?

 4      A.    No.

 5      Q.    So, you were a detective sergeant starting in

 6   April of '08 until what year and approximately what

 7   month that you went back to patrol?

 8      A.    It was November.

 9      Q.    Of '08?

10      A.    I think it was November of '08.

11      Q.    Shortly after the, let's say, the indictment of

12   Adrian Thomas?

13      A.    Yes.

14      Q.    What happened when you went back to patrol?

15            Did you continue your detective duties or did you

16   resume patrol duties?

17      A.    I resumed patrol duties, but the case in question

18   was not handed off to another detective.                 I still

19   maintained a role in that case through its conclusion.

20      Q.    We'll get into your paperwork in a little bit,

21   but the TPD investigation report that I have seems to

22   end on 11/05/08.

23            Do you recall that?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.     Yes.

 3      Q.     Is that around the time that you went back to

 4   patrol?

 5      A.     I don't recall which part of November, but it was

 6   somewhere in that month.

 7      Q.     So when you say that you continued to maintain

 8   responsibilities for the case after you were on patrol,

 9   other than meeting with the DA, preparing for Huntley

10   hearing, and trial, what, if anything else, did you do?

11      A.     I don't recall if there was anything else that I

12   did.

13      Q.     But it was your case?

14      A.     Correct.

15      Q.     For purposes of dealing with the district

16   attorney and any issues that came up?

17      A.     Yes.

18      Q.     Were you the lead investigator on this case?

19      A.     I shared that role with Detective Fountain.

20      Q.     Whose determination was it that you would be

21   assigned to this investigation with Detective Fountain,

22   if you know?

23      A.     It just happened that we were the two detectives
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 1                      (Adam Mason - by Mr. Klein)

 2   on call when this incident occurred, so there was no

 3   formal determination made.            We were the ones that came

 4   in because we were the two detectives on call.                       That's

 5   just the way it works.

 6      Q.    Did you know Fountain well prior to this job

 7   coming in?

 8                   MR. PERKINS:       Object to the form.

 9                   You can answer.

10                   THE WITNESS:       I did not know him --

11           prior to being hired at the Troy Police

12           Department or prior to this case?

13                   MR. KLEIN:      Prior to this case.

14                   THE WITNESS:       Yes, I did.       I did.

15   BY MR. KLEIN:

16      Q.    How many years had you known him for?

17      A.    I met him when I was hired in 1997.

18      Q.    Did you guys have a good working rapport?

19      A.    At that time, yes.

20      Q.    Was he a detective in the detective bureau?

21      A.    Yes.

22      Q.    Did he become detective before you or around the

23   same time or after you, if you know?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    Before me, I believe.

 3      Q.    So in terms of the chain of command or seniority,

 4   was he the senior detective on this file, or did you

 5   guys maintain joint or coequal responsibility?

 6                   MR. PERKINS:       Object to the form.

 7                   You can answer.

 8                   THE WITNESS:       To answer the first part

 9           of your question, no, he was not considered

10           the senior detective on the case.                We were

11           considered pretty much equals.

12   BY MR. KLEIN:

13      Q.    And starting in November of '08, when you went

14   back to patrol, how long were you on patrol for before

15   your duties and responsibilities changed again?

16      A.    I don't specifically recall.             There was a period

17   of time where I supervised the street crimes unit and

18   while I was in patrol, which isn't necessarily the same

19   function as a patrol sergeant.

20            And then -- let me think.            Early 2010 -- so, it

21   was a little over a year before I came back into the

22   detective bureau and was a detective sergeant again.

23      Q.    And what were the circumstances of you getting
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 1                      (Adam Mason - by Mr. Klein)

 2   that title back?

 3      A.     A position opened up for me to bid it again.

 4      Q.     Starting in early 2010, did you resume detective

 5   duties?

 6      A.     Yes.

 7      Q.     For how long did you maintain the rank of

 8   detective sergeant?

 9      A.     Until October of 2018.

10      Q.     What happened then?

11      A.     That's when I was promoted to captain.

12      Q.     What were the circumstances of that promotion?

13                     MR. PERKINS:     Object to the form.

14   BY MR. KLEIN:

15      Q.     Did you take a test, or was it based on merit, or

16   something else?

17      A.     Similar to the process for being promoted to

18   sergeant.        There's a test and an interview process.

19      Q.     And did you pass that test the first time around?

20      A.     Yes.

21      Q.     And what are your duties and responsibilities

22   since you've been captain in October of '18?

23      A.     I presently am in charge of the internal affairs
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 1                      (Adam Mason - by Mr. Klein)

 2   unit.

 3      Q.    And in that regard, what do you do and what does

 4   the IA do?

 5      A.    I conduct internal investigations.

 6      Q.    Of alleged violations of the rules and procedures

 7   of the department, of alleged crimes by officers?

 8            What do you investigate?

 9      A.    If there's an alleged violation of a policy and

10   procedure of an officer, then I will conduct that

11   investigation, whether it's something that's initiated

12   internally or if it's something that's initiated by a

13   civilian who comes in to file a civilian complaint

14   against an officer.         I will conduct that investigation.

15      Q.    And do you personally conduct it, or do you

16   supervise detectives or detective sergeants that do?

17      A.    I personally conduct it.

18      Q.    Are there any other members of the internal

19   affairs unit other than yourself that personally will

20   conduct the investigations?

21      A.    No.

22      Q.    So you are the internal affairs unit?

23      A.    I am.
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 1                      (Adam Mason - by Mr. Klein)

 2      Q.    And who do you report to as your immediate

 3   supervisor, if anyone?

 4      A.    The chief of police.

 5      Q.    Who is that?

 6      A.    Brian Owens.

 7      Q.    Did you receive any special training to be the

 8   internal affairs unit captain?

 9      A.    No.

10      Q.    Just on-the-job training, you learned how to do

11   the role as you did it?

12      A.    Yes.

13      Q.    The department has a process in their rules and

14   procedures that we received from your attorney where

15   there are awards and commendations and things like that,

16   right?

17      A.    Yes.

18      Q.    And there's a medal day each year?

19                   MR. PERKINS:       Object to the form.

20                   You can answer.

21                   THE WITNESS:       Yes.

22   BY MR. KLEIN:

23      Q.    Have you ever received any medals or
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 1                      (Adam Mason - by Mr. Klein)

 2   commendations?

 3      A.    Yes.

 4      Q.    Did you receive any related to the Adrian Thomas

 5   case?

 6      A.    I don't recall for certain, but I may have

 7   received a commendation or a noteworthy police

 8   performance or something of that matter for that case.

 9      Q.    In your mind's thinking about it today, is it

10   more likely right than wrong that you did receive some

11   type of commendation or you'd be speculating?

12                   MR. PERKINS:       Object to the form.

13                   You can answer.

14                   THE WITNESS:       Considering the level of

15           the case that was a homicide case, more

16           likely than not I received some form of

17           award for that.

18   BY MR. KLEIN:

19      Q.    And what were the two possibilities?

20      A.    Noteworthy police performance or a commendation.

21      Q.    And can you describe what a commendation is?

22      A.    It's basically recognition for doing a good job.

23      Q.    Is it a certificate or is it just an oral
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 1                      (Adam Mason - by Mr. Klein)

 2   shout-out to you at a ceremony or something else?

 3                   MR. PERKINS:       Object to the form.

 4                   You can answer.

 5                   THE WITNESS:       It's a certificate.

 6   BY MR. KLEIN:

 7      Q.    And what is a noteworthy?

 8      A.    It's a certificate, as well.

 9      Q.    And are they presented in the course of your

10   regular duties, or are they presented at some type of

11   awards ceremony?

12      A.    They have an awards ceremony every year.

13      Q.    Do you keep copies of all your certificates of

14   commendation and other similar documents?

15      A.    Yes.

16      Q.    I would ask that you conduct a search for any

17   that relate to Adrian Thomas, if any, and preserve them

18   and give them to counsel, okay?

19                   MR. PERKINS:       Please mark the record.

20                   Do you want to write me a letter, or do

21           you want me to just rely on the record for

22           you making the request?

23                   MR. KLEIN:      Sure.     We're going to make
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 1                      (Adam Mason - by Mr. Klein)

 2           a request for production of any

 3           commendations or other medals or similar

 4           documents be produced.

 5                   MR. PERKINS:       And we'll take it under

 6           advisement.

 7                   THE WITNESS:       Pertaining to this case

 8           only?

 9                   MR. KLEIN:      Right.

10   BY MR. KLEIN:

11      Q.    Do you know if Ronald Fountain received any

12   medals, commendations, or other similar recognition for

13   his role in this case?

14                   MR. PERKINS:       Objection.

15                   THE WITNESS:       I don't know.

16   BY MR. KLEIN:

17      Q.    With regard to detective training, have you ever

18   received any training with regard to interrogation

19   techniques?

20      A.    Yes.

21      Q.    Did you receive that training before September of

22   2008?

23      A.    I've been to a couple different classes for
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 1                       (Adam Mason - by Mr. Klein)

 2   interrogation.        I don't recall exactly when they were.

 3         Q.     I have your training file that your counsel gave

 4   us.        I don't see any.    So I'm going to ask that maybe

 5   you could take at -- either take a look at the file and

 6   let us know and we can mark anything relevant as an

 7   exhibit, or we can just mark the whole file if all

 8   counsel here prefer to.

 9                     MS. CALABRESE:      I will need a copy.

10               It's your preference.

11                     MR. PERKINS:     Why don't we have him

12               flip through it first off the record.

13                     THE WITNESS:     So are you saying that

14               you don't have any documentation in there

15               that I ever attended an interview or

16               interrogation course?

17                     MR. KLEIN:     I don't believe I do.

18               That's why I want you to take a look.             It

19               may exist.

20                     MR. PERKINS:     And we're Off the record.

21                     (Discussion held off the record.)

22                     MR. KLEIN:     Back on the record.

23   BY MR. KLEIN:
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 1                      (Adam Mason - by Mr. Klein)

 2      Q.    Captain, I'm going to show you what has been

 3   produced in discovery.          It doesn't have Bates numbers,

 4   but it's a folder given to us the other day that says,

 5   "A. Mason."      And it starts with, "personnel record."

 6   And it then has a series of documents that appear to be

 7   either resumes of training courses taken or certificates

 8   of -- and/or certificates of completion and other

 9   certifications throughout your career.

10            If you could take a look at the folder, and let

11   me know if any of it relates to interrogation training.

12      A.    (Witness complies.)

13      Q.    Captain, you've had a chance to review the file

14   that was represented to me to be your personnel record

15   of your training history, correct?

16      A.    Yes.

17      Q.    And would you agree that there's apparently

18   nothing in there that relates to interrogation or that

19   would seem to be related to interrogation technique

20   training?

21      A.    I do agree to that.

22      Q.    But I believe you even testified at one of the

23   hearings that you had training regarding interrogations
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 1                      (Adam Mason - by Mr. Klein)

 2   around -- was it May or June of that year?

 3      A.    I don't recall when I had the training.                     I've

 4   attended at least one training in interview and

 5   interrogation.

 6      Q.    And do you recall where it was given?

 7      A.    I don't.

 8      Q.    Do you recall how long it was?

 9            Was it a day or a couple of hours?

10      A.    I don't.

11      Q.    Do you recall who gave the training, whether it

12   was Troy or some outside agency?

13      A.    It was not the Troy Police Department.

14      Q.    In your Huntley hearing, does it sound correct

15   that you said you had one course on interrogation in the

16   summer of 2008?

17      A.    If I said that, my recollection would have been

18   much better back then, as it was closer.                 So that

19   particular time would be accurate.

20      Q.    I believe you said the course was at the station.

21            Was that a possible location for that course?

22      A.    As I said, if I said it then, then that likely

23   would be correct.
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 1                      (Adam Mason - by Mr. Klein)

 2      Q.    My question, though, is:            Would that be the Troy

 3   Police Department station, when you say the station?

 4      A.    That would be what that means.              Yes.

 5      Q.    You said you didn't recall if you were taught

 6   methods to use to gather information or to get

 7   statements.

 8            Is that true today that you don't recall whether

 9   you were taught that, or do you recall?

10      A.    It's true that I don't recall.

11      Q.    And I believe you said quote, I don't recall the

12   seminar being very helpful to me personally.

13            Do you recall saying something to that effect?

14      A.    I do.

15      Q.    Is that your feeling about it today?

16      A.    Yes.

17      Q.    So, other than that training course -- let's say

18   that was in the summer of '08.              Let's call it that for

19   purposes of the record -- do you know if you had any

20   other interrogation training other than that one?

21      A.    I know that I attended more than one course on

22   interview and interrogation.

23      Q.    To the best of your knowledge, was there only one
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 1                      (Adam Mason - by Mr. Klein)

 2   prior to the Thomas matter?

 3      A.    I don't recall.

 4      Q.    Is it more likely right than wrong that there was

 5   one given if that's what you said in your Huntley?

 6      A.    I would not likely have attended a course on

 7   interview and interrogation prior to becoming a

 8   detective.      And at this particular point, we're less

 9   than six months where I was a detective.                 That's

10   probably -- if I did attend one between April and

11   September, it was likely that there was one then, and

12   then maybe the other ones that I can't recall were after

13   that.

14                   MR. KLEIN:      So we're going to ask that

15           the reporter note a request for production

16           of the 2008 training session.              And I had

17           previously asked for that in our discovery

18           demands.      I believe I sent an e-mail in

19           July.     I understand that a good-faith search

20           had been conducted, but I would just ask

21           that a further search be made.

22                   THE WITNESS:       Now, you said -- when did

23           I say I took this course?
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 1                      (Adam Mason - by Mr. Klein)

 2                    MR. KLEIN:     At the Huntley hearing, you

 3           said you took it in the summer of 2008.

 4                    THE WITNESS:      Okay.

 5   BY MR. KLEIN:

 6      Q.    When you attended such courses, did you receive

 7   certificates of completion personally, or were they just

 8   mailed to the department, or both?

 9      A.    It could have happened either way.

10      Q.    Did you maintain copies of your certificates of

11   completion either way?

12      A.    When I receive a copy, I like to maintain a copy.

13      Q.    So I would ask that you search your records as

14   well for records of any interrogation training courses.

15   And if you have them, please preserve and give them to

16   counsel so that we can -- he can produce them, as

17   requested.

18            Thank you.

19      A.    Okay.

20      Q.    Is there anything that you did find instructive

21   from the interrogation training techniques, or does your

22   practice involve your own instinct and intuition when

23   you do an interrogation?
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 1                      (Adam Mason - by Mr. Klein)

 2                   MR. PERKINS:       Object to the form.

 3                   You can answer.

 4                   THE WITNESS:       I'm certain there were

 5           things that I did pick up in the couple

 6           courses that I attended, but I also go

 7           mostly on my own instincts.

 8   BY MR. KLEIN:

 9      Q.    I think you said at one point, perhaps in the

10   video, that you would speak with the person for hours

11   and hours, as long as you felt you needed to, that you

12   had the stamina to go on for hours.

13            Do you recall saying something to that effect?

14                   MR. PERKINS:       Object to the form.

15                   Is that the documentary video?

16   BY MR. KLEIN:

17      Q.    Did you say that at some point?

18            I'm just asking.

19                   MR. PERKINS:       Well, what video are you

20           talking about?

21                   MR. KLEIN:      I'll withdraw the question.

22   BY MR. KLEIN:

23      Q.    Did you say at some point that you were the type
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 1                      (Adam Mason - by Mr. Klein)

 2   of detective that could speak with someone for hours and

 3   hours to see where the interview went?

 4                   MR. PERKINS:       Object to the form.

 5                   You can answer.

 6                   THE WITNESS:       I don't recall if I said

 7           that, but that was my approach to

 8           interviewing someone.           Yes.

 9   BY MR. KLEIN:

10      Q.    As of 2008, based on your testimony in 2009 at

11   the Huntley, was it true that what you learned, at least

12   from that first training, you didn't find particularly

13   helpful?

14      A.    If that's what I said, then that would be

15   accurate.

16      Q.    So is it fair to say the techniques that you

17   employed with Adrian Thomas were based on your own

18   experience and instincts?

19      A.    The techniques that were employed with Adrian

20   Thomas were based on my own instincts.

21      Q.    And not really based on any training?

22      A.    That's correct.

23      Q.    So, the techniques that you employed, you made a
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 1                      (Adam Mason - by Mr. Klein)

 2   conscious choice to employ them based on your own

 3   instincts and experience, correct?

 4      A.    Yes.

 5      Q.    No one told you to approach it a certain way.

 6            That was your own decision, correct?

 7      A.    Yes.

 8      Q.    There was no supervisor or detective captain or

 9   colleague that said, Adam, why don't you go in there and

10   demonstrate slamming a folder to the ground.

11            That was your conscious choice to do that?

12      A.    That's correct.

13      Q.    We'll get into the interview later.                I wanted to

14   ask you more about this training and how that impacted

15   your technique.

16            So it's fair to say that training did not impact

17   your technique as of September of 2008?

18                   MR. PERKINS:       Object to the form.

19   BY MR. KLEIN:

20      Q.    In terms of interrogation practice, correct?

21                   MR. PERKINS:       Objection.

22                   Go ahead.

23                   THE WITNESS:       I agree that I didn't go
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 1                      (Adam Mason - by Mr. Klein)

 2           into that interview with some preconceived,

 3           this is going to be my form because I was

 4           taught this.        I don't know that at any point

 5           in time did some portion of my training kick

 6           in, but for the most part, the interview was

 7           conducted based on my instincts.

 8   BY MR. KLEIN:

 9      Q.    At some point in your career did you learn,

10   whether from this case, from the Court of Appeals

11   decision, or from any other training or information you

12   received in your career, that there's risk in

13   interrogation practice that a confession can be coerced,

14   whether it's true or false, based on the tactics of the

15   questioner?

16                   MR. PERKINS:       Object to the form.

17                   You can answer.

18                   THE WITNESS:       I have not learned that.

19   BY MR. KLEIN:

20      Q.    Well, is it your understanding, from reading the

21   Court of Appeals decision, that the court found that the

22   confession in this case was coerced?

23      A.    Yes.
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 1                      (Adam Mason - by Mr. Klein)

 2      Q.     So you are aware that that can happen in an

 3   interrogation?

 4      A.     Yes.

 5      Q.     Did you receive any training after the Adrian

 6   Thomas case, either from Troy PD or any other source, to

 7   instruct you on the parameters of where the line is

 8   crossed from a voluntary confession to coerced

 9   confession?

10                    MR. PERKINS:      Object to the form.

11                    You can answer.

12                    THE WITNESS:      No.

13                    MR. KLEIN:     No.

14   BY MR. KLEIN:

15      Q.     So to this day you have not received any

16   clarification via any training you've gotten in that

17   regard?

18      A.     Correct.

19      Q.     As a result of the Court of Appeals decision or

20   any other information obtained by the Troy PD in this

21   case, did anyone instruct you or any other detectives in

22   the squad to modify interrogation techniques?

23                    MR. PERKINS:      Object to the form.
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 1                      (Adam Mason - by Mr. Klein)

 2                   You can answer.

 3                   MS. CALABRESE:        Objection.       Post

 4           remedial measures.

 5                   MS. PECK:      Objection.

 6                   THE WITNESS:       I can't speak for other

 7           members of the department.             I can only speak

 8           for myself, and I was not counseled or

 9           guided as to change my interview techniques.

10   BY MR. KLEIN:

11      Q.    Were you a detective in 2014 at the time the

12   Court of Appeals decision came down?

13      A.    Yes.

14      Q.    Were you a detective at the time of the second

15   trial resulting in the acquittal?

16      A.    Yes.

17      Q.    So, based on your experience in the Troy PD, is

18   it fair to say that this Court of Appeals decision had

19   no impact on the practices of the Troy PD in terms of

20   interrogation techniques?

21                   MS. PECK:      I'm sorry, can you repeat

22           the question?        Thank you.

23                   (Question read by reporter.)
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 1                      (Adam Mason - by Mr. Klein)

 2                   MR. PERKINS:       Object to the form.

 3                   You can answer.

 4                   MS. CALABRESE:        Objection, post

 5           remedial measures.

 6                   THE WITNESS:       I can't speak for other

 7           officers.      I can only speak for myself.

 8           There was nothing that came down through the

 9           ranks instructing us to change our interview

10           techniques as a whole.

11                   Does that answer your question?

12                   MR. KLEIN:      Well, yeah.

13   BY MR. KLEIN:

14      Q.    Are you aware of, whether it's individually or

15   department-wide, were there any changes to the patrol

16   guide or detective manual or anything else as a result

17   of this case or not that you're aware of?

18      A.    I'm not aware of any changes within the

19   department as a result of this case.

20      Q.    We were given what I refer to as a patrol guide.

21            What do you refer to it as, department orders?

22      A.    General orders.

23      Q.    Is there a guide that's specific to the detective
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 1                      (Adam Mason - by Mr. Klein)

 2   squad, or do the general orders apply department-wide?

 3      A.    Well, they apply department-wide, but within each

 4   general order there are specifications for different

 5   units as well.

 6      Q.    Is there a manual or some other type of

 7   publication, whether paper copy or electronically

 8   stored, that sets forth procedures for interrogations

 9   and investigations for the detective bureau?

10      A.    I'm not certain.

11      Q.    You're not certain if there's one today, correct?

12      A.    I'm not certain if there's one today.

13      Q.    Do you know if there was one back in 2008?

14      A.    I don't know.

15      Q.    You don't remember there being one?

16      A.    Correct.

17      Q.    Just sticking to the topic of training, you've

18   had a lot of training, but with regard to interrogation,

19   that's really what relates in this case, correct?

20                   MR. PERKINS:       I'm sorry, what was the

21           question?

22                   MR. KLEIN:      Withdrawn.

23   BY MR. KLEIN:
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 1                      (Adam Mason - by Mr. Klein)

 2      Q.    Back to the topic of training.

 3            You've had a lot of training as evidenced by your

 4   file, correct?

 5      A.    Yes.

 6      Q.    But one, possibly a few, relating to

 7   interrogation, but only one of them before this

 8   incident, correct?

 9      A.    Yes.

10      Q.    Other than formal training, as the type that

11   we've discussed so far, did you have any on-the-job

12   training starting when you became a detective?

13            In other words, did you have a mentor or mentors

14   or other individuals that you would observe in terms of

15   their interrogation techniques, or were you your own

16   detective and you did your own thing?

17      A.    I did not have a mentor when I became a

18   detective.      On day one I just started becoming a

19   detective.      I mean, I don't have any specific moments

20   where I said, that's a teachable moment, I'm going to

21   use that in my interrogation, but I did absorb the

22   things that occurred around me.

23      Q.    So you just essentially went in there and did
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 1                      (Adam Mason - by Mr. Klein)

 2   what you -- followed your instinct in an interrogation.

 3             Is that fair to say?

 4      A.     That's correct.

 5      Q.     Had you testified in any pretrial Huntley

 6   hearings prior to interrogating Adrian Thomas in

 7   September of '08, either as an officer or as a

 8   detective?

 9      A.     Yes.

10      Q.     How many?

11      A.     I don't recall.

12      Q.     Do you know if it was a handful or if it was

13   dozens?

14      A.     It could have been dozens.

15      Q.     Were they as police officer as well as detective,

16   or were they all when you were considered detective?

17      A.     As a police officer as well as detective.

18      Q.     Had you ever sat with a potential defendant like

19   Adrian Thomas or suspect and conduct a several-hour or

20   multi-hour interrogation like you did in this case prior

21   to this case?

22      A.     I don't recall.

23      Q.     Do you believe that this was the first such case?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    I believe that this is the longest interview that

 3   I have ever conducted, but I have conducted other

 4   interviews that were several hours in length.

 5      Q.    Do you know if any of them were prior to Adrian

 6   Thomas in that five-month period?

 7      A.    I don't recall any specific.             I can't say for

 8   certain.     I didn't do a two-hour interview prior to that

 9   day.

10      Q.    Did you follow the press clippings on this case,

11   whether print press or TV news, as it was going?

12      A.    Some.     Yes.

13      Q.    Was that part of your duties and responsibilities

14   as case detective, or did you just do that out of

15   curiosity, or both?

16      A.    I think it's a good practice to follow your case

17   in the media to see if there's anything that should be

18   noted there.

19      Q.    In the file that we received, which we'll mark

20   and show, there's a series of press clippings.

21            Do you know whether you collected the press

22   clippings yourself as part of the Troy PD file?

23      A.    I don't recall if I specifically did.
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 1                      (Adam Mason - by Mr. Klein)

 2      Q.    Is that something that you would have done

 3   potentially in the course of your duties?

 4      A.    It's something I would have done potentially,

 5   yeah.

 6      Q.    Would you have maintained them in the file?

 7      A.    Yes.

 8      Q.    Did you attend any part of the first trial other

 9   than when you testified?

10      A.    No.

11      Q.    Did you attend any part of the second trial?

12      A.    No.

13      Q.    Have you learned anything, either on-the-job or

14   via formal training or from any other source, since the

15   Adrian Thomas interrogation, that would lead you to

16   approach that interrogation differently in the event

17   that case were to hypothetically land on your desk

18   tomorrow?

19                   MR. PERKINS:       Object to the form.

20                   You can answer it, if you know.

21                   MS. CALABRESE:        Objection to form,

22           calls for post remedial measures.

23                   THE WITNESS:       Considering that it has
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 1                      (Adam Mason - by Mr. Klein)

 2           been 11 years, I've learned a lot in my

 3           career.      So to say that if it were to happen

 4           again today that I would do it the exact

 5           same way, I don't know that that's fair,

 6           because I have learned other things, and I'm

 7           a different person and I have more knowledge

 8           now.

 9                   So there may be other things that I

10           implemented during the interview, but

11           hypothetically, if I -- I don't feel as

12           though I learned anything during that

13           interview that would have me do it

14           differently today.          If I were to do it again

15           today, I would have no problem doing it the

16           exact same way.

17   BY MR. KLEIN:

18      Q.    Even though the Court of Appeals said what it

19   said about the manner in which you conducted it, you

20   would still do it the same way?

21                   MR. PERKINS:       Object to the form.

22                   THE WITNESS:       That's correct.

23   BY MR. KLEIN:
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 1                      (Adam Mason - by Mr. Klein)

 2      Q.    So, with regard to the Adrian Thomas

 3   investigation, I'm going to talk to you first what about

 4   documents exist relating to the case, but before that,

 5   prior to September 21st, 2008, when the case came in,

 6   did you know anything about Adrian Thomas?

 7      A.    No.

 8      Q.    Did you know anyone in the Thomas-Hicks household

 9   through your duties or through -- in your private life?

10      A.    No.

11      Q.    Did any of your colleagues have any interactions

12   with the Thomas-Hicks household that you were aware of

13   prior to that date?

14      A.    I'm not aware of any.

15      Q.    Other than your involvement in Adrian Thomas'

16   case, have you heard anything or learned anything about

17   him since this case, not from your counsel?

18      A.    No.

19      Q.    Have you followed where he is since he got

20   acquitted or anything like that?

21      A.    I have not followed.

22      Q.    Have you learned or looked it up or anything like

23   that?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    I have not looked it up.            No.

 3      Q.    Have you heard anything or interacted in any way

 4   with Wilahemina Hicks and her family since you testified

 5   in 2009?

 6                   MR. PERKINS:       Object to the form.

 7                   You can answer.

 8                   THE WITNESS:       Yes.     I have encountered

 9           Wilahemina Hicks since then.

10   BY MR. KLEIN:

11      Q.    On how many occasions?

12      A.    In the year or two afterwards, I saw her a couple

13   times over the past -- I'm trying to think.                   The last

14   time I saw her was across the street at the YMCA.                    I was

15   there maybe five years ago.            I bumped into her

16   coincidentally.        But in the couple years after the case,

17   myself and Detective Fountain spoke to her a couple

18   times to see how she was doing.

19      Q.    In the couple years after the 2009 trial or in

20   the couple of years after the 2014?

21      A.    The 2009 trial.

22      Q.    So you saw her a few times between 2009 and 2014

23   and about five years ago across at the YWCA was the last
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 1                      (Adam Mason - by Mr. Klein)

 2   time?

 3      A.    I believe so.        Yes.

 4      Q.    We'll talk about your interactions with her

 5   during the investigation when we get to that, but the

 6   couple of times you saw her after the investigation, can

 7   you just tell us what you remember about those, to the

 8   best of your recollection, even if it's not much?

 9      A.    I don't remember where or when.               I just remember

10   seeing her and asking her how everything was going with

11   her personal life and how she was doing with the kids

12   and everything.

13      Q.    What do you recall her saying, if anything?

14      A.    I don't recall what she said.

15      Q.    Do you recall anything else about those times

16   that you saw her?

17      A.    No.

18      Q.    You say you were with Fountain on those

19   occasions?

20      A.    I believe so.

21      Q.    Were these planned, to the extent that you and

22   Fountain went out to check up on her, or was it just

23   coincidental that you would be with him when you met
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 1                      (Adam Mason - by Mr. Klein)

 2   with her?

 3      A.    I don't recall how it occurred.               I just remember

 4   seeing her a couple times after 2009.                Whether it was

 5   intentional or whether we were together and he said,

 6   let's -- I don't recall how it happened.                 I just

 7   remember seeing her a few times after the 2009 trial.

 8      Q.    And when you saw her across at the YMCA, did you

 9   see her or did you speak with her?

10      A.    I stopped and spoke with her.

11      Q.    And what was discussed at that time?

12      A.    Just, hi, how are you doing.             She indicated she

13   was doing okay.

14      Q.    Have you seen or interacted with her since the

15   acquittal?

16      A.    I don't know if that was this time I'm referring

17   to the YMCA, if that was before or after the acquittal.

18      Q.    Have you had any interactions with anyone else in

19   the Thomas-Hicks household other than Wilahemina and

20   your involvement with Adrian in this case?

21      A.    No.

22      Q.    In this case did you prepare a Troy PD -- can we

23   call Troy PD TPD?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    Uh-huh.

 3      Q.    Did you prepare a TPD investigation report?

 4      A.    Yes.

 5      Q.    What do you refer to those as on-the-job

 6   investigation reports, IRs?

 7      A.    We refer to them as a DB follow-up, possibly.

 8      Q.    I'm going to show you what's been marked as

 9   Thomas 2 on August 21st of 2019.

10                   (Discussion held off the record.)

11   BY MR. KLEIN:

12      Q.    Thomas Exhibit 2, are these detective bureau

13   follow-ups prepared for the Thomas matter?

14      A.    Yes.

15      Q.    This packet that you have here has entries

16   starting on September 21st and it's got six pages.                     It

17   says one of six, two of six, three of six, four of six,

18   five of six, six of six.

19            Are these all the detective bureau follow-ups you

20   did for this case?

21      A.    Yes.

22      Q.    Were these entered directly on a computer or

23   would you have written them out first?
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 1                        (Adam Mason - by Mr. Klein)

 2         A.     I entered them directly into the computer.

 3         Q.     Other than detective follow-ups, did you have

 4   notes in this case?

 5         A.     Yes.

 6         Q.     Actually, what I'm going to do is, I'm going to

 7   show you what's been produced in discovery by the City

 8   of Troy Police Department counsel as what I believe to

 9   be your file.          I'm going to ask you to take a look at

10   it.        And rather than mark the whole file and have

11   everyone copy it, if I refer to specific documents for a

12   question, I'll ask you about them specifically.

13                But for purposes of this initial exercise, take a

14   look at it, and I want you to let me know if it appears

15   to be all of your file or if you believe there's

16   anything in there that's not part of your file or if

17   there's anything that appears to be missing.

18                       MR. PERKINS:     You want him to flip

19               through the notebook?

20                       MR. KLEIN:     Yeah.

21                       (Discussion held off the record.)

22   BY MR. KLEIN:

23         Q.     So have you had a chance to review the binder,
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 1                      (Adam Mason - by Mr. Klein)

 2   which I'll represent to you is, to the best of my

 3   knowledge, the file that was produced by your attorney

 4   in this case?

 5      A.    I have had a chance to review it.

 6      Q.    Does that appear to be the complete detective

 7   file for the case?

 8      A.    It does appear to be the complete file.

 9      Q.    Is there anything that you've identified in there

10   that appears to be extraneous that may have somehow got

11   in there but it's not part of the file?

12      A.    Didn't see anything.          No.

13      Q.    There's a record of sealing pursuant to CPL

14   160.50 that was entered after the acquittal.

15            Is that something that would be transmitted to

16   the Troy PD to be maintained as part of the file?

17      A.    Yes.

18      Q.    There are press articles in there.                Again, that

19   would be something that would typically be part of a

20   file?

21      A.    Yes.

22      Q.    There are medical records and death certificates

23   and such related to M
                                 -         Thomas.     That would have
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 1                      (Adam Mason - by Mr. Klein)

 2   been part of your file, as well?

 3      A.    Yes.

 4      Q.    There's a variety of notes which I'll go through

 5   with you specifically.

 6            Do you know if those are all the notes that

 7   pertain to this case or not?

 8      A.    They appear to be.

 9      Q.    Did you copy the file yourself for your counsel,

10   or you gave your counsel the original file for them to

11   copy?

12      A.    I gave my counsel the original file.

13      Q.    There's a copy of the homicide statute.

14            Is that something that you would have copied or

15   someone would have copied as part of your file?

16      A.    Yes.

17      Q.    There's an arrest report.

18            Is that something that you created for this case?

19      A.    Yes.

20      Q.    Is that something you would have done online, or

21   is that something you would have typed, like, on a

22   typewriter?

23      A.    During the booking process, there's a way that
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 1                      (Adam Mason - by Mr. Klein)

 2   you can fill in some of the fields.               And then, after you

 3   print the sheet, there are some fields that you can also

 4   fill in by hand.

 5      Q.     There's an accusatory instrument for attempted

 6   murder.

 7             Is that something that you prepared or would the

 8   district attorney have prepared that?

 9      A.     I would have prepared that.

10

11
        Q.

     the file.
               There's a final autopsy from M
                                                        -
                      That wasn't finalized until the spring of
                                                                 Thomas in



12   2009.

13             Is that something that you would have received

14   and maintained in the file pursuant to your continuing

15   role as the assigned investigator?

16      A.     Yes.

17      Q.     There's a photo log of photos that were taken of

18

19
     the parts of M
                         -      's body in the autopsy.

               You were present at the autopsy, correct?

20      A.     Yes.

21      Q.     Did you take the photos or someone else did?

22      A.     Someone else.

23      Q.     Did you see those photos were in this file?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    Yes.

 3      Q.    There are also photos of the Thomas-Hicks

 4   household, correct?

 5      A.    Yes.

 6      Q.    Were those taken during the search warrant

 7   executions or some other time, if you know?

 8      A.    Likely during search warrant executions.

 9      Q.    And there's a photo log that reflects all of the

10   photos there, such as the kids' bedroom, the crib, etc.,

11   correct?

12      A.    Yes.

13      Q.    There's a Troy diagram/sketch of the apartment.

14            Would that have been created by the evidence

15   collection team or you?

16      A.    By the evidence technician.

17      Q.    Were you present when that was done?

18      A.    No.

19      Q.    Then there was serology reports that were

20   obtained when the items in the household that were

21   seized were tested, correct?

22      A.    Yes.

23      Q.    Those were part of your file, as well?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    Yes.

 3      Q.    You have the New York State fire incident report

 4   and prehospital care reports in here as well, correct?

 5      A.    Yes.

 6      Q.    Then there were search warrants.

 7            Do you recall that, from looking at the file,

 8   that there were two search warrants executed?

 9      A.    Yes.

10      Q.    Do you know why there were two?

11      A.    I don't recall why.

12      Q.    Was something missed during the first warrant

13   where there was some discussion about a reason to go

14   back a second time?

15      A.    I don't recall exactly why.

16                   MS. PECK:      Brett, since you're going

17           through it, we should probably just mark it.

18                   MR. KLEIN:      We can off the record.

19                   (Thomas Exhibits 18 and 19 marked for

20           identification.)

21                   MR. KLEIN:      Back on the record.

22   BY MR. KLEIN:

23      Q.    The binder that contains what you've described as
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 1                      (Adam Mason - by Mr. Klein)

 2   the Troy PD file for Adrian Thomas has been marked for

 3   the record as Thomas Exhibit 19.              Just going through the

 4   file again, generally.          We're up to search warrants.

 5            You don't know why there were two; is that right?

 6      A.    I don't recall exactly why.

 7      Q.    Would looking at them remind you of the reasons

 8   why there was a need for a first and then a second?

 9      A.    Possibly.

10      Q.    So take a moment and look at them and just let me

11   know.    I flagged the page for the first one.

12      A.    Am I allowed to answer a question while I'm

13   looking at it, or do I have to memorize what's in there?

14   Because I'm just looking at what we're looking for in

15   each of the search warrants and I see the difference.

16            So, can I identify that?

17      Q.    Yeah.     Why don't you tell us on the record as

18   you're looking through it, if that helps, if that's

19   easier for you, what each warrant was looking for and

20   how they're different, if at all.

21            Go ahead?

22      A.    So, in the first search warrant, the officers

23   were looking for evidence of child abuse or child
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 1                      (Adam Mason - by Mr. Klein)

 2   neglect, including, but not limited to, a baby crib, a

 3   metal truck, a black-and-brown belt, blood, or any other

 4   evidence that child abuse or child neglect has ever

 5   taken place inside the residence.               And that was the

 6   warrant executed on September 22nd.

 7            Then the second one that was executed on

 8   September 23rd, the officers were looking for

 9   mattresses, box springs, sheets, comforters, pillows,

10   pillow cases, and blankets.

11            I don't recall specifically why the next day we

12   were looking for these additional items.                 If I had to

13   guess I would say, during that 24 hours, in between the

14   two search warrants, there was information that was

15   discussed or received where we made a determination that

16   we wanted to go back and retrieve additional items.

17      Q.    I'll take that back from you.              Thanks.

18            After the search warrants in the file are

19   transcripts of the two Thomas interviews, interview one

20   and interview two, correct?

21      A.    Yes.

22      Q.    Who acquired these transcripts?

23            Did you get them made or did the DA's office?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    I did not have them made.            I believe the DA's

 3   office had them made.

 4      Q.    Then after that are photos, and they appear to be

 5   the photos of the Thomas-Hicks household, the warrant,

 6   and then photos of the autopsy.

 7      A.    Yes.

 8      Q.    Do these appear to be all of the photos that were

 9   part of the Troy PD file?

10      A.    They do.

11      Q.    The actual videos would have been part of the

12   detective file as well, correct?

13      A.    Yes.

14      Q.    It was discussed by counsel today that there's a

15   video of an interview of Wilahemina Hicks that was taken

16   on October 3rd, 2008.

17            Do you recall that?

18      A.    Yes.

19      Q.    Would that have been part of the file as well?

20      A.    Yes.

21      Q.    Was that part of this homicide investigation?

22      A.    Yes.

23      Q.    Were there any video statements taken of anyone
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 1                      (Adam Mason - by Mr. Klein)

 2   else other than Adrian Thomas and Wilahemina Hicks?

 3      A.    No.

 4      Q.    Do you recall the interview of Wilahemina Hicks

 5   that was videotaped?

 6      A.    I do not.

 7      Q.    There were a couple of written supporting

 8   depositions taken from her, correct?

 9      A.    Yes.

10      Q.    And then, apparently, after the indictment and

11   the autopsy she was then interviewed in the

12   interrogation room at headquarters, correct?

13      A.    Yes.

14      Q.    What was the purpose of that interrogation, if

15   you know?

16            Was she a suspect or was there some other

17   purpose?

18      A.    I think the purpose was just to be thorough.

19      Q.    Do you remember what the results were of that

20   interview?

21            Did she provide anything helpful?

22      A.    I don't recall.

23      Q.    Was she represented by counsel?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    No.

 3      Q.    Was she offered counsel and she declined to have

 4   counsel present?

 5                   MR. PERKINS:       Object to the form.

 6                   You can answer.

 7                   THE WITNESS:       I don't recall if she was

 8           provided with Miranda or not prior to that.

 9   BY MR. KLEIN:

10      Q.    Have you seen that video or any notes of that

11   video since it happened in 2008?

12      A.    Well, since 2008, I may have looked at it

13   afterwards, but I have not looked at it in any of the

14   recent years.

15      Q.    Have you looked at it since the 2009 trial, to

16   your knowledge?

17      A.    I don't recall.

18      Q.    It sounds like you certainly haven't looked at it

19   in the last few years.

20      A.    No.    I have not gone back and reviewed any of the

21   video footage over the last several years.

22      Q.    Other than the video footage of Adrian Thomas and

23   Wilahemina Hicks, are there any other items, documents,
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 1                       (Adam Mason - by Mr. Klein)

 2   photos, or other things that would be part of the

 3   detective file that are not in this Exhibit 19 in front

 4   of you today?

 5         A.     Nothing that I'm aware of.

 6         Q.     I'm going to show you what's been marked as

 7   Thomas Exhibit 18, the grand jury.

 8                     (Discussion held off the record.)

 9   BY MR. KLEIN:

10         Q.     Let me know if that appears to be the transcript

11   of your grand jury testimony.             You can just flip through

12   it.        I'm not asking for you to read it in detail right

13   now.

14         A.     Yes, it does.

15         Q.     Is that the transcript that you reviewed before

16   coming here today in preparation for today's

17   proceedings?

18         A.     I actually did not review the grand jury

19   testimony.        I reviewed the hearing and the trial

20   testimony.        I didn't review this one.

21         Q.     Can you take a moment or a few minutes, as long

22   as you need, to review it.

23         A.     Sir, would you like me to read the whole thing?
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 1                      (Adam Mason - by Mr. Klein)

 2      Q.    I would.      It's a quick read.

 3      A.    I don't know if this is a quick read.

 4      Q.    It is.

 5                   (Discussion held off the record.)

 6   BY MR. KLEIN:

 7      Q.    So, Captain Mason, referring to Thomas

 8   Exhibit 18, does that appear to be a full copy of your

 9   grand jury testimony?

10      A.    Yes.

11      Q.    Was everything that you said to the grand jury

12   true and correct?

13      A.    Yes.

14      Q.    Is there anything, reading it now, that you wish

15   to clarify or would you describe differently?

16      A.    No.

17      Q.    I'm showing you Thomas Exhibit 12.                This is your

18   pretrial Huntley hearing testimony.

19            Is this a transcript that you've reviewed before

20   coming here to this deposition?

21      A.    Yes.

22      Q.    Was everything in your Huntley hearing true and

23   correct?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    Yes.

 3      Q.    I'm showing you Thomas Exhibit 13, which is the

 4   first session that you testified at trial, Thomas

 5   Exhibit 14, which is the second session that you

 6   testified at trial, and Thomas Exhibit 16, which is the

 7   day that you were called on the rebuttal case for the

 8   prosecution.

 9            Just take a moment and just confirm that those

10   appear to be the transcripts that you reviewed as well

11   before testifying today.

12                   (Off the record.)

13   BY MR. KLEIN:

14      Q.    So, Thomas Exhibit 12, the Huntley hearing

15   transcript, is this a full -- appear to be a full and

16   complete transcript of your Huntley testimony?

17      A.    Yes.

18      Q.    Is everything you said to the court under oath

19   that day true and correct?

20      A.    Yes.

21      Q.    Anything that you would change or clarify for the

22   record today?

23      A.    No.
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 1                      (Adam Mason - by Mr. Klein)

 2      Q.    Was everything in your first day of trial

 3   testimony, Thomas Exhibit 13, true and correct?

 4      A.    Yes.

 5      Q.    Anything that you would change or clarify?

 6      A.    No.

 7      Q.    Same question for your second day of testimony,

 8   started off with cross-examination, Thomas Exhibit 14,

 9   is everything true and correct?

10      A.    Yes.

11      Q.    On your rebuttal testimony, Thomas Exhibit 16,

12   was everything true and correct?

13      A.    Yes.

14      Q.    In the file, there's an article by Jan Leestma,

15   who was one of the defendant's experts, and it's

16   entitled "Shaken Baby Syndrome."

17            Did you pull that article or was it given to you

18   by someone?

19      A.    I don't recall pulling it.

20      Q.    You don't recall.

21            Do you know if you got this during the trial or

22   anticipating -- like, what was the reason why?

23            Why did that article end up in the file, if you
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 1                      (Adam Mason - by Mr. Klein)

 2   know?

 3       A.   I'm not familiar with the file, with that being

 4   in the file.       If it's in there then I likely put it

 5   there, but I don't recall reviewing it or looking it up

 6   or it being given to me.

 7       Q.   It's possible, when you heard he was an expert in

 8   the case, you may have done some research?

 9       A.   I don't believe I did the research and pulled

10   that.

11       Q.   So, directing your attention to September 21st,

12   2008.

13            Did there come a time on that date, which was a

14   Sunday, that you became aware of this incident involving

15

16
     M
         -
         A.
               Thomas?

              Yes.

17       Q.   Can you walk us through your involvement?

18            Did you come in today for this job or were you on

19   the job already and got the call?

20       A.   No.    I was actually home and I received a call

21   that -- because I was on call for the weekend, and I

22   received a call that I needed to come into work.

23       Q.   You then responded to the --
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    To the Troy Police Department.

 3      Q.    When you got there, was Fountain there as well?

 4      A.    Yes.

 5      Q.    What happened when you got there?

 6            Were you notified that you were being assigned to

 7   this call?

 8      A.    Yes.

 9      Q.    How did it come in?

10            Did it come in through CPS or through 911 or

11   something else?

12      A.    I believe it came in through CPS.

13      Q.    What was the first thing that you did in regards

14   to the investigation?

15      A.    We were just briefed at the station.                 I believe

16   CPS was actually at the station.              And we were briefed on

17   what had happened.

18      Q.    When you say CPS, do you remember who was there

19   from CPS?

20      A.    Her name was Nicole Noel.

21      Q.    Was she with any of her colleagues?

22      A.    I don't recall.

23      Q.    Had you worked with Nicole Noel in her capacity
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 1                      (Adam Mason - by Mr. Klein)

 2   as a CPS supervisor prior to this incident?

 3       A.   No.

 4       Q.   Was this the first time you met her?

 5       A.   Yes.

 6       Q.   What were you informed and what happened next

 7   when you met up with Nicole?

 8       A.   I don't recall what the conversation was.                   I know

 9   that next we went to Samaritan Hospital in an attempt to

10   speak to anyone there that may have had information on

11

12
     the condition of M
                             -       .

              And then, from there, we went to the apartment of

13

14
     M
         -
         Q.
               Thomas and Adrian Thomas.

              That was all on September 21st?

15       A.   Yes.

16       Q.   When you went to the apartment -- well, what

17   happened when you went to Samaritan?

18            Did you speak with any doctors?

19       A.   No, I did not.

20       Q.   Who did you go to Samaritan with?

21       A.   Detective Fountain and the CPS worker.

22       Q.   Ms. Noel?

23       A.   Yes.
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 1                      (Adam Mason - by Mr. Klein)

 2      Q.    Did she drive with you in your vehicle or did you

 3   go in her vehicle?

 4      A.    We had separate vehicles.

 5      Q.    You didn't speak with anyone at Samaritan, but to

 6   your knowledge did Fountain or Ms. Noel get any

 7   information from any nurses or doctors at Samaritan?

 8      A.    I don't know if they spoke to anyone.

 9      Q.    So, were you there briefly at Samaritan?

10      A.    Yes.

11      Q.    Had the baby been transferred already from

12   Samaritan to Albany Med?

13      A.    Yes.

14      Q.    So, from there, you went to the Thomas-Hicks

15   household?

16      A.    Yes.

17      Q.    What happened there?

18      A.    I believe CPS was going to remove -- there were

19   six other children in the residence, and CPS was going

20   to remove them pending their investigation.

21            And so, myself and Detective Fountain went there

22   as well, and we spoke to Adrian Thomas briefly at that

23   point.    And from there, we went to Albany Medical
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 1                      (Adam Mason - by Mr. Klein)

 2   Center.

 3      Q.     So you monitored the removal of the kids, spoke

 4   with Adrian, and then left, in sum and substance?

 5      A.     Yes.

 6      Q.     The conversation with Adrian, how long did it

 7   last for?

 8      A.     I don't recall.

 9      Q.     In your testimony, it may have been as much of an

10   hour, maybe less.

11             Is that about right?

12      A.     That sounds about right.

13      Q.     Were any notes taken during that interview?

14      A.     I don't recall.

15      Q.     Would it be your practice to take notes during

16   such an interview just for keeping track of something

17   that --

18      A.     It would be something that myself or Detective

19   Fountain would do, but if there was -- but I don't

20   recall if I did take notes or not for that particular

21   interview.

22      Q.     Looking through the file today, were there any

23   notes that you've seen, identified that were from that
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 1                      (Adam Mason - by Mr. Klein)

 2   initial visit to the Thomas household?

 3      A.    Nothing that I identified specifically for that

 4   point in time.

 5      Q.    Then, is it fair to say that during that first

 6   interview with Adrian in the household he was not a

 7   suspect?

 8                   MR. PERKINS:       Object to the form.

 9                   THE WITNESS:       That's correct.

10   BY MR. KLEIN:

11      Q.    He wasn't in custody?

12      A.    That's correct.

13      Q.    When you spoke with him, was he cooperative?

14      A.    Yes.

15      Q.    Did he tell you essentially that he was woken up

16   by his wife, who was frantic that the baby was not

17   responsive earlier that morning?

18      A.    Yes.

19      Q.    And that he had no knowledge of how the baby

20   became ill?

21      A.    Yes.

22      Q.    Is there anything else that he told you that

23   stands out other than what I just said?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    No.

 3      Q.    He told you he sprinkled water on the baby's face

 4   and 911 was called?

 5      A.    Yes.

 6      Q.    He did tell you that the child had been sick in

 7   terms of having fever and diarrhea for a few days.

 8      A.    Yes.

 9      Q.    Did you have any familiarity with bacterial

10   infections, either from your own family, your own life

11   experience, or through your training as a police

12   officer?

13      A.    No.

14      Q.    How did you find Adrian's demeanor when you

15   interviewed him at that time, cooperative, was he sad

16   about his child, anything else?

17      A.    He was cooperative, and he appeared to be

18   somewhat sad.       Yes.

19      Q.    Concerned?

20      A.    Yes.

21      Q.    You then went to Albany Med.

22      A.    Yes.

23      Q.    You went there with Detective Fountain?
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 1                       (Adam Mason - by Mr. Klein)

 2       A.       Yes.

 3       Q.       Was Ms. Noel there as well?

 4       A.       I don't recall.

 5       Q.       What happened at Albany Med?

 6       A.       We went there to speak to anyone that may have

 7

 8
     had information on the situation regarding M


     -
     T        .
                                                                 -
                    I think I may have spoke to Wilahemina Hicks at

 9   that point in time.

10       Q.       Anything else?

11       A.       Maybe I spoke to a nurse.

12       Q.       You can look at your notes, but according to your

13   notes, you spoke with the charge nurse, Rebecca Peccano.

14                Do you remember her?

15       A.       I don't remember her specifically.

16       Q.       But she told you that the child was injured?

17       A.       Yes.

18       Q.       And that there was blood in the brain.

19                Did she tell you that?

20       A.       Yes.

21       Q.       But you didn't speak to any doctors, apparently,

22   at that time; is that right?

23       A.       I did not speak to a doctor at that time.
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 1                      (Adam Mason - by Mr. Klein)

 2      Q.    Did anyone else speak to a doctor?

 3      A.    I think Detective Fountain may have spoken to a

 4   doctor that evening.

 5      Q.    But you're not sure.

 6      A.    In reviewing my previous testimony, I thought

 7   that's what I had said, that he spoke to Dr. Edge that

 8   evening, but I did not.

 9      Q.    Then was Dr. Edge at Albany or was he spoken to

10   by phone?

11            Was he a doctor at Samaritan?

12      A.    Well, he was a doctor at Albany Medical Center.

13   And I don't recall where or what -- by what means

14   Detective Fountain spoke to him.

15      Q.    In terms of Wilahemina Hicks, you actually took a

16   deposition from her that night, which is a written

17   statement, correct?

18      A.    A deposition is a written statement.

19            I don't know if I took it or if Detective

20   Fountain took it.

21      Q.    If Detective Fountain took it, does that mean he

22   spoke with her and facilitated either her writing it out

23   and signing it or he wrote it out and had her sign it?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    Yes.

 3      Q.    Would you have been present for that or not

 4   necessarily?

 5      A.    I would have likely been present for that.

 6      Q.    We've heard testimony that, during the interview,

 7   CPS walked in, Ms. Noel and her caseworker, Jasper

 8   Estaris.

 9            Do you recall them walking into that interview?

10      A.    I do not.

11      Q.    After you were done they said that they spoke

12   with Ms. Hicks afterwards.

13            But you don't remember CPS being there?

14      A.    I don't.

15      Q.    Do you know who Jasper Estaris is?

16      A.    I remember -- I don't remember him being there on

17   the first day, but I do remember speaking to him -- or I

18   remember him being involved at some point.

19      Q.    Did you know at any point that he had -- that he

20   knew one of Wilahemina Hicks' relatives from college?

21      A.    I did not know that.

22                   MR. PERKINS:       Object to the form of the

23           last question.
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 1                      (Adam Mason - by Mr. Klein)

 2                   MS. PECK:      Object to the form.

 3   BY MR. KLEIN:

 4      Q.    And then, did anything else happen at Albany Med

 5   that you can recall on the evening of the 21st of

 6   September 2008?

 7      A.    No.

 8      Q.    Then, from there, did you go to the Thomas

 9   household again?

10      A.    Yes.

11      Q.    You went right from the hospital to the Thomas

12   household to speak with Adrian, correct?

13      A.    Yes.

14      Q.    At that point did you make a determination,

15   either before you went to the Thomas household or at the

16   Thomas household -- withdrawn.

17            Was Adrian home when you went there?

18      A.    Yes.

19      Q.    And did you make a determination that you wanted

20   to bring him to the interrogation room at the Troy

21   Police Department?

22      A.    We made a determination that we wanted to

23   interview him in the Troy Police Department.
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 1                      (Adam Mason - by Mr. Klein)

 2      Q.    What was the reason for doing it there as opposed

 3   to in his house?

 4      A.    Because we have the capabilities to record audio

 5   and video at the Troy Police Department.

 6      Q.    And what was the purpose of -- was he a suspect

 7   at that point?

 8      A.    No.

 9      Q.    What was the purpose of recording his interview

10   at that point?

11      A.    Because at that point I had no idea what had

12

13
     happened to M
                      -        .   And if for some reason what

     happened came out, I wanted to make sure that it was on

14   video and audio recording.

15      Q.    So, is that something that you would typically do

16   in a case involving serious injuries or a fatality,

17   record an interview before you know whether or not there

18   was probable cause or evidence of a crime?

19      A.    Yes.

20      Q.    In testimony yesterday, it was discussion of a

21   guideline that was enacted in May of 2008 that required

22   video recording of interrogations for potential B

23   felonies and greater.
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 1                      (Adam Mason - by Mr. Klein)

 2            Are you familiar with that?

 3      A.    Yes.

 4      Q.    Is that part of the reason why you recorded this

 5   interview, or you would have done it no matter what?

 6      A.    That played absolutely no role in that decision.

 7      Q.    In your report, your DB follow-up, you note that

 8   Dr. Edge stated to Detective Fountain, this is a murder.

 9      A.    Yes.

10      Q.    Did that create a sense of urgency for you and

11   Detective Fountain to go back to Adrian right away?

12      A.    That statement did not create the sense of

13   urgency.     The fact that we were called in and the fact

14

15
     that M
              -       was in the condition that he was in, we

     were going to stay there and continue to work the case

16   regardless.

17      Q.    When you spoke with Wilahemina Hicks, is it fair

18   to say that she did not indicate to you that she

19

20
     witnessed Adrian Thomas injure M

     correct?
                                                 -        at any time,



21      A.    Yes.

22      Q.    When you went to Adrian's house, he was home

23   alone, correct?
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 1                      (Adam Mason - by Mr. Klein)

 2      A.    Yes.

 3      Q.    So you could have interviewed him there had you

 4   wanted to, but you wouldn't have had the video

 5   capabilities.

 6      A.    That's correct.

 7      Q.    Was the location of the interview in an

 8   interrogation room at the precinct an important factor

 9   as well for you to try to get as much information from,

10   at that point, an informant as possible?

11            Did you think he would be more serious with you

12   if he was in a police station as opposed to at his

13   house?

14      A.    I guess that's a typical thought process.

15      Q.    So you took into consideration the setting of the

16   interview, obviously, before bringing him to the

17   precinct.

18      A.    I think that's a common thought process when I'm

19   deciding I want to interview someone, but for this

20   particular incident, I don't know that that was a

21   discussion that Detective Fountain and I had.                   I think

22   the more important feature was the audio and the video.

23      Q.    He was cooperative and went with you to
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 1                      (Adam Mason - by Mr. Klein)

 2   headquarters, correct?

 3       A.   Yes.

 4       Q.   That's when he was brought to the third floor

 5   interrogation room?

 6       A.   Yes.

 7       Q.   That's when you read him his Miranda rights and

 8   he signed them in your presence?

 9       A.   Yes.

10       Q.   And that's when you and Detective Fountain spoke

11   with him for about two hours and obtained video one,

12   correct?

13       A.   That's correct.

14       Q.   And as well as the first written statement, which

15   was a short written statement, correct?

16       A.   Yes.

17       Q.   That interview ended when he said he was going to

18   jump off a bridge if his son died, correct?

19       A.   Yes.

20       Q.   With that said, the interview continued after he

21   said that for a little bit, but then it was

22   discontinued, correct?

23       A.   So, we had planned to end the interview, and we
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 1                      (Adam Mason - by Mr. Klein)

 2   were prepared to get up and leave when he made the

 3   comment about jumping off a bridge if his son were to

 4   die.     So, yeah, at that point there was a further

 5   discussion.       Yes.

 6       Q.    But there was further discussion about -- there

 7

 8
     were further questions asked about how M

     been injured after he said he felt like he wanted to
                                                            -         may have



 9   hurt himself.

10       A.    Yes.

11       Q.    Why did you guys continue to ask questions after

12   he said he needed -- he felt suicidal?

13       A.    The fact that he felt suicidal, I thought maybe

14   there was more that he wanted to talk about.                   So we

15   continued the discussion in an attempt to see, number

16   one, why he felt that way and if there was anything else

17   that he wanted to discuss.

18             We were attempting to end the interview when he

19   said that, so it sent a message to us that he wanted to

20   continue to talk about something.

21       Q.    During that interview, did anything he say give

22   you probable cause to arrest him?

23       A.    No.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   Is it fair to say that anything he said in that

 3   interview in terms of -- anything he said in that

 4

 5
     interview with regard to possible injuries to M

     was not consistent with what you were informed by
                                                                      -
 6   medical personnel and that Detective Fountain was

 7   informed by medical personnel?

 8       A.   Yes.

 9       Q.   In terms of Adrian Thomas' demeanor, by the time

10   you spoke with him it was after midnight, correct?

11       A.   Yes.

12       Q.   To your knowledge, he had been up since 8:00 that

13   morning when the baby got up to go to the hospital,

14   correct?

15       A.   That's not an accurate statement.                I wasn't with

16   him that entire time.           So, to my knowledge, he could

17   have slept for the four hours.

18       Q.   You don't know either way.

19       A.   I don't know either way.

20       Q.   Did you have a sense of his level of education?

21       A.   I didn't have a -- I didn't know for a fact what

22   his education was, but he appeared that he could carry

23   on a conversation with us, an intelligent conversation.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   Did you know whether he had any learning

 3   disabilities or cognitive deficiencies or anything else?

 4       A.   I don't know if he did or he didn't.

 5       Q.   Did you draw any opinions just from speaking with

 6   him that he was slow or had some other -- any other

 7   cognitive or other disabilities?

 8       A.   I did not draw that opinion.

 9       Q.   When he expressed suicidal thoughts, did you feel

10   at that point he was vulnerable, and therefore you kept

11   talking to him because that might lead to further -- to

12   incriminating statements?

13                   MR. PERKINS:        Object to the form.

14                   You can answer.

15                   MS. PECK:       Object to the form.

16                   THE WITNESS:        I didn't feel as though

17            he was vulnerable.         I felt as though maybe

18            he sensed the interview was coming to an

19            end, maybe there was something that he

20            wanted to tell us that he wasn't telling us.

21                   So, I thought that was an opportunity

22            for us to continue to talk to allow him to

23            get that off his chest if he had something
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 1                      (Adam Mason - by Mr. Klein)

 2            else to say.

 3   BY MR. KLEIN:

 4       Q.   Did you discuss the first statement at the grand

 5   jury or just the second statement, if you recall?

 6       A.   I don't recall.

 7       Q.   In your file are the transcripts of the

 8   interviews.

 9            Have you reviewed those in anticipation of

10   today's deposition?

11       A.   I have not.

12       Q.   Did you review them back at the time of the

13   trial?

14       A.   I have reviewed them at some point.

15       Q.   To the best of your knowledge, were they

16   accurate?

17       A.   Yes.

18       Q.   In your file is a supporting deposition dated

19   September 21st, 2008, time 2310 hours, which is

20   11:10 p.m., correct?

21       A.   Yes.

22       Q.   And that was from Wilahemina Hicks, and that was

23   given at Albany Med, correct?
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 1                      (Adam Mason - by Mr. Klein)

 2       A.   Yes.

 3       Q.   Do you remember her statement?

 4       A.   I don't remember what it says.

 5       Q.   She didn't incriminate Adrian in her statement,

 6   though, generally.

 7            Do you recall that?

 8       A.   I don't -- I recall that she did not.

 9       Q.   Then the next statement in the file is one from

10   Adrian Thomas dated 9/22/08, at 0141 hours, correct?

11       A.   Yes.

12       Q.   And that would be the written statement that

13   arose out of interview one, correct?

14       A.   Yes.

15       Q.   There's a related Miranda page, waiver page,

16   correct?

17       A.   Yes.

18       Q.   So Defendant's Exhibit C from August 20th, 2019,

19   is that the first statement?

20       A.   Yes.

21       Q.   Was that written -- the body of the statement,

22   was that written by Detective Fountain?

23       A.   Yes.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   It was signed by Adrian Thomas?

 3       A.   Yes.

 4       Q.   Did you sign it as well?

 5       A.   I signed as a witness.            Yes.

 6       Q.   Then Adrian went to Samaritan Hospital after that

 7   interview, correct?

 8       A.   Yes.

 9       Q.   You brought him there as a voluntary admission,

10   correct?

11       A.   Yes.

12       Q.   You then left him at the hospital while he was

13   evaluated, correct?

14       A.   Yes.

15       Q.   What did you do after that?

16       A.   I don't think we did anything else pertaining to

17   this case after that.

18       Q.   You want to look in your notes?

19       A.   You're talking about after or that night?

20       Q.   No.    Well, you took him there in the morning of

21   September 22nd.

22            Did you then go home for the evening after that?

23       A.   Yes.     I believe we did as that point.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   And then did you come back to work on the 22nd?

 3       A.   Yes.

 4       Q.   And then what did you do?

 5       A.   On the 22nd, I went to Samaritan Hospital and

 6   spoke to the doctor there, I believe.                 I went to Albany

 7   Medical Center and spoke to the doctor there.

 8            And then ultimately, in the afternoon on the

 9   22nd, I went back to Samaritan Hospital and spoke to

10   Adrian Thomas again.

11       Q.   You had arranged with the hospital staff for them

12   to notify you when he was ready to be discharged,

13   correct?

14       A.   Yes.

15       Q.   You got a phone call and you went there, and you

16   were there to meet him when he was walking out.

17       A.   Yes.

18       Q.   From there, you brought him right back to the

19   headquarters, correct?

20       A.   Yes.

21       Q.   That's when you conducted -- you took him right

22   to the third floor interrogation room, Mirandized him,

23   and then started interview two, correct.
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 1                      (Adam Mason - by Mr. Klein)

 2       A.   Yes.

 3       Q.   What's been marked as Defendant's Exhibit B on

 4   August 20th, 2019, is this the ten-page statement that

 5   arose out of interview two?

 6       A.   Yes.

 7       Q.   We'll get into the conduct of the interview in a

 8   little bit, but in terms of after the interview was

 9   completed, you then placed him under arrest, correct?

10       A.   Yes.

11       Q.   That was into the early morning of

12   September 23rd, correct?

13       A.   Yes.

14       Q.   Did you then go home or did you book him?

15            Were you involved in the arrest processing

16   through the early morning hours of the 23rd?

17       A.   I was involved in the arrest process.

18       Q.   What did that entail?

19       A.   That entailed getting his pedigree information

20   into the computer for an arrest sheet and fingerprint,

21   photograph, and securing property, and putting him in

22   the holding cell.

23       Q.   Did you do that alone or were you assisted by
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 1                      (Adam Mason - by Mr. Klein)

 2   anyone?

 3       A.    I don't recall.        I was likely assisted by

 4   someone.

 5       Q.    When you walked out of that interrogation room,

 6   where did you go with Adrian?

 7             Did you bring him to your office or to the squad

 8   office?

 9       A.    My office at that time was on the second floor.

10   The interview room was on the third floor.                   So, I went

11   to my office where my computer was to enter the pedigree

12   information and get the arrest sheet completed in that

13   office.

14       Q.    Was he handcuffed at that time?

15       A.    I don't recall.        I don't believe so.

16       Q.    When do you -- do you recall when he was

17   handcuffed?

18       A.    I don't know if I handcuffed him at all.

19       Q.    Was there a point in time where you said to

20   Adrian, either in these exact words or in sum and

21   substance, Adrian, you're now under arrest?

22       A.    Yes.

23       Q.    Was that in your office or at some other time?
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 1                      (Adam Mason - by Mr. Klein)

 2       A.   I don't recall where it was.

 3       Q.   While you were getting pedigree from him, do you

 4   know if you informed him of the fact that he was under

 5   arrest, or did you say, I just need to get some

 6   information from you?

 7       A.   Well, at the point where I was getting the

 8   pedigree information and completing the arrest sheet on

 9   my computer, he was informed that he was under arrest.

10       Q.   And what was his reaction, if any, to that?

11       A.   I don't recall any significant reaction.

12       Q.   Did you have a colleague or colleagues with you

13   to assist you, whether for security or for any other

14   reason, while you were getting this information from

15   him?

16       A.   I know that, during the course of the interview,

17   Sergeant Colaneri was next door monitoring the

18   interview.      So, I don't specifically recall him being

19   there during the booking process, but I don't believe he

20   would have just left at that point in time.                   I believe

21   he would have stayed with me and saw that through.

22       Q.   Before placing Adrian under arrest, did you have

23   to get approval or authorization from your captain, or
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 1                      (Adam Mason - by Mr. Klein)

 2   was it your own independent determination to place him

 3   under arrest?

 4       A.   It was a determination that was made by myself

 5   and Sergeant Colaneri jointly.

 6       Q.   From looking at the video, it basically comes to

 7   an end, and Adrian is escorted out of the room.

 8            Is that fair to say?

 9       A.   Yes.

10       Q.   Is there a point in time where you and Colaneri

11   have a discussion where that determination is jointly

12   made to place Adrian under arrest?

13       A.   Yes.     Up until the point where the incriminating

14   statements were made by Adrian Thomas, I had no

15   intention of arresting him.             And when we completed --

16   because the statement was done in two parts, so it was

17   six pages.      And then, when the last four pages were

18   done, while he was reviewing those last four pages, I

19   left and went into the room next door where Sergeant

20   Colaneri was monitoring the interview.

21            And in sum and substance, my words to him were,

22   do I have to arrest him now?             Because that was not my

23   intention throughout that entire interview, to arrest
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 1                      (Adam Mason - by Mr. Klein)

 2   him.       And he looked at me, and he said, yeah, you have

 3   to.

 4               I knew I had to once he said that.             I didn't know

 5   that it was going to come to that.                And so, that was the

 6   conversation him and I had.

 7         Q.    Do you recall that Sergeant Colaneri made one

 8   appearance during the interview two where he started by

 9   saying he was in the Corps and then introduced the

10

11
     concept of Adrian slamming M

           A.    Yes.
                                            -        to the ground?



12         Q.    Was that conversation with Sergeant Colaneri

13   about, do I have to arrest him now, after Sergeant

14   Colaneri came into the room?

15         A.    Yes.

16         Q.    So, prior to Sergeant Colaneri coming in, did you

17   already have the six-page statement, six pages out of

18   the ten, approximately?

19         A.    I don't recall.

20         Q.    But you had a partial statement before Sergeant

21   Colaneri came in?

22         A.    I don't recall if he came in in between the two

23   statements or if -- I don't recall exactly which point
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 1                      (Adam Mason - by Mr. Klein)

 2   that was.

 3       Q.   But is it your testimony that Adrian didn't make

 4   incriminating statements until after Sergeant Colaneri

 5   said what he said in the room and then left?

 6                   MR. PERKINS:        Object to the form.

 7                   You can answer.

 8                   THE WITNESS:        I think, in the first six

 9            and a half pages, if Sergeant Colaneri came

10            in after that, I don't know that -- I don't

11            know -- I don't know if there were

12            incriminating statements made in those first

13            six and a half pages or not.

14                   I guess it would have been -- if it

15            ended there, those actions would have had to

16            have been further investigated to determine

17            if there was a criminal act committed there.

18   BY MR. KLEIN:

19       Q.   Well, my question is -- I think you said that up

20   until the time that Colaneri came in you didn't have

21   probable cause.

22            Is that right in your mind?

23       A.   Up until the time -- no.            That's not what I said.
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 1                      (Adam Mason - by Mr. Klein)

 2            What I said was, up until the time, the

 3   conversation between Adrian Thomas and myself where he

 4

 5
     told me that he slammed M
                                       -         on the bed three times,

     that's when I knew probable cause had been established.

 6   And that's when I knew that things had taken a turn.

 7       Q.   But those statements weren't made until after

 8

 9
     Colaneri introduced the concept of M

     slammed; is that right?
                                                       -        being



10                   MR. PERKINS:        Object to the form.

11                   You can answer.

12                   THE WITNESS:        That is correct.         It

13            occurred afterwards.

14   BY MR. KLEIN:

15       Q.   I'm just trying to understand generally in the

16   temporal time frame of the interview.

17            It was after Colaneri came in and introduced the

18

19
     concept of M
                     -         being slammed that you spoke with

     Adrian further and then spoke with Colaneri and said,

20   now I have to arrest him; is that right?

21       A.   Yes.

22       Q.   Prior to Colaneri coming in you didn't think you

23   were going to arrest him.
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 1                      (Adam Mason - by Mr. Klein)

 2       A.   Prior to him coming in I didn't think I was going

 3   to arrest him.        That's correct.

 4       Q.   Is the reason because, prior to Colaneri coming

 5

 6
     in, the concept of M
                                 -        being slammed had not been

     uttered or discussed by Adrian up to that point?

 7                    MR. PERKINS:       Object to the form.

 8                    You can answer.

 9                    THE WITNESS:       The reason is because

10            Adrian hadn't told me that he slammed

11

12
              M
                  -
              that.
                         on the bed three times prior to



13   BY MR. KLEIN:

14       Q.   Would you agree that it was Sergeant Colaneri and

15

16
     yourself who jointly introduced the concept of M

     being slammed into the conversation?
                                                                       -
17                    MR. PERKINS:       Object to the form.

18                    Go ahead.

19                    THE WITNESS:       Yes.

20   BY MR. KLEIN:

21       Q.   Once Sergeant Colaneri first and then you

22

23
     introduced that concept of M
                                            -
     when Adrian made statements about slamming M
                                                     being slammed, that's


                                                                  -        ,
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 1                      (Adam Mason - by Mr. Klein)

 2   correct?

 3

 4
         A.   He made comments about slamming M

     that was introduced to him by myself and Sergeant
                                                            -         after



 5   Colaneri.       Yes.

 6       Q.   Correct.

 7            And he did other things after they were

 8   introduced by yourself as well, like the slamming of the

 9   folder, correct?

10       A.   There were other things that he did that were

11   introduced by myself, and there were things that he

12   stated that were not introduced by myself, as well.

13       Q.   Right.

14            The slamming of the folder as a demonstration was

15   introduced by yourself?

16       A.   Yes.

17       Q.   After Adrian admitted -- I think you said it was

18   three instances of slamming or four?

19       A.   Three.

20       Q.   That's when you then sat down and wrote the

21   remaining balance of the second part of the interview,

22   which is about four pages?

23       A.   That's correct.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   Once that was done, that's when he was placed

 3   under arrest.

 4       A.   Yes.

 5       Q.   I'll get more into the interview, but I want to

 6   get through your investigation on a macro level.

 7            So, he goes to your office so you can take

 8   pedigree and book him, correct?

 9       A.   Yes.

10       Q.   Where does he go after that?

11       A.   Then we went down to the first floor, in the

12   back, where the detention area is.

13       Q.   He was lodged in a cell.

14       A.   Yes.

15       Q.   He was searched, presumably.

16       A.   Likely.

17       Q.   Did you confirm during that process that he had

18   no prior criminal record or history?

19       A.   We would have done a criminal history during the

20   booking process.

21       Q.   Do you recall that he had no history?

22       A.   I don't recall any criminal history.

23       Q.   And what else happened in terms of the booking
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 1                      (Adam Mason - by Mr. Klein)

 2   process, if anything?

 3       A.   Fingerprinting, photographing.

 4       Q.   You were involved with that?

 5       A.   Yes.

 6       Q.   Then what happened next?

 7       A.   Then he would have been ultimately placed in a

 8   cell.

 9       Q.   Then, from there, what did you do?

10            This is already on the 23rd, right?

11       A.   Yes.

12       Q.   What happened next?

13       A.   After he was placed in a cell on that evening, I

14   don't recall what else I did.

15       Q.   Is that when you would have prepared the criminal

16   court information or complaint?

17       A.   Yes.

18       Q.   That was for attempted murder?

19       A.   Yes.

20       Q.   Did you do that in consultation with a DA or

21   ADAs, or would you have done that in the office first

22   and then forwarded it to them for review?

23       A.   After he was placed in a cell, I would have went
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 1                      (Adam Mason - by Mr. Klein)

 2   back to my office and typed that up.

 3       Q.   What else would you have typed up, or what else

 4   did you type up in this case or otherwise prepare

 5   related to the arrest, the arrest report?

 6       A.   Yup.

 7       Q.   What else?

 8       A.   Accusatory instrument.

 9            And I would have made photocopies of the

10   statement and attached that to go to court in the

11   morning.

12       Q.   Would that have been both statements or just the

13   second statement?

14       A.   The full ten pages.

15       Q.   In terms of statement one, which is Defendant's

16   Exhibit C, is it fair to say that one was not

17   incriminating or useful to you in terms of charging him

18   with attempted murder?

19       A.   That would not have been something that I

20   attached to the paperwork.

21       Q.   The basis of you charging him was what was said

22   in the second half of the interview, as we said earlier,

23   after Colaneri introduced the concept of slamming,
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 1                      (Adam Mason - by Mr. Klein)

 2   correct?

 3       A.    Yes.

 4       Q.    Which is the last approximately four pages of the

 5   written statement.

 6       A.    Yes.

 7       Q.    And once you prepared the criminal court

 8   information, arrest report, and got the paperwork

 9   together, what did you do next?

10             Would you have called the DA's office or...

11       A.    No.

12       Q.    What happened next?

13       A.    I believe at that point in time I would have went

14   home for the evening.

15       Q.    Would you have transmitted the paperwork to

16   anyone?

17             Like, did it follow Adrian through the -- in

18   other words, was Adrian on his way to the criminal court

19   at some point to be arraigned?

20       A.    Yeah.    The following morning he would have went

21   to Troy police court for arraignment, and the paperwork

22   would have went from the police department over there

23   with him.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   Did you go to court the next morning for the

 3   arraignment?

 4       A.   No.

 5       Q.   On the 23rd, which is the day that you processed

 6   his arrest, the police department issued a press

 7   release.

 8            Do you recall that?

 9       A.   Yes.

10       Q.   Whose determination was it to issue a press

11   clipping?

12       A.   I believe the press release was issued by Deputy

13   Chief McAvoy and it would have been his determination to

14   do that.

15       Q.   So at some point, though -- how did he become

16   aware of this?

17            At some point did you speak with him or did your

18   captain?

19       A.   I believe when I came into work the next morning

20   I would have spoke to my captain about it, and word

21   would have made its way to the chief.

22       Q.   Are press releases issued in all cases, or was

23   this for some reason high profile or...
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 1                      (Adam Mason - by Mr. Klein)

 2       A.    They're not issued in all cases.

 3       Q.    What was the reason for it to be issued in this

 4   case?

 5                   MR. PERKINS:        Object to the form.

 6                   You can answer, if you know.

 7                   MR. KLEIN:       If you know.

 8                   THE WITNESS:        I wasn't involved in the

 9            decision for a press release.

10   BY MR. KLEIN:

11       Q.    Well, I mean, it was attempted murder of an

12   infant.

13             I mean, was this a case of public concern, or was

14   there some reason that you -- in your experience, where

15   the department would issue a press release?

16                   MR. PERKINS:        Object to the form.

17                   You can answer.

18                   THE WITNESS:        So while I was not

19            involved in the decision nor counseled about

20            the press release, if I had to guess, I

21            would say because there was an infant that

22            was murdered, that that was something that

23            the chief thought was worthy of a press
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 1                      (Adam Mason - by Mr. Klein)

 2            release.

 3   BY MR. KLEIN:

 4       Q.   That was dated September 23rd, which is the same

 5   day that you processed Adrian Thomas' arrest, correct?

 6       A.   Yes.

 7       Q.   Do you know if he was arraigned in Troy City

 8   Court on the 23rd, or was that on the 24th?

 9       A.   I believe he would have been arraigned on the

10   23rd.

11       Q.   You didn't go to court that day for the

12   arraignment?

13       A.   No.

14       Q.   At some point prior to Adrian going to court, did

15   you or anyone at your office speak with the prosecutors,

16   or does he get arraigned based on police documents

17   submitted to the court?

18       A.   He does get arraigned based on the documents

19   submitted to the court, but I don't recall specifically

20   meeting with someone that day, but I imagine that I

21   probably did meet with someone from the DA's office on

22   that day to talk about the case.

23       Q.   And then what was your next steps in the
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 1                      (Adam Mason - by Mr. Klein)

 2   investigation?

 3       A.   After he was already arrested?

 4       Q.   Correct.

 5       A.   At some point I know I spoke to Wilahemina Hicks

 6   again.

 7       Q.   You obtained a second supporting deposition from

 8   her, correct?

 9       A.   Yes.

10       Q.   What was the purpose of the second meeting with

11   her?

12       A.   Just to continue to follow up on the case and be

13   thorough.

14       Q.   Did she incriminate Adrian in that second

15   statement?

16       A.   I don't believe so.

17       Q.   Was she cooperative, or how would you describe

18   her demeanor in your dealings with her during the first

19   and second interview?

20       A.   She was cooperative.

21       Q.   Was she concerned for Adrian, or did you have

22   any -- did you draw any opinion about her concern for

23   Adrian or lack thereof?
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 1                      (Adam Mason - by Mr. Klein)

 2       A.   I didn't draw an opinion either way.

 3       Q.   On the 23rd, do you recall becoming aware that

 4   Adrian was arraigned and remanded to the county jail?

 5       A.   Yes.

 6       Q.   You would have been following it to make sure

 7   that the arraignment went smoothly, correct?

 8       A.   I don't know that I followed it, but that's

 9   typically what happens.           And I think if something other

10   than that happened I would have known about it.                       So I

11   think I just knew that was the process and that's what

12   was going to happen.

13       Q.   Once that happened, it looks like, pursuant to

14   your notes, that you spoke with Nicole Noel from CPS on

15   the 23rd?

16       A.   Yes.

17       Q.   So, after the interview was over early in the

18   morning of the 23rd, you then did the paperwork

19   throughout that morning?

20       A.   Yes.

21       Q.   In the early morning hours?

22       A.   Yes.

23       Q.   Did you then leave to go home and come back later
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 1                      (Adam Mason - by Mr. Klein)

 2   that day, or did you remain at the office all through

 3   the 23rd?

 4       A.   I would have left to go home and then came back

 5   some point in the morning.

 6       Q.   So, if your notes say 9/23/08 but no time that

 7   you spoke with Nicole Noel, it would have been after you

 8   came back after going home after the arrest process.

 9       A.   Yes.

10       Q.   Do you remember speaking with Nicole Noel that

11   day on the 23rd?

12       A.   I don't remember what the context of the

13   conversation was.

14       Q.   Your notes say that she informed you that there

15

16
     was a skeletal exam and

              Do you recall that?
                                      -          had old rib fractures.



17       A.   Yes.

18       Q.   And information about that.

19            You also spoke to Dr. Edge.              Do you know if that

20   was in person or by phone?

21       A.   I never spoke to Dr. Edge by phone, so if I spoke

22   to him, it would have been in person.

23       Q.   He told you that the baby was brain dead that
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 1                      (Adam Mason - by Mr. Klein)

 2   day, correct?

 3       A.   Yes.

 4       Q.   Then that's when Wilahemina Hicks gave consent to

 5

 6
     donate M
                -
     your report.
                        's organs that day, and you noted that in



 7       A.   Yes.

 8       Q.   Then you spoke with Wilahemina and the

 9

10
     grandmother,

         A.   Yes.
                       -    , correct?



11       Q.   Would that have been in person?

12       A.   Yes.

13       Q.   It says at 2:07 p.m. you deposed Wilahemina.

14            That meant you took a statement from her.

15       A.   Yes.

16       Q.   Where did you do that?

17       A.   I don't recall.

18       Q.   We'll call that Wilahemina's second statement,

19   right?

20       A.   Yes.

21       Q.   The first one was at Albany Med on the night of

22   the 21st.

23       A.   Yes.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   Then you then returned to CS.

 3            What is CS?

 4       A.   Central station.

 5       Q.   That's when you prepared a search warrant,

 6   correct?

 7       A.   Yes.

 8       Q.   Then, at 8:45 p.m., it says, "investigating

 9   officers and ET"?

10       A.   Evidence technician.

11       Q.   D. Marble executed the search warrant and seized

12   the mattress, box springs, and bedding.

13            So you were there for the search warrant?

14       A.   That's the second search warrant?

15       Q.   Well, it was at 8:45 p.m.             It doesn't say --

16       A.   I believe I was there for that one.

17       Q.   So that's all your notes say about the 23rd, in

18   sum and substance.

19            Do you agree with that?

20       A.   Yes.

21       Q.   So, do you record everything you do and everyone

22   you speak with in a particular day in your notes, or

23   just the highlights?
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 1                      (Adam Mason - by Mr. Klein)

 2       A.   Just the highlights.

 3       Q.   So, on that date, do you recall having an

 4   in-person meeting with CPS worker Nicole Noel?

 5       A.   I do not.

 6       Q.   You've heard the term "multidisciplinary team"?

 7       A.   No.

 8       Q.   Have you ever?

 9            Well, were you working cooperatively with CPS in

10   this investigation?

11       A.   Yes.

12       Q.   Whatever information you obtained you were

13   willing to share with them to the extent that you were

14   able to from a law enforcement perspective, correct?

15       A.   Yes.

16       Q.   And vice versa.         Your understanding was that,

17   subject to state laws, that they would share their

18   investigation with you, correct?

19       A.   Yes.

20       Q.   They weren't an arm of the Troy PD, but you did

21   work in cooperation with them, correct?

22       A.   Yes.

23                   (Discussion held off the record.)
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 1                               (CONFIDENTIAL)

 2                    MR. KLEIN:      I'm going to ask you about

 3            what's been marked as Thomas 8 on

 4            September 11th, 2019.

 5                    For the record, the parties agree that

 6            this document and questions about it will be

 7            marked confidential on the record.               So

 8            starting now, if we can mark confidential,

 9            or if the reporter prefers, the parties can

10            review the transcript and let me know after

11            the fact.

12                    MS. PECK:      I'd like if we mark it in

13            the record now.

14

15                    (THE FOLLOWING PORTION OF THE

16            TRANSCRIPT IS MARKED AS CONFIDENTIAL UNTIL

17            OTHERWISE NOTED:)

18

19   BY MR. KLEIN:

20       Q.   So, I'm showing you Thomas A, and these, I'll

21   represent to you, are progress notes from CPS's case

22   management system.

23       A.   Okay.
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 1                               (CONFIDENTIAL)

 2       Q.   On that date, there are two notes by Nicole Noel.

 3   One regards a phone contact and one regards an office

 4   meeting.

 5            Take a look at the progress notes, particularly

 6   the narratives for each one, and when you're done let me

 7   know so I can ask you some questions about that.

 8       A.   (Witness complies.)

 9       Q.   Okay?

10       A.   Yup.

11       Q.   So, in addition to speaking with Nicole Noel and

12   getting information from her as reflected in your DB

13   follow-ups, according to Nicole Noel's notes, she

14   reports that you informed her that Adrian was arrested

15   earlier that morning for attempted murder.

16       A.   Yes.

17       Q.   And you informed her that Adrian admitted to

18

19
     slamming M
                   -        down on the bed from a standing

     position on three separate occasions, on 9/17/08,

20

21
     9/18/08, and 9/20/08, and hitting M
                                                     -
     side of the crib railing while throwing him in the crib
                                                             's head on the



22   on 9/20/08, correct?

23       A.   Yes.
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 1                               (CONFIDENTIAL)

 2       Q.   Is it fair to say that those are the three dates

 3   or four events that Adrian described after the idea of

 4   slamming was introduced by Sergeant Colaneri and

 5   yourself?

 6                   MR. PERKINS:        Object to the form.

 7                   You can answer.

 8                   THE WITNESS:        Yes.

 9   BY MR. KLEIN:

10       Q.   So, you didn't actually note everything that was

11   said in the conversation, but even though it's not in

12   your report do you agree that you more likely than not

13   told her that information that day?

14       A.   Yes.

15       Q.   Do you remember anything else you told her about

16   the case, or is that generally what you told her?

17       A.   I don't recall if I told her anything else.

18       Q.   Those were the high points of your interview that

19   lead to the arrest, correct?

20       A.   Yes.

21       Q.   Then the bottom progress note on Thomas 8

22   reflects an in-person meeting with you, correct?

23       A.   Correct.
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 1                               (CONFIDENTIAL)

 2       Q.   So it doesn't say that specifically in your

 3   follow-ups, but do you have any reason -- do you recall

 4   that there was an in-person meeting or have any reason

 5   to doubt it?

 6       A.   I don't recall that there was, but I have no

 7   reason to doubt it, either.

 8       Q.   She said that you gave her the arrest report for

 9   Adrian Thomas, his statement, Wilahemina's statement,

10   Dr. Edge's (attending physician) statement, and

11

12
     M
         -    's medical records from Albany Medical Center and

     Samaritan Hospital.

13            Is that something you likely would have done?

14       A.   Yes.

15       Q.   That's pursuant to your cooperation with CPS as

16   co-investigatory agencies in this matter, correct?

17       A.   Yes.

18       Q.   And she also notes that you reported that you did

19   not currently plan to arrest Wilahemina for anything,

20   correct?

21       A.   Yes.

22       Q.   Was it still something that was an open

23   possibility, depending on how things progressed in the
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 1                               (CONFIDENTIAL)

 2   investigation, that she might be arrested, or was she

 3   not a suspect?

 4       A.   I hadn't considered it either way.                I didn't make

 5   a final decision either way.

 6       Q.   So, would you give police paperwork, any written

 7   statements like you obtained in this case, and medical

 8   records and information like this to CPS in the regular

 9   course in an investigation like this where there's

10   parallel investigations?

11       A.   You're asking me if I would do what this says I

12   did?

13       Q.   Yeah.

14       A.   I believe that that's possible that I did that.

15       Q.   I'm saying:       Is this something that you've done

16   in other cases as well?

17       A.   I don't specifically recall, but in a similar

18   situation I may have done a similar thing.

19       Q.   Do you know if she came to your office to get

20   this -- to pick up the documents or whether you went to

21   her office or met her someplace?

22       A.   I don't recall how it happened, but I don't think

23   that I would have said, hey, do you want this?                    She
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 1                      (Adam Mason - by Mr. Klein)

 2   probably requested it for the CPS investigation and I

 3   agreed to give it to her.

 4                    MR. KLEIN:      We can go back off

 5            confidential into the regular record.

 6

 7                    (ENDING THE CONFIDENTIAL PORTION OF THE

 8            TRANSCRIPT)

 9

10   BY MR. KLEIN:

11       Q.    Do you recall anything else you did or anyone

12   else you spoke with on 9/23/08 other than what we've

13   discussed so far?

14       A.    I do not.

15       Q.    Directing your attending to the 24th.

16             Your records indicate that the organ donation

17   procedure took place in the early morning hours, right?

18       A.    Yes.

19       Q.    Did you attend that?

20       A.    No.

21       Q.    You just were informed of it and noted it in your

22   report?

23       A.    Yes.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   Around 11:00 a.m., you along with Detective

 3   Centanni, went to the victim's residence to meet with

 4   Wilahemina Hicks, right?

 5       A.   Yes.

 6       Q.   And it says, "no additional information was

 7   obtained."

 8            What happened specifically, if you know?

 9       A.   I don't recall.

10       Q.   Then it says, "Nicole Noel CPS was also present

11   at the residence.         She advised that complete skeletal

12   exams were ordered for all the children and CT scans

13   were scheduled for Israel, Isaiah, and Adrian, Jr."

14            Do you recall Nicole Noel being there?

15       A.   I don't.

16       Q.   On the morning of September 24th, 2008, is it

17   your understanding that Adrian Thomas was in the custody

18   of the Rensselaer County jail?

19       A.   Yes.

20       Q.   Did you know, through Nicole Noel or any other

21   source, that CPS -- the CPS caseworker Jasper Estaris,

22   or just generally that CPS caseworkers were going to

23   speak with him in the jail that morning?
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 1                      (Adam Mason - by Mr. Klein)

 2       A.   I never knew that was going to happen.

 3       Q.   Did you come to learn that it happened?

 4       A.   I did.

 5       Q.   When did you come to learn that?

 6       A.   I was at a -- Detective Fountain regularly

 7   attended child fatality meetings.               And I was invited to

 8   attend a child fatality meeting because of my role in

 9   this case.      And he was there.

10            That's the first time that I remember meeting

11   him, and that's the first time I remember hearing that

12   he went and interviewed Adrian Thomas, and that Adrian

13   had told him an account similar to what he told me about

14

15
     what happened with M

         Q.
                                 -       .

              What was your reaction when he told you that?

16            Were you surprised that they went in to speak

17   with someone who was arraigned and represented by

18   counsel, or did you have any other response or reaction?

19                   MS. PECK:       Object to the form.

20                   MR. PERKINS:        Object to the form.

21                   You can answer.

22                   THE WITNESS:        I don't know that I was

23            surprised, but I wasn't -- I didn't know
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 1                      (Adam Mason - by Mr. Klein)

 2            that that was happening.            So I guess it was

 3            something unexpected but not like, wow.

 4   BY MR. KLEIN:

 5       Q.   At this child fatality meeting, did Jasper

 6   introduce himself to you informally to tell you, by the

 7   way, I spoke with him and got this statement, or was it

 8   somehow introduced during the formal meeting?

 9       A.   It was introduced during the meeting.

10       Q.   And that's the meeting -- is that the meeting

11   reflected in your follow-up that took place on 11/05/08?

12       A.   I believe I attended two of those meetings.                       So I

13   don't know if there was one in October.                 I think -- did

14   I document that I attended two of those meetings?

15       Q.   I'll double-check.          We're going to take it

16   sequentially and we'll get to the meeting.

17            But I guess, just in terms of when he told you

18   that or when he -- he didn't tell just you that.                      He

19   told the participants at the meeting that that happened?

20       A.   That's correct.

21       Q.   When he announced that, what, if anything else,

22   did you learn about it?

23            Did you obtain any copies of any notes from the
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 1                      (Adam Mason - by Mr. Klein)

 2   meeting or any written statements by Jasper Estaris or

 3   anyone else from CPS about that meeting?

 4       A.   I did not.

 5       Q.   You just were informed of it and took it in.

 6       A.   Yes.

 7       Q.   Do you know or did you ever come to learn whether

 8   Jasper Estaris worked off of the written statement that

 9   you gave to Nicole Noel on September 23rd during his

10   interview with Adrian Thomas on September 24th?

11       A.   I have no idea.

12       Q.   Did you know that, on September 24th, 2008, when

13   Adrian Thomas had been arraigned and was in the jail,

14   that he could not be interviewed without counsel

15   present, had you wanted to interview him?

16                   MR. PERKINS:        Objection.

17                   You can answer, though.

18                   MS. PECK:       Objection to form.

19                   THE WITNESS:        Yes.

20   BY MR. KLEIN:

21       Q.   Had you been made aware by CPS that they were

22   going to interview him in the jail at that time after

23   his arraignment, would you have had any response to
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 1                      (Adam Mason - by Mr. Klein)

 2   that, or would you -- is it their decision to do what

 3   they want to do?

 4                   MS. PECK:       Object to form.

 5                   MR. PERKINS:        Objection to form.

 6                   You can answer.

 7                   THE WITNESS:        I honestly don't know.            I

 8            know that I would not have interviewed him

 9            at that point in time with the counsel

10            attached.

11   BY MR. KLEIN:

12       Q.   Well, based on your training and experience, what

13   was your determination about the propriety of what they

14   did?

15                   MR. PERKINS:        Objection.

16                   MS. PECK:       Objection.

17                   MS. CALABRESE:        Objection.

18   BY MR. KLEIN:

19       Q.   Were you aware of any problem with it or did you

20   think it was okay or you didn't know?

21                   MS. PECK:       Objection.

22                   MR. PERKINS:        Objection to the form.

23                   You can answer, if you can.
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 1                      (Adam Mason - by Mr. Klein)

 2                   THE WITNESS:        Well, I would see that

 3            their investigation was not necessarily

 4            criminal in nature.          So, them interviewing

 5            him, I would assume there would be different

 6            rules that apply.

 7   BY MR. KLEIN:

 8       Q.   You're not aware of them, though, are you?

 9       A.   I'm not.

10       Q.   Other than hearing Jasper relay the interview

11   during the child fatality meeting that you described,

12   did you ever discuss or hear him discuss his interview

13   with Adrian at any other time?

14       A.   No.

15       Q.   Did you ever ask CPS for a copy of their work

16   product from that meeting for your file?

17       A.   No.

18       Q.   In the file we have it doesn't appear to be part

19   of it, correct?

20       A.   Correct.

21       Q.   Did you ever see any of the work product from

22   that meeting?

23       A.   No.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   Was there a particular reason why it wasn't

 3   requested?

 4       A.   I have no reason why.

 5       Q.   Like, in other words, after Adrian Thomas was

 6   arraigned -- indicted and arraigned, you continued to

 7   obtain documents that would be added to the file, like

 8   the autopsy report, correct?

 9       A.   Yes.

10       Q.   That was months later, correct?

11       A.   Yes.

12       Q.   So, was there any particular reason why the work

13   product of CPS was not shared with you?

14            Did they tell you you couldn't have it, or did

15   you just never ask?

16       A.   I didn't ask for it and I have no reason why I

17   didn't ask for it.

18       Q.   Who else was present at that child fatality

19   meeting that you can recall, other than Fountain?

20       A.   I don't recall who else was there.

21       Q.   Were any representatives from the district

22   attorney's office present?

23       A.   I don't recall.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.    CPS would have been there.

 3       A.    Yes.

 4       Q.    Other than Mr. Estaris, do you recall who else

 5   from CPS was there?

 6       A.    I do not.

 7       Q.    Was Ms. Noel there?

 8       A.    I don't recall.

 9       Q.    So, you don't recall meeting with Nicole Noel to

10   give her the statement on the 23rd?

11       A.    I don't recall that meeting.

12       Q.    So you don't recall whether Jasper Estaris was

13   present or anyone else with her when you transmitted the

14   documents?

15       A.    I do not.

16       Q.    You certainly don't know who she shared it with,

17   do you?

18       A.    I do not.

19       Q.    Did you ever make copies of the disks of the

20   video statements one and two for CPS?

21                    MR. PERKINS:       Object to the form.

22                    I don't understand the question.              Can

23            you just help me out?           Disks taken by who?
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 1                      (Adam Mason - by Mr. Klein)

 2                   MS. PECK:       Yeah.    I think we just

 3            identified disks one and two.

 4                   MR. KLEIN:       Well, we did.        We're

 5            referring to interview one as interview one.

 6                   MR. PERKINS:        I understand the

 7            question.      Got it.

 8                   THE WITNESS:        I understand.

 9                   I don't recall ever making copies of

10            the disks for CPS.

11   BY MR. KLEIN:

12       Q.   And in your report, your follow-up, you refer to

13   burning copies of disks, correct?

14       A.   Yes.

15       Q.   So on the 24th, other than what we've said, you

16   obtained the 911 call and you copied the disks for the

17   DA's office, correct?

18       A.   Yes.

19       Q.   Then do you recall anything else that transpired

20   on the 24th?

21       A.   I do not.

22       Q.   Then on the 25th was the autopsy, correct?

23       A.   Yes.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.    So, can you walk us through the autopsy and what,

 3   if any, role you had at the autopsy?

 4       A.    I don't specifically remember.

 5       Q.    How many autopsies have you been to in your

 6   career?

 7       A.    A few.

 8       Q.    As of September 25th, 2008, was this the first or

 9   had you been to some before?

10       A.    I had been to some before.

11       Q.    What do you recall about this autopsy, if

12   anything, in terms of any discussions with Sikirica,

13   district attorney's office, or anyone else?

14       A.    I don't recall anything specific to this

15   particular autopsy.

16             In general, autopsies that I've attended, I

17   recall the process and how it would have gone, and that

18   people attending would stand there while Dr. Sikirica

19   performs the autopsy.           There wasn't a lot of discussion,

20   typically, in the autopsies that I've attended.                       I don't

21   recall anything specific about this one.

22       Q.    In terms of the process of these autopsies, was

23   there any type of pre-autopsy briefing or meeting
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 1                      (Adam Mason - by Mr. Klein)

 2   amongst the members, or just even you and Sikirica

 3   alone, where you would share any paperwork, the

 4   interviews, results, or anything else?

 5       A.   No meetings that I attended with anyone regarding

 6   that autopsy.

 7       Q.   He did have paperwork from the police department

 8   in his file.

 9            Would you have given that to him?

10       A.   So, I may have brought that with me and handed it

11   over to him at the autopsy.

12       Q.   Was there any discussion with him that your

13   belief was that this was trauma due to Mr. Thomas

14   slamming him to the ground, or he's in custody on

15   attempted murder, any allegations to any slams, or

16   anything to that effect?

17       A.   I don't recall having any conversation with

18   Dr. Sikirica at all.

19       Q.   But is it -- would it be typical for you to have

20   an introductory conversation with him to know if he

21   knows the nature of the charges that are pending?

22                   MS. PECK:       Objection to form.

23                   MR. PERKINS:        You can answer.
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 1                      (Adam Mason - by Mr. Klein)

 2                   THE WITNESS:        I don't know that I've

 3            done that on a regular basis and I don't

 4            recall doing it for this case.

 5   BY MR. KLEIN:

 6       Q.   Well, in other words, do you know whether

 7   Dr. Sikirica knew whether this child was in a car

 8   accident or whether he was suspected to be the victim of

 9   a traumatic assault?

10       A.   I don't know that -- I'm assuming, prior to the

11   autopsy, he would have gained that information somehow.

12   I don't specifically remember telling him.                   I don't

13   specifically remember handing over the paperwork to him.

14   But I assume that he would have reviewed the paperwork

15   or he would have gained that knowledge at some point

16   prior to the autopsy.

17       Q.   In your file is a sign-in sheet for the autopsy,

18   and you're there, along with David Farley from the --

19   he's the evidence technician from Troy PD, correct?

20       A.   Yes.

21       Q.   Is the person who took the photos?

22       A.   Yes.

23       Q.   And Jennifer Alibosek is there.
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 1                      (Adam Mason - by Mr. Klein)

 2            She's with the medical examiner's office, right?

 3       A.   Yes.

 4       Q.   Do you know her?

 5       A.   I know who she is.

 6       Q.   So, she works for Dr. Sikirica?

 7       A.   Yes.

 8       Q.   And Christa Book was there, correct?

 9       A.   Yes.

10       Q.   Did you ever work with Christa Book on any cases

11   prior to the Thomas case?

12       A.   Yes.

13       Q.   Did you get along with her?

14       A.   Yes.

15       Q.   The actual district attorney, Richard McNally,

16   was there, as well?

17       A.   Yes.

18       Q.   Did you know him before this case, as well?

19       A.   Yes.

20       Q.   And yourself, right?

21       A.   Yes.

22       Q.   Do you know if you had met with or spoken with

23   Christa, Mr. McNally, or anyone else from the DA's
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 1                      (Adam Mason - by Mr. Klein)

 2   office prior to this meeting?

 3       A.   If I had met with them regarding the autopsy?

 4       Q.   Regarding Adrian Thomas and that he's being

 5   charged with attempted murder and now that the baby's

 6   dead that it's going to be upgraded to a murder?

 7       A.   I don't remember specifically, but I imagine I

 8   would have met with them prior.

 9       Q.   So even though that's not in your follow-up

10   reports, it's more likely right than wrong that you

11   would have spoken with them at that point?

12       A.   Yes.

13       Q.   Do you recall whether they had any discussion

14   with Dr. Sikirica, either before, during, or after the

15   autopsy, about the medical findings or any charges in

16   the case or both?

17       A.   I don't recall being aware of that.

18       Q.   So, do you recall anything that was discussed,

19   whether it's specific or general, during the autopsy?

20       A.   I don't.

21       Q.   Did you take notes during the autopsy?

22       A.   No.

23       Q.   In terms of the photos that were taken, who
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 1                      (Adam Mason - by Mr. Klein)

 2   directed the photos?

 3            Like, did David Farley appear to know what to

 4   photograph, or would Dr. Sikirica tell him to take

 5   certain photos at certain angles?

 6       A.   I think it was a combination of both.                 Officer

 7   Farley had been at autopsies in the past and I believe

 8   he was familiar with the routine.               But I believe,

 9   typically, there are points in time when Dr. Sikirica

10   would say, okay, come over and take a picture of this,

11   as well.

12       Q.   So, do you remember anything from the autopsy

13   other than the autopsy procedure itself?

14       A.   I don't.

15       Q.   Do you remember Dr. Sikirica commenting, in

16   realtime or at the conclusion of the meeting or at any

17   point, to you what his observations were or if he made

18   any determinations?

19       A.   I remember that he couldn't conduct a full

20   examination on the brain because it was liquified, and

21   he had to put it -- I don't know if it was in a freezer

22   or where he had to put it, until it became solid.                     I

23   remember that specific detail for some reason.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   Do you remember, did he explain why the brain had

 3   become liquified?

 4       A.   I don't recall.

 5       Q.   What else do you remember, if anything?

 6       A.   I don't recall anything else specific.

 7       Q.   How about generally?

 8       A.   I believe that he would have dictated certain

 9   things throughout the autopsy, but I just can't recall

10   anything that he would have said.

11       Q.   Do you recall anything else that you did on the

12   26th as it relates to this case?

13       A.   I do not.

14       Q.   On the 26th, at around 10:00 a.m., you testified

15   in the grand jury, correct?

16       A.   Yes.

17       Q.   Prior to going to the grand jury, was there some

18   meeting with the DA's office to prepare you for your

19   testimony?

20       A.   Yes.

21       Q.   Was it that morning or would it have been on a

22   prior day?

23       A.   I don't recall.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   Do you recall anything else that transpired on

 3   the 26th?

 4       A.   I do not.

 5       Q.   The next note in your follow-up is the 29th.

 6            You went to the New York State Police lab with

 7   Officer Farley, ADA Glass, and ADA Book to attend a

 8   meeting regarding the evidence.

 9            Do you recall that?

10       A.   I know that it happened.            I don't recall exactly

11   the conversations there.

12       Q.   Because your follow-up, your DB follow-up,

13   doesn't have anything between 9/26 and 9/29, does that

14   suggest that there were no investigatory actions taken

15   within those days?

16       A.   It does.

17       Q.   Are you aware of any?

18       A.   I'm not.

19       Q.   So what was the nature -- describe the meeting at

20   the New York State crime lab.

21       A.   Whenever there's a case like this where there's

22   evidence that needs to be submitted to a lab, to a state

23   police lab, we would have a meeting prior to discuss
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 1                          (Adam Mason - by Mr. Klein)

 2       with them what tests may be able to be run and what

 3       evidence they would like as opposed to me sitting there

 4       and making these decisions on my own and just sending

 5       them a bunch of evidence.

 6                We have a meeting to discuss that and then they

 7       help us come to a conclusion as to what we should send

 8       and what test we should be looking for.

 9           Q.   And do you remember what the results of that

10       meeting were?

11           A.   I don't.

12           Q.   And then around 3:00 p.m. you went to Birch

13

14
         Street with Officer Farley to collect DNA from M

         Thomas' twin,
                            -       ?
                                                                       -
15           A.   Yes.

16           Q.   What was the reason for that?

17           A.   I remember at some point there was some

18       confusion, perhaps, with the birth certificates, that

19

20
         M
             - --
         actually
                      and         , who were twins, and maybe it was

                                who had been killed as opposed to

21

22
         M
             -    .

                  I don't know all the details about it.              I just

23       remember that I needed to do that, something pertaining


     I
                                                                               -
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 1                      (Adam Mason - by Mr. Klein)

 2   to that.

 3       Q.   To dot the Is and cross the Ts to confirm that

 4   you had the right victim identified?

 5       A.   Yes.

 6       Q.   Then it says you obtained the supporting

 7   deposition from Ms. Moore -- who is apparently the

 8   foster parent?

 9       A.   The mother of the foster parent.

10       Q.   What was the reason for that supporting

11   deposition?

12       A.   Just to show that she was giving us permission to

13   take the sample.

14       Q.   Then it says on that date, the 29th of September,

15   that you made a copy of the Thomas interviews and to be

16   turned over to the DA's office.

17            You said that a few days earlier in your notes?

18   Did you have to make a second set?

19       A.   Second set because the defense attorney needed to

20   have a copy, as well.

21       Q.   Do you recall anything else on the 29th?

22       A.   I do not.

23       Q.   Then on the 30th of September, at around 4:15,
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 1                      (Adam Mason - by Mr. Klein)

 2   you went to meet with -- to obtain a DNA specimen from

 3   Wilahemina Hicks.

 4            What was the purpose of that?

 5       A.   I don't recall.

 6       Q.   Did anything ever come from that as it related to

 7   this investigation?

 8       A.   Nothing that I can remember.

 9       Q.   In terms of the serology testing, the testing --

10   there was testing done of the blankets and sheets and

11   such, was there any of that evidence that bore any fruit

12   as related to the murder charges against Adrian Thomas?

13       A.   I don't remember.

14       Q.   Not that you recall?

15       A.   Right.

16       Q.   Other than Adrian Thomas' statement, and

17   particularly in the last four pages and what was said

18   related to that in the last four pages of the written

19   statement, was there anything else -- any other

20   evidence, any physical evidence, linking him to the

21   crime?

22                   MR. PERKINS:        Object to the form.

23                   You can answer.
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 1                      (Adam Mason - by Mr. Klein)

 2   BY MR. KLEIN:

 3       Q.    Or the alleged crime.

 4       A.    Not that I can remember.

 5       Q.    In other words, there were no fingerprints or

 6   blood work or anything else that incriminated

 7   Mr. Thomas, to your knowledge?

 8       A.    Correct.

 9       Q.    On October -- it says on that date you set up an

10   interview with Ms. Hicks for Friday, October 3rd, at

11   5:30, and that was setting up the interview that you

12   recorded, correct?

13       A.    Yes.

14       Q.    Now, what was the reason for having her come to

15   the office?

16             Was it so that it could be videotaped?

17       A.    Yes.

18       Q.    When you set it up with her on the 30th for

19   Friday, October 3rd, did you let her know that you

20   wanted it to be done there so it could be videotaped or

21   just that you prefer that it be more generally in the

22   office?

23       A.    I don't recall if I gave her that information or
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 1                      (Adam Mason - by Mr. Klein)

 2   not.

 3       Q.   Would you typically tell the subject of an

 4   interview that it was going to be recorded?

 5       A.   No.

 6       Q.   In September of 2008, was the camera obvious to

 7   anyone walking into the room, or was it hidden somehow?

 8       A.   It was obvious.

 9       Q.   Do you remember anything else you did on

10   September 30th in this case?

11       A.   I do not.

12       Q.   On October 1st, at around 11:00 p.m., you went to

13   Samaritan with Detective Sergeant Epstein to interview

14   and depose Katrina Kardos, who was the attending doctor

15   when the victim was brought in on 9/21.

16            Did someone tell you that this would be helpful,

17   or did you do this for some reason on your own

18   initiative?

19       A.   I think I had tried to talk to her previously,

20   but because of her busy schedule that was the first

21   opportunity that I had to talk to her.

22       Q.   And did you obtain a deposition from her?

23       A.   Yes.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   And that's in your file?

 3       A.   Yes.

 4       Q.   Other than what's in the deposition, do you

 5   recall anything about that meeting?

 6       A.   No.

 7       Q.   October 2nd of 2008 it says, at 10:00 a.m., you

 8   met with ADA Art Glass to review the disks and you

 9   turned over copies to them.

10            Do you recall that, or just that it's in your

11   notes?

12       A.   Yes.     I recall.

13       Q.   Did you watch all approximately nine hours of

14   video with him?

15       A.   I don't believe so.

16       Q.   What did you watch with him?

17       A.   I don't recall how much of what we watched.

18       Q.   Portions of it, though?

19       A.   Yes.

20       Q.   At any time during your meetings with Art Glass,

21   Christa Book, or anyone else, did anyone express any

22   concerns over the potential for the inadmissibility of

23   the videos?
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 1                      (Adam Mason - by Mr. Klein)

 2       A.   No.

 3       Q.   Did anyone from the district attorney's office

 4   ever, whether you agreed with it or not, critique your

 5   methods of interrogation?

 6       A.   No.

 7       Q.   Then, on October 3rd of 2008, your follow-up says

 8   that, at 5:30 p.m., you and Detective Fountain

 9   interviewed Wilahemina.

10            That's the video interview that we discussed

11   before, correct?

12       A.   Yes.

13       Q.   Sergeant Colaneri was in the room watching it --

14   monitoring it in the office?

15       A.   I don't recall if he was there.

16       Q.   Today he -- what's the word -- authenticated some

17   notes where he wrote down times.

18            Do you have any reason to doubt that he was

19   there?

20       A.   I do not.

21       Q.   Then there's just a few more notes in your

22   follow-up, and then we'll get into the interviews.

23            October 8th of '08, at 8:30 in the morning, that
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 1                      (Adam Mason - by Mr. Klein)

 2   was the first child fatality team meeting.                   And at noon,

 3   you then went to Sam's Club to speak with Adrian Thomas'

 4   friend.

 5             So, is it fair to say that the meeting at the

 6   county child fatality team lasted -- ended at some point

 7   between 8:30 and noon?

 8       A.    Yes.

 9       Q.    How long was it, do you know?

10             Was it an hour, two hours?

11       A.    I don't recall.

12       Q.    Is it your belief that this was the meeting where

13   you learned about Jasper Estaris' interview with Adrian,

14   or may it have been the second, you just don't know?

15       A.    I believe it was that meeting.

16       Q.    What else do you recall learning during that

17   meeting, if anything?

18       A.    I don't recall anything else.

19       Q.    And then you interviewed -- you went to Sam's

20   Club, which then lead you to the home address of

21   Mr. Thomas' friend Mr. Maynard, correct?

22       A.    Yes.

23       Q.    You interviewed him, correct?
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 1                      (Adam Mason - by Mr. Klein)

 2       A.    Yes.

 3       Q.    Did you get a deposition from him or just spoke

 4   with him orally?

 5       A.    I believe we just spoke to him.

 6       Q.    He had nothing helpful regarding this

 7   investigation, correct?

 8       A.    Yes.

 9       Q.    Then you spoke to some other individual, an Ian

10   Lapierre.

11             Who is that?

12       A.    I don't recall.

13       Q.    This was at Cedar Park Apartments.

14             Is he someone in the development where the

15   Thomases lived?

16       A.    Neighbors, I believe.

17       Q.    He told you that he never heard or observed any

18   inappropriate behavior associated with the Hicks-Thomas

19   family, correct?

20       A.    Yes.

21       Q.    Do you remember anything else he said in more

22   detail?

23       A.    I don't.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   You spoke with Deb Groesback also in that

 3   development.

 4            Do you recall speaking to her?

 5       A.   I don't specifically recall a conversation, but I

 6   recall reviewing it in my notes.

 7       Q.   So she didn't corroborate anything related to

 8   Adrian Thomas' criminal case, right?

 9       A.   Correct.

10       Q.   She just would hear babies crying?

11       A.   Yes.

12       Q.   But that in and of itself was not suspicious.

13       A.   Correct.

14       Q.   Then you spoke with the office manager, who told

15   you she was aware of a complaint, but then no further

16   action was taken on it, correct?

17       A.   Yes.

18       Q.   Did you ever look into that complaint?

19       A.   No.

20       Q.   Did Ms. Noel ever speak to you about that

21   complaint?

22            Do you know if it was a complaint pending with

23   CPS?
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 1                      (Adam Mason - by Mr. Klein)

 2       A.   I recall having conversations with her about

 3   interactions they had previously, but I don't recall if

 4   it was that specific one or which one it was.

 5       Q.   Would that have been discussed at the child

 6   fatality meeting as well?

 7       A.   No.    That was discussed, I believe, prior to

 8   that.

 9       Q.   The next investigatory note in your follow-up is

10   six days later, October 14th of 2008.

11            Is it more likely than not that from the 8th

12   until the 14th there were no additional steps taken by

13   you in this case?

14       A.   Yes.

15       Q.   On that day Ms. Hicks came in to speak with you

16   to show you a letter that she got from Adrian, and that

17   was put in your file, correct?

18       A.   Yes.

19       Q.   That letter was not incriminatory or useful to

20   this investigation, was it?

21       A.   No.

22       Q.   It just says that he wanted her to come see him?

23       A.   Yes.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   That he didn't do anything wrong?

 3       A.   Yes.

 4       Q.   Then, on the 21st of October, you copied the

 5   Hicks disk and gave that to the DA's office.

 6       A.   Yes.

 7       Q.   Did you watch it with them or just gave it to

 8   them?

 9       A.   I believe I just gave it to them.

10       Q.   And then, on November 5th, you and Detective

11   Fountain attended a second county child fatality team

12   meeting, correct?

13       A.   Yes.

14       Q.   Do you recall anything that was said or that

15   transpired at that meeting?

16       A.   No.

17       Q.   Did you learn anything new at that meeting that

18   you didn't know previously?

19       A.   No.

20       Q.   Then, at around 12:30 that day, you provided

21   copies of the disk of the Wilahemina Hicks interview to

22   ADA Art Glass.

23            What was the reason for a second copy?                  Was that
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 1                      (Adam Mason - by Mr. Klein)

 2   so it could be provided to the defense, or did you not

 3   know?

 4       A.    If I did two copies, that would have been the

 5   reason.     Yes.

 6       Q.    In terms of documents and court appearances, prep

 7   meetings, and things like that, are those things that

 8   would typically go in your DB follow-ups, or not

 9   necessarily?

10       A.    Not always.

11       Q.    In this case they did not?

12       A.    Yes.     That's correct.

13       Q.    Is it true that in this case your DB follow-ups

14   end at 11/05/08, or might there be additional DB

15   follow-ups that I do not have?

16       A.    I don't have an additional follow-up.                That's it.

17                    (Recess taken.)

18   BY MR. KLEIN:

19       Q.    Sitting here today, do you know that Rensselaer

20   County CPS has a practice of interviewing individuals

21   who may have criminal charges on them relating to child

22   abuse allegations while charges are pending?

23       A.    I don't know what their practices are.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   I'm not asking if you know what their practices

 3   are.

 4            I'm asking:       Through your experience, extensive

 5   experience in the police department as a detective, as a

 6   captain, handling these types of cases, have you come to

 7   learn that, in addition to the Thomas case, in other

 8   cases as well where there are related criminal and CPS

 9   child abuse charges, that they will go in and speak with

10   someone who has already been charged criminally?

11       A.   I'm not aware of any specific instances where

12   that had happened other than this case.                 It doesn't mean

13   it doesn't happen.         I'm just not aware of a specific

14   time where it happened other than that.

15       Q.   In the grand jury, you were asked a question by a

16   grand juror, and you indicated that you didn't have the

17   intention of concluding the interview after the first

18   six pages, I believe.

19            And that, when the questioning continued,

20   additional facts came out, and they were -- I think you

21   said, quote, a little different from what he initially

22   wrote, correct?

23       A.   Yes.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   That refers just generally to the -- can we call

 3   it pre-Colaneri, introducing the slamming and

 4   post-Colaneri?

 5            So what you're referring to there is the

 6   post-Colaneri part of the interview?

 7       A.   Yes.

 8       Q.   When you say things were a little different from

 9   what was initially written -- because you wrote it, not

10   Adrian, correct?

11       A.   I did write it.

12       Q.   Things were initially a little different, that

13   refers to the fact that what was initially written, in

14   your view, was not incriminating.

15            And once the slamming was introduced, it became

16   incriminating?

17       A.   Just the fact pattern in general was different.

18       Q.   It became, in your mind, more consistent with the

19

20
     injuries that M

     had?
                          -        -- you were aware that M
                                                                    -
21       A.   I don't know that I ever thought, okay, this is

22   more consistent or not.           What I meant by different was

23   that it was different.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   Well, is it true that you said that you didn't

 3   have probable cause before Colaneri was in the room?

 4       A.   Correct.

 5       Q.   So it's different in that you felt that there

 6   was -- the facts after Colaneri came in gave you

 7   probable cause, the additional facts?

 8       A.   I don't know that's when I meant, but yes.                   That

 9   is the fact that the second part of that statement

10   provided probable cause for an arrest, whereas the first

11   part didn't.

12       Q.   In your view.

13       A.   Yes.

14       Q.   During the first interview with Adrian Thomas,

15   you would agree that you told him repeatedly that he was

16   not under arrest?

17       A.   Yes.

18       Q.   And that he would not be arrested.

19       A.   Yes.

20       Q.   I believe you said at the pretrial Huntley

21   hearing that there came a time when the actions went

22   from accidental to criminal, and that's when probable

23   cause was established.
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 1                      (Adam Mason - by Mr. Klein)

 2            Do you recall generally saying that?

 3       A.   Yes.

 4       Q.   And that would be after Colaneri -- the

 5   post-Colaneri part of the interview, correct?

 6       A.   Yes.

 7       Q.   And the first time you heard Adrian Thomas say

 8

 9
     that he slammed M
                            -        , in sum and substance, out of

     frustration was five hours into the interview,

10   approximately, correct?

11       A.   Yes.

12       Q.   There was some questions in the hearing about

13

14
     whether you knew that M
                                     -        Thomas had been sick since

     the Friday before the Sunday that he woke up

15   unresponsive.

16            Did you know that at the time you were

17   questioning Adrian?

18       A.   I don't recall exactly when I became aware of

19   that.    He may have told me that the first night.

20   Wilahemina may have mentioned it at the hospital.                     I

21   don't recall exactly when I became aware of that.

22            Are you asking me if I was aware of it during the

23   second interview with him?
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   Yes.

 3            In other words, did you speak with any -- were

 4   you aware of it and, relatedly, did you speak with any

 5   doctors about the cause of fevers and vomiting, fevers

 6   and diarrhea?

 7       A.   I did not.

 8                    MS. CALABRESE:       Objection.

 9                    MR. PERKINS:       You can answer.

10                    THE WITNESS:       I did not speak to any

11            doctors about that, but either Adrian or

12            Wilahemina, I believe, had informed me that

13

14
              M
                  -      had a fever at some point between

              Friday and Sunday.

15   BY MR. KLEIN:

16       Q.   Did you ever inquire with any doctors as to

17   whether there was some nontrauma possible cause of

18   death?

19       A.   I did not.

20       Q.   Now, from the time of the first interview to the

21   time of the second interview, you learned that the

22   initial report of there being a skull fracture was

23   incorrect?
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 1                      (Adam Mason - by Mr. Klein)

 2       A.    Yes.

 3       Q.    Who initially reported or informed you that there

 4   was a report of a skull fracture?

 5             Did you get that firsthand from a doctor or a

 6   nurse, or was that conveyed to you by Fountain?

 7       A.    I don't recall.

 8       Q.    Was it Dr. Edge that was incorrect or someone

 9   else?

10       A.    I don't recall.

11       Q.    But whoever said it was incorrect.

12       A.    Ultimately, if someone said that, that was

13   incorrect.

14       Q.    So, did you ever question any of the other

15   medical findings, even if you didn't write it in any of

16   your reports, when you heard that the skull fracture was

17   incorrect, or you went with the suspicion that this was

18   a nonaccidental trauma?

19       A.    No.    The reason that the skull fracture was

20   deemed in the first place was because the skull plates

21   were not connected because the skull hadn't completely

22   formed.     So, there was separation in between the skull.

23             So, when I was told that it wasn't actually a
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 1                      (Adam Mason - by Mr. Klein)

 2   skull fracture, I didn't look at that as a reason for me

 3   to further inquire about other things that I was told.

 4       Q.   When CPS was removing the kids and you were

 5

 6
     there, do you recall that Adrian told you that M

     had fever and diarrhea for two days?
                                                                       -
 7       A.   At some point I became aware of that.                 I don't

 8   know if it was at that point.              It could have been.

 9       Q.   The story that he told you at the apartment was,

10   in sum and substance, that he was woken up by his wife

11   at 8:30 to 9:00 a.m. because the child was not

12   responding.       He sprinkled water on the face.              911 was

13   call.    The wife performed CPR.            And an ambulance

14   arrived.

15            Was that generally his explanation of what he

16   knew about this incident?

17       A.   Yes.

18       Q.   He was consistently telling you that he didn't

19   know anything else until different scenarios were

20   introduced by you or Detective Fountain in the first

21   interview, correct?

22                   MR. PERKINS:        Object to the form.

23                   You can answer.
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 1                      (Adam Mason - by Mr. Klein)

 2                   THE WITNESS:        Yes.

 3   BY MR. KLEIN:

 4       Q.   Even into the second interview, he continually

 5   would say he didn't do anything or he just -- all he

 6   knew was that he woke up and the child wasn't responding

 7   during the second interview, and only said other things

 8   when additional scenarios were introduced into the

 9   conversation by you and/or Colaneri, correct?

10       A.   Yes.

11       Q.   You would agree that, when you went to the

12   apartment on September 21st of 2008, it was in very good

13   condition?

14       A.   Yes.

15       Q.   Especially for a house that had several children

16   in it?

17       A.   Yes.

18       Q.   And was very small?

19       A.   Yes.

20

21
         Q.   When you saw M
                                  -        Thomas -- I think I asked

     you a little bit about this, so forgive me if I did.

22            But when you saw him in the hospital -- I believe

23   it was on the 22nd, after Adrian went to the Samaritan
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 1                      (Adam Mason - by Mr. Klein)

 2   and you went home and you came back.                You went to see

 3

 4
     M
         -
         A.
              ?

              Yes.

 5       Q.   You approached the bed and Colaneri was there, as

 6   well as your brother?

 7            Do you have a brother or a relative in the

 8   department?

 9       A.   I have a relative.          It's not my brother.

10       Q.   What's his name?

11       A.   Mark.

12       Q.   What is Mark's relation to you?

13       A.   He's my uncle.

14       Q.   Was he there, as well?

15       A.   Yes.

16       Q.   Did Colaneri have any role in this investigation

17   other than what's been discussed, being present for the

18   seven-plus hour interview number two, coming into the

19   interview at some point, and being part of your

20   determination to arrest Mr. Thomas.

21            Did he have any other role in this case that you

22   can recall?

23                    MR. PERKINS:       Object to the form.
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 1                      (Adam Mason - by Mr. Klein)

 2                   You can answer.

 3                   THE WITNESS:        No.

 4   BY MR. KLEIN:

 5       Q.   Did Mark Mason have any role in this

 6   investigation other than just physically appearing at

 7   the hospital with Colaneri on that day, the 22nd?

 8       A.   No.

 9

10
         Q.   When you saw M
                                  -
     you were about six feet away from him?
                                           in the hospital that day,



11       A.   Yes.

12       Q.   You didn't see any bruises, right?

13       A.   Correct.

14       Q.   Any gashes?

15       A.   Correct.

16       Q.   Any bloody or matted hair or anything that was

17   outward signs of a trauma, correct?

18       A.   Correct.

19       Q.   During interview one, you told Adrian repeatedly

20   that he'd have to be arrested if he did anything on

21   purpose and -- correct?

22       A.   Yes.

23       Q.   You told him several times that if it was an
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 1                      (Adam Mason - by Mr. Klein)

 2   accident he wasn't going to be arrested?

 3       A.   Yes.

 4       Q.   In your view, this was an appropriate tactic, and

 5   it's still your view today, correct?

 6       A.   Yes.

 7       Q.   You've testified in court.

 8            And would it be your testimony today that lies

 9   during interrogations are in all circumstances okay?

10                   MR. PERKINS:        Object to the form.

11                   You can answer.

12                   THE WITNESS:        I don't know about in all

13            circumstances.

14   BY MR. KLEIN:

15       Q.   Are there any lies that would have been

16   inappropriate in the Thomas case hypothetically that you

17   can think of?

18            In other words, you made many lies in interview

19   one and interview two, correct?

20       A.   Yes.

21       Q.   Perhaps dozens of lies, correct?

22       A.   Yes.

23       Q.   Your testimony is that you lied because you were
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 1                      (Adam Mason - by Mr. Klein)

 2   trying to find the truth, correct?

 3       A.   Yes.

 4       Q.   Based on your experience and/or any training that

 5   you've had, are there any -- and your experience, are

 6   there any lies that would have crossed the line in your

 7   view?

 8                    MR. PERKINS:       Object to the form.

 9                    You can answer, if you can.

10                    MS. CALABRESE:       Objection.

11                    THE WITNESS:       I don't believe that any

12            of the lies that I told during the

13            interviews of Adrian Thomas crossed the

14            line.

15                    Is there a line?        Yes.     But I can't

16            give you an example of where that line is.

17   BY MR. KLEIN:

18       Q.   When we talk about a line, is that a line of

19   what's consistent with due process and voluntariness?

20            When you say "line", what are you referring to?

21                    MR. PERKINS:       Object to the form.

22                    You introduced the word "line."

23   BY MR. KLEIN:
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   Well, I'm asking -- would you agree that there's

 3   a line of appropriate conduct as it relates to lying and

 4   interrogations?

 5       A.   What I'm saying is that, I don't believe that I

 6   can tell any lie that anyone could come up with and it

 7   would be acceptable.          I don't know an example of what

 8   that would be.        And I don't even know that if you

 9   provided me with an example if I could tell you, under

10   that given circumstance, if it's acceptable or not

11   because we're speaking of hypotheticals here.

12            What I'm saying is that, during that interview, I

13   don't believe that I crossed the line, and I believe

14   that every lie that I told him was appropriate and

15   acceptable.

16       Q.   One of the lies was that if he continued to deny

17   responsibility for his child's injury his wife would be

18   arrested and not allowed to be at his child's bedside.

19            Is that in sum and substance one of the lies?

20       A.   Yes.

21       Q.   Would you agree that you told him approximately

22   21 times that his disclosure of the circumstances under

23   which he injured M
                              -        was essential to assist doctors
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 1                      (Adam Mason - by Mr. Klein)

 2   attempting to save the child's life?

 3       A.   Yes.

 4       Q.   Was that a lie that, sitting here today, you

 5   still believe is appropriate?

 6       A.   Yes.

 7       Q.   Assuring him that whatever happened was an

 8   accident and could be helped if he disclosed all was

 9   another related lie, correct?

10       A.   Yes.

11       Q.   And you stand by that tactic today, correct?

12       A.   Yes.

13       Q.   Did you know going into this interview, interview

14   one and then interview two, that certain threats would

15   cross the line of legality and might result in a

16   confession not being valid?

17       A.   I had a general understanding that there are

18   things that you're allowed to do and things that you

19   weren't allowed to do.

20       Q.   So that's what I want to know.

21            What was that understanding that you had going

22   into this case?

23                   MR. PERKINS:        Object to the form.
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 1                      (Adam Mason - by Mr. Klein)

 2                   You can answer, if you can.

 3                   THE WITNESS:        I don't know exactly

 4            what -- I can't give an example.               I just

 5            know that, if there was something that came

 6            across my mind that was inappropriate or

 7            illegal, I guess illegal, I would recognize

 8            this is illegal.         Please don't do that.              But

 9            I can't give you an example because it

10            didn't happen.

11   BY MR. KLEIN:

12       Q.   Did you know going into this interview that you

13   were not allowed to use highly coercive deceptions?

14                   MR. PERKINS:        Object to the form.

15                   You can answer.

16                   THE WITNESS:        I don't know what that

17            word is.      I've never heard of that word

18            before, "highly coercive confessions."                  I

19            know that deception is allowed.              I know that

20            coercion is not allowed.            So, you're

21            crossing the two.

22   BY MR. KLEIN:

23       Q.   So if deception crosses the line to coercion, is
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 1                      (Adam Mason - by Mr. Klein)

 2   that a line that you knew going into this you shouldn't

 3   cross --

 4       A.   I knew that I should not cross the line of

 5   coercion.      Yes.

 6       Q.   Would you agree that coercion, in sum and

 7   substance, is when you nullify an individual's judgment

 8   so that they say something against their own will?

 9                   MR. PERKINS:        Object to the form.

10                   You can answer, if you can.

11                   THE WITNESS:        I don't know the

12            definition of coercion.

13   BY MR. KLEIN:

14       Q.   What is your understanding of what coercion is,

15   just from all of your experience as a law enforcement

16   officer?

17            In other words, is it coercion when you get

18   someone to say something whether it's true or false?

19       A.   I guess if you force someone to do something,

20   then that's coercion.

21       Q.   Did you know going into this interview that if

22   you forced a confession from someone, whether it was

23   true or false, that would be wrong from a legal
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 1                      (Adam Mason - by Mr. Klein)

 2   perspective?

 3                   MR. PERKINS:        Object to form.

 4                   You can answer, if you can.

 5                   THE WITNESS:        Yes.

 6   BY MR. KLEIN:

 7       Q.   Do you believe that by telling Adrian repeatedly

 8   that what he did was an accident and he wouldn't be

 9   charged, do you believe that that contributed to

10   cajoling him into telling you things that ultimately

11   were part of his statements?

12                   MR. PERKINS:        Object to the form.

13                   You can answer, if you understand it.

14                   THE WITNESS:        I don't necessarily

15            understand it.

16                   By me repeatedly telling him that it

17            was an accident --

18                   MR. KLEIN:       And he wouldn't be charged.

19                   THE WITNESS:        -- and that he wouldn't

20            be charged, I had a thought that he knew

21            more than he was telling us.             And I didn't

22            know if it was accidental.            I didn't know if

23            it was criminal.         And my thought was that,
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 1                      (Adam Mason - by Mr. Klein)

 2            if I could minimize it, that it was an

 3            accident, that it would make it easier for

 4            him to talk about regardless of what it was.

 5   BY MR. KLEIN:

 6       Q.   Was it your sense during the interviews that he

 7   relied on your assurances that he wouldn't be charged?

 8       A.   Yes.

 9       Q.   And I believe the court said that it was

10   approximately 67 times that he was told that what he did

11   to his son was an accident.

12            Does that sound approximately accurate to you?

13       A.   Yes.

14       Q.   And 14 times that he would not be arrested.

15            Does that sound about right?

16       A.   Yes.

17       Q.   And eight times that he would be going home.

18            Do you believe that to be approximately true?

19       A.   Yes.

20       Q.   And do you agree that those representations that

21   you made to him that we just discussed were instrumental

22   in Adrian making some of the damaging admissions that

23   you got from him?
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 1                      (Adam Mason - by Mr. Klein)

 2       A.   I don't know what was on his mind and why he

 3   ultimately did what he did.

 4       Q.   Well, did you think if you didn't go through that

 5   whole process of 67 times it was an accident, 14 times

 6   you won't be arrested, eight times you'll go home, do

 7   you think you would have gotten from him what you got

 8   from him?

 9                   MR. PERKINS:        Object to the form.

10                   You can answer.

11                   THE WITNESS:        Well, obviously, if I

12            stopped the interview prior to those things

13            happening, prior to him telling me what he

14            did, then that would have never happened.

15                   MR. KLEIN:       Right.

16   BY MR. KLEIN:

17       Q.   So, just so we're clear on this record, you made

18   a conscious choice to undertake each of those tactics.

19       A.   Yes.

20       Q.   There was no one -- you didn't have an earbud or

21   no one was telling you, from a supervisor or anyone

22   else, go back and keep telling him he's going to go

23   home, he's got nothing to worry about, that was your own
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 1                      (Adam Mason - by Mr. Klein)

 2   independent judgment.

 3       A.   That's correct.

 4       Q.   And to be clear, those tactics were not based on

 5   any training that you got.            That was just your own

 6   instinct as to the best way to extract a confession out

 7   of Mr. Thomas.

 8                   MR. PERKINS:        Object to the form.

 9                   You can answer.

10                   THE WITNESS:        That's not accurate.

11            That was what I deemed to be the best way to

12            get the truth out of Mr. Thomas.

13                   MR. KLEIN:       Got it.

14   BY MR. KLEIN:

15       Q.   But it was based on your own instinct.                  It wasn't

16   based on anything that anyone taught you.

17                   MR. PERKINS:        Object to the form.

18                   You can answer.

19                   THE WITNESS:        That's correct.

20   BY MR. KLEIN:

21       Q.   Have you ever learned of any tactics or

22   techniques or representations in your training that

23   could raise a substantial risk of false incrimination by
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 1                      (Adam Mason - by Mr. Klein)

 2   someone you're interviewing, or you're not aware of any?

 3                    MR. PERKINS:       Object to the form.

 4   BY MR. KLEIN:

 5       Q.   Do you think that there are any tactics that

 6   could, in your experience and training, that could lead

 7   to a false incrimination?

 8                    MR. PERKINS:       Like hitting someone with

 9            a phonebook?

10   BY MR. KLEIN:

11       Q.   Well, have you been taught of any not involving

12   physical force in terms of interrogation techniques?

13                    MR. PERKINS:       Objection.

14                    THE WITNESS:       I've never been taught

15            not to involve physical force.              I don't

16            know.     I think, if I was in training and

17            somebody told me that I'm not allowed to

18            strike someone to get a confession, I would

19            laugh at them.

20                    MR. KLEIN:      Well, that's why I'm

21            telling your counsel I'm not asking you

22            that.     I'm not suggesting any physical

23            things.
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 1                      (Adam Mason - by Mr. Klein)

 2   BY MR. KLEIN:

 3       Q.   Are there nonphysical techniques, verbal tactics,

 4   interrogation tactics, that you've learned could elicit

 5   or raise a substantial risk of false incrimination?

 6       A.   I have not.

 7       Q.   And you didn't know of any then and you still

 8   don't know of any today?

 9       A.   Correct.

10       Q.   So basically, in your view, you could say to a

11   suspect in an interrogation anything that you feel is

12   appropriate to get out the truth.

13                   MR. PERKINS:        Object to the form.

14                   You can answer.

15                   THE WITNESS:        I feel as though that I

16            can say what is legal, but I don't believe

17            that I can say whatever I want.

18   BY MR. KLEIN:

19       Q.   But in terms of making representations and false

20   assurances, are you aware of any limits on your ability

21   to do that as it relates to conducting a lawful

22   interrogation?

23                   MR. PERKINS:        Object to the form.
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 1                      (Adam Mason - by Mr. Klein)

 2                   You can answer.

 3                   THE WITNESS:        I can't give you an

 4            example.      So I don't know because I have not

 5            participated in anything as to what you're

 6            speaking.

 7   BY MR. KLEIN:

 8       Q.   Other than this case where the court found that

 9   it was wrong, right?

10       A.   After a jury and another court found that it was

11   appropriate and myself.           Yes.

12       Q.   Other than participating in any type of situation

13   where the conduct of the interrogation raised a

14   substantial risk of false incrimination, have you been

15   informed through training or by colleagues of any

16   scenarios where that could occur?

17                   MR. PERKINS:        Object to the form.

18                   MR. KLEIN:       Even if you didn't --

19                   THE WITNESS:        Where what could occur?

20                   MR. KLEIN:       Where there would be a

21            substantial risk of false incrimination

22            based on false assurances and

23            misrepresentations.
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 1                      (Adam Mason - by Mr. Klein)

 2                   THE WITNESS:        I don't recall receiving

 3            any training or participating in any

 4            conversations where someone has told me this

 5            is something that would result in a false

 6            confession.

 7   BY MR. KLEIN:

 8       Q.   But it was clear to you, though, in September of

 9   2008, that you couldn't cross the line into conduct that

10   would coerce a false confession, correct?

11       A.   Yes.

12       Q.   Did you know that when you became a police

13   officer, was it something you learned when you became a

14   detective, or just you've always known that?

15       A.   I think it's commonsense.

16       Q.   The court said that there wasn't a single

17   inculpatory fact in Mr. Thomas' confession that was not

18   suggested to him.

19            Do you agree with that?

20                   MR. PERKINS:        Object to the form.

21                   You can answer.

22                   Can you define "inculpatory" just for

23            the purposes of the question?
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 1                      (Adam Mason - by Mr. Klein)

 2                   MR. KLEIN:       Yeah.     Facts where he

 3            accepted that --

 4                   MS. CALABRESE:         Facts which suggested

 5            he caused the crime as opposed to exculpate.

 6                   MR. PERKINS it's just a little --

 7                   MR. KLEIN:       If you don't understand

 8            that's okay, but I think --

 9                   MR. PERKINS:        No.    I do understand.

10                   MR. KLEIN:       So then let the witness --

11                   MR. PERKINS:        If you understand it, you

12            can answer.

13                   THE WITNESS:        So, outside of the

14            confession?

15                   MR. KLEIN:       No.

16   BY MR. KLEIN:

17       Q.   In the course of Mr. Thomas' statements, verbally

18   and what were written down, would you agree that the

19   inculpatory words that he stated, either that he wrote

20   and he signed or that he stated, were suggested to him?

21                   MR. PERKINS:        Object to the form.

22                   You can answer.

23                   THE WITNESS:        I agree that what we've
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 1                      (Adam Mason - by Mr. Klein)

 2            gone over multiple times, of him slamming

 3

 4
              M
                  -      under the bed, was something that

              was suggested to him by myself and Sergeant

 5            Colaneri, if that's what you're asking.

 6   BY MR. KLEIN:

 7       Q.   The facts that he stated that, in your view, gave

 8   probable cause, were all facts that were suggested to

 9   him by either you or Colaneri, correct?

10                    MS. CALABRESE:       Object to the form.

11                    MR. PERKINS:       Objection to the form.

12                    You can answer.

13                    THE WITNESS:       Well, I think there were

14            more details provided.           It wasn't just that

15

16
              I slammed M

              period.
                             -         on the bed three times,

                          There were more details surrounding

17            his account of how it happened.

18                    So I think that, in conjunction with

19            those additional details, made the story

20            very believable to select a probable cause.

21   BY MR. KLEIN:

22       Q.   But those details weren't given until the

23   inculpatory fact was first suggested to him, correct?
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 1                      (Adam Mason - by Mr. Klein)

 2       A.   Yes.

 3       Q.   Even during the first interview, it was Fountain

 4

 5
     and yourself that first introduced the idea of M

     falling on a bed, correct?
                                                                       -
 6       A.   Yes.

 7       Q.   Adrian never said that before or adopted that

 8   until you and/or Fountain said that first, correct?

 9       A.   Yes.

10       Q.   It was at your request and pursuant to your

11   instructions that Mr. Thomas demonstrated how he

12

13
     supposedly threw M

         A.   Yes.
                              -        to the ground, correct?



14       Q.   When you told him not to sugarcoat it, it was

15   only then that Adrian demonstrated a harder throw,

16   correct?

17       A.   Yes.

18       Q.   Would you agree that Adrian did tell you during

19   the interview that he wanted to be with his son?

20       A.   Yes.

21       Q.   Given that he wasn't in custody -- did he tell

22   you that before he was, in your view, going to be taken

23   into custody?
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 1                      (Adam Mason - by Mr. Klein)

 2       A.   Yes.

 3       Q.   Is there a particular reason why you didn't let

 4   him be with his son given the dire circumstances?

 5       A.   No.

 6       Q.   Did it cross your mind to let him see his son and

 7   then perhaps get him back to your office to continue the

 8   interrogation?

 9       A.   No.

10       Q.   Did you think letting him see his son would

11   somehow impede the flow of your interrogation or somehow

12   affect the investigation?

13       A.   No.

14       Q.   In retrospect, do you think it would have been

15   the right thing to do, to let him see his son in his

16   last moments?

17                   MS. PECK:       Objection to form.

18                   MR. PERKINS:        Objection to form.

19                   You can answer.

20                   THE WITNESS:        He made the one-to-one

21            comment.      Had he said, I'd like to get up

22            now and go out, would you drive me to

23            hospital, we would have done that.
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 1                      (Adam Mason - by Mr. Klein)

 2                   And in retrospect, that maybe him

 3            seeing his son in that condition would have

 4            lead to a confession much earlier than after

 5            seven hours.

 6   BY MR. KLEIN:

 7       Q.   Or not.

 8                   MR. PERKINS:        Object to the form.

 9                   MS. PECK:       Objection.

10   BY MR. KLEIN:

11       Q.   I mean, you're speculating, right?

12       A.   As are you.

13       Q.   Well, I'm not answering questions now.                  I'm

14   asking you.

15            You're speculating when you suggest that.

16                   MR. PERKINS:        Is that a question?

17                   MR. KLEIN:       Yes, it is a question.

18                   THE WITNESS:        I am.

19   BY MR. KLEIN:

20       Q.   Do you recall, during the second interview, that

21   you prayed with Adrian, and you went over and touched

22   his back and prayed with him?

23       A.   Yes.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   Is that a tactic or technique that, looking back

 3   11 years, you still stand by as an appropriate

 4   technique?

 5       A.   Yes.

 6

 7
         Q.   You were praying for M
                                             -       's recovery even

     though at the time you prayed with Adrian you knew that

 8

 9
     M
         -      was dead.

                     MS. CALABRESE:        Objection, facts not in

10            evidence.

11                   MR. PERKINS:        Object to form.

12                   MS. CALABRESE:        The child was not dead.

13            He was not dead when they did this

14            interview.

15   BY MR. KLEIN:

16       Q.   You prayed with Adrian during the second

17   interview.

18       A.   I believe I used the word "miracle."                 I prayed

19   for a miracle.

20       Q.   He was brain dead at that point.

21       A.   There had been one brain death examination

22   performed.      Yes.

23       Q.   Right, and he was being kept alive for organ
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 1                      (Adam Mason - by Mr. Klein)

 2   donation at that point?

 3       A.   That's not correct.

 4                   MR. PERKINS:        Object to the form.

 5                   THE WITNESS:        There was a second brain

 6            death contamination that was going to be

 7            conducted still.

 8   BY MR. KLEIN:

 9       Q.   But you knew he was not likely to be

10   resuscitated.

11       A.   I'm not a doctor.          I can't answer that question.

12       Q.   I think you've testified that you believe he

13   wasn't, though.

14       A.   I didn't believe he was going to survive, but we

15   prayed for a miracle.           And that would have been a

16   miracle had he survived.

17       Q.   When you told Adrian that Dr. Edge said that a

18   child couldn't have caused this, only an adult could

19   have caused this, that was a lie, correct?

20       A.   Yes.

21       Q.   When Fountain suggested in interview one, you put

22   him down in the crib half awake and could have whacked

23   his head off the edge of the crib, that was the first
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 1                      (Adam Mason - by Mr. Klein)

 2

 3
     mention of M
                      -
     the crib from Fountain.
                               Thomas possibly hitting his head on



 4             That didn't come from Adrian, correct?

 5       A.    Yes.

 6

 7
         Q.    And you made the first mention of M

     slammed on the bed, not Adrian?
                                                               -           being



 8       A.    Yes.

 9       Q.    In statement one, I think it's clear that not

10   everything is in that statement just like in statement

11   two, in particular Adrian's repeated denial of

12   responsibility.

13             You didn't put that in the statements, correct?

14       A.    Correct.

15       Q.    Any particular reason why not?

16       A.    No.

17       Q.    Is there, like, some sort of technique or

18   practice where you only put in what's potentially bad,

19   or are you required to put in the witness's full

20   statement?

21       A.    There's no requirement.           The video spoke for

22   itself.     And I think that what was documented on paper

23   were aspects that could have potentially put M
                                                                    -
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 1                      (Adam Mason - by Mr. Klein)

 2   where he was.

 3       Q.   Now, when Adrian came out of Samaritan and you

 4   met him at the psych hospital, is it true that you

 5   didn't inquire what his diagnosis was at discharge?

 6       A.   Correct.

 7       Q.   You didn't inquire whether he had been on any

 8   type of medication that might impair his ability to

 9   speak to you in a truthful and accurate way?

10       A.   I did not inquire.          No.

11       Q.   Did you ever come to learn, even up until today,

12   whether he was given any type of tranquilizer or

13   medication at the hospital?

14       A.   No.

15       Q.   Did you have any obligation to understand his

16   mental state going into the interview after he came out

17   of the psych hospital, or it wasn't a concern of yours

18   at the time?

19       A.   My assumption was that, since he was released,

20   that his mental state was okay.

21       Q.   I believe you testified that, when you picked him

22   up at the psych hospital and asked him to go with you,

23   he was a free man, correct?
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 1                      (Adam Mason - by Mr. Klein)

 2       A.   Yes.

 3       Q.   Had he said to you then, Detective, I really need

 4   to go home and get some sleep, can I speak to you

 5   tomorrow morning, would you have let him?

 6       A.   Yes.

 7       Q.   When you brought him back to the police station

 8   after Samaritan, I think you said he wasn't in police

 9   custody very clearly, right?

10       A.   Yes.

11       Q.   You did Miranda, what, as a prophylactic measure?

12            Miranda's required if there's a custodial

13   interrogation, correct?

14       A.   Correct.

15       Q.   And so, the reason you did it was what, in the

16   event his statement became -- in the event the interview

17   became custodial?

18       A.   In the event the interview did exactly what

19   happened, because it's at the point where he confessed

20

21
     to slamming M
                       -        on the bed.       I would have had to

     stop the interview and Mirandize him at that point.

22            And I didn't want to interrupt the flow of the

23   interview, so I did it as a precautionary measure at the
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 1                      (Adam Mason - by Mr. Klein)

 2   beginning.

 3       Q.    Did you ever say to Adrian words that were, in

 4   sum and substance, to the effect of, if you try to leave

 5   we'll charge you with escape?

 6       A.    No.

 7       Q.    Did any of your colleagues say that to him?

 8       A.    Not in my presence.

 9       Q.    During the first interview, you had your firearm

10   on you, correct?

11       A.    Yes.

12       Q.    During the second one, you put it in a locker,

13   correct?

14       A.    Yes.

15       Q.    Was the reason because you anticipated there to

16   be -- what was the reason for checking your gun in the

17   locker?

18       A.    It's something that I typically do during an

19   interview, and I think it was just something that

20   slipped my mind on the first time.

21       Q.    The reason why you typically do it during an

22   interview is just for -- is it for comfort reasons or is

23   it because for the integrity of the statement, should it
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     r

 1                          (Adam Mason - by Mr. Klein)

 2        become needed in court, you want to show that it's a

 3        less coercive environment, or is there some other

 4        reason?

 5           A.     No.    It's a safety issue, that I didn't want to

 6        have a firearm in there and I didn't know where things

 7        were going to go.

 8           Q.     When you told Adrian that you just called the

 9        doctors again and gave them that updated information

10        that Adrian told you, quote, so hopefully they could use

11

12
          that to try to keep M

          that was a lie, correct?
                                    -      alive and to save his life,



13           A.     Yes.

14           Q.     You didn't call any doctors during the first

15        interview or during the second interview, correct?

16           A.     Correct.

17           Q.     When you told Adrian that the doctors needed

18

19
          every bit of information so they could work on M

          you knew that M
                               -     was going to die at that point.
                                                                       -    ,



20           A.     I knew that it was not likely that he was going

21        to survive.

22           Q.     In your discussion with Wilahemina Hicks, she

23        never said that she heard any strange breathing in the

     I,
                                                                                -
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 1                      (Adam Mason - by Mr. Klein)

 2   middle of Saturday night going into Sunday morning; is

 3   that correct?

 4       A.   I don't recall if she said that.

 5       Q.   I'll represent that I believe you testified to

 6   that in your hearing.

 7            Do you have any reason to doubt that?

 8       A.   I don't.

 9       Q.   During the second interview, you knew at that

10   point that it was approaching 24 hours since Adrian was

11   first in the precinct, correct, to give his first

12   interview?

13       A.   It was, but I didn't think to myself it was

14   approaching 24 hours, but yeah.              That's an accurate

15   statement that it was approaching 24 hours.

16       Q.   To your knowledge, he hadn't seen his wife since

17

18
     she left shortly after M

         A.   Yes.
                                      -         went to the hospital?



19       Q.   Even though he wasn't asking you to see his wife

20

21
     or M
            -
     them, correct?
                   , nothing prevented you from letting him see



22       A.   That's correct.

23       Q.   There was a point in the interview when Adrian
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 1                      (Adam Mason - by Mr. Klein)

 2

 3
     asked you if M

     M
         -              -         was moving, and you told him that

                was breathing, and what struck you the most was

 4   the absence of a skull fracture, so maybe this isn't as

 5   bad as they thought.

 6            That was a lie, correct?

 7       A.   Yes.

 8       Q.   It wasn't a lie that the absence of a skull

 9   fracture, but it was a lie that maybe it wasn't as bad

10

11
     as they thought, because M

     that point, correct?
                                         -        was likely to die at



12       A.   Yes.

13       Q.   Do you recall testifying at the Huntley hearing

14   that -- with regard to Colaneri's statement that he had

15   some sort of medical background, do you recall

16   testifying that he might have been a nurse at one point?

17       A.   I recall the defense attorney asking me if he was

18   a doctor or if he was a nurse, and it struck me at that

19   point that I don't know what he did before he became a

20   police officer.        So, he might have been a nurse.                I

21   don't know.

22       Q.   So you don't know.

23       A.   I don't know.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   In terms of the timing of, like, 24 hours that we

 3   talked about, about five or six hours into the interview

 4   that started at around 6:00 p.m. on Monday, the 22nd,

 5   was around getting close to midnight, correct?

 6       A.   Yes.

 7       Q.   And so, that was the time -- 24 hours from when

 8   Adrian first spoke with you the night before was around

 9   the time that Colaneri came into the room, correct?

10       A.   Yes.

11       Q.   During the first interview, when Adrian had

12   stated in sum and substance that he agreed to take the

13   fall for his wife, that didn't give you probable cause,

14   correct?

15       A.   Correct.

16       Q.   You had been having a discussion with him and

17   posited to him that it had to be either him or his wife,

18   and that, if he didn't step up, his wife would go to

19   jail, correct?

20       A.   In sum and substance, yes.

21       Q.   But he didn't admit to any conduct that was

22

23
     consistent with M

     correct?
                            -        's injuries at that point,
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 1                      (Adam Mason - by Mr. Klein)

 2       A.   Correct.

 3       Q.   During your testimony at the Huntley hearing, you

 4   used the word "complexion," I believe.                 The complexion

 5   of the interview changed when Thomas told him, he,

 6   quote, slammed his child down on the bed following an

 7   argument with his wife.

 8            That refers to the post-Colaneri part of the

 9   interview, correct?

10       A.   Yes.

11       Q.   Is a fair explanation for the term "complexion"

12   that it went from accidental to a criminal situation?

13       A.   Yes.

14       Q.   Did you learn during the trial or at some point

15   after the investigation was closed that Dr. Edge and the

16

17
     other doctors were treating M

     a bacterial infection?
                                             -         for sepsis, which is



18                   MR. PERKINS:        Object to the form.

19                   You can answer.

20                   THE WITNESS:        I didn't know they were

21            treating him for sepsis.

22   BY MR. KLEIN:

23       Q.   Never learned that?
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 1                      (Adam Mason - by Mr. Klein)

 2       A.   No.

 3       Q.   At some point did you come to learn that?

 4       A.   I knew that sepsis was something that had been

 5   talked about amongst people involved in the case, but I

 6   didn't know that he was being treated for sepsis.                      And

 7   to this moment, I don't know that that was happening.

 8       Q.   Well, do you know, from your knowledge of the

 9   evidence at the criminal trial, for instance,

10   Dr. Sikirica confirmed that there was sepsis even though

11   it wasn't in the autopsy?

12       A.   I know that the defense --

13                   MS. CALABRESE:        Objection.

14                   MR. KLEIN:       You can answer.

15                   MS. CALABRESE:        No. I want to make a

16            record.     That statement is not correct.              The

17

18
              fact that M

              the autopsy.
                             -         had sepsis was included in



19                   MR. KLEIN:       The word "sepsis" is not in

20            the autopsy.

21                   You can answer.

22                   You can just say "objection."              That's

23            it.
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 1                      (Adam Mason - by Mr. Klein)

 2                    MS. PECK:      Join the objection.

 3                    MR. KLEIN:      Can you read back the

 4            question?

 5                    THE WITNESS:       I don't need the question

 6            read back unless you do.

 7                    I know that the defense's position was

 8

 9
              that M
                       -        died of sepsis.

              anyone ever making me aware that M
                                                       I don't recall


                                                             -        was

10            actually being treated for sepsis.               I don't

11            recall that.

12   BY MR. KLEIN:

13       Q.   The autopsy refers to one of the diagnoses as

14   blood culture positive for streptococcus pneumonia on

15   initial presentation to hospital 9/21/08.

16            Do you recall any conversation about that aspect

17

18
     of M

         A.
            - No.
                    's medical condition?



19       Q.   Back to the interview.

20            Is it true that you don't lie to everyone that

21   you interrogate?

22       A.   Yes.

23       Q.   I rattled off some numbers earlier that you
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 1                      (Adam Mason - by Mr. Klein)

 2   acknowledged were approximately the number of certain

 3   statements that were lies, correct?

 4       A.   Yes.

 5       Q.   But would you agree that you don't even know how

 6   many lies you told in these interviews?

 7       A.   Correct.

 8       Q.   There was so many, correct?

 9       A.   Yes.

10       Q.   One of the lies was, we're trying to keep your

11   son alive right now.          Every bit of information is very

12   important right now.          They are trying to keep your son

13   alive.

14            That's one of the lies, correct?

15       A.   Yes.

16       Q.   We want to give the doctors every bit of

17   information we can to make sure your son stays alive and

18   that he better find that memory for his son's life?

19            That was a lie, correct?

20                   MR. PERKINS:        Object to the form.

21                   You can answer.

22                   THE WITNESS:        Yes.

23   BY MR. KLEIN:
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   When you told Adrian it wasn't about criminal

 3   charges, but instead it was about getting info to the

 4

 5
     doctors so they could try to save M

     was a lie.
                                                     -       's life, that



 6                   MR. PERKINS:        Object to the form.

 7                   You can answer.

 8                   THE WITNESS:        Yes.

 9   BY MR. KLEIN:

10       Q.   You lied during the second interview when you

11   said you called the hospital.              I think we talked about

12   doctors, but you also said you called the hospital,

13   correct?

14                   MR. PERKINS:        Object to the form.

15                   You can answer.

16                   THE WITNESS:        Yes.

17                   MR. PERKINS:        Off the record.

18                   (Discussion held off the record.)

19   BY MR. KLEIN:

20       Q.   You told Adrian that the doctors told you the

21   baby had healthy lungs, and that was a lie, correct?

22       A.   Yes.

23       Q.   When you told him that his wife said he must have
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 1                      (Adam Mason - by Mr. Klein)

 2   slammed the baby last night, and that she had signed

 3   paper -- withdrawn.

 4            You told him that his wife said he must have

 5   slammed the baby last night, correct?

 6       A.   Yes.

 7       Q.   And that was a lie, correct?

 8       A.   Yes.

 9       Q.   You told him that she had already signed

10   paperwork to that effect.

11            That was not true, correct?

12       A.   Correct.

13       Q.   During all three interviews of Ms. Hicks, Sunday

14   the 21st, the deposition on the 23rd, and apparently in

15   October, you would agree that she never said that Adrian

16   slammed him to a bed or did anything to him that was

17   incriminating.

18       A.   Correct.

19       Q.   You lied to Adrian about Wilahemina Hicks's

20   statements in both the first and second interview,

21   correct?

22       A.   I don't recall.

23       Q.   In the second interview you told Thomas that
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 1                      (Adam Mason - by Mr. Klein)

 2   Wilahemina said that he had thrown the baby in the crib

 3   like a rag doll.

 4            Do you recall that?

 5       A.   Yes.

 6       Q.   That was a lie, correct?

 7       A.   Yes.

 8       Q.   You had told Adrian, when you left the room to

 9   tape changes, you lied to him by saying things like the

10   chief wanted to talk to you, correct?

11       A.   Correct.

12       Q.   I'm showing you Defendant's Exhibit B.                  This is

13   the ten-page statement from the interview two.

14            Can you identify in this exhibit where the first

15   part of the interview ended, the pre-Colaneri section,

16   and where --

17       A.   It's on page 6, about a third of the way down,

18   where his initials appear.

19       Q.   The initials are on the left margin?

20       A.   The right side, as well.

21       Q.   On the right side, as well.

22            So, where it starts saying, there are three other

23   times, and goes on for the rest of the page, is that the
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 1                      (Adam Mason - by Mr. Klein)

 2   additional information that came out after Colaneri

 3   entered the room and then left?

 4       A.   Yes.

 5                   MS. CALABRESE:        Can you please mark

 6            with a highlighter or something so we know

 7            what we're talking about when we get the

 8            transcript?

 9   BY MR. KLEIN:

10       Q.   I'm going to give you a yellow highlighter and

11   ask if you can just maybe mark the two sets of initials.

12   One set of initials marks the end of the first section

13   and the second one marks the beginning of the second

14   section.

15            Is that fair to say?

16       A.   Yes, it is.

17                   MR. KLEIN:       I just want him to identify

18            whose notes are what.

19                   Can we get a copy of this?

20                   MR. PERKINS:        Sure.

21                   (Discussion held off the record.)

22                   (Thomas Exhibit 20 marked for

23            identification.)
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 1                        (Adam Mason - by Mr. Klein)

 2                     MR. KLEIN:     Why don't you look at the

 3             marked exhibit.

 4   BY MR. KLEIN:

 5       Q.     Captain Mason, I'm showing you what's been marked

 6   as Thomas Exhibit 20.           Looking at the second page, after

 7   the first page says notes.

 8       A.     Uh-huh.

 9       Q.     Do you recognize the handwriting on that page?

10       A.     Yes.

11       Q.     Whose is it?

12       A.     That's mine.

13       Q.     And this is notes about Thomas's friend Dave

14   Maynard, who you went to visit, correct?

15       A.     Yes.

16       Q.     Then the other three names are the people that

17   you visited in the development where the Thomas-Hicks

18   household was located.

19       A.     Yes.

20

21
     -
         Q.     On the next page, where it's starting with "

              ," whose handwriting is that?
                                                                           -
22       A.     That's mine.

23       Q.     And this is just pedigree information of
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 1                      (Adam Mason - by Mr. Klein)

 2   Mr. Thomas' relatives?

 3       A.   Yes.

 4       Q.   Do you know when you took this information down?

 5       A.   I do not.

 6       Q.   Most likely at the hospital Sunday night when you

 7   saw them?

 8       A.   It's possible.

 9       Q.   Then it says, "Melissa/Cedar Park," halfway down.

10            Do you know what that refers to?

11       A.   I do not.

12       Q.   Then it says, "Jennifer Taylor."

13            What does that mean?

14       A.   CP-12-5 -- I don't know who Jennifer Taylor is as

15   we sit here today.         But I know that CP-12-5 likely

16   refers to Corliss Park, which is an apartment complex in

17   Lansingburgh, building 12, apartment 5.

18       Q.   What relevance would that have had here?

19       A.   I honestly don't recall.

20       Q.   And then there's what looks like a phone number?

21       A.   Yes.

22       Q.   And then it says, "Freddie Treece."

23            Do you know who that is?
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 1                      (Adam Mason - by Mr. Klein)

 2       A.   I don't.

 3       Q.   Looking at the next page, starting with Nicole

 4   Noel, do you know whose handwriting is on that page?

 5       A.   That's mine, as well.              Well, the top part is.

 6   The bottom part is not mine.

 7       Q.   Where it says, "Adrian Thomas-being released," is

 8   that the message from the hospital, Samaritan psych,

 9   letting you know that they had called someone in your

10   office who had passed the message to you that he's being

11   released?

12       A.   That's what it appears to be.

13       Q.   The next page Tim Colaneri authenticated as

14   his -- on top -- his notes from the Wilahemina Hicks

15   interview?

16       A.   Yes.

17       Q.   And then at the bottom is the first page of his

18   notes from the second Thomas interview?

19       A.   Yes.

20       Q.   Looking at the next page at the top, where it

21   says, "13 walnut," do you know what that refers to?

22       A.   I believe this is in reference to when I went to

23   get a DNA sample from
                                   -         .
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   And then at the bottom we believe that's Tim

 3   Colaneri's continued notes of the interview.

 4            Does that appear to be right?

 5       A.   Yes.

 6       Q.   Looking at the next page, is that your

 7   handwriting starting with, "Linda Bell"?

 8       A.   Yes.

 9       Q.   This is information about Mr. Thomas' relatives

10   in Georgia?

11       A.   Yes.

12       Q.   Did you get that from Adrian or from someone

13   else, if you know?

14       A.   I don't recall.

15       Q.   You have Ms. Annipearl Black's phone number

16   there.

17            Did you ever speak with her or call her?

18       A.   I don't believe I did.

19       Q.   Next -- I think I mentioned this before -- is a

20   printout of the homicide statute.

21            Is this something you would have had for

22   reference in your file?

23       A.   Yes.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.     Next is a page that says, "Wilahemina Hicks."

 3              Do you know whose handwriting is on this page?

 4       A.     I do not.

 5       Q.     Are these, like, messages that were left for you

 6   by someone in your office?

 7

 8
     -
         A.     The one that says, "Adam, please call

              ," that appears to be a message that was left for
                                                                   -
 9   me in my office.

10       Q.     Dave Merritt?

11       A.     That looks like Detective Fountain's handwriting.

12       Q.     Do you know who that person is?

13       A.     This was in reference when we were looking for

14   one of Adrian Thomas' friends.

15       Q.     Next page.

16              Do you know whose handwriting that is, starting

17   with 45 or 46?

18       A.     That appears to be Detective Fountain's

19   handwriting.

20       Q.     Does this appear to be notes relating to the

21   search for Adrian Thomas' friend who worked at Sam's

22   Club?

23       A.     Yes.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   Next page is a note that you were going through

 3   the file with A. Glass, ADA regarding discovery needs

 4   and you turned over to him the 911 tapes?

 5       A.   Yes.

 6       Q.   Is this your handwriting?

 7       A.   It appears to be Detective Fountain's

 8   handwriting.

 9       Q.   And this is just that, on January 8th of 2009,

10   Detective Fountain met with Art Glass, correct?

11       A.   Yes.

12       Q.   Do you know if you were present at that meeting?

13       A.   I don't recall.

14

15   T
      -
         Q.   Next is the discharge transition plan for M

              from Albany Med.
                                                                           -
16            Are these, like, social worker notes?

17       A.   I don't know.

18       Q.   But these are records that made it into your

19   file.

20       A.   Yes.

21       Q.   Going next to the next handwritten notes,

22   starting with, "homicide meeting," 9/29/08, at NYSPFIC?

23       A.   Forensic investigation center.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   Are these notes that you took or someone else

 3   took?

 4       A.   This looks like a sign-in sheet from that meeting

 5   that we had at the New York State police lab, I believe.

 6       Q.   And it looks like your handwriting is just your

 7   name, the fourth name down on that list, correct?

 8       A.   Yes.

 9       Q.   So, does this confirm that Christa Book and Art

10   Glass were also at the meeting?

11       A.   Yes.

12       Q.   Did the New York State Police have any role in

13   this investigation or prosecution other than their role

14   in testing any evidence?

15       A.   No.

16       Q.   Next page starting with number 4:10.

17            Do you know whose notes these are?

18       A.   These looks like Detective Fountain's notes.

19       Q.   Are these notes from his interviews with -- do

20   you know who they're notes from -- are they notes of his

21   interviews with the kids?

22       A.   I think that, when he was at Start Children's

23   Center, when they interviewed the other kids there,
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 1                      (Adam Mason - by Mr. Klein)

 2   these are the notes from that.

 3       Q.   And is that why he wasn't with you during the

 4   second interview?

 5       A.   Yes.

 6       Q.   Going to the page that says, "CPS, 9/22/08,

 7   Valerie Clayton," at the top.

 8            Do you see that?         Should be the next page with

 9   writing on it.

10       A.   Yes.

11       Q.   Do you know whose notes these are?

12       A.   That appears to be Detective Fountain's notes, as

13   well.

14       Q.   Do these also appear to be from the Start Center?

15       A.   Yes.

16       Q.   Then the next page I have starts with the words,

17   "then Mommy got hurt"?

18       A.   Yes.

19       Q.   Those appear to be continued notes?

20       A.   Yes.

21       Q.   The page starting with 4:28, is that also

22   handwritten notes from Fountain?

23       A.   Yes.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.    And the page starting with 9/22/08, that's also a

 3   Start interview?

 4       A.    Yes.

 5       Q.    Then I have a page that says, "by Investigator

 6   Gonzales."

 7             Do you know who that is?

 8       A.    It was a New York State Police investigator who

 9   worked in the juvenile division, worked with Detective

10   Fountain a lot.        And I don't know if he was assigned to

11   the Start Children's Center or if he was just someone

12   that Detective Fountain had worked with, William

13   Gonzales.

14             So maybe he was present for the...

15       Q.    Start interviews?

16       A.    For those interviews, as well.

17       Q.    Do you know if this is his handwriting, or you

18   don't know?

19       A.    I don't know.

20       Q.    Next page, number 8, "spoke with                            -old

21

22
     -        inconsistencies."

               Is this Detective Fountain again?

23       A.    Yes.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   Next page, "struck ■ for poop," is that

 3   Detective Fountain?

 4       A.   Yes.

 5

 6
         Q.   Next page, 2441, "baby M

     also Detective Fountain?
                                                --       T        ," is that



 7       A.   Yes.

 8       Q.   Next page 930, "Dr. Edge attending."

 9            Do you know whose notes these are?

10       A.   These look like Detective Fountain's notes, as

11   well.

12

13
         Q.

     eight.
              Next page, "
                               -      ," with an arrow and the number



14            Do you know whose notes these are?

15       A.   I do not.

16       Q.   And it's three pages, apparently, correct?

17       A.   Yes.

18       Q.   Actually, it might be -- the pages I have say

19   one, three, and five on the top right, correct?

20       A.   Yes.

21       Q.   I don't know if it was double sided and we don't

22   have them all, but do you recall seeing these in your

23   file?
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 1                      (Adam Mason - by Mr. Klein)

 2       A.   Yes.

 3       Q.   Do you know who gave them to you?

 4       A.   I think that these may have been from an employee

 5   at the Start Children's Center from the same interview

 6   that we just referred to that Detective Fountain was at.

 7       Q.   Did any of the evidence obtained from the Start

 8   Center interviews contribute to the prosecution of

 9   Adrian Thomas, to your knowledge, or was it, I think as

10   you said earlier, solely based on his confession

11   post-Colaneri?

12       A.   Correct.

13       Q.   Correct, it was based on the confession

14   post-Colaneri?

15       A.   Correct.

16       Q.   To your knowledge, anything that was said during

17   the Start interviews --

18                   MS. CALABRESE:        Can you read back the

19            last question, please?

20                   (Question read by reporter.)

21                   MS. CALABRESE:        Two questions.

22                   (Question read by reporter.)

23                   MS. CALABRESE:        Thank you.
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 1                      (Adam Mason - by Mr. Klein)

 2   BY MR. KLEIN:

 3       Q.   And is it your understanding that of the

 4   information that was given or obtained during those

 5   interviews, none of it implicated or incriminated

 6

 7
     Mr. Thomas with murdering M

                     MR. PERKINS:
                                          -         ?

                                         Object to the form.

 8                   You can answer.

 9                   THE WITNESS:        Yes.

10   BY MR. KLEIN:

11       Q.   Since the 2014 acquittal, have you interacted

12   with Dr. Sikirica at all?

13       A.   No.

14       Q.   Haven't had any cases with him?

15       A.   Nothing that I can recall.

16       Q.   Have you had any occasion to speak with him about

17   what happened in this case?

18       A.   I have not.

19

20
         Q.

         A.
              Did you attend M

              No.
                                     --         T       ' funeral?



21       Q.   Do you recall there being some evidence of some

22   blood on the sheets?

23       A.   Yes.
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   Was it ever determined whose blood that was or

 3   where it came from?

 4       A.   I don't recall if it was.

 5       Q.   To your knowledge, that didn't factor into the

 6   investigation here?

 7       A.   To my knowledge, it didn't.

 8       Q.   Captain Mason, have you told us everything you

 9

10
     can recall about the investigation of M

     about the investigation of the death of M
                                                           ----     T

                                                                        T
                                                                            --

                                                                             ?

11       A.   Yes.

12       Q.   Is there anything that you wish to add or change

13   for the record, now that we've talked about it all day

14   and your memory has been jogged a lot?

15       A.   No.

16                   MR. KLEIN:       So I'm just going to make a

17            statement that it appears that there is a

18            video that was discovered today that I don't

19            believe I have and that --

20                   MS. CALABRESE:        You have it now.         I

21            uploaded it to the cloud.

22                   MR. KLEIN:       Right, but subject to the

23            right, which may not be necessary to
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 1                      (Adam Mason - by Mr. Klein)

 2            question about that video, I believe that's

 3            all the questions I have at this point.

 4                   MS. CALABRESE:        I have just a couple

 5            follow-up questions, Captain.

 6   EXAMINATION

 7   BY MS. CALABRESE:

 8       Q.   You've seen the video?

 9       A.   Yes.

10       Q.   And it's accurate?

11       A.   Yes.

12       Q.   There is nothing that occurred off video that was

13   coercive in nature, for example, threats, beatings,

14   things of that nature?

15       A.   Correct.

16       Q.   And you were asked questions about preparing for

17   your testimony with the district attorney's office.

18            Isn't that common practice?

19       A.   Yes.

20       Q.   And you're expected to be prepared for testimony

21   when testifying in criminal court?

22       A.   Yes.

23       Q.   Earlier in your testimony, when asked about your
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 1                   (Adam Mason - by Ms. Calabrese)

 2   working relationship with Officer Fountain or Detective

 3   Fountain, you said that at that time it was a good

 4   working relationship.

 5            Has that changed?

 6                   MR. PERKINS:        Object to the form.

 7                   THE WITNESS:        He's no longer employed

 8            at the City of Troy Police Department.

 9   BY MS. CALABRESE:

10       Q.   So is that what you mean by that statement?

11       A.   Yes.

12       Q.   You were asked questions about press clippings.

13            Would it be unusual for any officer in your

14   department or any department anywhere to follow a case

15   that you were investigated in the press or that has been

16   publicized in the press?

17       A.   Correct.

18       Q.   There's nothing prohibiting you from doing that?

19       A.   Correct.

20       Q.   Then you mentioned you bumped into Wilahemina

21   Hicks approximately three times, two times around or

22   after the 2009 trial where Adrian Thomas was convicted,

23   and then five years ago, after the time that Adrian
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 1                   (Adam Mason - by Ms. Calabrese)

 2   Thomas would have been acquitted.

 3            Did she say anything to you with regard to her

 4   opinion about whether or not it was a fair acquittal or

 5   anything of that nature?

 6       A.   No.

 7       Q.   You were asked a lot of questions about

 8   conversations you may have had with CPS, including

 9   Nicole Noel and the child fatality review team members.

10            At any point in time did you direct any member of

11   child protective services to conduct a portion of your

12   investigation?

13       A.   No.

14       Q.   Did you direct them or tell them that they should

15   go receive a confession from Adrian Thomas?

16       A.   No.

17       Q.   Did you direct them or tell them that they should

18   go and obtain any kind of statement from Adrian Thomas?

19       A.   No.

20       Q.   Did you tell them to do anything relative to

21   their own investigation?

22       A.   No.

23       Q.   Isn't it common that the police department and
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 1                   (Adam Mason - by Ms. Calabrese)

 2   child protective services will liaise in cases involving

 3   child abuse?

 4       A.   Yes.

 5

 6
         Q.   Now, Adrian Thomas testified that, after M

     was removed from the house by ambulance but prior to
                                                                           -
 7   his -- the other children being removed, he cleaned the

 8   house and performed other household duties.

 9            Based upon your how many years of experience?

10       A.   22.

11       Q.   -- 22 years of experience, would you consider

12   that odd?

13                   MR. KLEIN:       Objection.

14   BY MS. CALABRESE:

15       Q.   A situation wherein a child who is gravely ill is

16   removed from the house and the caregiver is tending to

17   household chores, cleaning, cooking, things of that

18   nature, and not attempting to reach out to the sick

19   child.

20                   MR. KLEIN:       Objection.

21                   THE WITNESS:        I don't know if that

22            was -- people behave in different manners.

23            I don't know how I expected him to behave in
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 1                   (Adam Mason - by Ms. Calabrese)

 2            that situation, to be honest with you.

 3   BY MS. CALABRESE:

 4       Q.   When you arrived at the house, the house was

 5   clean, you said?

 6       A.   Yes.     It was.

 7       Q.   You mentioned that after the first -- at the

 8   conclusion of the first video, prior to Adrian Thomas

 9   threatening to jump off a bridge, you were intending to

10   end the conversation with him; is that right?

11       A.   Yes.

12       Q.   Why at that point were you ending the

13   conversation?

14       A.   It had just come to a point where we thought it

15   was a good time to stop.

16       Q.   And that interview would be concluded at that

17   time.

18       A.   Yes.

19       Q.   And then he made the threats and that caused you

20   to intervene?

21       A.   Yes.

22       Q.   You were asked questions about Adrian Thomas'

23   educational level.
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 1                   (Adam Mason - by Ms. Calabrese)

 2            Did he appear to be giving you reasonable

 3   responses to the questions that you asked?

 4       A.   Yes.

 5       Q.   Did he appear to be lucid?

 6       A.   He appeared to be completely normal to me.

 7       Q.   Normal meaning like you and I are here today?

 8       A.   Yes.

 9       Q.   At any point in time did he tell you he didn't

10   understand what was going on?

11       A.   No.

12       Q.   Or that he didn't understand a question you had

13   asked?

14       A.   No.

15       Q.   Or he needed assistance in any form whatsoever in

16   going through the process of having this conversation

17   with you.

18       A.   No.

19       Q.   Did he tell you that he had only a portion of a

20   high school education?

21       A.   No.

22       Q.   Did he tell you that he had special needs of any

23   kind?
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 1                   (Adam Mason - by Ms. Calabrese)

 2       A.   No.

 3       Q.   Did he appear to have special needs of any kind?

 4       A.   No.

 5       Q.   At that point in time in your career, how many

 6   people had you interviewed -- and I'm just asking for a

 7   rough estimate -- hundreds, thousands?                 Victims,

 8   witnesses, and suspects.

 9       A.   Hundreds.

10       Q.   Hundreds.

11            And have you interviewed people who have special

12   needs?

13       A.   Yes.

14       Q.   Do you feel that, based upon your training,

15   education, and experience, you have an ability when

16   talking to somebody to determine if they have what's

17   considered a normal IQ?

18       A.   Yes.

19       Q.   At no point in time did he ask for an attorney?

20       A.   That's correct.

21       Q.   How long was the break between when he was sent

22   to Samaritan and when he was returned to you,

23   approximately?
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 1                   (Adam Mason - by Ms. Calabrese)

 2       A.   16 hours.

 3       Q.   When Adrian testified, he testified that the two

 4   written statements that he gave -- and you've already

 5   seen them today -- that none of those words were his

 6   words, that all of the words contained in that statement

 7   were your words; is that true?

 8       A.   That's not true.

 9       Q.   Who wrote the statement out?

10       A.   I wrote it out.

11       Q.   You wrote it out based upon the brevity -- or the

12   entire conversation that you had with him?

13       A.   Yes.

14       Q.   After you wrote it out, did you give Adrian

15   Thomas an opportunity to read it?

16       A.   Yes.

17       Q.   And did he read it?

18       A.   Yes.

19       Q.   Did you give him an opportunity to make changes,

20   alterations, or deletions to that statement?

21       A.   Yes.

22       Q.   And did he do that?

23       A.   No.
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 1                   (Adam Mason - by Ms. Calabrese)

 2       Q.   Did he initial each portion of the statement, as

 3   is written on the statement, acknowledging what he wrote

 4   in the statement?

 5       A.   Yes.

 6       Q.   Did he sign the statement?

 7       A.   Yes.

 8       Q.   Acknowledging that any false statements made

 9   would be subject to perjury and/or a class A

10   misdemeanor?

11       A.   Yes.

12       Q.   Prior to investigating Adrian Thomas, had you had

13   occasions to investigate other allegations of child

14   abuse or neglect?

15       A.   Yes.

16       Q.   Isn't it common that people who abuse children

17   generally are within the same household?

18       A.   Yes.

19                   MR. KLEIN:       Objection.

20   BY MS. CALABRESE:

21       Q.   And have jobs?

22       A.   Yes.

23                   MR. KLEIN:       Objection.
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 1                   (Adam Mason - by Ms. Calabrese)

 2   BY MS. CALABRESE:

 3       Q.   And conduct themselves like regular citizens?

 4                   MR. KLEIN:       Objection.

 5                   THE WITNESS:        Yes.

 6   BY MS. CALABRESE:

 7       Q.   And those people generally don't have criminal

 8   histories?

 9                   MR. KLEIN:       Objection.

10                   THE WITNESS:        I can't say whether they do or

11   they don't generally have criminal histories.                    Sometimes

12   they do; sometimes they don't.

13       Q.   Have you encountered other suspects of child

14   abuse that did not have criminal histories prior to you

15   interviewing them?

16       A.   I can't recall a specific time, but I have

17   encountered that.

18       Q.   So you can't say it's more so or not whether or

19   not those type of suspects have or don't have a criminal

20   history?

21            And what I mean by that is, generally, when

22   arresting somebody for drugs, they have a rap sheet for

23   similar offenses.         Generally, when investigating people
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 1                    (Adam Mason - by Ms. Calabrese)

 2   who abuse children, don't.

 3             Have you noticed that pattern?

 4       A.    Yes.

 5                    MR. KLEIN:      Objection to the form of

 6            the question.

 7   BY MS. CALABRESE:

 8       Q.    You were asked a lot of questions about

 9   conversations that you had with Nicole Noel.

10             At any point in time did you tell Nicole Noel

11   that she was to play a part or role in your

12   investigation?

13       A.    No.

14       Q.    Did you direct her to do anything?

15       A.    No.

16       Q.    Did you direct her to disclose any information to

17   anybody who may or may not be interviewing Adrian

18   Thomas?

19       A.    No.

20       Q.    Did you tell her to interview Adrian Thomas?

21       A.    No.

22       Q.    Did you ask her for assistance in the course of

23   your investigation?
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 1                    (Adam Mason - by Ms. Calabrese)

 2         A.   No.

 3         Q.   The MDT or multidisciplinary team is, in fact, an

 4   information sharing opportunity; is that right?

 5         A.   I have never heard of that.

 6         Q.   Were you present at the child fatality review

 7   meeting; is that right?

 8              And the child fatality review team you were not

 9   on.

10         A.   I was not on the team.          No.

11         Q.   So, because you investigated the case involving

12

13
     the fatality of M

     present.
                            -        , you were asked to come and



14         A.   Correct.

15         Q.   Was that the only time you presented at the child

16   fatality review team?

17         A.   The two months of September and October were the

18   only two times I've ever attended one of those meetings.

19                    MR. KLEIN:      October and November.

20                    THE WITNESS:       October, November, sorry.

21   BY MS. CALABRESE:

22         Q.   And at those meetings, you provided information

23   based upon what you learned during the course of your
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 1                    (Adam Mason - by Ms. Calabrese)

 2   investigation.

 3       A.   Correct.

 4       Q.   Did anybody direct you to do anything?

 5       A.   No.

 6       Q.   Did anybody tell you to conduct your

 7   investigation one way versus another?

 8       A.   No.

 9       Q.   In one of your reports it mentions burning copies

10   of disks.

11            Isn't it likely that you did that for purposes of

12   a 7-10-30 arraignment?

13       A.   Yes.

14                    MR. KLEIN:      Objection to form.

15   BY MS. CALABRESE:

16       Q.   In one of Sergeant Colaneri's reports he

17   mentioned that, although he did not see any outward sign

18

19
     of trauma on M
                        --        T

     because of, one, the pigment of M
                                          , he couldn't quite be sure


                                                  -        's skin.

20            Is that something that you also noticed?

21       A.   Yes.

22

23
         Q.

         A.
              M

              Yes.
                  -     's skin was darker in color?
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 1                    (Adam Mason - by Ms. Calabrese)

 2       Q.    And wouldn't necessarily show any bruises?

 3       A.    I didn't observe any bruises.

 4       Q.    Sergeant Colaneri also mentioned in the report

 5

 6
     that he did notice that M

     swollen.
                                       -        's eyes and head seemed



 7             Did you notice that?

 8       A.    Yes.

 9       Q.    In more cases than I can recite to you today,

10   isn't it true that deceit in the course of interviewing

11   a suspect is permitted?

12       A.    Yes.

13       Q.    You're permitted to lie to a suspect during the

14   course of your investigation?

15       A.    Yes.

16                    MS. CALABRESE:       No further questions.

17                    Thank you.

18   EXAMINATION

19   BY MS. PECK:

20       Q.    Captain Mason, my name Crystal Peck.                I represent

21   the County of Rensselaer and Dr. Sikirica in this

22   matter.     I only have a couple questions for you.

23             You had mentioned that you were at the autopsy of
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 1                       (Adam Mason - by Ms. Peck)

 2

 3
     M
         -
         A.
                Thomas, correct?

              Yes.

 4       Q.   And other than the autopsy, did you have any

 5   occasion or have you had any occasion to discuss the

 6

 7
     death of M
                    --      T

     Adrian Thomas with Dr. Sikirica?
                                      or the arrest and prosecution of



 8       A.   No.

 9

10
         Q.   When you were at the autopsy of M

     did you in any way tell Dr. Sikirica what you expected
                                                            --        T     ,



11   his findings to be?

12       A.   No.

13       Q.   Did you at any time ask Dr. Sikirica to alter or

14   change what his findings might be?

15       A.   No.

16       Q.   Did Dr. Sikirica ever say to you, what results or

17   what type of findings do you need for conviction?

18       A.   No.

19       Q.   Did you tell Dr. Sikirica at the autopsy or at

20   any other -- or at any time before the autopsy regarding

21

22
     M
         --     T

     injuries to be?
                          what you expected M
                                                    --       T        '



23       A.   No.
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 1                       (Adam Mason - by Ms. Peck)

 2       Q.   Did you in any way conspire or discuss with

 3   Dr. Sikirica that you wanted to target Adrian Thomas for

 4   prosecution in this case?

 5       A.   No.

 6       Q.   Did Dr. Sikirica have any discussions with you

 7   about that?

 8       A.   No.

 9       Q.   You were asked a question by Mr. Klein that -- he

10   had asked you when reviewing your notes, which were

11   Thomas 20, whether the interviews at the Start Center

12   were the basis of the prosecution for Adrian Thomas.

13            Do you recall that question?

14       A.   Yes.

15                   MR. KLEIN:       I asked if they were the

16            basis of any incriminating comment that was

17            charged.

18                   MS. PECK:       Before that you said -- no.

19            It was the one she asked to be read back.

20   BY MS. PECK:

21       Q.   Once you make an arrest in a case, at that point

22   it's up to the district attorney as to whether they're

23   going to actually move forward with the prosecution;
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 1                       (Adam Mason - by Ms. Peck)

 2   isn't that accurate?

 3       A.   That's correct.

 4       Q.   So there may be instances in which you or any

 5   police officer may make an arrest and the district

 6   attorney's office may decide not to prosecute the case

 7   for some reason.

 8       A.   That could happen.          Yes.

 9       Q.   So, when you were asked a question as to whether

10   those statements played a part in the prosecution of

11   Adrian Thomas, was it your understanding that you were

12   answering as to prosecution or arrest?

13       A.   I may have been confused by the question and I'm

14   not certain now how I answered it.

15       Q.   To your knowledge, was the only -- I think you

16   answered that the basis for prosecution was the

17   confession that had been elicited from Adrian Thomas.

18            Do you recall that being your answer?

19       A.   Yes.

20       Q.   In moving forward with the prosecution, though,

21   it's the district attorney that determines what the

22   basis of the prosecution would be.

23            Is that correct or accurate?
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 1                       (Adam Mason - by Ms. Peck)

 2       A.   That's correct.

 3       Q.   So, your role as a police officer would be

 4   determining what evidence is the basis of an arrest, and

 5   then the district attorney's office would look at

 6   everything and determine what evidence they can use to

 7   prosecute a case; is that correct?

 8       A.   Yes.

 9                   MS. PECK:       I have no further questions.

10                   MR. KLEIN:       I have a few.

11                   Do you have any?

12                   MR. PERKINS:        No.

13                   MR. KLEIN:       Just a few follow-ups.

14   FURTHER EXAMINATION

15   BY MR. KLEIN:

16       Q.   Captain Mason, was it clear to you, on

17   September 22nd, 2008, that you could not make assurances

18   and misrepresentations that would lead to a coerced

19   confession?

20                   MR. PERKINS:        Object to the form.

21                   You can answer.

22                   THE WITNESS:        Yes.

23   BY MR. KLEIN:
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 1                      (Adam Mason - by Mr. Klein)

 2       Q.   You agree that Mr. Thomas was innocent until

 3   proven guilty, correct?

 4       A.   Yes.

 5       Q.   Here, in your mind, would you agree he was

 6   presumed innocent until such point that you felt you had

 7   probable cause, correct?

 8       A.   Yes.

 9       Q.   You initiated the prosecution in this case

10   personally via your preparation and submission of the

11   criminal court information to -- was it the city court?

12                   MR. PERKINS:        Object to the form.

13                   MS. PECK:       Object to the form.

14                   MR. PERKINS:        You can answer, if you

15            can.

16                   THE WITNESS:        I initiated the legal

17            process.      I don't know at which point the

18            prosecution began, but I initiated the legal

19            process when I filed the accusatory

20            instrument with the court.

21   BY MR. KLEIN:

22       Q.   Right, you signed it, and to your knowledge, when

23   you say you initiated the legal process that means that
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 1                         (Adam Mason - by Mr. Klein)

 2   starts the court case, generates a docket number, etc.?

 3       A.   Yes.

 4       Q.   With regards to Dr. Sikirica and you having any

 5   type of agreement and such, you knew he would rely on

 6   your investigatory work product in the course of his

 7   forensic investigation, whether or not you had any

 8   discussions with him about the direction of his case,

 9   correct?

10                    MR. PERKINS:       Objection to the form.

11                    You can answer.

12                    THE WITNESS:       No.    I assume that he

13            would rely on his own medical expertise to

14            make those determinations.

15   BY MR. KLEIN:

16       Q.   So you don't know whether or not he relied on

17   your statement?

18       A.   I don't know if he relied on it, or if he did,

19   how much.       No.

20       Q.   With regard to Ms. Peck's questions about the

21   Start Center investigation, the information received

22   pursuant to those interviews didn't provide grounds for

23   this prosecution of Adrian Thomas, correct?
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 1                      (Adam Mason - by Mr. Klein)

 2                   MR. PERKINS:        Objection to the form.

 3                   MS. PECK:       Objection to the form.

 4                   MR. PERKINS:        And the reason I object

 5            is to just have a little distinction between

 6            prosecution and arrest.

 7                   MR. KLEIN:       I'm asking about

 8            prosecution.

 9                   MR. PERKINS:        Okay.    He's asking about

10            prosecution.

11   BY MR. KLEIN:

12       Q.   The information that was obtained at the Start

13   Center in Detective Fountain notes, etc., that wasn't

14   conveyed by you to prosecutors.              You conveyed the

15   substance of the confession to the prosecutors.

16            And that, along with Dr. Sikirica's autopsy, was

17   the basis of the charges, correct?

18                   MS. PECK:       Objection.

19                   THE WITNESS:        If you're referring to

20            prosecution, I conveyed my entire case file.

21            So what happened at those meetings would

22            have been included in the case file.                So

23            they would had that.          It was up to them
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 1                      (Adam Mason - by Mr. Klein)

 2            whether or not they used that as part of

 3            their prosection or not.

 4   BY MR. KLEIN:

 5       Q.   The prosecution -- he was literally prosecuted

 6   for attempted murder and then for murder, correct?

 7       A.   Yes.

 8       Q.   You didn't arrest him for anything other than

 9   initially attempted murder, which then became a murder

10

11
     when M

         A.
              -
              Correct.
                       died, correct?



12       Q.   You didn't arrest him for any conduct that was

13   set forth in the Start Center interviews?

14       A.   Correct.

15       Q.   And you didn't draw up any accusatory instruments

16   that lead to a prosecution for any of the conduct that

17   came out during the Start Center interviews, correct?

18       A.   Yes.

19                    MR. KLEIN:      That's all the questions I

20            have.    Thank you for your time.

21                    (Deposition concluded at 3:56 p.m.)

22

23
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 1            List of requests:

 2

 3            1.    Commendations or other medals or
                    similar documents
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 5                  and any other interrogation training
                    sessions
 6
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 1   STATE OF NEW YORK            )

 2   COUNTY OF

 3

 4   I, ADAM R. MASON, do hereby certify that I have read the

 5   foregoing record of my testimony taken at the time and

 6   place noted in the heading hereof and that it is a true

 7   and correct transcript of the same and the whole

 8   thereof.

 9

10

11

12

13                        ________________________________
                                   ADAM R. MASON
14   Subscribed and sworn to

15   before me this ________ day

16   of _________________, 2019

17

18

19

20

21   _______________________________

22

23
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 1                         C E R T I F I C A T I O N

 2

 3

 4   I, Jeanne O'Connell, Registered Professional Reporter

 5   and Notary Public in and for the State of New York, do

 6   hereby certify that the foregoing to be a true and

 7   accurate transcription of the stenographic notes as

 8   taken by me of the aforesaid proceedings.

 9

10

11

12   _________________                 ___________________________
        Date                                    Jeanne O'Connell
13

14

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      UNITED STATES DISTRICT  COURT
      NORTHERN DISTRICT  OF NEW YORK

      ADRIAN THOMAS,

                                       Plaintiff,

                - against         -

      CITY OF TROY; ADAM R. MASON, Individually,
      RONALD FOUNTAIN,   Individually,   TIM COLANERI,
      Individually,   RENSSELAER COUNTY, and
      MICHAEL SIKIRICA,    Individually,

                                       Defendants.

      STATE    OF NEW YORK:           COURT OF CLAIMS

      ADRIAN    P.    THOMAS,

                                       Claimant,

                  against     -

      THE STATE       OF NEW YORK,

                                       Defendant.

      Held  at:
      PATTISON,    SAMPSON,           GINSBERG        &    GRIFFIN,   PC
      22 First    Street
      Troy,    New York

                             September          11,       2019
                             1:55   p.m.


              DEPOSITION      OF DEFENDANT TIM COLANERI,           held
              pursuant     to Notice,  before    Joyce     Babiskin,
              Shorthand      Reporter and Notary      Public     in the
              State     of New York.




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      APPEARANCES:


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      By:     CHRISTINA     M. CALABRESE
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                                S T I     P U L A T I O N S



                       IT    IS HEREBY STIPULATED,    by and between
      the attorneys            for the respective  parties  hereto,
      that:

                       All  rights      provided         by the         C.P.L.R.,
      and Part       221 of the Uniform               Rules       for     the   Conduct
      of Depositions,           including         the     right       to object       to
      any questions,          except      as to form,             or to move to
      strike     any testimony          at this         examination           is
      reserved;        and in addition,             the     failure         to object
      to any question          or to move to strike                     any
      testimony        at this     examination            shall       not be a bar
      or waiver        to make such        motion        at,      and is reserved
      to,    the   trial    of this       action.

                       This    deposition         may be sworn            to by     the
      witness      being      examined       before       a Notary        Public
      other    than     the Notary         Public       before      whom this
      examination          was begun,        but    the    failure        to do     so
      or to return          the original          of this        deposition         to
      counsel,       shall     not be deemed            a waiver        of the
      rights     provided        by Rule       3116 of the          C.P.L.R.,        and
      shall    be controlled            thereby.

                       The    filing      of   this     deposition         is
      waived.

                       IT IS FURTHER STIPULATED,       that    a copy
      of this      examination     shall  be furnished      to the
      attorney       for  the witness    being  examined      without
      charge.




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 1                                                      TIM COLANERI,

 2                    having             been         first            duly        sworn         by     the        Notary

 3                    Public,                was      examined                  and    testified               as

 4                    follows:

 5         EXAMINATION                   BY MR. KLEIN:

 6                    Q             Good        morning,                 sir.

 7                    A             Good        morning,                 sir.

 8                    Q             My name             is       Brett           Klein         and      I represent

 9         Adrian          Thomas             both          in    a federal                  civil         rights          case

10         pending             in      the      US District                      Court         for      the        Northern

11         District             in       which          you've             been        named          as      a party,

12         as      well        as      in     a pending                  collateral                  matter         in     the

13         State          of    New York                in       the       Court          of     Claims            under

14         New York's                  Wrongful               Conviction                  Law.

15                                  We're            here        today           to    ask       you       questions

16         today          under          oath         concerning                   your        knowledge              and

17         involvement                   in     the         events              surrounding                Mr.      Thomas'

18         prosecution.                       Do you             understand                  that       that's           why

19         you're          here          today?

20                    A             Yes.

21                    Q             Is       there          any        reason          why       you       can't

22         testify             fully          and       accurately                    today?

23                    A             No.


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 1                    Q            Have       you       had            sufficient                  time       to     prepare

 2         with       your         attorney,             Mr.            Perkins,              or      other          lawyers

 3         representing                   you?

 4                    A            Yes.

 5                    Q            Are     you       represented                       by     anyone           else

 6         presently               other         than            Mr.      Perkins?

 7                    A            Not     on     this            legal            matter.

 8                                 MR.     PERKINS:                     I object              to      the      form.

 9                    Q            Previously,                    it      was         Mr.     Shanley              in    this

10         office?

11                    A            Correct.

12                    Q            Okay.          Have            you         retained              private

13         counsel            to      consult           with            for        this       case?

14                    A            No.

15                    Q            And     are       you          being            represented                 pursuant

16         to,       like,         a union           agreement,                       or     are      you      paying

17         out     of        pocket        or     is        it         pursuant              to     --

18                    A            My union             in        the         city.

19                    Q            Are     you       being              indemnified                   in      this       case,

20         as     well?

21                    A            I don't           know.

22                    Q            Okay.          Other                than        today,           it's       my

23         understanding                   that         you            testified              at      a criminal


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 1         trial,           Mr.        Thomas'               first             trial           in    2009.           Other

 2         than        that          trial,            other             than          --    Withdrawn.

 3                                   It's           my understanding                            that        other          than

 4         today           you've             testified                  under          oath         previously

 5         regarding                 this           matter           in        the      2009         criminal              trial

 6         against              Mr.         Thomas.                Is         that      correct?

 7                     A             Yes.

 8                     Q             Other            than         the         2009         criminal            trial

 9         resulting                 in       the      conviction                      and      today,          have          you

10         testified                 under           oath          at         any      other         time       under           any

11         other           circumstance                      regarding                  this         matter?

12                     A             I don't              know           if      I     testified               on    the

13         Grand           Jury        or      not.            I don't                 believe           so.

14                     Q             I don't              believe                so.         And       you      didn't

15         testify              at     any          pretrial                  Huntley           or     other         pretrial

16         hearings,                 to       your          knowledge?

17                     A             No.

18                     Q             Other            than         today             and       the     September                2009

19         trial           --     Withdrawn.                       Other             than       today          and      the

20         2009        trial           and          other          than          conversations                      with        your

21         counsel,               which             I don't              want          you      to     divulge,               have

22         you       discussed                 the          case         or      given          statements                 to

23         anyone           else?


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 1                     A          No.

 2                     Q          You       did         have           meetings                 with            prosecutors

 3         at     some         point,           or      did       you            not?

 4                     A          Yes.

 5                     Q          Did       you         ever           have            meetings                 with

 6         prosecutors?

 7                     A          Yes.            I believe                      so.

 8                     Q          When          did      you           have            them          and        with         whom?

 9                     A           Prior          the         trial,              and          I'm      not           sure      who

10         prosecuted               the         case.             I     think             it         might         have         been

11         Shane           Hug.

12                     Q          Do you              remember                   Christa              Book?

13                     A          Yes.

14                     Q          Do you              believe               it         was      with            Christa?

15                     A           Yeah.              I don't               remember.

16                     Q           So,      that         was           --        was      that             in    connection

17         with        trial        prep?

18                     A          Yes.

19                     Q          Any       conversations                              you      had         with         the

20         prosecutor's                    office?

21                     A          Not       that         I recall.

22                     Q          Did       you         meet           with            them          before            you

23         testified               to      go     over          what             they          would            ask      you?


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 1                    A         I     think          so,         yes.

 2                    Q         Other           than        that,             can         you       recall             any

 3         other          meetings           with          anyone             else          that's             not      your

 4         attorney,            and       not        today's                 deposition,                     in      which

 5         you've          spoken         about            the         events,              your            involvement

 6         in      these      events?

 7                    A         No.

 8                    Q         Have         you       ever            spoken             with         the        media,

 9         filmmakers               or    anyone            else             regarding                 that?

10                    A         No.

11                    Q         In       terms         of        testifying                   today,              you      said

12         you      had      sufficient                time            to     prepare               with          counsel.

13         Is      that      right?

14                    A         Yes.

15                    Q         Did       you        have         a chance                  to       review            your

16         testimony            from          the      2009            trial?

17                    A         I don't              think             so,         no.

18                              MR.       KLEIN:                 He didn't                  testify               in    the

19                    2009      trial.

20                              MR.       PERKINS:                     Off         the      record.

21                               (Discussion                     off         the         record.)

22         BY MR.          KLEIN:

23                    Q         I     just          want         to     clarify.                     It's         my


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 1     understanding                       that         you         have       not        testified               in     any

 2     criminal              proceeding                       regarding              Adrian           Thomas'

 3     prosecution.                        Do you              have         a recollection                      of

 4     testifying                   at     some         point?

 5                 A          No,          I don't.

 6                 Q           So,         earlier,                 when       you        said        you

 7     testified               in        2009,           was        that       a mistake?

 8                 A           It        may        have         been.          I may            have        done

 9      something              at        the        Grand           Jury,       but         I    don't

10     remember.

11                 Q           Even            that        you        don't          remember?

12                 A           No.

13                 Q           Okay.                And        in     terms          of    meetings               with

14     prosecutors,                      do     you           know     if      you        meet        with        them,

15     whether              secondary,                   you        know,       as        going          down        with

16     Mason           or    Fountain,                   or      whether             you        met      with        them

17      independently,                         on      your         own,       regarding                 this        case?

18                 A           No.             I don't              remember              any     of      that.

19                 Q           Okay.                Did        you     create             any     writings               in

20     connection                   with        this           matter,          for         instance              any        --

21                 A          Any          follow-ups?

22                 Q                     any        Troy         PD follow-ups                    or      any        other

23     paperwork?


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 1                   A              I may       have.              I    looked              at      some         of     the

 2      case         file,           and       I didn't                see      anything                  with        my name

 3      on     it.

 4                   Q              Okay.         So,         you       may          have,          but        you're          not

 5      aware            of    anything               right            now?

 6                   A              Correct.

 7                   Q              Okay.       Are       you          --      for         what       aspect            of     the

 8      investigation                        would        you          have          prepared              a follow-up

 9      about?

10                   A              Standing            by     during                the         interview,              going

11      down         to       see      the      infant             with         Adam           and,        I believe,

12      Mark         Mason,            they       were         both            detectives                  with         me,

13      down         to       Albany           Med,       and          then          sitting              in     on     the

14      interview                   later       on      that           night.

15                   Q              Okay.         So,         you       became               involved.                  Just

16      taking            each         of      those          in       turn,          when          you        say      going

17      down         with           Adam,       that's,                I'm      sorry,              with         --

18                   A              Detective             Adam Mason                       and      Detective                 Mark

19     Mason.

20                   Q              Mark       Mason.              And         are         they       related?

21                   A              Yes.        Mark          is       Adam's              uncle.

22                   Q              Okay.         And         you       went          down          with         them,         you

23     believe,                to      Albany           Medical                Center,              on     the        evening


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 1     that     the        child               was    first               taken         to      the        hospital?

 2              A              I believe                 it         was        the      next          morning.

 3              Q              So,        it     was          either            --      if      I     told      you        the

 4     child        went            to    the        hospital                  on      September              21st         of

 5     2008,        do     you           believe              it     was        either              late      on     the

 6     21st     or       into            the     22nd?

 7              A              It        was     during              the        daytime,               like        after

 8     8:00     in       the         morning.

 9              Q              And        that        might               be    the          subject          of     a

10     follow-up               report            that              may     have         been          prepared?

11              A              Yes.

12              Q              And        what        was           your        involvement                   in     going

13     down     to       the         hospital?

14              A              I     just        went              down        with          Mark      Mason.              Mark

15     and     I were              partners              at         the        time.            We just            went

16     down.          Adam           was        down          there,            so      we figured                 we'd

17     just     all        go        down        there              and        see      what          was     going         on

18     with     the        case.

19              Q              Were            you    assigned                  to      the         case?

20              A              No.

21              Q              Who was               assigned                  to      the      case?

22              A              Adam            and    Ron           Fountain.

23              Q              Was Mark               assigned                  to      the         case?


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 1                  A           No.

 2                  Q           Okay.                So,         why      did         Mark        and      you      decide

 3      to     go       down?            Just          to        see      if      they        needed          help?

 4                  A           Yeah.

 5                  Q           Had        you        been             involved              in     the

 6      investigation                      up        that         point?

 7                  A           No.

 8                  Q           You        had        heard             about          it,        though,           through

 9      the     office              or     directly                    from       Mason           himself?

10                  A           Yeah.                Just         that          morning             we heard             about

11      it.

12                  Q           And        what            did         you      hear         that         morning?

13                  A           I     --       I don't                 remember.

14                  Q           If       you         don't             specifically                          if     you

15     know         in     sum       and        substance,                      let      me know             in     sum and

16      substance.

17                  A           I do           not         know.

18                  Q           That           there             was      some         investigation                     and

19      they        were        at       the         hospital?

20                  A           Correct.

21                  Q           Is       that          fair?

22                  A           Yes.

23                  Q           Okay.                And         you      responded                 with          Mark


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 1         Mason          to    Albany           Med?

 2                    A             Correct.

 3                    Q             Do you         recall                what,          if     anything,

 4         transpired                 at       Albany              Med when             you        were      there?

 5                    A             We went             in.          I    saw      the         infant          on      life

 6         support.                 We talked                 to     a doctor                 briefly          and       that

 7         was      about           it.         We didn't                 stay          long        or      anything

 8          like      that.               At    least              Mark     and         I     didn't         stay

 9          long.          I'm        not       sure          if     Adam         stayed            after         we left.

10                    Q             Do you         remember                 if     you         took         any     notes?

11                    A             No,        I don't              remember.

12                    Q             Do you         remember                 who         the        doctor         was?

13                    A             No.

14                    Q             Do you         remember                 if     it         was       a doctor          as

15         opposed             to     a nurse?

16                    A             No.

17                    Q             Do you         remember                 if     it         was       a man       or    a

18         woman?

19                    A             I believe                 it     was         a man,            I believe.

20                    Q             Do you         remember                 what             you    were       told,          if

21         anything?

22                    A             No.

23                    Q             Do you         remember                 in     sum         and        substance


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 1     what       was       discussed?

 2                A           I believe                         the      doctor              said          that        the      --

 3      the      injury           the         baby              sustained               was         not

 4     accidental.                      It         may      have           been          intentional.

 5                Q           Did            he     say          how       he        knew          that?

 6                A           No.

 7                Q           And            do     you          recall              anything               else        that

 8     was       said       by      anyone                 during              that          meeting              at    the

 9     hospital?

10                A           No.

11                Q           Okay.                 After               that         visit          to      the

12      hospital,             did            you         have           any      further                 personal

13      involvement                 in        the          Thomas              investigation,                          arrest

14      or    prosecution?

15                A           I     did.

16                Q           What            was          that?

17                A           I     sat            in      and          watched              the         interview              on

18      the      monitor.                    Adam          was          upstairs.                   Adam          Mason's

19      office          was       on         the         third           floor           of        the      police

20      department                and         the          interview                   room         is      adjacent               to

21      his      office,            or        maybe              it's          the       next            office         over.

22      In    any       event,               Adam was                   talking              to     this          man        who

23     was       suspected                   of     injuring                   a child              by      himself


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 1     while             all         the       other                 officers               were       in     and     out             of

 2      the      first               floor,            so            there           was     nobody           gonna         be         up

 3      there            with         him,           so          I    stood           by     and       watched             the

 4      interview.

 5                Q                  And       is      it            your        understanding                     that          there

 6     were         two         interviews                           of     Adrian           Thomas           taken         in

 7      that        room             in      the       course                   of    this          investigation.

 8      One      was           shorter,                then               Mr.        Thomas          went       to    the

 9      hospital,                    and       then,                 when        he     returned,               a longer

10      one      was           about           seven                 hours?

11                A                  I don't                remember                  the      --      I    know      they

12      said                   the         first            one,             they       didn't             mention          how

13      long        it         was,         and        then               the        second          one,       yeah,            it

14     was       about               six,          seven              hours.

15                Q                  So,       was          it        the        second             one     that      you             were

16     present                 for?

17                A                  That's            correct.

18                Q                  Were          you           present              for      it      from        beginning

19      to      end?

20                A                  For      most               of       it,        yeah,          besides          the

21     bathroom                 breaks,                getting                   drinks,             things          like

22      that.

23                Q                  In      other               words,              were     you          present          in         the


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 1     room       where           the         monitor               was      located               when         the

 2      interview            commenced?

 3                A          Yes.

 4                Q          Did         you          know          that        Mr.        Thomas              had      been

 5     picked          up    at         the         hospital               by     detectives                    from          the

 6      squad,         whether                it      was       Mason           or     someone                 else?

 7                A          No.

 8                Q          Centeni?

 9                A          No.              I didn't                know        that.

10                           MR.         PERKINS:                     Objection               to         form.               He

11                said       he         was         picked            up     at      the                 oh,      the

12                mental           hospital.

13                           MR.         KLEIN:                 Yeah.

14                Q          Do you                 know        where           he     came             from      before?

15                A          No.

16                Q          But         were            you        asked         to       stand           by      in        the

17     video          monitor            room            or     did        you       take          it      upon

18     yourself             to     do         that?

19                A          I was                 asked        to     stand           by.

20                Q          By whom?

21                A          I would                  assume           the        Captain                at     the          time,

22     because           Ron       Fountain                   either            had        other           plans             or

23     couldn't             do     that             at       that      time,           so     I         stood          by.


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 1               Q           Do you              know            if      Adam          Mason             asked       you      or

 2      it    would        have          been            a supervisor?

 3               A           I     think            it      might               have      been            a

 4      supervisor.                   I'm        not        sure           if      Adam             asked          me or

 5     not.

 6               Q           Who was                the          supervisor                    that           day?

 7               A           I'm         not        sure.                I've          been          through          a lot

 8     of     Detective               Captains.                        I've        been             in    the

 9     Detective             Bureau              assigned                  since          1998,               so

10               Q           So,         we'll             get         into        the         substance              and

11     the      details            of       that           interview,                    but         my

12     understanding,                       from          what           you've           testified                  to,      is

13     that      you       were          there             fo~         several            hours               beginning

14      to    end     of     that           interview                    other           than            bathroom

15     breaks         or     to       get        some            fresh           air?

16               A           Correct.

17               Q           Other             than         being               personally                    involved             in

18     monitoring                --      and        at      some          point           you            walked        into

19     the      interview.                     Correct?

20               A           Correct.

21               Q           Other             than         that,               what,          if        any,

22      involvement                did         you         have          in      Adrian              Thomas'

23      investigation,                      arrest               or      prosecution                      after        that


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 1     interview                 concluded?

 2                A              That       was          pretty                   much         it      for          me.

 3                Q              When       you          say       pretty                  much,             did         you

 4     assist          anyone             with           any           investigatory                           tasks?                 Did

 5     you       go    to        court,             even          if         it         was,         in      your          mind,

 6     minor          or    secondary                    to       someone                  else's

 7      involvement?                      Is        there              anything                     else       that         you        can

 8     recall?

 9                A              I'm      not        sure              if         I went             down           to     the

10     booking             room         with         him          or         not.              I     don't           know         or        I

11     don't          remember                 if    there              was             any         Grand           Jury

12      testimony                involved                in       any             of      this.              It's          been

13     quite          a while             and        it's              not         my first                  case.

14                Q              Okay.

15                A              I     think         I have,                      like,             3,500           cases         I've

16      investigated                    since            I've           been              a Detective.

17                Q              So,      what           stands                   out       in       your           mind         is    the

18      trip      to       the         hospital                during                   daytime              hours,

19      speaking            to         a doctor,                  and             then         being           present                for

20      the      second,               longer            interview?

21                A              Correct.

22                Q              Anything                else               that          you        can       recall             about

23     your       involvement                       in      the             Thomas             matter?


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 1                    A              No.

 2                    Q              When it               came             down        to    the         first          trial,            I

 3     can        represent                    to      you            that          I believe                 Fountain              and

 4     Mason              did        testify               at         pretrial               hearings               and          then

 5     at       trial.                   Were        you         present                either            when         they         were

 6     prepped                  or       when        they             testified               at        trial          at        any      of

 7      those             occasions?

 8                    A              I    don't            think             so.

 9                    Q              You       don't             remember?

10                    A              And        I wasn't                    --      I   didn't            go      to     a

11      trial              --

12                    Q              Okay.

13                    A              --       so

14                    Q              You       didn't                 go,        whether            the         prosecutor

15     asked              you        to       or     for         moral              support             for       your

16      colleagues                       or    anything                     else?            You        didn't              go?

17                    A              No.            I'm         too         busy.

18                    Q              Business                   was         good?

19                    A              Business                   is      always           good.

20                    Q              Okay.                So,         did        you     go        to     the       --       I    think

21      this          is        assumed              by         your         answer,             but          you      didn't             go

22      to      the         2009           trial.                Did         you        go    to        the       2014           trial?

23                    A              No.


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 1                    Q              Did        you         follow                either            of     both        of     them

 2      either             from           speaking                 to        your          colleagues                  or     on     the

 3     news?

 4                A                  I don't                remember.

 5                    Q              Have         you        viewed                any          press       or     media

 6      about             this           case?

 7                    A              I    saw       a portion                      of       the         video      that           was

 8     made,              that           documentary,                        but          that's           about        it.          I

 9      didn't                       I don't                have            cable          TV --

10                    Q              Okay.

11                    A              --     so

12                                   MR. KLEIN:                      Off            the         record.

13                                   (Discussion                     off           the          record.)

14      BY MR.             KLEIN:

15                    Q              And        who         showed                you       the         documentary?

16      Was      it         the          part         involving                    you?

17                    A              Yeah.              I    just            heard              about       it.

18      Actually,                    I didn't                see            the      part           about         me.         I

19      spoke             to      Adam          and         spoke            to      Ron           Fountain            and

20      that's             about            it.             And         I    saw          the       cover         of    the        BBD

21      and      I'm           not        on      it,        so

22                    Q              You        never          watched                    it?

23                    A              No.


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 1                    Q           There        was           a Court              of      Appeals                decision

 2         that       came        down        that         mentioned                   your           conduct             in

 3         walking           into       the       interview                   and         things             that        you

 4         said.            Are     you       aware           of      that?

 5                    A           No.

 6                    Q           Okay.           We'll             mark          that          in     two        minutes.

 7                                So,     you've              never           looked             at        the      court

 8         decision           that         found             that      the          second             --        that       the

 9         statements               made       by       Mr.         Thomas             were

10         unconstitutional?

11                    A           No.         I didn't                see         that.

12                    Q           Did     you         know          that          a court              made         that

13         decision?

14                    A           No.

15                    Q           Did     you         know          that          in      the         second            trial

16         all     evidence             of     his           statements                   in     police             custody

17         were       not     allowed             in         evidence?

18                    A           No.         I didn't                know         any          of     it.

19                    Q           So,     until              I posited                 that           in     this

20         question,              you     had         no      no      idea?

21                    A           No.

22                                MS.     CALABRESE:                        Off        the       record.

23                                (Discussion                   off         the        record.)


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 1                               MR. KLEIN:                     So,           back         on        the         record.

 2     BY MR.            KLEIN:

 3                  Q            When        you          spoke              to     Mr.         Thomas                during          the

 4      interview,                and        we'll           get             into         the        details,                  I just

 5     want         to     talk         generally,                      it        was,          in     sum            and

 6      substance,                about          the         type             of     trauma                that          had        to

 7     have         been         inflicted                 in      order             to         cause            the

 8      injuries            to        this       baby,             M-                      Thomas.                     Is      that

 9     right?

10                 A             Correct.

11                  Q            And      was        it      your             belief             at        the         time,

12     either            from         speaking               with             your         colleagues                       or

13     anyone            else,          that         there              was         some         type            of      trauma

14      inflicted                on     M~                   Thomas?

15                  A            That's          what             the         doctor             was        saying,                 yes.

16                  Q            Did      you        know          at         the         time         that            there          was

17     a possibility                      that            there              was     a bacterial

18      infection,                as      well?

19                  A            No,      I did            not.

20                  Q            Have        you          come          to        learn          that            it      was        his

21     defense             in     the        criminal                   court             case         in        2009          as

22     well         as     2014         that         M-                       died         of        a bacterial

23      infection                and      not        from          trauma?


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 1                 A           I     don't           know        what        he     died         from.           I

 2     don't           know        what         was        determined.

 3                 Q           You        don't            know       either           way?

 4                 A           No.

 5                 Q           But        have         you       come        to     learn,           either

 6      through             your        colleagues                or       anyone           other         than         your

 7      counsel,             that         it        was     --    there            was      an      alternative

 8      cause          of    death             proffered              by     the       defendant?

 9                 A           No.

10                 Q           Non-traumatic,                         you      didn't            know        that?

11                 A           No.

12                 Q           This            is    the      first          you're          hearing             about

13      that?

14                 A           Yeah,            yeah.

15                 Q           Okay.                Had     you       ever         heard,           whether            from

16     rumors           in     the        office            or    secondhand,                    hearing

17      conversations                     secondhand,                   or     from         some       other

18      source          that         may        be     more       official,                 that       the       baby

19     had       sepsis            or     some         type       of       bacterial                infection?

20                 A           No.             And     I don't             overhear              things          too

21     much.

22                 Q           Why not?

23                 A           I have               hearing           damage             (indicating),                  so


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 1      this     is        why        I'm         wearing                   these          things.

 2               Q            And           for         the        record,                 you're            wearing             ear

 3      buds     in        both         ears?

 4               A               I am.             This            is         a device                from        Bose.

 5      It's     more            or     less            a hearing                     aid.            I    can      throw         it

 6      in     my phone.                   And          I     can't            afford               the      other         ones

 7     yet,      so        I'm        saving                up.

 8               Q               Okay.             Do they                    help         you        amplify             the

 9      sound?

10               A               They        amplify                    the        sound            and      --     all

11      around            me or         directly                   in         front            of    me.

12               Q               Have        you            been            able          to    hear         me okay

13      today?

14               A               Yes,        I have.

15               Q               Okay.             So,            have         you         reviewed               any

16      documents                to     refresh                   your         recollection                       of      your

17      involvement                   in     this             case,            whether               you         created

18      them     or        anyone            else,                and         when         I    say        reviewed

19      documents,                   documents,                    photos,                 videos            or     anything

20      else     to        prepare                for         today's                 deposition?

21               A               I    reviewed                    --        I had          some           type      of

22      testimony                that        --         not            --     or      I    read           a document

23     where         it     had         me asking                       questions                   to     Mr.      Thomas


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 1     with       Adam         Mason            present                   in     the          room              and         I    flipped

 2      through          the         case            file           looking                 to      see          if         I did            a

 3      follow-up              and        I     couldn't                   find             one.

 4                Q            My understanding                                  is         there               was         a

 5      transcript              prepared                     of      the         two          interviews,                             but

 6      specifically                     the      one         with             you          in      it          would            have

 7     been       the      second               interview.                            So,        did            you         look            at    a

 8      transcript                  of    the          interrogation                             of       Mr.          Thomas

 9      that      you      walked               in          on?

10                A            I did,             but          it         wasn't              in         its          entirety.

11      It     was      only         maybe             three              pages'              or         four          pages'

12     worth.

13                Q            It        wasn't              complete?

14                             MR.        PERKINS:                        Off         the        record.

15                             (Discussion                          off         the         record.)

16     BY MR.           KLEIN:

17                Q            Other            than           those             pages              that              set        forth

18     your       conversation                        with           Mr.         Thomas                  in      the

19      interrogation                     room,              did          you         review               any         other

20      documents?                   And        if      you          did,             don't              tell          me what

21     your       counsel                told         you           about             them.                Just,                did         you

22      review          any?

23                A            Yes.


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 1                   Q              What            did         you       review?

 2                   A              There            was         a stack                 of    paperwork                    that          the

 3     counsel                 gave           me and              I     flipped               through             it        looking

 4     to      see        if        my name                was          on     anything                that            I    filled

 5     out.

 6                   Q              And        was         there              anything               in     it?

 7                   A              I    couldn't                      find        it,        no.

 8                   Q              Did        it         appear              to     be       the      TPD,            Troy

 9     Police             Department,                           file          in     this           case?

10                   A              Yes.

11                   Q              Other            than              flipping               through             that           file

12     to      see        if        there            was         anything                 with         your            name          on      it

13     and      the            transcript                       of      the        interrogation,                           have          you

14     looked             at        anything                    else?

15                   A              No.

16                   Q              Have            you         spoken             with        anyone             other              than

17     your          counsel                  to     refresh                  your        recollection                          of     the

18     incident?                        In     other             words,              whether              informally                      or

19     formally,                    have            you         spoken             with        Colaneri                    --    I'm

20     sorry             --     with           --         not         yourself                --     with         Mason,

21     Fountain                 or       anyone                 else          to              for      whatever

22     reason,                 to       jog         your         memory              of       the      incident?

23                   A              Yes.


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 1                Q           Who have                  you        spoken                with?

 2              A             I've          spoken                with         Adam            Mason.

 3                Q           When          did         you        speak             with           him?

 4              A             Well,              four        years             ago,            I    think            when       we

 5     first          got     served.                   I    think             it        was        four         years          ago.

 6                Q           Okay.

 7                A            It         was     just            did         you        get        served,              yeah,          I

 8     got     served,               and        that's             pretty                much           it.          And       then

 9     we just              spoke          about            the         proceedings                       going          on     and

10     not     really               the     case,            about             when            you're            getting

11     your       deposition                    done,             did        you         do        this         yet,       so

12                Q           Have          you         discussed                    the           substance               of     the

13     allegations                   against                either             Mr.         Thomas               or      against

14     any     of      the      police              employees                       in     this           case          with

15     Adam Mason                   since         you        became                 aware           of        this

16     lawsuit?

17                            MR.          PERKINS:                     I object                   to     the          form.

18                            You          can      answer.                    You         said           the

19                            MR. KLEIN:                          The         substance.

20                            MR.          PERKINS:                     --     allegations                        against

21                Mr.        Thomas.                Do you               mean            the        criminal               ones?

22                            MR.          KLEIN:                 Yes.

23                            MR.          PERKINS:                     I'm         sorry.                Go ahead.


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 1                A         No.

 2                Q         Other          than         logistics                  of    depositions

 3     and

 4                A         No.           That's           what       we talked                      about.

 5                Q         Other          than         Adam        Mason,              have          you

 6     discussed            these          events           with           anyone             else       other

 7     than       your      attorney?

 8                A         Yeah.            I had          to      tell           my partner                   that

 9     I'm       going      over          here      to      give           a deposition                       and

10     that's         about         it.          He knows            why,           why         the

11     deposition.

12                Q         For       instance,              your           son         is     on       the      job?

13                A         Yes.

14                Q         Have          you      discussed                your             involvement                or

15     the       involvement               of      your       colleagues,                      whether              you

16     have       any     opinions               about        it      or      anything                  else,          with

17     your       son     or     anyone            else?

18                A         No.

19                Q         Does          your      hearing                issue         prevent                you

20     from       testifying               fully           and      accurately                       today?

21                A         No.

22                Q         Is     there           any      other           reason             why       you        can't

23     testify           fully        and        accurately                 today,              if      I didn't


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 1     already             ask        you      that?

 2                 A             I    don't          think          so,         no.

 3                 Q             Other         than          today,             have          you      testified                 in

 4     any        other          civil         lawsuits?

 5                 A             Involving              myself             or         just         this         case?

 6                 Q             Involving              any                involving                   yourself.

 7                 A             I don't             think          I     ever             testified             in      a

 8      civil          lawsuit.

 9                 Q             Have         you      been         named             in      any      other            civil

10      lawsuits?

11                 A             Yes.

12                 Q             How many              others?

13                 A             One.

14                 Q             What's         the         name          of         the      plaintiff                 or      --

15                 A             I don't             know.

16                 Q             How long              ago       was       it?

17                 A             I was         in      patrol.                  It         was     before             I was

18     promoted,                 so      it    was      prior             to         1994.

19                 Q             Okay.

20                 A             It      was    a car            accident                   with         the     police

21      car.

22                 Q             Other         than          that         car         accident                 from      the

23        '90s,           have        you      been          named         in         any        other          civil


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 1     case,        to     your         knowledge?

 2              A           No.

 3              Q           When         did         you    join        the      Troy       PD?

 4              A           1984,             I believe.                I'm      coming           up    on    35

 5     years        next        week.

 6              Q           Congratulations.                            Prior         to    the        Troy     PD,

 7      did    you       have      any         law        enforcement                experience?

 8              A           I worked                 security           for      a clothes

 9     manufacturer.

10              Q           And         what         was    your        highest            level        of

11      education?

12              A           College                 and

13              Q           Where             --

14              A           --     the         education               that      I    received           with

15      the    police           and      the         Municipal              Council         of     Police

16      Training.

17              Q           Where             did     you        go    to     college?

18              A           Hudson             Valley.

19              Q           And         did         you    get        a two-year            degree?

20              A           I     got         two     of       them.

21              Q           In     what?

22              A           Criminal                 justice           and      security

23      administration.

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 1                 Q      Were           those              Associate                 Degrees?

 2                 A      Yes.

 3                 Q      And          was          it      --       did        you       have        any     further

 4     college         credits               after             that         or      did      you       go     to        your

 5      security        job         and        then            the         police?

 6                 A      I      did.               I     think            I got          college            credits

 7      for   some      of       the         training                 I     received,                 but     I'm        not

 8     pursuing         any         other                degree.

 9                 Q      Okay.                When            you         applied           to       the     Troy         PD,

10     did    you      have         to       fill           out       some          type         of    written

11     application?

12                 A      Yes.

13                 Q      And          did          you        have         to      undergo            a

14     psychological                   evaluation,                         as      well?

15                 A      Yes.

16                 Q      What           else?                 Was         there          some        type         of

17     physical?

18                 A      Yes,           there              was.

19                 Q      Did          you          pass          your          application                  for

20     employment             the        first              time           that       you        applied?

21                 A      Yes,           I did.

22                 Q      And          when              you      were          accepted              to     be

23     employed         by       the         Troy           PD,       did          you     have        to     start            a


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 1     course             of     training                   at      a police                academy?

 2                   A           Yes,           I did.

 3                   Q           And           who         managed            or      ran          the      police

 4     academy                back        in         1984?

 5                   A           Yes.                Colonie             Police             Department.

 6                   Q           C-O-L-O-N-I-E?

 7                   A           Correct.

 8                   Q           And           does         Colonie             Police              --      does         the

 9     Colonie                Police            Department                    still           provide               training

10     for      the           Troy        PD,         or      has        that         changed?

11                   A           It's           changed              and        now         it's          the       Zone         5

12     Academy                and       it's          in      Schenectady.

13                   Q           Is       Zone             5 run         by     the         state           or      some

14     local             or    private                agency?

15                   A           I      don't              know.

16                   Q           For           how         long      did        Colonie                  Police           --

17     Withdrawn.                       Was          the      Colonie               Police               Department                  the

18     sole          provider                  of     training                for      Troy              officers               back

19     in      the        1980s?

20                   A           No.            It         was      in     Colonie,                 but         there           was

21     other          people              that             came      in,        both          federal,                  state

22     and      other            local               teachers.

23                   Q           Okay.                And         was      that        the          sole          provider


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 1     of      training                 at     the       time         you         went        through

 2     training?

 3                   A            Yes.

 4                   Q            And         was      that          the        sole       provider               of

 5     training,                  to     your          knowledge,                  for        a period                of     time

 6     until             it      became            different,                   like       up       until         2000,           or

 7     did      it            change          at     some          point          to     Zone         5?

 8                   A            I     suppose              so.           I don't            know.

 9                   Q            Okay.              And      how          long        was         your        course          of

10     training                  in     the        academy?

11                   A            Three            and     a half               months,             I believe.

12                   Q            Okay.              And       did         it     consist,                in    part,          of

13     classroom                  training?

14                   A            Yes.

15                   Q            And         what       were         the         topics            of      classroom

16     training                  that         you      received?                   Was        it      like        police

17     science?

18                   A            I don't              know.               I don't            know.             I'd        have

19     to      think             about         that.

20                   Q            Did         you      learn          about            law?

21                   A            Yeah.              Constitutional                        law,           penal         law.

22     Talked                 about      undercover                   drug         operations.                        That

23     stood             out.           Vehicle              stops,             K-9      and        other         things.


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 1               Q          Did     you      learn           about           interrogation

 2     techniques            at     the      police               academy           or         was      that

 3     something            that      was       for         detectives?

 4               A          That      was       further              training.

 5               Q          And     did      you       also          have          range           training          in

 6     the      academy?

 7               A          Yes.

 8               Q          And     automobile                    training?

 9               A          Yes.

10               Q          And     physical                training?

11               A          Yes.

12               Q          Okay.          And        did         you    pass            all       of    your

13     courses         in    the      academy               the      first          time?

14               A          Yes.

15               Q          And     upon        graduating                   the         academy,              did

16     you      have    something               referred                to     like            maybe       an

17     appointment             date        or       a first             date        of         assignment            to

18     a command?

19               A          Well,         we went            through               field           training

20     first.

21               Q          Field         training.                  When          did         you      graduate

22     the      academy        and        when        did         you    start             field

23     training?


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 1                A             I    think             we had           field            training              for         two

 2     weeks            and     then         we graduated.                           I    think           that's              how

 3     we did            it.         It      was          --

 4                Q             Approximately                      when          was        it      that         you

 5     graduated                and        started               your       first           detail             as      a

 6     police            officer?

 7                A             I believe                  we graduated                     the          end     of

 8     December.

 9                  Q           Of        '84?

10                A             Of        '84.           And      then          we went             through

11     training                in    the          different              departments                      in     our

12     police            department,                     a couple               of       weeks           on

13     midnights,                   a couple               of     weeks           on      the       day        shift,              a

14     couple            of     weeks             on     afternoons.                      We spent               a week

15     in     ID,        a week            in         records,           a week             in      our        dispatch

16     where            we dispatched                      our      own         calls.              It        was       the

17     911      Center.

18                  Q           What             is     ID?

19                A             Identification                          Bureau.                  Back         then,           we

20     used         to     develop                our      own      film.                We'd       take         pictures

21     with         Polaroids                    and     develop            our          own      film         and         place

22     arrest            records             with          the      photographs                     and        the

23     fingerprints.


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 1                    Q           And        what      did        the      Records               Unit        or       Bureau

 2         do?

 3                    A           I'm        sorry?

 4                    Q           What        was      the        Records             Bureau?                What       were

 5         your       duties            there?

 6                    A           Okay.             The      Records             Bureau           was

 7         separating               the       different                 forms.             Back         then,          we

 8         had      a certain                form      for        burglary,                a certain                  form

 9         for      a fire,             a certain                form      for        criminal               mischief,

10         and      we would              separate               them      and        go    through                  them

11         and      then       physically                  put     them          in     files,           not

12         electronically.

13                    Q           Okay.             After         you      went         through              those

14         different              periods             of     training              in      each         of      those

15         bureaus,            where          were         you     assigned?

16                    A           I walked             the        beat.

17                    Q           Is      that        referred             to      as      patrol?

18                   A            Yes.

19                    Q           And        how      long        were       you        assigned                to

20         patrol          for?

21                    A           I was          a patrol               officer.                 I was          --     I was

22         promoted            in       --    give         me a minute                  here                 '94,           I

23         think.


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 1                   Q             You          were        patrol           for        about               nine         or       ten

 2         years?

 3                   A             Yeah.               I    think          eleven           years.                     I was

 4         promoted.

 5                   Q             And          so     what        were          your           duties             and

 6         responsibilities,                               just      briefly,                   for         the        record,

 7         in    patrol?

 8                   A             Well,             I walked              the      beat              my first

 9         assignment.                     I was            a --         second           assignment                      was            a

10         radio         relief,                I believe,                 which           is,         you         did

11         regular           patrol              stuff            and      then,           if         the         dispatcher

12         needed           time          off        or     had         a day       off,              you         would           fill

13         in.       And          there          were           other        people              involved                 in        it,

14         so    we rotated.

15                                 I was             an     evidence               technician                      for        a

16         couple           of     years             on     different               shifts.                       I worked

17         afternoons                and         I worked                days,          mostly               in        patrol.

18         I was         promoted                in,        I     think,           1995          or         1996         to

19         Sergeant.                 I went                to     sergeant              training,

20         supervisor                training.                      In     between               that             in     1990            I

21         was      on      the      SWAT team                    and      received                   training                also,

22         and      after          I was             promoted              we had               a tactical

23         supervisor                school                and      I went          to          that         --


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 1                              I     can         go      on      and         on     all      day      about           my

 2     training.                    Is      there              something               specific?

 3                 Q            I want              to         know       your         commands,               not      your

 4     training.                    You were                   patrol          --

 5                A             Patrol              supervisor.

 6                 Q            In         '95      or         so?

 7                A             Yes.

 8                 Q            And         then          what          were         your         duties          as

 9     patrol           supervisor?

10                A             Overlook                  and          make         sure      the      officers

11     were        answering                     their          calls          correctly;                  going

12      through           the         reports,                  doing          reports              correctly.

13     Making           sure          they          had          the      details             that         were

14     necessary                for         follow-up                   by     the         detectives.                  Any

15      statements                  that          were           taken,             I would          approve

16      that.           Any         reports               I would              approve.                Go to           fire

17      scenes.               You         know,           you          would         direct          officers

18     where           they         should               go,      you         know,         for      traffic            and

19      things          like          that.               Any          tactical             maneuvers,                 that's

20     part        of     it,         also.               You          know,         barricade              a gunman,

21      things          like             that.

22                 Q            For         how          long          were        you      a patrol

23      supervisor,                      approximately?


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 1                A            Unti     1      '9 8.

 2                Q            About         two        or      three          years?

 3                A            Yes.

 4                Q            And      then           what       happened                 in      1998?

 5                A            I went             to    the       Detective                    Bureau.

 6                Q            To go         from         patrol              to     Sergeant,                 did        you

 7     have       to        take       some        kind         of      an     exam?

 8                A            Yes.

 9                Q            Was      that           a written               exam?

10                A            Yes.

11                Q            Administered                     by      the         Troy          PD or        some

12     other          agency?

13                A            Troy         PD took             it,      but         it        was    a statewide

14     exam.

15                Q            Did      you        pass         that          the         first       time?

16                A            Yes.

17                Q            To go         from          Sergeant                 to     Detective,                 did

18     you      have         to    take           some         type      of         an      exam,         or        was

19     that       some         other         type          of     promotion?

20                A            That         was        through           seniority.                       However,              I

21     turned          it      down         the        first          couple              of      times        it     was

22     offered.

23                Q            Prior         to        1998?


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 1              A              Yes.

 2                 Q           Why did                 you     turn             it      down?

 3              A              Because                 I wanted                 to      get        more           provided

 4     experience               in       patrol.

 5                 Q           And       in       1998,             you         felt          you          were        ready          to

 6     accept           the     promotion                     to         Detective?

 7              A              Yes.

 8                 Q           Did       you           receive              any         special                training

 9     upon     becoming                 a Detective?

10              A              Yes.

11                 Q           What        did          the         detective                    training                consist

12     of?         First        of       all,           let         me ask              you           this.            Was       it

13      like       --      before          you          started                 your          duties              as

14     Detective,               was        there              a period                  of,        whether               it's

15     week,        a month              or       a year,                 where              you       had        detective

16     training,               or     was         it      on        the         job?

17              A              Well,            it's          --         there's              a two            week        basic

18     investigation                     course               that          I        took.

19              Q              Did       you           take         that             prior            to      starting

20     your        duties           as     a Detective?

21              A              No.         I      took         it         years              later.

22              Q              Did       you           take         it      before               2008,            meaning,

23     before           the     incident                  with            Adrian              Thomas?


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 1                A           Yes.

 2                Q           When         did         you        take            it      between              '98     and        --

 3                A           2005.

 4                Q           And         who      provided                  that          course?

 5                A           I'm         not      sure.                I    think             --        I believe           it

 6     was       through            the         state.             It        was          over           on    Wolf        Road,

 7     I think.

 8                Q           Okay.              And        did         you            receive            some        type        of

 9     certificate                  of     completion                       for         that         course?

10                A           Yes.

11                Q           In      that         course,                  did         you      receive

12     training            on       interrogation                           techniques                    or     tactics

13     or     procedures?

14                A           I'm         not       sure.

15                Q           Other             than        the         two            week      basic

16      investigative                     course             in    around                 1995           on    Wolf        Road,

17     did       you    receive                 any       other             training                 in       connection

18     with       being         a Detective                       as        opposed                 to    standard

19      in-service              training                  for      all            officers?

20                A           Yes.

21                Q           What?

22                A           I went              to      a post-blast                         investigation

23      school         that         the         ATF put            on.


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 1               Q              Post         what?

 2               A              Post         blast.            After           an      explosion,                 to

 3     look      and        determine                 what         type        of      device           was       used

 4     to      make        an    explosion,                  whether             it     was           a chemical

 5     device,             a liquid             device.

 6                              MR. KLEIN:                   Off       the       record.

 7                              (Discussion                  off       the       record.)

 8                              MR.      KLEIN:              Back         on     the      record.

 9     BY MR. KLEIN:

10               Q              Other          than      that,            what         other           training

11     specifically                    for      being          a Detective                     have       you      had

12     since          --

13               A              Numerous              places           and       numerous               events           at

14     the      State           Police          Academy,              between             sexual            assault

15     and      --      and      hate          crimes          investigation.                           That's           the

16     only      one        that         sticks          out.             I don't              know.          I

17     probably             been         to     close          to      three           dozen           different

18     trainings.

19               Q              Okay.           Have         any       of      your       trainings                ever

20     dealt         with        interrogations,                          whether              it's

21     interrogation                     techniques,                   guidelines,                     procedures

22     and      such?

23               A              Yeah.


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 1                Q            How many,                   if         you,        know,           and      which             ones

 2     do    you        specifically                       recall?

 3                A            Maybe         half               a dozen.

 4                Q            And        were         they            all        in       Albany          on     Wolf

 5     Road       or        different              places?

 6                A            They        were            different                   places.                Some           are

 7     private              training.                  I        remember               a retired                 Rochester

 8     police           officer            detective.                         He gave              a training

 9     about          it.          Al     Joseph                his      name          was.

10                             I     remember                   a State              Police          officer.                      He

11     was      a current                 detective.                         I believe               his         last         name

12     was      Hamil          or       Hamlin.

13                             And        then         I        received               some        informal

14     trainings               from        some            other             State          Police            officers

15     who      were         doing         sex         crimes                at      the      time         and      I was

16      looking             into        a case             and         they          were         giving          me some

17     assistance                  with      it,           just          sitting              down         and          --

18                Q            Doing,            like,                a role           play?

19                A            Yes.

20                Q            Okay.             So,            other         than          the      retired

21     Rochester               training                --        the         training              by      the      retired

22     Rochester               officer              and          the         training              by      the      current

23     New York              State         Police                detective,                   was       the       other


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 1     training              you     had         regarding                 interrogations

 2     informal              or     were         there           any       other           formal

 3     trainings?

 4                A           There          were          other           formal           trainings.                    I

 5     just       don't           recall            all      of     them.

 6                Q           They         would           be      in      your       training              file?

 7     They       should            be?

 8                A           They         should            be,        yes.

 9                Q           Okay.              And       what         did         you     learn          about

10     interrogation                      techniques?                      Withdrawn.

11                            Were         all        of     these            courses            prior        to

12     2008,          or     have       you         had      any        dealing             specifically

13     with       interrogation                       since          the       Thomas            case?

14                A           I've         had        some         since.

15                Q           Have         the       procedures,                     the        training            and

16     procedures                 and      guidelines,                     changed              since       then,

17     since          '08?

18                A           Not         really.

19                Q           Okay.              And       what         is     the         --    what       is      it

20     that       you        can     recall               that      you've            been          trained              with

21     regard          to     interrogation,                         to       the     best          of     your

22     memory?

23                A           Never          ask          somebody             a question                  that          you


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 1     don't          know        the      answer             to,      and         you         get      more          flies

 2     with       honey           than          you     do      with         sugar             --     or      than       you

 3     do      with        vinegar.

 4                Q            What        does         that          mean?

 5                A            That        means,             generally,                  if         you're           nice

 6     to      somebody             and         you     sit         down        and       talk          to       them         and

 7     treat          them        with          respect,              they'll             speak             to    you,

 8     more       likely            speak          to      you,        than         if         you      go       in     there

 9     and      treat          them        like         dirt.               And     I've             seen        people,

10     you      know,          in       examples              at      training,                 go      in       and

11     treat          people            like       dirt.

12                Q            Okay.             Other          than         those             two      pieces           of

13     information,                     never         ask       something                 you         don't           know,

14     you      get        more         flies

15                A            With        honey.

16                Q            --       with       honey            than        with           --

17                A            Vinegar.

18                Q            --       vinegar,              what          else         do     you         recall

19     about          your        training              regarding                  interrogations?

20     Are      there          any       techniques                   that         you've             learned             in

21     terms          of     whether             you        can       use       trickery                or

22     deception               or       lying         to      the       subject?

23                A            Yes.             We do         that.


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 1                  Q              So,         tell           me,        to     the       best         of       your

 2     knowledge,                      what           you      recall                about        your          training.

 3                  A              We can               use         trickery              and        deceit            to     get

 4     somebody               to         confess               to        a crime.

 5                  Q              Are         there           any         limitations                    to     that,

 6     based            on    your             training                  and         experience?

 7                                 MR.         PERKINS:                    I    object            to      the        form.

 8                                 You         can          answer.

 9                  A              I put              my limitations                         on    myself              of     what

10     I would               do.          I'm           not         sure        what         other          detectives

11     do     not        in        my presence.

12                  Q              Well,              when          you        put      them         on     yourself,

13     are     they           limitations                           that        you've            learned              from

14     training,                   experience                       or     both?             Sounds             like        maybe

15     from         your           own         experience.

16                  A              Training,                   experience                    and       my moral               code.

17                  Q              So,         what           are        the         limitations                 you        impose

18     on     yourself                   through               all         your         years          of       training

19     and     experience?

20                  A              I don't                  threaten                 anybody.

21                  Q              Okay.

22                  A              I     try          to      be     a gentleman                     and        be

23     respectful                      and       tell          people                exactly           what's            going


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 1         on.         I use                props           now         and        then.

 2                     Q               Like          what?

 3                     A               I'll          walk           in        with         a stack                     of     paper              like

 4         this           (indicating)                       and          I'll           put              it      in       a case           file

 5         and      just           put         it      down             and        say          here's                 evidence

 6         here,           you         know.                I can             go      to        somebody                    about           it      or

 7         I     can       not         go      to      somebody                    about                  it,        but      I    just

 8         need        you         to         explain               why          this           is             going        on.        So,

 9         sometimes                   it      works,               sometimes                        it         doesn't.

10                     Q               Okay.                And         the        premise                      of     what        you           just

11         said,           it      sounds              like             the        foundation                          of     that          is

12         you      ask          open-ended                        questions?

13                     A               That's               correct.

14                     Q               You          start           with           the          premise,                    I have

15         evidence,                   please               tell         me what                 happened                     that          led

16         to      this          event.                Correct?

17                     A               Correct.

18                     Q               And          you're              not        putting                      words         in      the

19         mouth           of      the         person               or        suggesting                          that        they          --

20         suggesting                       ways       they             could            explain                     to     you       how

21         they        get         from             A to           B,     which            is             your         evidence;

22         you're               just          asking               them          to      tell                  you     on     their

23         own.            Correct?


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 1              A           Right.

 2              Q           And         so     when              --        in      terms          of,            like,         a

 3     moral        code         or     from             training                  or       experience,

 4     whatever            the        basis,              is         the         point           where              reasonable

 5     police        officers                 are         required                     to    stop              or      take         an

 6     interrogation                    too         far         when             they        start               giving             the

 7     information                rather                 than          asking               open-ended

 8     questions?

 9                          MR.         PERKINS:                       I object                  to        the         form.

10                          You         can         answer                 if      you       understand                       the

11              question.

12                          THE WITNESS:                               May I have                     it         read         back?

13                           (The         record                was             read        as    requested.)

14              A           I guess                 it         all         depends               on        a

15     case-by-case                   basis.                   Sometimes                    we do              give

16     information.                     We know                  what's                going          on,           we know

17     what     happened,                 there's                    proof             and       evidence                 about

18     that,        and     you         have             the         person              explain

19     themselves.

20              Q           Okay.              But             you         can't            suggest                 to    them

21      facts       that         aren't             true,              can         you?

22                          MR.         PERKINS:                       I object                  to        the         form.

23                          THE WITNESS:                               Can         I     answer                that?


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 1                                MR.       PERKINS:                    Yes,          you        can.

 2                   A            You       can      tell          them            facts          that         aren't

 3     true.

 4                   Q            You       can      tell          them            conclusions                   but

 5     you're              asking           them       to        tell           you        the        facts           that     led

 6     to      the         conclusions.                      Am I understanding                                  you

 7     correctly?

 8                                MR.       PERKINS:                    I object                 to     the      form.

 9                                You       can     answer.

10                   Q            The       purpose              of       the         interrogation                      is    to

11     get      them             to     explain             to    you           how

12                                MR.       PERKINS:                    Do you             want         an     answer          to

13                   the         last       question               or         no?          He didn't                  answer

14                   it.          Can       you     withdraw                    the        last         one?

15                                MR.       KLEIN:               I was             rethinking                  it.

16                                MR.       PERKINS:                    All        right.

17                   Q            The       purpose              of       the         interrogation,                         even

18     if      you         say        I have         a stack                  of      evidence                here,          you

19     can      tell             me or        I    could           find            out       from        someone

20     else,             you      want        them          to     tell            you       in       their           own

21     words,              not        in    the     words               of      you        or     your

22     colleagues.                         Correct?

23                   A            That's           correct.


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 1               Q         So,        if      an       interrogation                       leads        to      an

 2     accused          telling             you        in     the          words       of     you      or       your

 3     colleagues              because             you've             suggested               to      them        what

 4     the     answers            are,        that           is      where         you      could          have        a

 5     situation           of       a coerced                 confession,                   whether             true

 6     or     false.           Correct?

 7                         MR. PERKINS:                            I object            to     the       form.

 8                         You        can         answer.

 9               A         Not        in     my experience.

10               Q         Have            you      learned                about       coerced

11     confessions                and       what         you're              to    avoid       having             those

12     situations              in     your          training?

13               A         I've            heard         examples                 of   a coerced

14     confession.

15               Q         Not        all         of     them         are         false.            Correct?

16     Some      are      true,            some        are         false?

17               A         That's             correct.

18               Q         You        want          to       avoid           a coerced              confession,

19     certainly,              that's             false,             but      you      also         want        to

20     avoid          a coerced             true         confession.                       Right?

21               A         If       somebody                 wants           to    confess            to     me,       I

22     want      to     hear        it.           I want             the      truth.               Basically,

23     when      it     comes         down          to       any       interview              or      an


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 1         interrogation,                           the         truth            is        what         really           matters.

 2                    Q            But         you             want        it         to    be      obtained                 in     a way

 3         that's          admissible                          in     court.                Correct?

 4                    A            That's                 correct.

 5                    Q            And          so        if        a true              confession,

 6         hypothetically,                             is       coerced,                   that         is,         obtained           in

 7         a way          that's              due         to        physical                or      mental             pressure,

 8         it     may      not       be        allowed                  in       court.                 Is     that          your

 9         understanding?

10                    A            Yes.

11                    Q             So,         it's            your            goal,            obviously,                  to

12         obtain          a confession                             that         is        not      coerced,                 whether

13         it's       true,              or     certainly                       whether             it's            false?

14                    A            Yes.

15                    Q             So,         applying                   physical                 and        mental

16         pressure,               as         you         know          through                  your         training              and

17         experience,                    is        a way             that            leads         to        a potential

18         coerced            confession?

19                                 MR.          PERKINS:                        I object                to     the       form.

20                                 You          can            answer.

21                    A             It        all         depends.                      I don't               use      any

22         physical              pressure.

23                    Q             I'm         just            talking                 about           generally.


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 1         Based          on      your       training                     and      experience,                   is      it     your

 2         understanding                     that         excessive                      physical               and/or

 3         emotional                pressure              on         a subject                  of      an

 4         interrogation                     can         lead             to     instances               of      a coerced

 5         confession,                    generally?

 6                                  MR.      PERKINS:                          I object           to     the          form.

 7                                  You      can         answer.

 8                    A             Yes.

 9                    Q             Okay.           And         you             certainly               don't          use

10         physical               pressure?

11                    A             No,      I     don't.

12                    Q             And      when         you             throw          the      paper          down          on

13         the      table           and      say         I have                 this      evidence,                   that's         a

14         form       of         psychological                       pressure,                  but      you're               not

15         taking           it      to     a limit              that             you      feel,          morally               or

16         through               your      training,                      is     too      far.           Correct?

17                    A             That's          correct.

18                    Q             There          is      a point,                     from      your          training

19         and      experience,                    that         it         does          get      too        far.

20         Correct?

21                    A             Yeah.           When             it         turns          into      a physical

22         type       of         thing.

23                    Q             What         about          when             it's          non-physical?                        Are


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 1     you      aware           of      instances                   in         your       training                and

 2     experience,                    either           one          or         both,          where            instances

 3     of     mental            or      psychological                           pressure                 on      someone

 4     being           interrogated                    are          too         much           so       that      you         know

 5     that        the        manner            in     which              it      was         obtained                 was

 6     wrong?

 7                              MR.         PERKINS:                 I object                   to       the      form.

 8                              You         can       answer.

 9                 A            If      it's          a confession                        that           they          actually

10     did      something,                     I would              try         that.               I    think           I

11     would.

12                 Q            But         what        I'm         asking              is,         there         are

13     instances                --      I      think         you          said          that            you're           aware

14     from        your         training               and          experience                      that         there

15     could           be     instances                where              a valid               confession                    is

16     obtained               through              coercion                    and      therefore                 it         risks

17     being           inadmissible.                          Correct?

18                 A            That           could          happen.

19                 Q            Let's           say       the        person               is        verbally

20     threatened,                    although                not         physically                     harmed              or

21     other           things           that          will          be         determined                   by    the         court

22     to     be       too      much           pressure              so         that           they         violate               the

23     rights            of     the         person.                 That          could             be      a reason                 why


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 1         the      mental                pressure                  could         be      too      much            and          a

 2         confession                     can       be       considered                   coerced             even              if    it's

 3         true.              Are         you       aware            of      that?

 4                                    MR.       PERKINS:                     I object              to        the          form.

 5                                    MS.       CALABRESE:                        Objection.                       Calls             for

 6                       an        expert           conclusion.

 7                                    MR.       PERKINS:                     You       can       answer.

 8                                    MR. KLEIN:                       He's          an      expert.

 9                       Q            I      just        want          to      note,            based         on          your

10         training                 and       experience,                      you        would         agree              that

11         a --          an        otherwise                 true         confession,                   if         it's

12         coerced                 through             emotional                  stress           on        the          subject

13         of      the        interrogation,                           risks           the       interrogation                             not

14         being             admissible                  in         court?

15                                    MR.       PERKINS:                     I object              to        the          form.

16                                    MS.       CALABRESE:                        Objection.

17                                    MR.       PERKINS:                     You       can       answer.

18                       A            That's             not         up      to      me to         decide.                      That's

19         up      to        the      judge            to      decide.

20                       Q            But       it's           your          duty         to     conduct                  the

21         interrogation                        in       a lawful                 manner           and        to          have

22         evidence                 that's             useful             in      court.            Correct?

23                                    MR.       PERKINS:                     I object              to        the          form.


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 1               A           That         is    correct.

 2               Q           So,      are       you        aware           in     your           training,

 3     through            your      training,                and         maybe         you're               not,             but

 4     the     question             is,        are      you        aware          of        how        to     toe            the

 5     line      of       where       the       mental             stress             of               goes         to        the

 6     line,         crosses          the       line         of     being             coercion?

 7               A           It     all        depends             on      what        individual                       it

 8     is.       Different                people           react           differently                      to

 9     different             stresses.

10               Q           In     this        case,          Mr.         Thomas            was

11     sleep-deprived                     by    the        time          of     the         second

12      interrogation                 that           you     were          present               at.          Were            you

13     aware         of    that?

14               A           No.

15               Q           Is     sleep            deprivation                  a fact               that         a

16     trained            investigator                  should             consider                when          using

17     psychological                  stress            on     a subject                    of     an

18      interrogation?

19                           MS.      CALABRESE:                        Objection.                     Calls            for

20                 an     expert          conclusion.

21                           MR. PERKINS:                      I object                to        the        form.

22                           You      can       answer             if      you        can.

23               A           Are      you       talking                 about         the        suspect                being


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 1     sleep-deprived                        or     --

 2                Q            Yes.

 3                A            Not         the      detective?

 4                Q            No.           The      suspect.

 5                A            I     don't          know.              Like             I    said,         it      all

 6     depends            on       the       individual.                          I've         conducted

 7     interviews                  when          I was      sleep-deprived.

 8                Q            I'm         talking          about                 the        voluntariness                       of

 9     the     statement                   and      whether                it's             true      or        false.

10     You     want        to        have         something                  that's                true         and      that's

11     reliable            and           admissible               in         court.                  Correct?

12                A            That's             my goal.

13                Q            Right.               So,     if         the         person             hasn't             slept

14     for     two        or       three          days,          is        that             a factor             that,           in

15     your       training                 and      experience,                         you        would

16     consider?                   Maybe          you'd          let         the            person         get         some

17     sleep          before             you      resume          your              interrogation?

18                             MR.         PERKINS:                   Form.

19                             MS.         CALABRESE:                      I'm          going         to        make        a

20                standing                 objection                  to     this            entire             line        of

21                questioning,                      as     he's            not          an     expert             in     the

22                field            of      voluntariness                          of        confessions.

23                             MR.         KLEIN:           You            can          just         object            to


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 1               form.              He's            very       experienced                        and         the          court

 2               will          decide               who's          an        expert              and         who's             not.

 3                             MR.       PERKINS:                    I object                    to     the         form.

 4                             You       can         answer             if         you      remember                     the

 5               question.

 6               Q             Is    sleep             deprivation                        a factor                  that,              in

 7     your      training                and         experience,                       you         consider                    in      the

 8     subject            of    an       interrogation?                                Like,            if         you         know

 9     that      the       person              you're              interrogating                             has         been          up

10     for      two       or    three               days,          would             you         take         that             into

11     consideration                     and         maybe           let            him     get         some             rest

12     before            you    resume?

13               A             I don't               know.              It          depends             on         the         case.

14               Q             Has       it         ever          come        up,         in       your

15     experience?                   3,500,                 cases,             I     think            you          said.

16               A             I don't               know.              I      don't             remember.                       I

17     mean,         I    know       that            there's                 times           I'm

18     sleep-deprived                         when          I'm      interrogating                            people,

19     so

20               Q             But       your          statements                        aren't              being             used

21     against            you       to        put      you         in        jail          for         the         rest          of

22     your      life.              Correct?

23                             MS.       PECK:               Objection.


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 1                           MR.      PERKINS:                You       can         answer.

 2              Q            When      you're           sleep-deprived?

 3              A            Until       this         case.             I mean                --

 4              Q            Well,       no      one      is      looking

 5              A            You're           talking           about          my career                        being        in

 6     a problem             here,       so      --

 7              Q            How would             your         career              be        in         a problem?

 8              A            You      just       said          that.

 9                           MR.      PERKINS:                 I object                  to        the      form.

10              Q            I didn't            say      that.               I'm         asking                you.

11     You     just      said         that.            I don't              know          what            you      mean.

12     If    you      want      to     explain,               you're               free            to     explain.

13                           MR.      PERKINS:                You       answered.                         Go ahead.

14              Q            What      do      you      mean           that         your            career             is    in

15     a problem?

16              A            You      asked        a question                  about                something

17     about        my career            being          in       jeopardy                 or        something.

18              Q            Nope.            I don't            think             so.

19                           MR.      PERKINS:                 Can      we take                    a quick

20              break?

21                           MR.      KLEIN:            Sure.

22                           (A recess             was         taken          at         2:44            p.m.          The

23              proceedings                   continued                at     2:50            p.m.          as


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 1              follows:)

 2                          (Exhibit                Thomas           10     was      marked           for

 3              identification.)

 4                          (The        record          was          read      as     requested.)

 5     BY MR.        KLEIN:

 6              Q           I don't            believe               I asked          you       anything

 7     about        your      career           being          in      jeopardy.                 Is     there

 8     some     reason            why    you         think          your       career           is     in

 9     jeopardy?

10              A           No.

11              Q           Okay.             You      haven't              been       suspended                  or

12     otherwise            subject            to      any         type       of     administrative

13     action        because            of     this          case,          have      you?

14                          MS.      CALABRESE:                      Objection.                 50-a

15              precludes               the         witness           from          responding                   to

16              this        answer            unless          there           has      been          a motion

17              made        before            the      court          and      the      court          reviews

18              this        officer's                disciplinary                    records,               if        any,

19              and        then      discloses                whatever               material               is

20              relevant.

21                          MR.      PERKINS:                  I     join      in      the      objection

22              and        I would            note      that          all      three          individual

23              defendants'                   personnel               files          were       provided


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 1             for     an       in     camera              inspection                        for          Judge

 2             Stewart,               who     has          issued                an      order             saying             that

 3             there        was        nothing               relevant                    in        them.

 4                        MS.         PECK:            I     join           in         the         objection.

 5                        MR.         KLEIN:               Okay.                 So,         he      could             say        no,

 6             I don't           think          there               was.               If         there          was

 7             anything               about         this            matter,                  it      would             be     yes.

 8                        MS.         CALABRESE:                      He shouldn't                              have         to

 9             respond.

10                        MR.         KLEIN:               Well,            you          don't             represent

11             him.         This         is     a federal                        case.

12                        MS.         CALABRESE:                      No,         this             is      not         just        a

13             federal           case.              This            is      going                 before             the

14             Court        of        Claims.

15                        MR.         KLEIN:               He's           a party_                 in      the         federal

16             case,        though.

17                        MS.         CALABRESE:                      Right,                 but          he's         a

18             nonparty               witness              in       the          Court             of          Claims         case

19             and       I have          a duty              to          state              what          is     right

20             with       the         law.          And         I        can't              direct              him.          Only

21             Joe       can     direct             him         not         to         answer.                   I'm

22             stating           my position                        that          he          should             not         be

23             made       to         answer           that          question                      yes,          no     or


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 1             otherwise.

 2                             MR.        KLEIN:                  In      your            view,               under             State

 3             law.             I disagree.                             But         Joe         represents                          him          in

 4             the        federal                case             governed                     by       the          Federal

 5             Laws            of    Civil             Procedure,                         and           if         there            were             a

 6             relevant                   disciplinary                             about            this             case,            I

 7             believe               it         would             have             been         disclosed.

 8                             And        I     just             want       to           have           a yes              or       no

 9             answer.                    I'm      not            asking                 him        about                any        matter

10             that's               not         relevant.                          I'm         asking                about            this

11             case.                This         case             is      clearly                   relevant.

12                             MR.        PERKINS:                      Okay.

13                             MR. KLEIN:                         I     think             the           answer                is      no,

14             so       it's         an         easy             question                 and           answer.

15                             MR.        PERKINS:                      The         question                       is,         should                I

16             let        him        answer                 it        anyway,                  because                   I expect

17             and        I believe                    it         is      no,            but        I        do      think            it     1
                                                                                                                                                 s

18             an       improper                 question.

19                             MS.        CALABRESE:                          The         problem                    with

20             allowing                   him      to            answer             is         that           it         opens             the

21             door            to    Brett             getting                     his         entire

22             disciplinary                        file.                  That's                my position.

23                             MR.        KLEIN:                  No,         it         doesn't.                        If        there's


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 1             a proceeding                     about         this           case          that          maybe                   we

 2             didn't             know     about            previously.                          For          instance,

 3             I had         a case           with          the        AG's          Office              where                   they

 4             just        disclosed               an       investigation                            into           the

 5             subject             incident              that          wasn't              previously

 6             known         for         a year          or       two,         the         litigation.

 7                         So      if,      for        some         reason,                it        wasn't

 8             previously                 known          that          IA or           some            other

 9             agency             investigated                    this         case,             even          if           it

10             was      unsubstantiated                           or      something,                     it         needs

11             to     be     disclosed                 to     the         court            to        review                 and

12             then        we can          determine                   its         admissability,                                 its

13             discoverability.

14                         It's          my understanding                            that            there              was

15             not      one        from         this        case,            but       I        just          want               to

16             have        an      answer          on       the        record.

17                         MS.       PECK:             Does         he       already                 have           a

18             directive                 from      the        court            to      provide                 any

19             documentation                      that        may         be       relative                   to        a

20             disciplinary                     matter,             not        just             in     this             but           in

21             any      way        regarding                Officer                Colaneri?                        That

22             information                 has         already               been          provided                     to        the

23             court.              The      court           has        already                  issued              an


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 1                 order         in      that         respect.                     Asking               him         for        a yes

 2                 or      no    answer              with            respect            to        whether

 3                 something              exists                circumvents                       the         court's

 4                 order         that          has         already               been        issued                 in     this

 5                 case.

 6                              MR.      PERKINS:                        Well      --

 7                              MR. KLEIN:                      I'm        not      asking               for

 8                 documents.                   I'm            just        asking            for         the

 9                 existence              of         the         --

10                              MR.      PERKINS:                        I know         you're                not         asking

11                 for      documents,                     I    agree,             and       I'm         going             to

12                 direct          him         not         to        answer          this.               Perhaps                you

13                 can      call         the         judge.

14                              MR. KLEIN:                      Let's            mark        it         for         a ruling.

15                              MR.      PERKINS:                        Thank      you.

16                              MR. KLEIN:                      Your            attorney                will         advise

17                 you      about         that.

18                              MR. PERKINS:                             Thank      you.

19                              MR. KLEIN:                      As you             indicated,                       I don't

20                 think         there          is         one.             I    just        want             to     have          a

21                 complete              record                --

22                              MR. PERKINS:                             I understand.

23                              MR. KLEIN:                          --    because            if         there             is    one,


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 1             we should              know.

 2                         MR.      PERKINS:                  I understand                        your

 3             position,              but       the         record              has      been           marked.

 4                         MR. KLEIN:                   So,         okay.              So,        let      me take

 5             a moment             to      look        for         a document                    here          that     I

 6             want        to      mark.

 7                         MR.      PERKINS:                  Off         the         record.

 8                         (Discussion                  off         the         record.)

 9                         (Exhibit             Thomas              11     was         marked             for

10             identification.)

11     BY MR.        KLEIN:

12             Q           So,      Thomas            11       is    a General                    Order

13     pertaining             to    electronic                  recording                    of

14     interviews.                 The      effective                date             was     May of              '08.

15     Were    you      aware         that           that       establishes                       guidelines

16     for    electronic              recording                 of        interviews                    like       the

17     one    of     Adrian         Thomas?

18             A           Yes.

19             Q           And      his       interview                   was         recorded?

20             A           Yes.

21             Q           Okay.            Other           than          this         General             Order

22     regarding           electronic                 recording                  of      certain

23     interviews,               meaning             certain              criteria,                 are         there


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 1     any     other       guidelines                    in      the         department's                  patrol

 2     guide        that        instruct                officers              with       regard            to

 3     procedures               for         interrogations                      or     conducting

 4     interviews               or     is      that        all         from         training?

 5              A           I     think          it's          all      from         training.

 6              Q          Nothing               in      the         GOs that            you're            aware

 7     of?

 8              A          No.              I don't            think          so,      no.

 9              Q          Okay.               I'll        take         that         back.

10              A           (Offers.)

11              Q           Thank            you.          Were         any         department

12     guidelines               or     procedures                    changed           since         the         Thomas

13     case,        whether            as      a result                of     the      Thomas             case      or

14     any     events           that         relate            to      interrogation

15     procedures?

16              A           I'm        not       sure.

17                         MS.         CALABRESE:                      I'm      going          to    object.

18              Post-remedial                         measures.

19                         MR.         KLEIN:              Noted.               I    think          I'm      done

20              with        this.

21                          Off        the       record.

22                          (Discussion                    off         the      record.)

23


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 1     BY MR.          KLEIN:

 2               Q             Going            back         to     your        career,               you      became              a

 3     Detective               in      around            1998.             Correct?

 4               A             Yes.

 5               Q             And         have         you       held      the        rank           of     Detective

 6     ever      since,              or        have      you        attained              a higher                 rank

 7     since         then?

 8               A             I     did        not      attain            a higher              rank             and     I

 9     went      back          to      patrol            for        about          a year             and         a half

10     during           that         time.

11               Q             Okay.              During            what        period           of         time        was

12     that?

13               A             Let's            see.           In    the        year       --         the

14     beginning               of      the        year         2001,        my spot              --         our     spots

15     were      bid       through                seniority,                so        somebody               with

16     higher           seniority                 at     the        time        bid       a day             spot        that

17     I was         working.                   Because             of     child          care         issues             I

18     could         not       work            afternoons,                 so      I decided                 to     take           a

19     midnight            patrol               spot,          which        was        a big           mistake                at

20     the      time,          but         I    did      that        for         family          reasons.

21               Q             Okay.              And        have        you       held         the         rank        of

22     Detective               ever            since         1998        other         than           that         time

23     that      you       went            back         to     patrol?


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 1                  A          Yes.

 2                  Q          There               was     a publicly                       reported              incident

 3         where        you    were           put         on       desk          duty        about             two    years

 4         ago     involving                Detective                    Fountain,                 former            Officer

 5         Fountain?

 6                             MR.          PERKINS:                     I   object            to        the      form.

 7                  Again,            this           is      the         same       type           of     civil          rights

 8                  law,       50-s.                 Objection,                   and        I'm         going        to

 9                  object            to      it         and       direct           him        not        to      answer.

10                             MR.          KLEIN:                 But       you        know         that         doesn't

11                  apply           in      this          case.

12                             MR.          PERKINS:                     I do       know           that         --

13                             MS.          CALABRESE:                       I    join.

14                             MR.          KLEIN:                 State          law        doesn't              apply.

15                             MR.          PERKINS:                     Even       with           the         federal

16                  court           and       the         personnel                 files            being           turned

17                  over,           it's           all       the         same       or       very         similar

18                  objections                     that        we had             made         previously,                    and

19                  I'm       not          going          to       let       him        answer            that        without

20                  a court                order.

21                             MS.          CALABRESE:                       And        I    join         in      that

22                  objection.

23                             MS.          PECK:              Join          in     the        objection.


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 1                            MR. KLEIN:                  I don't                 think            anyone             has

 2                 standing.

 3                            MS.      CALABRESE:                     I have              standing.

 4                            MR.      KLEIN:             You         don't             represent                  this

 5                 defendant.

 6                            MS.      CALABRESE:                     It        doesn't             matter              if         I

 7                 represent              him      or     not.              I'm         entitled               to       make

 8                 that       objection                 and     I'm         permitted                    to    tell           him

 9                 he      shouldn't             answer          because                  he       has        a right

10                 to      know      that        you      have             to     motion            the        court               to

11                 get      that       information,                        so     I     do     have           standing.

12                            MR. KLEIN:                  I don't                 agree,            but        --

13                            MS.      CALABRESE:                     Let's             call        Judge             DeBow

14                 if      this      is     going         to     continue                     to    be        an

15                 issue.

16                            MR. KLEIN:                  I'm         going             to     have           to      ask

17                 that       we not         have         a colloquy                      in       front           of        the

18                 witness           and     certainly                     no     speaking

19                 objections.                   Objection                  to        form         and        direct

20                 him      not      to     answer,             say         back          on       the        record,

21                 and      that's          sufficient                     and        we can             move         on.

22                            MR.      PERKINS:                Maybe              the         colloquy                could

23                 help.           Maybe         I'll         just          put         the        Sergeant                  in


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 1                 another           room       for      a few             minutes         and        you         guys

 2                 can      talk,       we can,              so     it's       not        in     front            of

 3                 the      witness,            because             this       does        seem            like

 4                 it's      something                that        might        reoccur.

 5                           MR.       KLEIN:            No,        I don't            think          so.

 6                           MR.       PERKINS:                Okay,          then.

 7                           MR.       KLEIN:            I'm        just       asking            him        about

 8                 whether           he's       had      any        other          rank        for         any

 9                 reason           during        this         time.

10                           MR.       PERKINS:                Okay.

11                 Q         So,       had      your         rank          changed         in        the      last

12         five    years?

13                 A         No.

14                 Q         Have        you      applied              --     what's           the         next

15         rank    above       Detective?                    Detective                Sergeant?

16                 A          Captain.

17                 Q          Captain.                 Have       you       applied            --     how         does

18         one    go          is     there        such         a rank          as      Detective

19         Sergeant?

20                 A         Well,           that's          what          we're       called.

21                 Q          You're          a Detective                   Sergeant?

22                 A          Yes.

23                 Q         And       is      there         something                called          a squad


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 1     or      a detective               squad            at      the         Troy        Police

 2     Department?

 3                   A       Detective                   Bureau.

 4                   Q       Detective                   Bureau.               Are        all       detectives

 5     in      the       Detective             Bureau,              do        they        hold          the         rank        of

 6     Detective             Sergeant?

 7                   A       No.

 8                   Q       So,      what's              the       difference                    between              a

 9     Detective             Sergeant                  and      a --          is     it     a Detective?

10                   A       Yes.

11                   Q       What        is        the         difference,                  if      any?

12                   A       Just        that            Sergeants                 are      paid         more.

13                   Q       Okay.

14                   A       We do          basically                   the        same          job,         but      we

15      supervise            units.                I     supervise                 a domestic                  violence

16     unit.

17                   Q        So,     are          you         a Detective                  Sergeant

18     because            you       became             a Sergeant                  before           you        were         a

19     Detective?

20                   A        Yes.

21                   Q        Okay.            You        didn't              become             a Detective

22      Sergeant            simply            by       becoming               a Detective?

23                   A        Correct.


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 1                    Q                Okay.               So,         based           on     documents                provided

 2     by      your           counsel,                     you         have       a training                    history

 3     report.                    It          looks            like       it's           on       a document                 that

 4     says           State             of         New York               Division                 of        Criminal

 5     Justice                Services,                        and      one       of        the         courses          was

 6     Interview                       and         Interrogation                         and       a certificate                      of

 7     completion                       was          issued             on       June         26        of     '08,      which

 8     would               have         been             about          three            or       four        months           before

 9     this           incident                     with          Adrian           Thomas.

10                                     Do you              recall             taking              a course             called

11     Interview                       and         Interrogation                         in       or     around           June        of

12     2008?

13                    A                Not         around              that       time.                 I mean,             I may

14     have           taken                 it,      but         I've         had        so       much        training              that

15      I     can't           recall                 every             single            one.

16                    Q                So,         you         don't          recall              the        specifics              of

17      interview                      and         interrogation                         training?

18                    A                It         depends              who       the        instructor                 was.           Was

19      it     State              Police?

20                    Q                Well,             let's          see         if      I have            more          info      on

21      it.           It      just                says         graduated                 June           26    of      '08      and       it

22     was       eight                 hours             in      duration.                    The        training              date

23     was       June             25th             of         '08.


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 1               A            I believe                     that       was        Al     Joseph,             the

 2     instructor                 on     that            one.

 3               Q            Were            you        given         any        course            materials

 4     during          that         training?

 5               A            Maybe.                  I'm       not      sure.

 6               Q            Do you                keep        all      that          stuff?

 7               A            No.

 8               Q            No.             Would          that        have          been         on     site          at

 9     Troy      PD or            would          you         have        gone          someplace                  off         site

10      for     that      training?

11               A            I     don't             know.            We do           --

12               Q            Could             there           be     such         training

13               A            Yes.

14               Q            --        at      Troy         Police           headquarters?

15               A            Yes,            there          could          be.

16                            MR.        KLEIN:                 I've        already                asked          for

17               this,            but         I'm        going         to     ask        that            a search              be

18               made         for            those          training              materials,                 if         they

19               exist,             relating                 to       interview,                   interrogation

20               and      related                   matters.

21                            MR.            PERKINS:                 And     for           the      record,             I

22               have         looked                at      that       and        I've            been     told          that

23               this         is        what          we have.                I     have           no     problem


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 1               going          back          and            double-checking,                            but         that          was

 2               done         and         I was              told        that                 that            any

 3               training              materials,                        this         is      it.             This         is      all

 4               the         Troy         Police              Department                    keeps.

 5                            MR.         KLEIN:                   Okay.

 6                            MR.         PERKINS:                   But         I    have          no        trouble

 7               double-checking                              on     that,            but          we have                looked

 8               and         we've         been              told        this         is      it        for         the

 9               training                 files.

10                            MR.         KLEIN:                   Okay.             Just          to    be         specific,

11               among          other              relevant                documents                    that         may

12               exist,             I'm       just            simply             asking             about            a course

13               called             Interview                      and     Interrogation                            course             in

14               June         of     2008.

15                            MR.         PERKINS:                   I     would            ask         the

16               stenographer                           to    mark         the        record             there,                 just

17               to         remind         me to              double             up        and      recheck                on

18               that.

19               Q            We were                   given        a document                     in        the         same

20     file      that         has         a certificate                          of        completion                     of     that

21     course          at     the         D --           under           the         auspices                 of     the         DCJS

22     out      of     Loudonville,                          New York.                     Does         that         mean          you

23     would         have       taken              it        off      site?


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 1                A              Yes.              That       was         probably            at         the         State

 2     Police          Academy.

 3                Q              And         in     December               of     2007,           you          have          a

 4     certificate                     of      attendance                  at     a course                called

 5     Putting             it         All      Together,                  an     Update            for         Law

 6     Enforcement                     and         Medical            Professionals.                            It         was

 7     given          at        the         Glen         Sanders           Mansion            in         Scotia,                 New

 8     York.

 9                               MS.         CALABRESE:                    Off       the      record.

10                                (Discussion                   off        the       record.)

11     BY MR.          KLEIN:

12                Q              Do you             know        if        that       course              had         to      do        --

13     do     you      know            if      that          course            had     anything                 do         with

14     investigating                         fatalities?

15                A              I     don't             remember.

16                Q              Okay.              There            is    another            certificate                          of

17     completion                     that         says        Interview               and         Interrogation

18     that       you           successfully                    completed,                  a two-day                      class

19     in      interview                    and         interrogation,                     plus          Miranda                 and

20     other          legal            considerations,                           sponsored                by         the

21     Rotterdam                 Police             Department,                   May       10th          and         11th,

22     2004.           That            one         is      signed          by     Al       Joseph.

23                A              Okay.


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 1              Q               So,         did      you        have         one      with           Al     Joseph             or

 2     more     than            one?

 3              A               I believe                  I had         two         of      them.

 4                              MR.         KLEIN:              We call              that        a search                 be

 5              made,            and          I     accept            your       representation                           one

 6              has         been            done,          that        a further                 search             be     made

 7              to        see         if      the        underlying                  training               materials

 8              are         available                    from         that         training.

 9                              MR.         PERKINS:                  And       I would              ask      the

10              stenographer                         to      include               that        on     the      page            of

11              things                that          will        be     marked             to     looked             at.

12                              MR.         KLEIN:              Off      the         record.

13                              (Discussion                     off      the         record.)

14     BY MR.         KLEIN:

15              Q               I'm         showing             you      Thomas              Exhibit           10.

16      I'll    give            you         a moment              to     read          it.           When      you're

17     done,        let         me know.

18              A               (Witness                 peruses             documents.)

19              Q               Is         that      a     --     what          is     that          document?

20              A               This          is     a follow-up                     that        I    did.            I

21     didn't         see        this             before          in     the         file.

22              Q               And         does         this         reflect             your        visit           to       the

23     Albany         Medical                 Center            that         you       believe              you


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 1         recalled           earlier?

 2                    A            Yes,         but         I don't                    recall             going           to

 3         Samaritan               and      filing                   for         the         records,               but

 4         apparently,                   I did.

 5                    Q            And      also,               at         the         end,         it      talks          about

 6         Detective               Mason         conducting                            an     interview                   and

 7         obtaining               a statement.                             It         doesn't              really             state

 8         your       involvement,                     but            it         does         reference                   that

 9         statement.                    Correct?

10                    A            Yes.

11                    Q            Okay.              So,        do         you         believe                this        to     be

12         the     one       and         only         --        now         that             you've            seen        it,         the

13         one     and       only         detective                        follow-up                     report           that         you

14         created           for         this         case?

15                    A            Yes.

16                    Q            Okay.              Now,            directing                     your          attention                  to

17         July              I'm         sorry             --    to         September                     22nd        of       2008,

18         do     you     recall            what            tour            you         were             working           on     the

19         date       that         you      were            present                    for       that          second

20         interview?

21                    A            I worked                 days.                 However,                  I believe                  the

22         interview               took         place                in     the         evening.

23                    Q            So,      would               you         have             been         on      overtime


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 1     that          evening?

 2                   A            Yes.

 3                   Q            When       you             say         days,            is         that           8:00         to       4:00

 4     or      something                 else?

 5                   A            I have               flex         hours,                but         it      was          8:00           to

 6     4:00          in     2008.

 7                   Q            Okay.                And         can          you       describe                   where            the

 8     video             monitor           is          located                  that's               attached                   to    the

 9     camera             in      the      interrogation                                 room         that's               located

10     on      the        third          floor?                    Is      it      on          the         second               floor?

11                   A            No.           It's           on        the        third             floor,               but        I

12     don't             know      where               the         --      the        monitor                  is        in      a

13     separate                room.

14                   Q            That's               what             I mean.                 Where               is     that           room

15     located?

16                   A            It     was           either              directly                   next           door            to     the

17     room          or     the         room           after             that.

18                   Q            So,      on          the         third            floor,                 there           is        an

19     interrogation                       room.                   Correct?

20                   A            Correct.

21                   Q            Was      there               one         or      more              than           one         at    that

22     time?

23                   A            There's               only             one        there.


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 1                  Q               And       is      there            still           one       there            today?

 2                  A               No.

 3                  Q               It's       been            changed?

 4                  A               We moved                our        Detective                 Bureau            across

 5     the     street.

 6                  Q               Okay.

 7                  A               So      that          room         still           exists,              but         it's          not

 8     used         for        an          interrogation                       room.

 9                  Q               So,       at      that         time         there,               was      an

10     interrogation                          room          on     the         third          floor.               Correct?

11                  A               Correct.

12                  Q               And       what          else         --     what          other           rooms             were

13     on     the           third           floor?

14                  A               Adam        Mason             had      an      office             up      there.                  The

15     PBA has               an       office              up      there,           our        union,              the

16     president.                     There           is       a training                    room        located                on     --

17     in     the           building                also          on     the       third             floor,             in      that

18     wing,            I    should                say,        and       there's              like          a tech              room

19     with         supplies                  in      it,         electronic                  supplies,                   things

20     like         that.                  There          was.

21                  Q               And       in      2008,            there           was       a     --     some             sort

22     of     video            camera               in      the         interrogation                       room.

23     Correct?


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 1                  A          Correct.

 2                  Q          Can      you       describe                   the            dimensions                    of    the

 3     room         at     that       time?              Do you              remember                 what           it        was?

 4                  A          Not      off       the           top         of        my head.

 5                  Q          Okay.

 6                  A           I    could        guess.

 7                  Q          To the          best             of     your            approximation.

 8     12      by        14?        10 by      12?              Something                    else?

 9                  A           Probably             10 by             12.

10                  Q          And      we've            all          seen            the      video.                There's

11     a --         is     there        some       kind               of     table             along           the         side

12     wall?

13                  A          Yes.

14                  Q          When       you      walk               in,        it         would         be    to         your

15     left?

16                  A          There's            a computer                          on     it,      I    think.

17                  Q          What       else,            if         anything,                    was     in        that

18     room?              Some       chairs?

19                  A          Yes.

20                  Q          Okay.           Anything                     else?

21                  A          There's            a window.

22                  Q          Okay.

23                  A          A door.               I     think             there's                 a heater                  that


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 1     doesn't                work          or     an         air         conditioner                        that            didn't

 2     work           at      the       time            or      --        I'm       sorry.                   It         does       work,

 3     but       you          had       to        get        a pair              of          pliers               to      turn          it

 4     on.            The       knob         was         missing.

 5                    Q             What,          if         anything                  else,             was           in      that

 6     room           in      2008?

 7                    A             Nothing              that             I     can          recall.

 8                    Q             Still          had          a camera                     in     the           room?

 9                    A             Yes.

10                    Q             Can      you         describe                     the         camera?

11                    A             No.

12                    Q             Was      it         was          it       visible               to       anyone              looking

13     at       the         camera           itself                  or       was       it        somehow                 disguised

14     or       camouflaged?

15                    A             I   don't            know.

16                    Q             Was      there              obviously                      a camera                   on      the

17     wall           in      some          type         of          bracket                 or     was           it      like

18      embedded                in      a photo                 or        something                    like             that?

19                    A             Oh,      no,         it          wasn't             hidden.                        There's               no,

20      like,              it-looks-like-a-clock-and-there's-a-camera

21      type          thing.                There's                  a camera                  in      the             room,       but             I

22      don't              recall           what         it          looked             like           or         anything                   like

23      that.


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 1                Q          To anyone                      walking            in      that        room,          if    they

 2     looked,             would          it        be      obvious            to      anyone         looking

 3     that       there          was           a camera?

 4                A          I      think             so,        yes.

 5                Q          And          what            was      your        understanding                      of    the

 6     status          of    the          investigation                        when       you        were         asked

 7     either          by    Detective                      Captain            or      Mason         to     watch         the

 8     video          camera,             the         monitor?                 Did      you        have       an

 9     understanding                      of        where          the     investigation                      was       at

10     that       point?

11                A          Just              to     stand         by     and         watch         the

12     interview.

13                Q          Were              you        informed             of      any      of    the

14     prior          --    other              than         what         you     learned             from

15     speaking             to      the         doctors             at     the         hospital,              were        you

16     aware          of    anything                  else         about         the      case?

17                A          I was              aware            that      there          were        --      other

18     children             were          in        the         household.                His        wife's            name

19     was      Wilhemina,                     and        I'm      not     even          sure        of     the

20     address.

21                Q          By the                 way,         prior         to      this        date       when        you

22     became          involved                 in        this      investigation,                         had     you

23     ever       seen       or      heard                anything             about          Mr.     Thomas?


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 1                   A            I don't              recall.

 2                   Q            Did      you         ever         have            any          involvement                  with

 3     the      Hickses,                 the          Thomas              or      the       Hicks            household

 4     prior             to     these          events?

 5                   A            I don't              know.

 6                   Q            Okay.               Since         the           incident,                  have       you         had

 7     any          involvement                   with        Adrian                Thomas             or       the

 8     Hickses,                 Wilhemina                Hicks             or       her          family?

 9                   A            I know              that       Wilhemina                       Hicks          has     been         a

10     client             of      Unity           House.                  I have            an        office           there.

11     I     saw         her      on     occasion,                    I     can't           remember                  how many

12     years             ago.           I know           who          she         is      and         I know           that

13     she's             having           issues             with          her          daughter                at     this

14     point.                  There's            been        some             domestic                reports

15     filed.                  And      that's           about              it.           But         there's                   I

16     don't             believe           there's               been             any       arrests              or

17     anything                 like       that.

18                   Q            What           is    Unity              House?

19                   A            Unity           House          is        a      --      it's          --      my part             of

20     it      is        a domestic                   violence                 intake             area.               We also

21     have          offices             over          there,              myself                and      Mark

22     Millington.                       We work              with             advocates.                       They      also

23     have          an        administrative                       building                     in    Troy.            They


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 1     have       several                 different                   outreach                 programs

 2     involving                   children,                    people         with            mental

 3     disabilities,                       people                with         physical                disabilities.

 4     There's,               like,             halfway               houses,                so     to    speak,         for

 5     people          who          need            to      be     supervised                     and     have

 6     medication.                        There's                several                of     them       around.              And

 7     there          is      a domestic                        violence                shelter           that        I go        to

 8     occasionally                       to        interview                 victims               of    domestic

 9     violence.

10                Q                So,     when             you       say      you           have        an    office

11     there,              that's              in     your         capacity                  as     a Troy         Police

12     Department                   Detective                    Sergeant?

13                A                Yes.             It's         assigned                of       my unit.

14                Q                And     who             is    Mark         Millington?

15                A                Mark         Millington                    is        my partner               with       the

16     Domestic               Violence                     Bureau          now.

17                Q                Is     this             location                --    I have           to     come       up

18     with       some             kind         of         analogy            --        like        a special

19     victims              unit          or        a place              where           you        speak        with

20     victims              of      sex         crimes             and        other            domestic            violence

21     matters?

22                A                Mostly             domestic                violence.                   I don't           do

23     much       of         the         sex        crimes            stuff             anymore.


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 1                    Q           Is     that             a good             analogy         for      what             this

 2         location            is?

 3                    A           Yes.             It's          a softer              interview              area.

 4                    Q           Is     that             similar             to      what     the         START

 5         center           was       back         in      the         2000s?           What         was      START?

 6                    A           START            is      sexual             trauma         abuse          recovery

 7         team.            They've           had          several              different             buildings.

 8         They       had      one       on     Burdett                  Avenue.             They          had         one     on

 9         Pawling           Avenue.                 They         had         one      on    Sixth          Avenue.

10         And      right         now        they're                  located          on    Blooming                  Grove

11         Drive.

12                    Q           Was        that          also          like         a softer             location              if

13         you      need       to      speak              to     victims

14                    A           Yes.

15                    Q           --     of        sensitive                  crimes?

16                    A           Yes.

17                    Q           And        what          conversations                     have          you         had

18         with       Wilhemina               Hicks              since          the      incident,                if      any,

19         when       you've           seen          her         at      Unity         House         or     anywhere

20         else?

21                                MR.        PERKINS:                    I    object         to      the         form.

22                                You        can          answer.

23                    A           I    haven't                  had      any       conversations                       with


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 1     her      that         I    can     recall.

 2               Q               Have     you         overheard                  her         having         any

 3     conversations                     with         any        of    your            colleagues                or

 4     anyone          else?

 5               A               No.

 6               Q               Have     you       been           there          with          Sergeant              Mason

 7     or     Fountain              and     did        either              of     them          speak         with        her

 8     in     your          presence?

 9               A               They     don't            come          to      Unity          House,           and      as

10     far      as     I know,            they've                never           been         there.

11               Q               Have     you         spoken           with            her      or     witnessed

12     any      conversation                    with         her?             Other           than       seeing

13     her,      have            you     heard         her         say        anything?

14               A               No.

15               Q               Okay.          So,        the        camera            in      the

16     interrogation                     room         on     the         third          floor          of     the        Troy

17     Police          Department                 in       2008        was        connected                 by      some

18     wire      connection                 to        a TV or              a computer                  monitor.

19     Correct?

20               A               Yes.

21               Q               Okay.          And        do      you        know           what      type         of

22     system          it        was?

23               A               No.


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 1                    Q             Was         it         a DVR system,                                 if         you         know?                    Do

 2         you     know         anything                        about            the         technology                              of        it?

 3                    A             No.              I     know             that            there's                  a disk                 you           put

 4         in,     and         you        press                 the         button,                     record.

 5                    Q             The         disk              was         like           a DVD or                          a CD?

 6                    A             Yes.

 7                    Q             And         was             that          disk           drive                  part             of        the

 8         monitor             or        did         it         look          like           a computer                              with            a

 9         monitor?

10                    A             It         was         a computer                        with              a monitor.

11                                    (Ms.           Hamilton                    has             left          the             deposition

12                    room.)

13                    Q             And         you             were          able           to          watch                 the

14         real-time                questioning                             as        it     occurred                          on     the

15         monitor             in        addition                      to     recording                        it      on            a DVD?

16                    A             I     think                 there            was         about                  a five-second

17         delay          on    it,            but         yes,             you            can          watch             it         almost                in

18         real       time.

19                    Q             Where                 is      that           office                  located                     in

20         relation             to        the             interrogation                                 room?                  So,        if         I'm

21         looking             into            the             interrogation                             room,                 would             that

22         monitor             be        down             the          hall           on         the          same             side            to        your

23         right          or    left,                or         would            it         be          on     the             opposite


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 1     side      of     the         hallway?

 2               A             If     I'm        looking              inside              the         room,           I

 3     believe          it's          the        office             right           to     the         left           of      it.

 4               Q             Is     there          any         type         of     window                 or       viewing

 5     from      the      monitor                office,              like          a two-way                    window?

 6               A             No.

 7               Q             Okay.             On September                       22nd,             2008,           for        the

 8     second          interview,                   who        else         was      present                 with           you

 9     in     that      office              with         the        monitor               with         the           live

10     feed?

11               A             I    think           I might             have         been             the        only         one

12     there.           I know              that         other          detectives                               I    think

13     Detective               Kehn         came         up     and         talked              to     me briefly

14     or     something               like          that        or      --

15               Q             What         is      Detective                 Kehn's             first               name?

16               A             Chris.

17               Q             And      what,            if     any         role,          did         he        have         in

18     this      investigation?

19               A             I    think           he        was     just          coming             up        to       check

20     and      see     what          was        going          on.           I know             at         one       point            I

21     believe          he         called           Adam Mason                 out         of         the        room         and

22     just      had      a conversation                            with       him,             but         I don't

23     remember           the         conversation                      off         the         top         of       my head.


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 1                Q            Other           than              Chris           Kehn        popping            up     at

 2     some       point            and       possibly                   speaking               with         Adam       Mason,

 3     do      you     remember               whether                   any         other          detectives                 or

 4     officers              from        Troy         PD were                    present            during           the

 5     second          interview?

 6                A            Not       that           I        recall.

 7                Q            Do you             remember                   what           time      it     started?

 8                A            No.

 9                Q            Other           than              being           told        to     stand         by       and

10     watch          the      feed,          were               you        given           any     other

11     instructions?

12                             MR.       PERKINS:                       I    object            to     the       form.

13                             You       can       answer.

14                A            No.

15                Q            You       weren't                   told          to     stand         by     and       watch

16     the      feed?

17                A            Yes.

18                Q            And       other              than            that        computer             with          the

19     monitor              with       the        live             feed          that        has      a desk,              are

20     there          any      other          officers                      in      that       room,         or      is       that

21     room       dedicated                  to    that                equipment?

22                A            I believe                    it         was       Adam        Mason's            office

23     there,          I     believe,              at            the        time,           and     that        was         it.


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 1         I don't               know         if      there's                      anybody                       else          assigned               to

 2         it      or       not.

 3                      Q             So you,                  said            he          had             a desk?

 4                      A             Yes.

 5                      Q             Okay.               So,            what              is         your            earliest

 6         recollection                       of      being                   involved                          in    this

 7         interview?                       Being           told               to          stand                 by       or     something

 8         else?

 9                      A             Yeah.               If         I        can          remain                    there,         because

10         Ron      Fountain                  couldn't                        do      it             for         some          reason.

11                      Q             And          you      don't                  recall                       exactly           who         told

12         you,         but        you        believe                    it        was           more                likely         than           not

13         a supervisor?

14                      A             Yes.

15                      Q             What          is         the            next              thing                you       recall?

16                      A             The          interview                        itself.

17                      Q             So,          walk         us            through                      that           step      by        step,

18         as      much          as    you          can         recall,                         if         anything.

19                                    MR.          PERKINS:                        Hang               on.             I    object             to      the

20                      form.               It's          like                a seven-hour                                interview.

21                      Could          you          just             maybe                 ask             him        something                a

22                      little              more          specific?                                  I don't               mind          if    it's

23                      a general                   question.                              But             it        was       a seven-hour


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 1                   interview;                 walk          us     through              it?

 2                             MR.        KLEIN:                   I asked           him        what         does        he

 3                   remember             next.               Does        he        remember              shutting

 4                   the      machine                off      and      it's          over          or     do     you

 5                   remember             specifically                         --    do      you        have        an

 6                   independent                     recollection                    of      Mason           starting

 7                   the      questioning                     even        if        you      don't           remember

 8                   what      was        said?

 9                   Q         What            do     you          remember            next?

10                             MR.        PERKINS:                   Okay.             Answer             his

11                   question,                 but         don't       go       on     forever.                  Just         be

12                   brief.             Go ahead.

13                   Q         If       it's          responsive,                    go      on.

14                             MR.        PERKINS:                   No,        don't.               He'll          follow

15                   up     with        further               more        specific                 questions.

16                   A         Sergeant                    Mason       was          asking           questions.

17                   Q         Okay.                 And      do     you        recall             --     have         you

18         watched                 Withdrawn.                       You        recently              read        the

19         transcript              of     just             your      involvement                     in      that

20         interrogation.                       Correct?

21                   A         Correct.

22                   Q         Do you                recall          what           Sergeant              Mason          was

23         speaking           to    Adrian                 Thomas         about?


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 1                   A           He was              talking                      about           the         death           of

 2         not      the      death            of     his       son,                 but         the         injury            on       his

 3         son,      M~.

 4                   Q           Do you              remember,                           as     of      the        time           of     that

 5         interview,               whether                Detective                           Mason          knew           that        the

 6         baby      was        brain          dead           or         dead?

 7                   A           I believe                    he         knew             that          already,                  yes.

 8                   Q           Okay.               And       other                     than         the        general               topic

 9         of     talking           about            the       injuries                         to      the        baby,            do       you

10         recall           anything                specific                      that          transpired                    during

11         the      first        portion                of     the                interview?

12                               MR.          PERKINS:                        I     object              to       the         form.

13                               You          can       answer.

14                   A           Not          really,               no.

15                    Q          So,          Mason           --         is         it         fair         to        say     that

16         Mason          was    sitting                in     the                room          opposite                    Mr.     Thomas

17         pretty           much        for        most        of             the         interview?

18                   A           Yes.

19                   Q           And          what         else           can             you         recall,                whether

20         it's       general            or        not?             Do you                     recall            at         some       point

21         Mr.      Thomas          writing                a statement                            out?             Do you

22         recall           Mason        coming               out             to         see      you,           take         a break,

23         change           a disk?                What,            if            anything,                   do       you        recall,


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 1     even       if        it        seems                 not          important?

 2                A               I know                    at      one         point            we did              have         to

 3     change           a disk                out.                  It         was      full.

 4                Q               But             that            would              have        happened                  after,

 5     like,           an        hour             or        so?

 6                A               A few                hours.                   A couple               of        hours,              yes.

 7                Q               So,         before                     the         changing           of           the       first

 8     disk,           what,            if         anything,                         can     you       recall                about           the

 9     interview                  other                than              you         watching           it?

10                A               Nothing,                        really.                   Nothing              outstanding.

11                Q               Did         you            take              any      notes?

12                A               No.

13                Q               Did         Mason                 pop         out         at    any       time             to      ask

14     you      your             opinion                    or      if         you      thought             it        was         going

15     okay       or        if        you          had            any          advice            or    anything                     else?

16                A               I     think                he          might          have          came           out      once           or

17     twice.               I     don't                entirely                      remember.                   I    don't            know,

18     like       I     said,                if        it         was          for      a water             break              or      a

19     bathroom                  break             or        whatever.

20                Q               Well,                did          you         consider               yourself                     there

21     to      assist             him             with            this          interrogation?

22                A               I     considered                             myself            to    just           sit           there

23     and      watch             to         make                sure          that         nothing              happened                   like


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 1     a --       he     was            interviewing                         a man            that          may        have

 2     committed               a murder,                      so     I don't                  know          Mr.        Thomas'

 3     mindset           or        if      he     was          a violent                      person              or     not

 4     violent.                I        didn't          remember                       anything,                  a criminal

 5     background                  check          or          reading                  that         prior          to     this

 6     thing,          so      I was             there             more            or        less        for       Adam's

 7     safety.

 8                Q            Okay.              And          also,               so        someone              could

 9     monitor           the            equipment                  to        make            sure        it's

10     recording?

11                A            Correct.

12                Q            And         while              you        were            there,             would         it        have

13     been       your         practice,                      even           if        you      don't             remember

14     specifically,                       for        you          to        pay         attention                 and         to

15     help       Adam         as        much          as      you           could?

16                A            Correct.

17                Q            So,         would              you        consider                   yourself              to        have

18     been       personally                     involved                    in        the      seven-hour

19      interview,                 even          if      it        was            in     a side             role?

20                             MR.         PERKINS:                      I        object            to      the         form.

21                             You         can         answer.

22                A            I was             involved,                        yes.

23                Q            Now,          can         you         remember                   anything


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 1         specifically                     that           Adam asked                     you         other            than

 2         walking             out         for       a drink                or      something                      before        the

 3         change          of        the         first        disk?

 4                    A              No.

 5                    Q              How many               changes                 of        disks           were          there?

 6                    A              I don't               know.                 There's              at       least          one,      I

 7         believe.

 8                    Q              I     think           there            were          three             disks.

 9                    A              Okay.

10                                   MR. KLEIN:                       Do you              guys         agree             with

11                    that?

12                                   MR. PERKINS:                           Off         the         record.

13                                   (Discussion                      off         the         record.)

14                                   MR. KLEIN:                       Back          on        the      record.

15         BY MR. KLEIN:

16                    Q              After           the         change             of        the          first         disk,         was

17         it    another                 two       or      three            hours             until            the       change         of

18         the      next        disk?

19                    A              Yes.

20                    Q              And         what,           if    anything,                      can          you      recall

21         during          this,            we'll           call            it      the        next            or      second

22         phase          of    the          interview?

23                    A              Nothing               outstanding.


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 1                    Q           Okay.           Is     that           the        phase           of        the

 2     interview                  where          you     stepped                into         the          room        or

 3     would              that      have         been       the         final           or        third            phase,

 4     assuming                  there       was        a third               disk?

 5                    A           I may          have       done           that         during               that        time,

 6     during              the      midway          point.

 7                    Q           Midway          point.                Okay.               Is     it        your

 8     recollection                       that      there            was        a partial                    statement

 9     written               by     the      time        you         went          in       but         --    and        that

10     after              you     went       in     and         left,           additional

11     additions                  were       added          to       the        original                  statement?

12                    A           I don't           remember                  that.

13                    Q           Okay.           What          do      you        remember                  about          the

14     written               statement              in      terms             of      the         timing            of      it?

15     Was       it        all      written             after           you        walked               in    and        left?

16                    A           No,      I don't              remember.

17                    Q           Okay.           Do you             remember                at         some        point

18     Adam           Mason         coming          to      speak             with          you         or    you

19     speaking                  with      him      someplace                   about             what        he      had

20     obtained                  from      Mr.      Thomas              prior           to        you        going          into

21     the      room?

22                    A           No,       I don't             remember                that.

23                    Q           At      some      point            was        there             a conversation


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 1     about         you          going              in,        or     was          that          something                    you      did

 2     on     your          own           volition?

 3               A                I        think           he      probably                said            for       me to             go

 4     in     there.                  I     think            so.

 5               Q                So,         tell           me more                about             that.               What         do

 6     you      recall                about             that?

 7               A                I       don't            recall           any        of         the         conversation

 8     about          --

 9               Q                What            do       you        recall           --

10               A                --        between                Adam          and        I,        just          what         I did

11     when       I was               there.

12               Q                What             is      your        best          informed                    belief           about

13     why      you         would             have           gone          in       there?                 Would            he    have

14     approached                     you          to      say,        hey,          I'm          stuck             here,         I

15     need      you             to        give         this          thing          a boost                  and         be     tough

16     with       this            guy,             play         bad        cop,        or         did         you         say

17     something                  to        him         that          he    needs                to     get         more         from

18     the      subject,                    Mr.         Thomas?                  Did       a supervisor                          say

19     that      Adam             needed                to      get        more        and            you        should           go

20      in?      What,                if      anything,                    do       you          believe             was         the

21     reason              for                the          basis           for       you          going             in?

22                                MR.         PERKINS:                     I object                   to      the         form.

23                                You         can          answer             the      question.


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 1               A             I don't                    know.            We just              --         I went                in

 2     there.               I don't              remember                  the      conversations,                                    if            it

 3     was      a plan           or       if         it        was      a spontaneous                            thing.                         I

 4     don't          remember.                      I haven't                   seen      the             video                since

 5     it      was     made,             other             than         watching                a clip                 from                it

 6     online          at      one        point                from        the      docu-drama                         or

 7     whatever               you        want             to    call         it.          So,         with             that

 8     being          said,          I    don't                recall            any      type             of     plan                or

 9     or      anything              like            that           that         we made.

10                Q            Do you                recall             any        circumstance                             that

11     arose          during             the         interrogation                        where             it         became

12     apparent               that        you             needed           to      go     in,         even             if        you

13     don't          remember                 the         specifics?                     In      other                words,

14     did      Mason          say        to         you         I need            some         help,                 or        did             you

15     say      to     him       let           me go             in     there            and         see         if         I    could

16     give       you         some        help,                or     something                 else?

17                A            No,        I don't                   remember              that.

18                Q            So,        is         it        your        testimony                  that             you            don't

19     recall          the       circumstances                             of      you     going                 in,            just

20     that       at        some         point             you        did?

21                A            Correct.

22                Q            And        when             you        went         in,     you             started                    off

23     with       your         discussion                       about            being          in         Desert                Storm,


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 1     I believe.                   Is    that          correct?

 2               A            That's           correct.

 3               Q            Were        you        in      Desert               Storm?

 4               A            No.

 5               Q            Have        you        ever            served          in     the         military?

 6               A            No.

 7               Q            Your        son        --        did        you       have        a relative

 8     serving           in    the        military?

 9                            MR.        PERKINS:                    I    object           to     the      form.

10                            You        can      answer.

11               A            I did           have        relatives                  serve         in      the

12     military,              yes.

13               Q            So,        how      did          you        come       up     with         that?           Was

14     it     something              you'd           used            before          and        you      thought           it

15     was     effective                 or    was        it         something              you         just        came

16     up     with       on    the        spur          of      the         moment?

17               A            Just        spontaneous.

18                 Q          Okay.            Did        you            discuss           what         you      would

19     say     with       Detective                  Mason               before       you         went         in    and

20     said        it?

21                 A          I don't             remember                  that.

22                 Q          So,        you      may          have?

23               A            I may           have,            I may          not.


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 1                 Q           Do you            know          if         it       was      planned                  with

 2      Mason          or     did     you        just          go         in       spontaneously?

 3                 A           I don't              remember                   that.

 4                 Q           If     I      told       you          it        was        about               four        hours

 5      into       the        second            interrogation                            session               --

 6      Withdrawn.

 7                             You        went        in,           and        when         you          went           into        the

 8      interrogation                     room,         did          you           leave           the         video

 9      monitor             unattended                for           that           period           of         time,           or

10      was      someone             else         taking             your           role           of         sitting            at

11      the      desk,         watching               the           monitor?

12                 A           I     don't           recall.                   I    know           that             Chris        Kehn

13      did      come         up,      I believe.                         I don't             know             how        long        he

14      stayed           or    his        other         involvement,                          if         he      was

15      watching              the     monitor               or       not.

16                 Q           And        when        you           went           in,      did          you         claim          you

17      had      experience                  with       head              injuries                 during               your

18      military              experience                in          Operation                 Desert                 Storm?

19                 A           Yes.

20                 Q           And        did        you       accuse               Mr.       Thomas                 of     lying?

21                 A           Yes.

22                 Q           And        would         you           say          you      did          it         angrily?

23                 A           Yes.


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 1                 Q          It      was        like          a good           cop/bad              cop

 2      situation?

 3                 A          Yes.

 4                 Q          Is      that         a good              way      to     characterize                        it?

 5                 A           (Witness                nods         head.)

 6                 Q          Yes?

 7                 A          Yes.

 8                 Q          Where           Mason            was       the        good      cop           and         you

 9      went       in    saying            you         felt         that        Mr.        Thomas            was,          in

10      sum       and    substance,                    deceiving                or     lying           to

11      Detective             Mason.               Correct?

12                 A          Yes.

13                 Q          So,         and      you         then        said        --      is      it      fair            to

14      say,       is    it        your         recollection                    that        you        then             said

15      that       M                         injuries               could           only      have           resulted

16      from       a far           greater             application                   of     force            than          Mr.

17      Thomas          had        described                  up    to     that        time          in      the

18      interview?

19                 A          Correct.

20                 Q          And         did      you         state           in     sum      and          substance

21      that       M                       doctors                 informed            you          that          the

22      child's          head         injuries                 were        comparable                  to         those

23      that       would           have         been          sustained              by     a passenger                        in


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 1      a high-speed                        car       collision?

 2                   A               Correct.

 3                   Q               Was      that          true?

 4                   A               I believe               at         one       point          the         doctor              did

 5      say      that           it        was      a rapid                acceleration                       and         a rapid

 6      deceleration.

 7                   Q               Right.               But       the       high         speed             car

 8      collision

 9                   A               Yes.

10                   Q               --     was       that          something                that            was          told         you

11      or      is       that         something                   that        you         added         to         it?

12                   A               Oh,      I believe                   I may           have         overheard                  the

13      doctor            saying              that.

14                   Q               Okay.            And         after           you      left,             that's              when

15      Sergeant                Mason             told       Mr.          Thomas           that         he         felt

16      betrayed                by        Adrian            Thomas'               untruthfulness                           and

17      that         Mason            was         doing           all        he    could           do        to      stop         his

18      superiors                    from         having            Adrian           arrested.                      Correct?

19      Do you            remember                 that?

20                   A               No.

21                   Q               Okay.            Well,             do    you         remember                 that          your

22      entry            into         the         room           helped           turn       up        the         pressure

23      on     Mr.        Thomas?


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 1                                     MR.         PERKINS:                   I     object          to        the         form.

 2                                     You         can     answer.

 3                    A                I     don't         understand                     what           you        mean          by

 4      pressure.

 5                    Q                Well,            what,           if        any,       effect            did         your

 6      entry             into              the        room       and         the        words           you        said          have

 7      on      the            interrogation,                           if        any,       in     your            view?

 8                                     MR.         PERKINS:                   I     object          to        the         form.

 9                                     You         can     answer.

10                    A                I believe                  it      made           him      tell         Adam              the

11      truth             about              what        happened.

12                    Q                Whether             it          was        true       or     not,            is      it         your

13      belief                 that,              as    a result                  of     you      going             into          the

14      room,             it       impelled                Mr.          Thomas            to      give         further

15      statements                          that        were           then         written              on    the

16      document?

17                                     MR.         PERKINS:                   I     object          to        the         form.

18                                     You         can     answer.

19                    A                It         made     him          give           Adam       more         information,

20      yes.

21                    Q                So,         you     would              agree          that         your            conduct

22      in      stepping                     into        the           interrogation                      and            saying

23      what          you          said            had     a direct                    impact            on    Mr.          Thomas


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 1      making           further               incriminating                    statements?

 2                             MR.         PERKINS:                 I object                to    the        form.

 3                             You         can        answer.

 4                A            I believe                  it      just         gave         Adam        an

 5      opportunity                  to        talk       to      Mr.       Thomas.               I didn't             make

 6      Mr.      Thomas             say        anything.                  In    fact,            I believe               he

 7      said      he      didn't               do      anything.                So,         Adam        talking           to

 8      him      after         that            made       Mr.       Thomas            confess.

 9                Q            But         you        presented                a scenario                where           you

10      were      able         to     pit           Adam        between            Adrian           and        Adam's

11      colleagues                  and        gave       Adam           leverage            with        Mr.

12      Thomas.               Would            you       agree        with          that?

13                             MR.         PERKINS:                 I object                to    the        form.

14                Could            you         rephrase             that?

15                Q            What            was       the      purpose                    what        would

16      you              how       would            you        describe             the      purpose              of     your

17      questions?                   I mean,              how would                you       describe              the

18      effect           of    what            you       said       to      Mr.       Thomas?                It

19      allowed           Adam            to     have          further            leverage              with       Mr.

20      Thomas?

21                             MR.         PERKINS:                 I object                to    the        form.

22                             You         can         answer.

23                A            It         allowed              Adam       to      further           discuss


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 1      what's         going            on.          And         you      used             the        term

 2      leverage.                 I     don't            know       if         I would                use      that          term.

 3                 Q          What            term        would           you         use?

 4                 A          Opportunity.

 5                 Q          Okay.                So,       you         would             agree            that        your

 6      presence             in       that         room          had      what             appeared                to    be     a

 7      positive             impact              on Adam            getting                 a confession?

 8                 A          Correct.

 9                            MR.           PERKINS:                I object                     to    the          form.

10                 Q          And           in     some          regard,              it         contributed                   to

11      Adam       getting              a confession?

12                            MR.           PERKINS:                I object                     to    the          form.

13                 A          Yes.

14                 Q          Have            you        ever       been          aware               of     colleagues

15      of     yours         in       the        Troy        PD obtaining                         a confession

16      that       was       found            to     have         been           a coerced                   confession

17      by     any     court?

18                            MR.           PERKINS:                I object                     to    the          form.

19                            You           can      answer              if      you        know.

20                 A          No.

21                 Q          Are           you      aware          of         any         cases            other        than

22      this       where          the         statements                      obtained                by     you        or

23      colleagues                of        yours           in    the          Troy         PD,        whether               you


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 1      had      heard            about            it        firsthand                      or     second-               or

 2      thirdhand,                    were        suppressed                           by    the         court           as       being

 3      involuntary?

 4                                MR.        PERKINS:                        I object                  to     the        form.

 5                                You        can         answer.

 6                   A            I don't                know.                Other              than         this          case?

 7                   Q            Yeah.

 8                   A            Not        that            I can            recall               off        the        top        of       my

 9      head.            I'd          have        to         do       some             research.

10                   Q            Okay.                 In      this          case,              Mr.        Mason

11      repeated,                 I believe                     it      was            21    times            in      the         course

12      of     the       interrogation,                               that             disclosure                   of      the

13      circumstances                        in         which           he        injured                --     Adrian

14      Thomas           injured              his            child            was           essential                 to       assist

15      the      doctors               attempting                       to        save           the        child's               life.

16      Do you           recall              that,              those             words            being            said?

17                   A            I don't                know           if        it        was        21     times,              but

18      yes,         that         was        part            of       it.

19                   Q            Okay.                 And          Adrian             Thomas              was       told,             I

20      believe             it        was     documented                          67        times,            that          what            he

21      had      done            to    his         son          was          an        accident.                    Do you

22      recall           Adrian              being              told          over           and         over         that          this

23      was      an      accident?


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 1                A                 Not         --      not         entirely.                     Not         61      times

 2      but

 3                Q                 Many         times?

 4                A                 Yeah.               He said                it.

 5                Q                 Okay.               So,         with         regard             to        the      first

 6      thing,            that            disclosure                      of     the         circumstances                        under

 7      which            the        child             was       injured                 would         be        essential                to

 8      assist            the        doctors,                   in        your          experience,                    sitting

 9      here         today,               did         you       see        any          problem               with        that         --

10                   A              No.

11                   Q              --      that             tactic?

12                                  Was         that          a common                  tactic            used         by        the

13      Troy         PD or           was             that       just           specific                  in     this         case

14      under            these            circumstances?

15                   A              That             was      specific                  in     this           case.

16                   Q              Okay.               Mr.         Thomas              being            told         that        what

17      he     did        was        an         accident                  even          though            he        was      a

18      suspect                in    a homicide                        and       that          he       would          go        home

19      and      not           be        charged,               was        that             something                 that        was

20      an     acceptable                       tactic               in    your             experience?

21                   A              Yes.

22                   Q              Mr.         Thomas              was        told,             I believe                it's

23      been         documented                        14      times,                that      he        wouldn't                be


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 1      arrested               and        eight           times               that          he     would         be       going

 2      home.            Similarly,                  in        your            view          and         your

 3      experience,                   was         that         okay            at         that      time,            to      do

 4      that?

 5                 A            At        that       time            --

 6                 Q            Yeah.

 7                 A            --        I believe                  so,             yes.

 8                 Q            And        it's           still               good          practice             now?

 9                 A            Yes.

10                 Q            Is        there           anything                    that         was      done          in

11      terms           of     ploys         or      promises                        that         were      made          to       Mr.

12      Thomas           that         you've              come        to             believe,             either             from

13      your       own         views         or      because                    it        was      shared            with          you,

14      that       went         too        far,           either               under,              as     you        said,              a

15      moral           code         or    based            on       your             experience?

16                              MR.        PERKINS:                       I    object              to     the        form.

17                              You        can       answer.

18                 A            What         do      you          mean               by     the     word         ploy?

19                 Q            Well,             there           was           a demonstration                           after

20      you      left          the        room,           as      a for                instance,                by    Adam

21      Mason           of     slamming              a folder                        to     the     ground.                  It         was

22      only       after             Mason         for         the            first          time         slammed                 the

23      folder           to     the        ground              and            insisted               that        Adrian


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 1      show      him         how        he     slammed                      the        baby       to      the        ground

 2      that      Adrian             did        it.            So,            it        was      only         after           it         was

 3      suggested              to        him      that             there                was      a slamming                   that

 4      Adrian          did        it.          Did       you                ever        think          about            or        do

 5      you      have         an     opinion                  as        to         whether           that         went             too

 6      far?

 7                A            I don't                 believe                     it    went        too         far,         no.

 8                Q            Do you             know             if         the        court          ruled            that

 9      that      went         too         far?

10                             MR.         PERKINS:                          I object              to      the          form.

11                             You         can         answer                 if        you      know.

12                A            I     didn't              read                the        court        ruling,               so

13                Q            As        a result                  of         the        court          ruling             in       the

14      case,         whether              you         read             it         or    not,        was         there             any

15      type      of     retraining                      or        remedial                     training              or      any

16      other         changes              to     the          detective                        training

17                             MR.         PERKINS:                          I object              to      the          form.

18                             MS.         CALABRESE:                              Objection               to      the        form.

19                Q            --        that          you         became                aware          of?

20                             MR.         PERKINS:                          I object              to      the          form.

21                             MS.         CALABRESE:                              Objection               to      the        form,

22                to     post-remedial                             measures.

23                             MR.         PERKINS:                          You        can      answer.


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 1                 A          I don't            know           if        there's           any            changes

 2      being       made.

 3                 Q          None      that            you          remember?

 4                 A          Not      in     this            case,          no.

 5                 Q          And      you       would               agree          that        it         was

 6      false          --    you     knew         at      the         time          that        it         was      false

 7      that       disclosure               of      the         circumstances                         under          which

 8      Adrian          injured         his         child             would          assist                the

 9      doctors,             because          the         child            was       already                brain

10      dead.           Right?

11                 A          I knew          that,             yes.

12                 Q          So,      when         you         were         watching                 Adam          ask

13      those          questions             and        make          those          assertions                     that        we

14      need       this       information                     to      help          your        child,              when

15      you      heard        him      say        that,              you     knew          that            that      was

16      false?

17                 A          Yes.

18                 Q          Similarly,                  when            Adrian           was        promised

19      that       he       would      go     home,             wouldn't               be       charged,                  you

20      knew       that       was      false,             as         well?

21                            MR.      PERKINS:                      I object              to        the         form.

22                            You      can        answer.

23                 A          You      said            that          he     said       several                   times.          I


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 1      don't         know      if       that       was      several             times       before              or

 2      after         he     demonstrated                   how      he    slammed           his      child

 3                Q            Okay.

 4                A                  so

 5                Q            Up until             the      time         you     went       in      the         room,

 6      I believe              there's            testimony               that      Fountain               --     that

 7      Mason         said      that        there           wasn't         a probable                cause            to

 8      arrest          Thomas.             Do you           have         a recollection                    of

 9      there         not      being        probable              cause          until       after          he        did

10      the      physical            demonstration?

11                             MR.       PERKINS:                I object           to      the      form.

12                             You       can      answer.

13                A            No,       I don't            remember             that.

14                Q            Did       there           come     a time          when       you      became

15      aware         that      a probable                  cause         determination                    was

16      made      or        discussed             in      your       presence?

17                A            I don't            remember.

18                Q            Do you            recall          Detective               Mason       telling

19      Adrian          Thomas           that       if      Adrian         didn't           take      the          fall

20      that      his        wife        would         be    arrested?

21                A            No,       I don't            remember             that.

22                             MR.       KLEIN:             How are          you         doing       on         time?

23                             MS.       CALABRESE:                  A few        more       minutes.


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 1             How much       longer          do you          have?

 2                    MR. KLEIN:               I     think       I have     probably     a

 3             good    20,    30 minutes.

 4                     Off    the      record.

 5                     (Discussion             off      the     record.)

 6                     (The    deposition               of     Tim    Colaneri     was

 7             adjourned       at      3:52        p.m.)

 8

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       STATE OF NEW YORK

       COUNTY OF




                            I have         read    or       heard        the     foregoing

       record        of     my testimony            taken           at     the    time       and

       place        noted     in     the      heading            hereof,         and     I do

       hereby        acknowledge              it   to       be    a true         and     correct

       transcript            of    same.




                                                                  TIM COLANERI



       Sworn        to    before      me this
                day       of ________                   _




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       Re: Thomas      v City    of Troy     et     al
       Deposition      of Tim    Colaneri


              QUESTIONS      MARKED FOR A RULING           ON 9/11/19



       1. You    haven't     been    suspended      or otherwise
       subject     to any    type    of administrative         action
       because    of this      case,    have you?      (Page   59)




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       Re: Thomas         v City      of Troy       et   al
       Deposition         of Tim      Colaneri


                        DOCUMENTS AND INFORMATION                     REQUESTED
                                  ON 9/11/19


       1.     I'm going       to ask that          a search       be made for
       those    training      materials,         if they      exist,    relating
       to interview,        interrogation           and related        matters
       just   to be specific,            among other        relevant
       documents       that   may exist,         I'm just       simply    asking
       about    a course      called      Interview       and Interrogation
       course     in June     of 2008.        (Page    72-73)


       2.       There      is another        certificate           of completion
       that     says     Interview        and Interrogation                that    you
       successfully            completed,        a two-day         class       in
       interview         and interrogation,                plus    Miranda        and
       other      legal      considerations,             sponsored         by the
       Rotterdam         Police      Department,           May 10th        and 11,
       2004.        That     one is signed           by Al Joseph.            We call
       that     a search        be made to see if underlying
       materials         are    available        for     that    training.
        (Page     74-75)




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                                        C E R T I               F I       C A T E




                                        I,     Joyce          Babiskin,               Notary           Public

       and     Shorthand               Reporter           in     the       State           of     New York,

       do     hereby         certify            that      I attended                  at    the        time     and

       place      noted         herein             and    reported              stenographically

       the     proceedings_                  and    testimony              in      the

       above-entitled                   matter,           and      that         the        foregoing            is

       a true          and    correct              transcript              thereof,               to    the

       best      of     my knowledge                   and      belief.




                                                          Joye~           Babiskin
                                                          Notary           Public




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     Sworn to before me this __             day of ___      ,,2,· .•



     -Notary Public State of New York
     My Commission Expires:
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 1   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 2   - - - - - - - - - - - - - - - - - - - - - - - - - - - -

 3   ADRIAN THOMAS,

 4                                Plaintiff,

 5                   - against -

 6   CITY OF TROY, ADAM R. MASON, RONALD FOUNTAIN,
     TIM COLANERI,
 7   RENSSELAER COUNTY, and MICHAEL SIKIRICA,

 8                        Defendants.
     - - - - - - - - - - - - - - - - - - - - - - - - - - - -
 9   NEW YORK STATE
     COURT OF CLAIMS
10   - - - - - - - - - - - - - - - - - - - - - - - - - - - -

11   ADRIAN P. THOMAS,

12                                Claimant,

13                   - against -

14   THE STATE OF NEW YORK,

15                        Defendant.
     - - - - - - - - - - - - - - - - - - - - - - - - - - - -
16

17                   CONTINUED DEPOSITION of Defendant, TIM

18   COLANERI, held on the 12th day of September 2019,

19   commencing at 8:07 a.m., at the Law Offices of Pattison

20   Sampson Ginsberg & Griffin, PLLC, 22 First Street,

21   Troy, New York, before Jeanne O'Connell, Registered

22   Professional Reporter and Notary Public in and for the

23   State of New York.
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14
     Also present:        Katherine Hamilton
15

16

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18

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 1                   S T I P U L A T I O N S

 2   It is hereby stipulated and agreed by

 3   and between the attorneys for the respective

 4   parties hereto that, this examination may be signed and

 5   sworn to before any Notary Public of the State of New

 6   York.

 7

 8   It is further stipulated and agreed that the filing and

 9   certification of the said examination shall be waived.

10

11   It is further stipulated and agreed that all objections

12   to questions, except as to form, shall be reserved for

13   the trial of this action.

14

15   It is further stipulated and agreed that there are no

16   objections to Notice of this Examination Before Trial

17   and the qualifications of the court reporter to take

18   this deposition and administer an oath or affirmation.

19

20

21

22

23
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 1                     (Tim Colaneri - by Mr. Klein)

 2                   TIM COLANERI, after first having been

 3            duly sworn, was examined and testified as

 4            follows:

 5   EXAMINATION

 6   BY MR. KLEIN:

 7       Q.   Good morning.

 8       A.   Good morning.

 9       Q.   Sir, since testifying yesterday, have you had a

10   chance to think about the case?

11            Is there anything about your testimony that you

12   wish to change, correct, or add to?

13       A.   No.

14       Q.   In reviewing the testimony of Adam Mason, he

15   indicated that you were taking notes of times and

16   perhaps other things during the video.

17            Do you recall that?

18       A.   No.

19       Q.   We'll take a look in a few minutes.

20            Did you attend a video statement of Wilahemina

21   Hicks a couple weeks after this thing happened?

22       A.   No.

23       Q.   No way?
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 1                     (Tim Colaneri - by Mr. Klein)

 2       A.   I don't think so.

 3       Q.   So, do you have any medical background?

 4       A.   I took a first responders course in the basic

 5   police academy and I'm up on my first aid and CPR within

 6   the last two years, I think.

 7       Q.   So, other than what you've obtained through your

 8   police career, you have no independent medical or

 9   nursing training; is that correct?

10       A.   That's correct.

11       Q.   Do you recall that you were the first detective

12   to suggest that Adrian Thomas slammed M                           head to

13   the ground when you went into that room?

14                   MR. PERKINS:        Object to the form.

15                   THE WITNESS:        I don't know.       I wasn't

16            present for the first interview.               So, I

17            really don't know.

18   BY MR. KLEIN:

19       Q.   Well, from the interview that you saw, up until

20   the time you went in, were you the first person to

21   suggest that M                  head was slammed -- had to have

22   been slammed to the ground?

23       A.   I don't remember that.
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 1                     (Tim Colaneri - by Mr. Klein)

 2       Q.   Did you go in and suggest that his head had to

 3   have been slammed to the ground?

 4       A.   I think so.       Yes.

 5       Q.   Isn't it true that the idea of slamming came from

 6   you and Detective Mason first, not from Adrian Thomas?

 7       A.   Yes.     I would say for me.          I don't know about

 8   Adam.

 9       Q.   Would you agree that it wasn't until you

10   introduced the scenario of slamming that -- it wasn't

11   until after that that Adam determined that he had what

12   he believed was probable cause to arrest?

13       A.   Well, I think after Mr. Thomas admitted to it,

14   yeah.    I think he did have probable cause to arrest.

15       Q.   But it wasn't until that idea of slamming was

16   introduced that that changed, correct?

17       A.   Possibly.       Yes.

18       Q.   That's your recollection.

19       A.   That's my opinion.

20                   (Discussion held off the record.)

21                   (Thomas Exhibit 16 marked for

22            identification.)

23   BY MR. KLEIN:
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 1                     (Tim Colaneri - by Mr. Klein)

 2       Q.   I'm playing for you Thomas Exhibit 16, video file

 3   VTS_01_4.VOB, and it's starting at two hours, 39

 4   minutes, and five seconds into this file, and it's just

 5   a video of your involvement in the interview.

 6            I just want to confirm that this is what you've

 7   already testified was your role in the interview.

 8            Sergeant Colaneri, while we're looking and trying

 9   to get the video going, I just wanted to show it to you

10   because you haven't seen since 2008, correct?

11       A.   Correct.

12       Q.   I'm going to show you what's been previously

13   marked as Defendant's A on August 20, 2019.                   This is the

14   transcript of the second interview that was prepared,

15   apparently, in advance of the first trial.

16            And on page 223 -- I'm sorry -- 222 of 298 of the

17   transcript, in the middle of the page it says, (man

18   enters a room and asks, can I talk to you a second?

19   After that it says, "Sergeant Mason:                Sergeant

20   Colligan."      Then it says, "Sergeant Colligan:                Hi.   How

21   are you doing?"

22            Is this the transcript that you reviewed?

23       A.   Yes.
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 1                     (Tim Colaneri - by Mr. Klein)

 2       Q.   And to the best of your recollection, was it an

 3   accurate transcript of what you said and what was said

 4   in response during the interview?

 5       A.   Yes.

 6       Q.   And when it says Sergeant Colligan, is that a

 7   transcription error?

 8            It's really you, Sergeant Colaneri.

 9       A.   Yes.

10       Q.   I believe it goes up to page 226 of 298.

11            So take a look at 222, where it says, "man enters

12   a room," and read up to 226.             And let me know if that

13   appears to be the only time that you step into the room

14   and said something during this interview or if you think

15   there might be something else.

16                   (Thomas Exhibit 17 marked for

17            identification.)

18   BY MR. KLEIN:

19       Q.   So you've you had a chance to review the few

20   pages of the transcript of your statements in the second

21   interview?

22       A.   Correct.

23       Q.   Was that an accurate recitation of what you said
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 1                     (Tim Colaneri - by Mr. Klein)

 2   and what was said in response?

 3       A.   Yes.

 4       Q.   In the interview, you say you were a corpsman in

 5   the Marines.

 6            That was not true, correct?

 7       A.   That's correct.

 8       Q.   You said you saw a lot of head injuries during

 9   that time.

10            Also not true, correct?

11       A.   Correct.

12       Q.   You said you went down to the hospital today to

13   look at the baby and check over his head injuries.

14            That you did do at one point, correct?

15       A.   Yes.

16       Q.   You didn't notice any physical -- signs of

17   physical trauma to the baby, did you, outward trauma?

18            You saw a baby --

19       A.   I saw him all hooked up to everything.                  So, I

20   didn't examine the baby.            I just was in the room and I

21   looked at the baby.

22       Q.   And when you looked at the baby, did you observe

23   any signs of blood, bruising, swelling, or other kinds
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 1                     (Tim Colaneri - by Mr. Klein)

 2   of outward physical harm to the baby?

 3       A.   I don't remember any of that.

 4       Q.   And you said that you looked at the X-rays, but

 5   that's not true?

 6       A.   No.

 7       Q.   You said, what you're telling us is not

 8   consistent with what's on the X-rays and what's on his

 9   injuries.

10            That is in a sense true, that what Adrian had

11   been telling you was not consistent with what the

12   doctors had described to you, correct?

13       A.   Correct.

14       Q.   And in response, Adrian said, "I didn't do

15   nothing," correct?

16       A.   Yes.

17       Q.   I mean, he maintained during that interview many,

18   many times that he didn't do anything, correct?

19       A.   Yes.

20       Q.   Then you told him, in sum and substance, that

21   what he's saying is not consistent, that he laid down.

22   And where -- it's not consistent with where the injuries

23   should be.      You said he was laying down, right?                   And
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 1                     (Tim Colaneri - by Mr. Klein)

 2   Adrian said, no, he was on his side, and I went back

 3   like this.      And you said, not the back of his head,

 4   though, and that's where most of the injury is.                       It's

 5   just not consistent.          You said, I spoke to the doctor.

 6   I called him at his house.

 7            That's not true, correct?

 8       A.   No.

 9

10
         Q.   I'm more concerned about the recovery of M

     than anything else right now.              That's also not true
                                                                           -
11

12
     because you knew that M
                                    -
     purposes, going to die at that point.
                                              was, for all intents and

                                                           He was brain

13   dead.

14       A.   I knew he was brain dead, but I was still

15   concerned about him.

16       Q.   But it's not true that you were concerned about

17   his recovery.        You knew that was an impossibility.

18       A.   At that point I did know it was impossible.

19       Q.   And then you state you've been calling the

20   hospital back and forth for the last two hours.                       There's

21   no change yet.        Okay.     That's all I can tell you.

22   There's no change from when I saw him this afternoon.

23            All that's false, correct?
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 1                       (Tim Colaneri - by Mr. Klein)

 2         A.     Correct.

 3         Q.     Then you said, I'm the senior sergeant.              It just

 4   doesn't make sense to me at all.               All right?

 5                Was it true that you were the senior sergeant or

 6   were you a co-worker in terms of rank?

 7         A.     The senior sergeant is not somebody in charge per

 8   se.        It's the one in the detective bureau with the most

 9   seniority.

10         Q.     Was that you at that time?

11         A.     Yes.

12         Q.     Had you ever taken that role before where you

13   walked into an interrogation such as this and played

14   like this good cop-bad cop situation to try to elicit

15   further responses out of the person being detained?

16         A.     Yes.

17         Q.     Then again Thomas says, I didn't do anything,

18   correct?

19         A.     Correct.

20         Q.     So then moving on, on page 224 of the transcript,

21   you said, I read the statement from last night that you

22   gave.        I looked at the consistencies from the daughter

23   and your wife, what she was saying and what you were
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 1                     (Tim Colaneri - by Mr. Klein)

 2   saying.

 3             Apparently you knew there wasn't a first

 4   statement given.         At that time you knew?

 5       A.    I think so.       Yeah.

 6       Q.    Sitting here today, you don't recall that?

 7       A.    I don't recall at all.

 8       Q.    Do you know if there were consistencies or

 9   inconsistencies?

10       A.    No.     I don't remember.

11       Q.    Do you know whether you knew firsthand about the

12   statement or whether at some point someone briefed you

13   and said, hey, go in there and say you read the

14   statement and say it's inconsistent?

15             Do you know either way?

16       A.    I don't believe anybody briefed me and said that,

17   but I don't remember reading his statement or his wife's

18   or daughter's or anything like that.

19       Q.    Possible it may have been sitting on Mason's desk

20   while you were sitting at the monitor and could have

21   looked at it then.

22       A.    Yeah.     Sure.

23       Q.    Or you may not have seen it at all.
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 1                     (Tim Colaneri - by Mr. Klein)

 2       A.   Yeah.

 3       Q.   Then again he says, I didn't do nothing, I swear

 4   to God, right?

 5       A.   Uh-huh.

 6       Q.   Yes.

 7       A.   Yes.

 8       Q.   Then you called him a liar a number of times,

 9   correct?

10       A.   I think I was speaking to Adam at some point

11   saying that he's a liar.

12       Q.   Then, again, Thomas says, I didn't do nothing to

13   the baby, correct?

14       A.   Yes.

15       Q.   Then it's at this point where you say, "you took

16   that baby and you slammed his head", correct?

17       A.   Correct.

18       Q.   That's the point in your involvement in the

19   interview where you introduce a scenario of how the harm

20   may have occurred, correct?

21                    MR. PERKINS:       Objection to the form.

22                    THE WITNESS:       Yes.

23   BY MR. KLEIN:
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 1                     (Tim Colaneri - by Mr. Klein)

 2       Q.   Prior to that, you were using trickery and deceit

 3   to say, look, we have a baby here that's injured.                     Tell

 4   us how it happened.          I don't think you're telling the

 5   truth, in sum and substance, correct?

 6       A.   Yes.

 7       Q.   At this point, though, you then introduce a

 8   scenario that had not been introduced by Adrian Thomas

 9   up to that point, correct?

10                   MR. PERKINS:        Object to the form.

11                   You can answer.

12                   THE WITNESS:        At least in that

13            interview.      I don't know what he said in the

14            first interview.

15                   MR. KLEIN:       Right.

16   BY MR. KLEIN:

17       Q.   To your knowledge, you introduced a scenario of

18   Adrian taking that baby and slamming his head.

19            That, to your knowledge, had not been introduced

20   previously.

21                   MR. PERKINS:        Object to the form.

22                   You can answer.

23                   THE WITNESS:        Yes.
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 1                     (Tim Colaneri - by Mr. Klein)

 2   BY MR. KLEIN:

 3       Q.   Again, Adrian said, I didn't do anything,

 4   correct?

 5       A.   Yes.

 6       Q.   And I swear to God I didn't do that to my kid,

 7   correct?

 8       A.   Yes.

 9       Q.   Then you go on to say, something happened all

10   right, and the injuries are not consistent with your

11   story.     So I'll tell you what.           Why don't you talk to

12   him a little more.         I've got to go down and cool off

13   because I've been up since like 8:00 this morning and

14   doing this all day long, back and forth to the hospital,

15   all right.      I know he was out here until 3:00 or 4:00 in

16   the morning.

17            When you said that you were referring to Mason?

18       A.   Yes.     I believe.

19       Q.   You talked to him for awhile and said, if you

20   need anything give me a call, period.

21            That was the end of the interview, correct?

22       A.   Yes.

23       Q.   So would you say the key point of your
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 1                     (Tim Colaneri - by Mr. Klein)

 2   involvement there was the introduction of the scenario

 3   of Adrian slamming that we discussed earlier?

 4                   MR. PERKINS:        Object to the form.

 5                   You can answer.

 6                   THE WITNESS:        Could you repeat that

 7            one?

 8   BY MR. KLEIN:

 9       Q.   Would you say that the key -- the most important

10   aspect to this interrogation overall of your role was

11   your suggestion of the scenario, you took that baby and

12   you slammed his head?

13                   MR. PERKINS:        Object to the form.

14                   You can answer.

15                   THE WITNESS:        It was not just that.             It

16            was the entire thing with the

17            inconsistencies and going to see him.                 And

18            it wasn't just one thing, but yeah, that's

19            part of it.       Absolutely part of it.

20   BY MR. KLEIN:

21       Q.   Introduction of that scenario by you of taking

22   that baby and slamming his head lead to like a

23   springboard for Mason to ask further questions about
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 1                     (Tim Colaneri - by Mr. Klein)

 2   that, correct?

 3                     MR. PERKINS:      Object to the form.

 4                     THE WITNESS:      Correct.

 5   BY MR. KLEIN:

 6       Q.    Did you feel, before going into that room, that

 7   there was a need to introduce that scenario to the

 8   conversation rather than letting Adrian continue to say

 9   on his own what may have happened to cause the end

10   result?

11       A.    Yeah.

12       Q.    What was the reason for that need?

13       A.    Because I believe at one point they were speaking

14   to him the night before, and they were speaking to him

15   this night, and I don't know if anybody ever challenged

16   him and said, you did this.

17       Q.    Well, didn't introduction of that scenario of

18   slamming the head cross the line of what you talked

19   about, from your experience and your training, of risk

20   of a coerced confession, whether true or false, because

21   you're putting words into the person's -- you're giving

22   the factual pattern to the witness rather than letting

23   the witness tell you what caused the end result?
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 1                     (Tim Colaneri - by Mr. Klein)

 2                    MR. PERKINS:       Object to the form.

 3                    You can answer.

 4                    THE WITNESS:       No.    I don't think it did

 5            that.    I didn't think I crossed the line at

 6            all.

 7   BY MR. KLEIN:

 8       Q.   Did you make a conscious -- did you go in there

 9   following any type of training that you were given to

10   take that approach that you took, specifically by

11   saying, you slammed that baby's head, or was that a

12   conscious choice by you just to go in there just based

13   on your own instinct?

14       A.   It was more of an instinct.

15       Q.   Is it fair to say that you saw how the interview

16   had been going for about five or so hours at that point,

17   correct?

18       A.   Yes.

19       Q.   This was about five or six hours into the

20   interview, after six pages or so had been written of a

21   statement, correct?

22       A.   I know the hours.          I don't know how much was

23   written on the statement or not.
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 1                     (Tim Colaneri - by Mr. Klein)

 2       Q.   But do you recall that there were additional

 3   pages written after you went in and introduced the

 4   scenario of slamming?

 5       A.   Yes.

 6       Q.   That was in the last hour or so, correct?

 7       A.   Yes.

 8       Q.   It was only after that time that Mason placed

 9   Thomas under arrest, correct?

10       A.   Yes.

11       Q.   So, up until the time you went in, was it your

12   opinion, based on your training and experience, that

13   there wasn't enough there to link Adrian Thomas to the

14   child's injuries from what you knew of the injuries?

15                   MR. PERKINS:        Object to the form.

16                   You can answer.

17                   THE WITNESS:        I don't know if there was

18            probable cause, but there was reasonable

19            suspicion to believe that he injured this

20            child and it was an intentional injury.                 It

21            wasn't something by accident.

22   BY MR. KLEIN:

23       Q.   That's not enough to arrest, though, correct?
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 1                     (Tim Colaneri - by Mr. Klein)

 2       A.   No.

 3       Q.   So my question is:          What was the impetus for you

 4   to go in and suggest to him that, you slammed this

 5   baby's head?

 6            I believe the testimony from Mason was there was

 7   not probable cause prior to that entering the

 8   conversation.

 9            Do you agree with that?

10       A.   Yes.

11       Q.   So my question relates to that.

12            Did you consciously recognize that there wasn't

13   probable cause still, as of five or so hours into the

14   interview, as of when you went in, and felt that there

15   was a need to take the conversation to the next level?

16                   MR. PERKINS:        Object to the form.

17                   Go ahead.

18                   THE WITNESS:        Yeah.    I did need to,

19            like you say, take the conversation to the

20            next level, because he needed to be

21            challenged at that point.

22   BY MR. KLEIN:

23       Q.   Because what he had been saying for hours prior
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 1                     (Tim Colaneri - by Mr. Klein)

 2   was not enough from what you saw.

 3       A.   That's correct.

 4       Q.   To link it to any crime.

 5       A.   That's correct.

 6       Q.   Is there anything else about your personal

 7   involvement in that interview that you can recall that

 8   we haven't already discussed?

 9       A.   No.    Other than just seeing the notes now.

10       Q.   I'm going to show you what's been marked as

11   Thomas Exhibit 17, and these are pages of notes that off

12   the record I had you look through the TPD file that was

13   given to us in discovery.            You had indicated that these

14   are the two pages that have your handwriting on them.

15            Could you please confirm that these are the two

16   pages --

17       A.   Yes.     These are.

18       Q.   Can you walk us through what's on these pages,

19   starting from the top of the first page.

20       A.   The top of the first page looks like an interview

21   with Wilahemina Hicks, the start, the Miranda time, the

22   time it ended, and when she signed the Miranda.

23       Q.   Sitting here today, do you recall being present
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 1                     (Tim Colaneri - by Mr. Klein)

 2   for an interview with Wilahemina Hicks?

 3       A.    No.

 4       Q.    Here it says Wilahemina Thomas, correct?

 5       A.    I don't remember that, either.

 6       Q.    Is it your understanding that by Wilahemina

 7   Thomas you mean Wilahemina Hicks?

 8       A.    Yes.

 9       Q.    You have no recollection whatsoever of that?

10       A.    No.

11       Q.    Then, going below that, is that notes of the

12   second interview that we just discussed with Adrian

13   Thomas?

14       A.    Yes.

15       Q.    It says 9/22/08, correct?

16       A.    That's correct.

17       Q.    Then it says 08695?

18       A.    Correct.

19       Q.    What does that mean?

20       A.    That's the case number.

21       Q.    Then it says, Sergeant A. Mason interview of

22   Adrian Thomas, correct?

23       A.    Yes.
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 1                     (Tim Colaneri - by Mr. Klein)

 2       Q.   Then it says, 5:53 p.m. start of interview,

 3   correct?

 4       A.   Correct.

 5       Q.   Did you know that Adrian had just come from the

 6   psychiatric department at Samaritan Hospital prior to

 7   the interview?

 8       A.   I did know that.

 9       Q.   Did you know that he hadn't slept more than an

10   hour or so since 8:00 the prior day when the baby woke

11   up sick?

12       A.   I don't remember.

13       Q.   So, for a day and a half -- from 8:00 a.m. on the

14   21st or 8:30 a.m., when the baby woke up sick, until

15   5:53 p.m. when he came for that interview, you didn't

16   know that he had barely slept?

17                   MR. PERKINS:        Objection to the form.

18                   THE WITNESS:        No.

19   BY MR. KLEIN:

20       Q.   Then what follows is a series of times and notes,

21   correct?

22       A.   That's correct.

23       Q.   So can you just walk us through?
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 1                     (Tim Colaneri - by Mr. Klein)

 2            Are they self-explanatory?

 3       A.   So, after the start of the interview, at

 4   7:40 p.m., Adrian had a cigarette.                At 8:30, I called --

 5   it says, phone call to A. Mason, which I believe I

 6   called him and said, it's time to change the DVD.                     And

 7   at 8:32 there was a DVD change.              At 8:39, Adrian had

 8   another cigarette it looks like.               At 9:06, he refused

 9   soda or chips.        At 9:54, it says candy.           I don't know if

10   it was an offer of candy or he ate candy.                  I don't

11   remember.      At 10:54, there was a review and a signed

12   statement.

13       Q.   Then, going on to the second page, towards the

14   middle of the page, is that a continuation of the notes?

15       A.   That is.

16            At 11:31, he was asked if there was a bathroom

17   break, if he wanted one.            No.    At 11:31, there was also

18   a change of the DVD.          11:33, we resume recording.

19            And there was an addition to the statement.

20       Q.   Was that addition to the statement, to the best

21   of your recollection, after you went in the room and

22   introduced the scenario of slamming to the ground,

23   slamming M
                   -
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 1                     (Tim Colaneri - by Mr. Klein)

 2       A.   I believe so.        Yes.

 3            At 1:15 a.m., the interview ended.

 4       Q.   The notepad on top that says 13 walnut, is that

 5   your handwriting?

 6       A.   No.

 7       Q.   Other than these writings, did you notice any

 8   other writings in the file that were from you that I had

 9   shown you?

10       A.   No.    No.    Not in my handwriting.

11

12
         Q.

         A.
              Did you attend the autopsy of M

              I don't think so.
                                                         --        T



13                   MR. KLEIN:       Off the record.

14                   (Discussion held off the record.)

15       Q.   So, Sergeant Colaneri, is there anything else

16   that you can recall about Adrian Thomas and the

17   allegations against him that you're aware of, either

18   through your direct involvement or through speaking to

19   your colleagues, that we haven't stated on the record?

20       A.   No.

21                   MR. KLEIN:       I believe that's all the

22            questions I have subject to the right to

23            reopen based on any additional information
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 1                     (Tim Colaneri - by Ms. Peck)

 2            that may arise.

 3   EXAMINATION

 4   BY MS. PECK:

 5       Q.   Sergeant Colaneri, my name is Crystal Peck.                      I

 6   represent the County of Rensselaer and Dr. Sikirica in

 7   the federal lawsuit that was brought by Adrian Thomas

 8   against yourself and some other police officers in the

 9   Northern District of New York.

10            The same rules when Mr. Klein was questioning you

11   apply here.       So, verbal responses.           If you don't

12   understand any of my questions, please let me know and I

13   will rephrase.

14            Do you know Dr. Michael Sikirica?

15       A.   Yes, I do.

16       Q.   How do you know him?

17       A.   I've attended numerous autopsies that he

18   conducted.

19       Q.   So you know him as the medical examiner for

20   Rensselaer County; is that accurate?

21       A.   Yes.

22       Q.   Did you have any contact or discussions with

23   Dr. Sikirica in relation to the death of M
                                                               --          T       ?
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 1                     (Tim Colaneri - by Ms. Peck)

 2       A.   No.

 3       Q.   You had no discussions or conversations with

 4   Dr. Sikirica with respect to his autopsy or his findings

 5

 6
     with respect to the death of M

         A.   No.
                                              --        T       ?



 7                   MS. PECK:       I have no further questions.

 8                   (Deposition concluded at 9:00 a.m.)

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 1   STATE OF NEW YORK            )

 2   COUNTY OF

 3

 4   I, TIM COLANERI, do hereby certify that I have read the

 5   foregoing record of my testimony taken at the time and

 6   place noted in the heading hereof and that it is a true

 7   and correct transcript of the same and the whole

 8   thereof.

 9

10

11

12

13                        ________________________________
                                   TIM COLANERI
14   Subscribed and sworn to

15   before me this ________ day

16   of _________________, 2019

17

18

19

20

21   _______________________________

22

23
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 1                         C E R T I F I C A T I O N

 2

 3

 4   I, Jeanne O'Connell, Registered Professional Reporter

 5   and Notary Public in and for the State of New York, do

 6   hereby certify that the foregoing to be a true and

 7   accurate transcription of the stenographic notes as

 8   taken by me of the aforesaid proceedings.

 9

10

11

12   _________________                 ___________________________
        Date                                    Jeanne O'Connell
13

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
___________________________________________________
ADRIAN THOMAS,

                                             Plaintiff,                         REPLY TO PLAINTIFF’S
                                                                               “COUNTER STATEMENT”
                  -against-                                                    Civil Action No.: 1:17-cv-626
                                                                                       (GTS/DJS)
ADAM R. MASON, RONALD FOUNTAIN,
TIM COLANERI, and MICHAEL SIKIRICA,

                              Defendants.
___________________________________________________

         The above-named defendants, Adam R. Mason, Ronald Fountain, and Tim Colaneri submit

the foregoing in response to the Plaintiff’s purported “Counter Statement”1:

         1.       M.T., the four-month-old son of Adrian Thomas and Wilhelmina Hicks, was

pronounced dead on September 23, 2008. See Klein Decl. Ex. 1, Hicks 209 Trial 877:16-878:22;

Ex. 9, Samaritan ER Rpt.; Ex. 27 Death Certificate.

         RESPONSE: Not disputed.

         2.       M.T. died from a streptococcus pneumoniae infection causing sepsis and

meningitis. Maloney Decl. Ex. 2, Maloney Rpt. pp. 2,4.

         RESPONSE: Denied. See Death Certificate.

         3.       M.T.'s death was erroneously labeled a crime, resulting in the wrongful conviction

of Mr. Thomas. Johnson Decl. Ex. 2, Johnson Rpt. pp. 11-12.

         RESPONSE: Denied. See Death Certificate.




1
 For the reasons outlined in the accompanying Reply Memorandum of Law, the Defendants object to Plaintiff’s
“Counter Statement” as the same is improper. The Defendants respectfully request that the Court reject all assertions
made by the Plaintiff in such improper “Counter Statement” and for any such further relief as the Court deems just.

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       4.     M.T. was a twin, born prematurely at 33 weeks on May 4, 2008, during a

complicated birth which necessitated the use of forceps. See Klein Decl. Ex. 1, Hicks 2009 Trial

879:3-25, 912 10-14; Ex. 2, Ojukwu 2009 Trial 146l:2-l1.

       RESPONSE: Not disputed.

       5.     During her pregnancy, Ms. Hicks, had gestational diabetes, high blood pressure,

and pre-eclampsia. Id. at Ex. 1, Hicks 2009 Trial 879:11-13,910:11-16.

       RESPONSE: Not disputed.

       6.     Hicks was admitted to the hospital on May 1, 2008, where her water broke and

showed evidence of meconium. Id. at Ex. 1, Hicks 2009 Trial 911:1-22; Ex.3, Leestma 2009 Tr.

2122:2-7.

       RESPONSE: Not disputed.

       7.     The foregoing issues placed M.T. at risk for subdural bleeds. Id. at Ex.3, Leestma

2009 Trial 2121:11-2125:13.

       RESPONSE: Not disputed.

       8.     After birth, M.T. was admitted to the neonatal intensive care unit at Albany Medical

Center (hereinafter "AMC") and then transferred to St. Mary's Hospital, where he remained

hospitalized until May 22,2008. Id, at Ex. 2, Ojukwu 2009 Trial 1460:23-1461:24,1464:2-3.

       RESPONSE: Not disputed.




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       9.      As of September 2008, M.T. had only 1 of 4 pneumococcal vaccinations, and due

to this and premature birth, was more susceptible to infections, including bacterial pneumoniae.

Id. at Ex.2, Ojukwu 2009 Trial 1468:9-1469:23; Ex.6, Sikirica Dep. I, 112:17-1143; Ex.8, Klein

2009 Trial 1986:3-1988:11.

       RESPONSE: Not disputed.

        10.    After M.T. came home from the hospital, M.T. was primarily cared for by Ms.

Hicks. Id. at Ex.4, Thomas Dep. I 73:25-74:8.

       RESPONSE: Not disputed.

       11.     On or about September 19, 2008, M.T. developed a fever with diarrhea, which

lasted through Sunday. Id. at Ex.1, Hicks 2009 Trial 919:8-923:18.

       RESPONSE: Not disputed.

       12.     In the morning of September 21, 2008, Hicks discovered M.T. barely breathing in

his crib. Id. at Ex.1, Hicks 2009 Trial 924:2-5; Ex. 4, Thomas Dep. I 129:16-21.

       RESPONSE: Not disputed.

       13.     Prior to that morning, M.T. had not exhibited any problems with his breathing. Id.

at Ex. 1, Hicks 2009 Trial 924:2-5.

       RESPONSE: Not disputed.

       14.     Thomas called 911 and M.T. was transported to Samaritan hospital where he

presented with symptoms of sepsis, and a blood culture was taken to confirm whether M.T. had a

bacterial infection. Id. at Ex.4, Thomas Dep. I 129:16-21; Ex. 9, Samaritan ER Report; Ex. 10,

Edge Dep. 86:4-25.

       RESPONSE: Not disputed.


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       15.     M.T. was transferred to the care of Dr. Walter Edge at AMC. Id. at Ex.9, Samaritan

ER Report; Ex. 11, Kardos 2009 Trial 849:9-850:14.

       RESPONSE: Not disputed.

       16.     Dr. Edge requested a neurology and an ophthalmology consult to look for a possible

traumatic brain injury. Id. at Ex. 10, Edge Dep. 29:23-30:20; Ex. 12, Waldman Dep. 15:11-23.

       RESPONSE: Not disputed.

       17.     Dr. Edge was erroneously informed by the AMC neurosurgery consult that M.T.'s

C.T. showed bilateral subdural hematomas and a skull fracture. Id. at Ex.6, Sikirica Dep. I 56:6-

23, 57:12-19,85:19-86:14; Ex. 10, Edge Dep. 127:13-131:24.

       RESPONSE: Denied. This is a gross oversimplification of the true testimony. The

       Doctors treating M.T. are basing their assessment on a number of factors coming in

       during a short period of time while M.T. was in critical condition. The C.T. Scans and

       reports indicated that M.T. had “large bilateral extra axial fluid collections slightly

       larger on the right -- posteriorly on the right and over the upper aspect of the right

       convexity, the fluid [was] distinctly denser than on the left. Which probably indicates

       a large subdural collection on the right; it’s unclear whether the fluid is subdural or

       merely subarachnoid. The distinction can be made with M.R.I. -- M.R.I.” (p. 97, L.

       23—p. 98, L. 8 of Edge EBT, Exhibit “F” to Spencer Moving Declaration). An MRI

       could not be conducted because M.T. was in critical condition. (p. 129, L. 23-p. 130,

       L. 7 of Id.). Based upon the C.T. report, the impression/ possible diagnosis was:
                --
       “Large bilateral, extra axial fluid collections, probably subdural on the right and

       possibly the same on the left. M.R.I. is recommended to distinguish between subdural


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       collections and enlargement of subarachnoid spaces.” (p. 98, L. 12-L. 16, Id.)
                                                                                                --
       However, once Dr. Sikirica performed the autopsy, which provides a completely

       different vantage point, he concluded that there was not a left-sided subdural

       hematoma. (p. 86, L. 12-14 of Exhibit “B” to Spencer Moving Declaration).

       18.     It was later determined that the diagnosis of a skull fracture was plainly incorrect

while M.T. was still at AMC, and the CT results in fact showed bilateral "fluid collections", not

hematomas. Id. at Ex. 10, Edge Dep. 127:13-131:24. Later, at autopsy, only a right sided

hematoma was observed. Id. at Ex.6, Sikirica Dep. I 56:6-23,57:12-19,85:19-86:14.

       RESPONSE: Not disputed.

       19.     Nonetheless, based on the reported evidence of head trauma, both Child Protective

Services (hereinafter "CPS") and the Troy Police Department (hereinafter "TPD") were notified

out of a concern for possible child abuse. Id. at Ex. 10, Edge Dep. 61:19-62:14.

       RESPONSE: Not disputed.

       20.     Defendants Mason and Fountain were assigned the case and shared the role of lead

investigator for the case. Id. at Ex. 13, Mason Dep. 37:18-19.

       RESPONSE: Not disputed.

       21.     Defendants Mason and Fountain first responded to Samaritan Hospital, where they

were informed that the initial report at Samaritan was that M.T. was having respiratory problems

and was unresponsive, and that M.T. had been transferred to AMC. Id. at Ex. 14, TPD Rpt.

P001398.

       RESPONSE: Not disputed.




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       22.      Defendants Mason and Fountain escorted a CPS worker to Thomas' home for the

purpose of removing Thomas and Hicks' other children from the home. Id. at Ex.14, TPD Rpt.

P001398.

       RESPONSE: Not disputed.

       23.      Defendants Mason and Fountain learned from Thomas that M.T. had been sick with

a fever and diarrhea for the past two days. Id.at Ex.4, Thomas Dep. I 139:5-140:18; Ex. 14, TPD

Rpt. P001398.

       RESPONSE: Not disputed.

       24.      Defendants Mason and Fountain next went to AMC. Id. at Ex. 14, TPD Rpt.

P001398.

       RESPONSE: Not disputed.

       25.      Defendant Fountain spoke to Dr. Edge. The conversation lasted only three to four

minutes, during which Dr. Edge conveyed that M.T.'s head injury was the type typically caused

by a high-speed impact or by slamming very hard into a hard object. Id. at Ex. 14, TPD Rpt.

P001398; Ex. 15, Fountain Dep. 60:10-62:12.

       RESPONSE: Not disputed.

       26.      During the first visit to AMC, defendants Fountain and Mason were also incorrectly

informed M.T. had a skull fracture. Id. at Ex.15, TPD Rpt. P001398; Ex. 16, Tr. Interrogation I,

P000299-P000300.

       RESPONSE: Not disputed.




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       27.    Defendant Fountain falsely claimed that during this conversation, Dr. Edge also

told him that M.T. had been murdered. Id. at Ex. 15, TPD Rpt. P001398.

       RESPONSE: Denied. There is absolutely no evidence to support that Defendant

       Fountain “falsely” claimed. Dr. Edge stated he did not recall whether he in fact stated

       it was a murder however, Defendant Fountain’s contemporaneously made notes

       indicate that Dr. Edge stated the same. (p. 116, L. 14; p. 118, L. 21-24 of Exhibit “F”

       to Spencer Moving Declaration; see, Fountain Deposition attached as Exhibit “C” to

       Spencer Reply Affidavit, p. 95, L. 21-p. 96, L. 17).

       28.    Dr. Edge denied making any such statement regarding a murder. Id. at Ex. 10, Edge

Dep. 117:6-120:2.

       RESPONSE: Denied. While Dr. Edge stated it would be odd from for him to say

       anything regarding a murder, Dr. Edge also stated that he did not recall whether he

       said it was a murder. (p. 116, L. 14; p. 118, L. 21-24 of Exhibit “F”; see Id.).
                                                                                    --
       29.    Per Dr. Edge, his role as a physician is to diagnose, not determine a cause, or

determine whether an injury is accidental or non-accidental. Id. at Ex.10, Edge Dep.138:7-139:4.

       RESPONSE: Not disputed.

       30.    Defendant Fountain and Mason obtained a statement from Wilhelmina Hicks,

which corroborated Adrian Thomas' claim that M.T. had been sick for the past few days, and did

not contain any statements alleging abuse of M.T. by Mr. Thomas. Id. at Ex. 14, TPD Rpt.

P001399; Ex. 15, Fountain Dep. 63:11-20;.Ex. 18, Hicks Statement P001409-P001410.

       RESPONSE: Not disputed.




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       31.     Defendant Mason never inquired with doctors about M.T.'s illness or whether there

could be a non-trauma related cause of death. Id. at Ex. 13, Mason Dep. 168:12-169:19.

       RESPONSE: Not disputed.

       32.     Defendants Fountain and Mason returned to Mr. Thomas' home and asked him to

accompany them to the Troy Police Department headquarters. Id. at Ex. 14 TPD Rpt. P001399;

Ex. 15, Fountain Dep. 64:13-65:6.

       RESPONSE: Not disputed.

       33.     Going into the questioning, defendant Fountain believed that Mr. Thomas had done

something to M.T. Id. at Ex.15, Fountain Dep. 96:18-97:8.

       RESPONSE: Not disputed.

       34.     During the questioning, Mr. Thomas thought he could not leave, and repeatedly

stated that he felt like he was in jail. Id. at Ex.4, Thomas Dep. I l5l:10-19; Ex. 5, Thomas Dep.

II 384:6-22; Ex. 16, Tr. Interrogation I P000367-P000369, P000403.

       RESPONSE: Defendant’s cannot respond to the operation of Mr. Thomas’ mind

       however, it is undisputed that Mr. Thomas testified that he was never told that he

       couldn’t leave. (Thomas EBT p. 151, L. 10-L. 23 of Exhibit “A” to Spencer Moving

       Declaration).

       35.     Mr. Thomas was initially questioned for about two hours. Id. at Ex. 14, TPD Rpt.

P001399.

       RESPONSE: Not disputed.




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       36.     Defendant Mason and Fountain's interrogation technique of Mr. Thomas was based

on their own instinct and was not based on any specific training. Id. at Ex. 13, Mason Dep. 54:13-

55:7; Ex. 15, Fountain Dep.32:5-12.

       RESPONSE: Denied. Defendant Mason testified as follows: “I agree that I didn’t go

       into that interview with some preconceived, this is going to be my form because I was

       taught this. I don’t know that at any point in time did some portion of my training

       kick in, but for the most part, the interview was conducted based on my instincts.” (p.

       54, L. 23-p. 55, L. 7 of Exhibit “D” to Spencer Reply Declaration).

       37.     During the first interrogation, Fountain suggested to Mr. Thomas that he may have

bumped M.T.'s head on the crib with the hope that Mr. Thomas would adopt this false suggestion.

Id. at Ex. 15, Fountain 82:14-21, 89:23-90:10.

       RESPONSE: Denied. The cited testimony does not state that Defendant Fountain

       “hope[d] that Mr. Thomas would adopt this false suggestion.” Indeed, Defendant

       Fountain testified that he wasn’t aware that the techniques used could have caused a

       false confession. (p. 99, L. 17-L. 22 of Exhibit “C” to Spencer Reply Declaration).

       Defendant Fountain suggested possible scenarios to explain the injuries reported.

       38.     During the interrogation, Mr. Thomas stated, in sum and substance, that if his son

died, he would jump off a bridge. Id. at Ex.4, Thomas Dep. I 147:12-15.

       RESPONSE: Not disputed.

       39.     Defendants Mason and Fountain continued to question Mr. Thomas after he made

this statement. Id. at Ex. 13, Mason Dep. 99:17-20; Ex. 15, Fountain Dep. 83:6-10.

       RESPONSE: Not disputed.


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       40.     After repeated denials that he had done anything to M.T., in a state of duress and

emotional turmoil, and in response to threats that his wife would be arrested, Mr. Thomas

eventually adopted defendant Fountain's false suggestion that he had bumped M.T.'s head on the

crib, and agreed to sign a statement written by Fountain, which he in fact signed on September 22,

2008, at 7:41 a.m. Id. at Ex.5, Thomas Dep. II 415:14-416:14; Ex. 13, Mason Dep. 104:9-14; Ex.

15, Fountain Dep.79 15-18; Ex. 19, Thomas Statement I P001404.

       RESPONSE: Defendants cannot speak to the operation of Mr. Thomas’ mind.

       Otherwise not disputed that after denying that he done anything to M.T., Mr. Thomas

       confessed to causing M.T.’s injuries and signed a statement that he reviewed and

       agreed was truthful. (Ex. 19 to Klein Declaration).

       41.     The first interview did not yield any statements or evidence that gave Mason and

Fountain probable cause to arrest Mr. Thomas for any crime, or which were consistent with the

information Fountain had learned from Dr. Edge. Id. at Ex. 13, Mason Dep. 100:21-101:8.

       RESPONSE: Not disputed.

       42.     As a result of Mr. Thomas' statement regarding jumping off a bridge, defendants

Mason and Fountain brought Mr. Thomas to Samaritan Hospital for a mental health evaluation,

where he remained under observation for fifteen hours. Id. at Ex.4, Thomas Dep. I 147:12-148:3;

Ex. 5, Thomas Dep. II 383:23-384:5; People v. Thomas, 22 N.Y.3d 629, 646 (N.Y. 2014).

       RESPONSE: Not disputed.

       43.     Defendant Mason requested that Samaritan notify him when Mr. Thomas was ready

to be released. Klein Decl., Ex. 13, Mason Dep. 106:11-14.

       RESPONSE: Not disputed.


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       44.     On September 22,2008, defendant Mason returned to AMC and spoke to Dr. Edge,

obtaining a statement from him that M.T.'s injury would have required more than a bump on a

crib. Id. at Ex. 2l, Edge Statement P001413.

       RESPONSE: Not disputed except to the extent such assertion attempts to reflect the

       whole statement made by Dr. Edge which speaks for itself.

       45.     Defendant Mason learned at this time that M.T. did not actually have a skull

fracture. Id. at Ex. 17, Tr. Interrogation II, P000455-P000456.

       RESPONSE: Not disputed.

       46.     In the afternoon of September22,2008, Mr. Thomas, who was distraught and sleep

deprived, was met and picked up from the hospital by defendant Mason. Id. at Ex.4, Thomas Dep.

I 149:8-150:6, 168:8-19; Ex. 13, Mason 106:4-17.

       RESPONSE: Not disputed that Mr. Thomas states that he was sleep deprived

       however, Defendant Mason testified in response to the question, was Mr. Thomas

       lucid, that Mr. Thomas appeared completely normal during the interview. (p. 230, L.

       5-L. 8 of Mason EBT attached as Exhibit “D” of Spencer Reply Declaration).

       Defendant Colaneri further testified that he was not aware that Mr. Thomas was sleep

       deprived as he now asserts. (p. 55, L. 10-L. 14 of Sept. 11 EBT, Exhibit “E” to Spencer

       Reply Declaration).

       47.     Defendant Mason brought Mr. Thomas back to the Troy Police Department

headquarters for further questioning. Id. at Ex. 13, Mason Dep. 106:18-107:2.

       RESPONSE: Not disputed.




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       48.      On the way to the interview room, defendant Mason told Mr. Thomas that once in

the interview room, if he were to get up and go towards the door, he would be charged with escape.

Id. at Ex.4, Thomas Dep. I 150:13-19.

       RESPONSE: Denied. Defendant Mason denies ever stating such. (p. 199, L. 3-L. 6 of

       Exhibit “D” to Spencer Reply). Furthermore, the Plaintiff never alleged that such

       threat was made to him during his criminal trial. (p. 11 of Exhibit “B” to Id.).
                                                                                        --
       49.      Defendant Mason interrogated Mr. Thomas for approximately 7 ½ hours. Id. at Ex.

13, Mason Dep.2l:6-22.

       RESPONSE: Not disputed.

       50.      Mr. Thomas had not slept since he was awoken by his wife on September 21,2008,

at approximately 8:00 a.m. Id. at Ex. 4, Thomas Dep. I 168:8-19.

       RESPONSE: Not disputed that Mr. Thomas asserted at his Deposition that he hadn’t

       slept.

       51.      Mr. Thomas did not feel he was free to leave during the interrogation. Id. at Ex. 5,

Thomas Dep. II 301:15-1 8.

       RESPONSE: Defendants cannot speak to the operation of Mr. Thomas’ mind

       however, it is undisputed that Mr. Thomas testified that he was never told that he

       couldn’t leave. (Thomas EBT p. 151, L. 10-L. 23 of Exhibit “A” to Spencer Moving

       Declaration).




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         52.    Defendant Colaneri watched and otherwise monitored the interview from a separate

room and entered the room on one occasion. Id. at Ex. 22, Colaneri Dep. I, 93:20-93:22,96:23-

97:21.

         RESPONSE: Not disputed.

         53.    Prior to defendant Colaneri entering the room, defendant Mason did not have

probable cause to arrest Mr. Thomas for any crime. Id. at Ex. 13, Mason Dep. 113:15-114:19,

167:2-13; Ex.23, Colaneri Dep. II 2l:3-22:5.

         RESPONSE: Not disputed.

         54.    During the second interrogation, defendants Mason and Colaneri jointly introduced

the concept of M.T. being slammed. Id. at Ex. 13, Mason Dep. 114:4-115:6, 17l:9-172:10,

195:21-196:8; Ex. 23, Colaneri Dep. II 6:5-19, 17:9-18:16.

         RESPONSE: Not disputed.

         55.    All of the statements made by Mr. Thomas regarding bumping, throwing, or

slamming M.T. were first suggested to him by the defendants. Id. at Ex.4, Thomas Dep. I 169:17-

170:19; Thomas, 22 N.Y.3d at 646.

         RESPONSE: Not disputed.

         56.    Mr. Thomas made the involuntary statements because he was, without limitation,

tired, afraid, wanted to see his children and particularly his son, M.T., was afraid if he did not make

the statement he or his wife would be arrested, and based on the false promise by the defendants

that he would be released if he made the statement. See Klein Decl. Ex. 5, Thomas Dep. II 304:20-

305:11; Thomas, 22 N.Y.3d 629.

         RESPONSE: Denied. Defendants cannot speak to the operation of Mr. Thomas’ mind


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       however, it is undisputed that Mr. Thomas reviewed and signed a document titled

       voluntary statement after going through it and agreeing it was true. (See Miranda

       Waiver, Exhibit “C” to Mason Affidavit; see, ⁋ 41 of Mason Affidavit; see also,

       Statement attached as Exhibit “D” to Spencer Affidavit). Furthermore, the trial

       court specifically observed that Mr. Thomas did not appear fatigued, nor did he ever

       indicate or state he was. (See, p. 17 of Huntley Hearing, Exhibit “B” to Spencer Reply

       Declaration).

       57.    Defendant Fountain participated in the first two-hour interrogation and was

personally involved in conduct which the Court of Appeals found to be coercive. See Klein Decl.

Ex. 15, Fountain Dep. 37:16-38:8; Thomas, 22 N.Y.3d at 637-38.

       RESPONSE: Not disputed that Defendant Fountain only participated in the first-two

       hour interrogation. Remaining allegations denied.

       58.    Defendant Colaneri was personally involved in the second seven-hour interview.

See Klein Decl. Ex. 22, Colaneri Dep. I 93:77-22, 97:10-104:8.

       RESPONSE: Not disputed.

       59.    Defendant Colaneri's conduct during the interrogation made Thomas give more

information and contributed to Thomas's coerced false confession. Id. at Ex. 22, Colaneri Dep. I

102:21-104:13; Thomas, 22 N.Y.3d at 639.

       RESPONSE: Denied that Defendant’s Colaneri’s conduct made Thomas do anything

       as Mr. Thomas himself testified that Defendant Colaneri “came off aggressive, but

       that didn’t - - that didn’t cause me to sign or anything like that.” (p. 310, L. 11-L. 22

       of Thomas EBT attached as Exhibit “A” to Spencer Moving Declaration).


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       60.    Although Thomas told the TPD defendants many times that he didn't do anything,

neither officer documented such in the statements they wrote for Mr. Thomas to sign. See Klein

Decl. Ex. 13, Mason Dep. 171:18-10; Ex. 15, Fountain Dep.79:15-21; Ex. 19, Thomas Statement

I P001404; Ex.20, Thomas Statement II P001415-P001424.

       RESPONSE: Not disputed.

       61.    Purported probable cause to arrest Thomas was not established until the moment

Thomas involuntarily adopted the TPD defendants' suggested and false narrative that he had

slammed Matthew on the bed three times. Id. at Ex.4, Thomas Dep. I 169:3-170:19; Ex. 13,

Mason Dep. 112:19-116:4; Thomas,22 N.Y.3d at 646.

       RESPONSE: Denied. Mr. Thomas stated that such narrative was truthful when he

       reviewed and signed the statement and such in connection with the reported injuries

       of M.T. provided probable cause to arrest.

       62.    In the early hours of September 23,2008, after Mr. Thomas signed a second 10-

page coerced false statement, he was arrested by defendant Mason. Klein Decl. Ex. 4, Thomas

Dep. I 172:12-16; Ex. 13, Mason Dep. 107:3-107:13,1l5:20-116:4; Ex.20, Thomas Statement II.

       RESPONSE: Not disputed.

       63.    The decision to arrest Thomas was made by defendants Mason and Colaneri jointly.

Id. at Ex. 13, Mason Dep. 109:22-111:6.

       RESPONSE: Not disputed.




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       64.     Defendant Mason prepared a criminal court information charging Mr. Thomas with

attempted murder and attached only the second coerced false statement to it, leaving out the first

inconsistent and non-incriminating statement. Id. at Ex. 13, Mason Dep. 117:15-118:20; Ex. 19,

Thomas Statement I P001404; Ex.20, Thomas Statement II P001415-P001424.

       RESPONSE: Not disputed.

       65.     Mr. Thomas was arraigned based on the documents submitted by defendant Mason,

and consequently, imprisoned in the Rensselaer County Jail. Id. at Ex. 4, Thomas Dep. I 172:17-

18; Ex. 5, Thomas Dep. II 407:7-408:21; Ex. 13, Mason Dep.122:7-22.

       RESPONSE: Not disputed.

       66.     After Mr. Thomas had been arraigned and was represented by counsel, CPS worker

Jasper Estaris met with Mr. Thomas in the Rensselaer County Jail. Id. at Ex.4, Thomas Dep. I

172:17-173:2; Ex.5, Thomas Dep. II 407:7-408:21. In this jail setting, where Mr. Thomas was

upset after, among reasons, being for the first time informed by Estaris of the death of M.T., Mr.

Thomas was questioned by Estaris without being offered an attorney and outside the presence of

his attorney, and purportedly made statements about hurting M.T. Ex. 5, Thomas Dep. II 408:13-

409:4; Ex. 37, Estaris Dep. 72:22-76:20, 81.20-82:4, 9l:23-92:7. Thomas denies having ever

made any such statements. Id. at Ex. 4, Thomas Dep. I 172:19-177:18.

       RESPONSE: Not disputed that after Mr. Thomas was arraigned, CPS worker Jasper

       Estaris met with Mr. Thomas in the Rensselaer County Jail and that Mr. Estaris

       informed Mr. Thomas of the death of M.T. which Mr. Thomas was visibly upset

       about. The remaining statements are denied. The notes taken by CPS workers

       indicate that Mr. Thomas stated he did not have a lawyer. (p. 234, L. 5—L. 8 of Estaris


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       EBT, attached as Exhibit “D” to Spencer Moving Declaration). Defendants deny that

       Mr. Thomas “purportedly made statement about hurting M.T.” as all records and

       evidence indicate that Mr. Thomas did in fact make such statements despite his

       denial.

       67.       CPS and TPD were working cooperatively and sharing information during the M.T.

investigation, and notes from CPS confirm that defendant Mason informed CPS supervisor Nicole

Noel of the coerced false admissions by Thomas regarding slamming M.T., and provided Thomas'

statement, among other police documents, to Ms. Noel, who would have shared it with Estaris

prior to CPS interviewing Thomas in jail without counsel. Id.at Ex.23, Mason Dep. 128:3-132:17:,

Ex. 24, Noel Dep. 44:14-48:23.

       RESPONSE: All conjecture and improper characterization of the real evidence is

       denied. Not disputed that CPS and TPD worked cooperatively during the

       investigation into M.T.’s death and that CPS supervisor Nicole Noel was informed of

       Mr. Thomas’ confession. Denied that Ms. Noel “would have shared [such]

       information with Estaris prior to CPS interviewing Thomas in jail. . .” Mr. Estaris

       testified that he was not informed about Mr. Thomas’ confession to TPD prior to

       interviewing Mr. Thomas himself. (p. 93, L. 5-L. 22; p. 98, L. 6—L. 18 of Exhibit “C”

       to Spencer Moving Declaration). Furthermore, the deposition testimony of Ms. Noel

       cited by Plaintiff clearly indicates that Ms. Noel testified that she would “not

       necessarily” have given Mr. Estaris a copy of Mr. Thomas’ confession, or informed

       him of the same, prior to Mr. Estaris interviewing Mr. Thomas at the Rensselaer

       County Jail.


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       68.    On September 25,2008, Dr. Sikirica performed the autopsy of M.T. Id. at Ex. 6,

Sikirica Dep. I 121:21-122:3.

       RESPONSE: Not disputed.

       69.    Dr. Sikirica consulted with TPD Sergeant Mason, who was present during the

autopsy, reviewed Thomas' coerced false statements that were provided to him by the TPD

defendants, and was aware that Thomas had already been arraigned on attempted murder charges,

and that his autopsy was being done in conjunction with a homicide investigation at the time he

conducted the autopsy. Id. at Ex. 6, Sikirica Dep. I 166:3-167:22; Ex. 13, Mason Dep. 8:5-9:19;

Ex. 26, Sikirica 2014 Trial 847:23-850:6.

       RESPONSE: Denied that “Dr. Sikirica consulted with TPD Sergeant Mason . . .” as

       Dr. Sikirica and Defendant Mason both testified that they had an “informal

       conversation.” (p. 166, L. 12 of Sikirica EBT; p. 9, L. 12 of Mason EBT).

       70.    Defendant Sikirica neither took gram stains nor examined M.T.'s sinuses during

the autopsy, forensic evaluations which would have been relevant to determining the cause and

extent of M.T.'s infection and cause of death. Id. at Ex.3, Leestma 2009 Trial 2118:13-2120:12,

2158:8-2159:1.

       RESPONSE: Not disputed that Dr. Sikirica did not take gram stains, but it is disputed

       whether such forensic evaluation would have been relevant in this matter. Dr. Sikirica

       specifically denied this representation in his deposition. (p. 94, L, 21—p. 96, L. 14 of

       Exhibit “B” to Spencer Moving Declaration).




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       71.     On September 25,2008, the lab results came back from the swabs taken at

Samaritan Hospital, confirming that M.T. had a bacterial infection. Id. at Ex. 6, Sikirica Dep. I

93:8-17.

       RESPONSE: Not disputed.

       72.     Sikirica issued a death certificate on September 25, 2008, which listed the

immediate cause of death as "severe closed head injuries with cerebral edema due to blunt force

trauma" and further stated the cause of injury to be: "assaulted by another (repeatedly)." Id.at Ex.

27, Death Certificate P001394.

       RESPONSE: Not disputed.

       73.     Despite the positive lab test and other evidence of overwhelming sepsis including,

without limitation, that M.T. presented at the hospital with low white blood cell count, low platelet

count, hypothermia, respiratory distress, low blood pressure, coagulopathy, hypoglycemia,

tachycardia, and pancytopenia, Dr. Sikirica neither listed sepsis as a contributory cause of death

on the death certificate, nor as a finding in the later completed autopsy report which was prepared

after the receipt of the positive lab report. Id. at Ex.6, Sikirica Dep. I 111:8-23,169:14-173:4,

181:15-182:11, 185:3-188:19.

       RESPONSE: Not disputed however, no evidence or testimony cited supports the

       notion that the evidence indicated “overwhelming sepsis.”

       74.     On September 26,2008, defendants Mason and Sikirica testified in the grand jury.

Id. at Ex.6, Sikirica Dep. I 121:4-19; Ex. 13; Mason Dep. 150:14-16.

       RESPONSE: Not disputed.




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       75.     During his grand jury testimony, defendant Sikirica testified to some evidence of

developing pneumonia, despite later admitting that the same bacteria that was found in M.T.'s

bloodstream causes pneumonia, and that the pneumonia had advanced to sepsis by the time of

M.T.'s death. Id. at Ex.25, Sikirica 2009 Trial 1495:10-25 (P004969), 1519:8-23 (P004523); Ex.

29, Sikirica Grand Jury Tr. L11:20-12:2,17:14-19.

       RESPONSE: Denied.          This assertion is a gross oversimplification, and unclear

       representation, of the true testimony. Dr. Sikirica testified that the bacteria observed

       “can cause” pneumonia which “could advance” to sepsis.

       76.     The l0-page coerced false confession was also introduced into evidence at the

grand jury. Id. at Ex. 30, Mason Grand Jury Tr. 33:6-23; Thomas, 22 N.Y.3 d 629.

       RESPONSE: Not disputed the confession was introduced into evidence at the grand

       jury. Objection to such legal conclusions.

       77.     On April 22,2009, Dr. Sikirica issued an autopsy report in which he reported only

that M.T.'s blood was positive for streptococcus pneumoniae. Id. at Ex.28, Autopsy Rpt. The

report never mentioned sepsis. Id.

       RESPONSE: Denied. Dr. Sikicia put in the autopsy report that: “streptococcus

       pneumoniae was isolated from the blood. Blood culture positive for streptococcus

       pneumoniae on initial presentation.” Which Dr. Sikirica testified is “equivalent to

       [saying M.T. had] sepsis.” (p. 323, L. 23—p. 213, L. 9 of Sikica EBT).

       78.     Defendant Sikirica admits that streptococcus pneumoniae can cause pneumonia,

meningitis, and sepsis. Id. at Ex.7, Sikirica Dep. II 290:12-291:3.

       RESPONSE: Not disputed.


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        79.     Defendant Sikirica admits that sepsis is more serious than the mere presence of the

bacteria-which is all he listed in his autopsy report-and that it is an actual infection that leads

to organ damage throughout the body, and that these conditions can cause death. Id. at Ex. 6,

Sikirica Dep. I 172:13-17; Ex.7, Sikirica Dep. II 290:12-291:11; Ex. 25, Sikirica 2009 Trial

1489: l-15 (P004963), 1547:20-24 (P004551).

        RESPONSE: Not disputed.

        80.     Dr. Sikirica knew that his autopsy results would be relied on by police and

prosecutors. Id. at Ex. 6, Sikirica Dep. I 229:12-19.

        RESPONSE: Not disputed.

        81.     Dr. Sikirica omitted the word sepsis from his report because he thought including

the diagnosis would divert from what he assessed was the real cause of death. Id. at Ex.6, Sikirica

Dep. I 209:12-20.

        RESPONSE: Denied. Dr. Sikirica testified that he did not list sepsis as a contributing

        cause of death “[b]ecause he think[s] it's confusing. [He] think[s] it unnecessarily

        diverts the real cause of death from what is going to be the closed head injury with

        cerebral edema. (p. 209, L. 12-20 of Sikirica EBT attached as Exhibit “B” to Spencer

        Moving Declaration) However, as discussed above in response to paragraph 77, Dr.

        Sikirica used the scientific term for sepsis in his report.




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       82.     Dr. Sikirica, however, now concedes that while he listed the cause of M.T.'s death

to be only blunt force trauma, that sepsis was a contributory cause of death, and that doctors could

disagree as to his assessment as to the actual cause of death. Id. at Ex. 6, Sikirica Dep. I 207:22-

208:18.

       RESPONSE: Denied. This is an improper oversimplification of what Dr. Sikirica

       testified to. Dr. Sikirica testified that sepsis was not a substantial contributing factor

       to M.T.’s death. He explained that sepsis “was sequelae of the injury that he

       received.” (p. 173, L. 11-L. 17 of Sikirica EBT). Dr. Sikirica agreed that “the trauma

       lead to the pneumonia, [that] lead to the sepsis.” (p. 174, L. 20-L. 23 of Sikirica EBT).

       It is not disputed that Dr. Sikirica testified that doctors could disagree as to his

       assessment of the cause of death.

       83.     Other than Mr. Thomas' coerced false confession, and Dr. Sikirica's flawed

findings, there was no other evidence linking Thomas to any crime. Id. at Ex. 13, Mason Dep.

154:16-155:8, Ex. 15, Fountain 104:7-11. Maloney Decl. Ex. 2, Maloney Rpt.; Ex. 3, Maloney

Rebuttal Rpt. Johnson Decl. Ex.2, Johnson Rpt. 11-12.

       RESPONSE: Denied. Dr. Sikirica’s findings were not “flawed.”

       84.     Defendant Fountain met with the District Attorney’s Office, testified at a Huntley

hearing, and his involvement in the first interrogation was part of the chain of events that led to

Thomas' prosecution and conviction. Id. at Ex. 13, Mason Dep.2I7:2-11; Ex. 15, Fountain Dep.

12:15-19, 13:4-7, 77:15-78:13, 102:12-104:6; Thomas, 22 N.Y 3d at 637-38.

       RESPONSE: Not disputed that Defendant Fountain met with the District Attorney’s

       Office, testified at a Huntley hearing, and was involved in the first interrogation. Deny


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       the remaining allegations as improper legal conclusions.

       85.    Thomas was tried and convicted by a jury in2009 on charges of murder of his son.

Klein Decl. Ex.4, Thomas Dep. I 208:9-18.

       RESPONSE: Not disputed.

       86.    Defendant Mason testified at the 2009 trial and evidence including Thomas'

statement and portions of the second videotaped coerced confession were introduced into evidence.

Id. at Ex. 13, Mason Dep. 6:20-7:13; Thomas, 22 N.Y.3d at 635.

       RESPONSE: Not disputed.

       87.    Defendant Sikirica testified during the first trial that based on his experience and

participation in the autopsy and microscopic examinations of M.T., that M.T.'s injuries were

consistent with having been slammed down on a mattress at a great force, and that the subgaleal

hematoma was consistent with being slammed into a wooden rail of a crib. Id. at Ex. 25, Sikirica

2009 Trial 1582:13-24 (P004586).

       RESPONSE: Not disputed.

       88.    Thomas was sentenced to 25 years to life in prison, and thereafter transferred to

Downstate Correctional Facility, and then to Auburn Correctional Facility. Id. at Ex.4, Thomas

Dep. I 208:19-209:14, 212:13-213:16, 214:11-13.

       RESPONSE: Not disputed.




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       89.     Thomas filed post-conviction motions to suppress his confession and to set aside

the verdict rendered against him, a remedy that was ultimately granted by the Court of Appeals on

February 20, 2014. Thomas, 22 N.Y.3d 629.

       RESPONSE: Not disputed.

        90.     The Court of Appeals found that defendants Mason, Fountain, and Colaneri had

engaged in coercive behavior, including inter alia, threatening that if Thomas continued to deny

responsibility for M.T.'s injury his wife would be arrested and removed from his ailing child's

bedside, repeating 2l times during the course of the interrogation "that his disclosure of the

circumstance under which he injured his child was essential to assist the doctors attempting to save

the child's life," and "the ubiquitous assurances offered by defendant's interrogators, that whatever

had happened was an accident, that he could be helped if he disclosed all, and that, once he had

done so, he would not be arrested, but would be permitted to return home" which included telling

Thomas "67 times that what had been done to his son was an accident, 14 times that he would not

be arrested, and eight times that he would be going home." Id. at 643-646.

       RESPONSE: Not disputed that the Court’s Decision and Order speaks for itself.

        91.      The Court of Appeals further recognized that Thomas' "subsequent confession

provided no independent confirmation that he had in fact caused the child's fatal injuries" and that

"[e]very scenario of trauma induced head injury equal to explaining the infant's symptoms was

suggested to defendant by his interrogators" that that "not a single inculpatory fact in defendant's

confession that was not suggested to him." Id. at 646.

       RESPONSE: Not disputed that the Court’s Decision and Order speaks for itself.




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         92.    After the Court of Appeals remanded Thomas' case for retrial, Thomas was again

imprisoned at the Rensselaer County Jail. Klein Decl. Ex. 4, Thomas Dep. I 231:21-232:20.

         RESPONSE: Not disputed.

         93.    Thomas was retried in 2014. Id. at Ex.4, Thomas Dep. I 233:7-8.

         RESPONSE: Not disputed.

         94.    Defendant Sikirica testified at Thomas' second trial. Id. at Ex. 26, Sikirica 2014

Trial.

         RESPONSE: Not disputed.

         95.    At the second trial, Sikirica testified that in his experience, the injuries could be

consistent with a moderate amount of force, and that M.T.'s injuries were consistent with M.T.

being bounced hard off of a bed and onto the ground. Id. at Ex.26, Sikirica 2014 Trial 837:14-18,

840:17-841:20.

         RESPONSE: Denied. Dr. Sikirica was asked a hypothetical regarding if such activity

         of throwing M.T. down on the bed resulting in him falling off the bed to the ground

         could have caused the observed injuries to M.T. Which Dr. Sikirica testified they

         could. Not that such was what occurred. (Ex.26, Sikirica 2014 Trial 840:17-841:20.)

         96.    Defendant Sikirica continued to attribute M.T.s death to Thomas even after

Thomas' confession had been suppressed and despite the suppressed statement being the only link

between Thomas and M.T.'s death. Id. at Ex.6, Sikirica Dep. I 125:9-19,129:7-23.

         RESPONSE: Denied. Dr. Sikirica testified that it is his personal opinion that Mr.

         Thomas caused the injuries to M.T. (Ex.6, Sikirica Dep. I 125:9-19,129:7-23).




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        97.     At the conclusion of Thomas' second trial, Thomas was acquitted, and the matter

was dismissed and sealed. Klein Decl. Ex.4, Thomas Dep. I 234:11.

        RESPONSE: Not disputed.

        98.     Plaintiff’s expert in false confessions, Matthew B. Johnson, Ph.D., associate

professor in the Department of Psychology at John Jay College of Criminal Justice-CUNY, whose

work focuses on the interface of psychology and the legal system, opined, in relevant part, that

plaintiff’s malicious prosecution resulted from a process commonly referred to as “a

misinformation effect (also called an 'anchoring effect', or a process of 'forensic confirmation bias',

or 'bias cascade'), where an initial erroneous assumption or report is accepted as factual and

misguides the ensuing investigation." Johnson Decl. ¶¶ 12; Ex. 2, Johnson Rpt. p. 11. Johnson

further opined that in the case of plaintiff, the initial mistaken assessment by Albany Medical

Center led the police to subject Thomas to a "prolonged, coercive, interrogation to confirm the

erroneous medical assessment" and that "[t]he coerced false confession then influenced the

medical examiner's autopsy report." Id. at Ex. 2, p, 11. Johnson also cited research recognizing

that when an event is mislabeled a crime, "forward momentum often fueled by circular reasoning

takes over" resulting in individuals being convicted of crimes that never occurred in the first place,

as was the case here. Id. at Ex. 2, p. 3.

        RESPONSE: Not disputed that Dr. Johnson expressed his opinion on this matter.

        Disputed that such is undisputed based upon the conflicting opinion submitted by

        Michael Ranalli.




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        99.     Plaintiff's medical expert, forensic pathologist Katherine F. Maloney, M.D.,

determined that M.T. died exclusively from streptococcus pneumoniae meningitis. See Maloney

Decl., Ex. 2, Maloney Rpt. p. 3. She further found that the scalp and subgaleal hemorrhages, retinal

hemorrhages, and subdural hemorrhage were not due to violent trauma, were not fatal injuries, and

did not explain the cause of death. Id. Rather the retinal hemorrhages were due to increased

intracranial pressure caused by the cerebral edema, and the subgaleal and subdural hemorrhages

resulted from coagulopathy due to the Streptococcus pneumoniae infection and from brain

swelling due to the loss of oxygen to the brain caused by the infection, which led to an

accumulation of fluid surrounding the brain. Id. at pp.2-3.

       RESPONSE: Not disputed that such is the expert opinion. Disputed that such is

       undisputed based upon the conflicting opinions submitted by Dr. Sikirica and Dr.

       Michael Baden.



Dated: October 25, 2021.


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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

ADRIAN THOMAS,

                                 Plaintiff,
                                                            1:17-CV-626
            v.                                                 (DJS)

ADAM R. MASON, RONALD FOUNTAIN, TIM
COLANERI, and MICHAEL SIKIRICA,

                                 Defendants.


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United States Magistrate Judge
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                           MEMORANDUM-DECISION and ORDER

                                            I. INTRODUCTION

         This case presents troubling claims arising from a tragic death. The Complaint in

this action was filed on June 12, 2017. Dkt. No. 1. Plaintiff subsequently filed an

Amended Complaint, which is the operative pleading.                             Dkt. No. 31, Am. Compl.

Defendants filed Motions to Dismiss the Amended Complaint which the District Court

granted in part and denied in part. Dkt. No. 61. Following that motion practice, the

following claims remain:

         1) a malicious prosecution claim under 42 U.S.C. § 1983 against all Defendants;

         2) a denial of the right to a fair trial claim under 42 U.S.C. § 1983 against all

Defendants; 1 and

         3) a conspiracy claim under 42 U.S.C. § 1983 against all Defendants. 2

         Presently pending are Motions for Summary Judgment on behalf of Defendants

Colaneri, Fountain, and Mason (“City Defendants”), Dkt. No. 142, and Defendant

Sikirica. Dkt. No. 143. Plaintiff opposes the Motions. Dkt. Nos. 152-158. Defendants

filed replies. Dkt. Nos. 163-164. The Court held oral argument on these Motions on

December 5, 2022. Text Minute Entry for Dec. 5, 2022. Following those arguments,

Plaintiff and the City Defendants filed supplemental letter briefs. Dkt. Nos. 168 & 171.

For the reasons that follow, the Motions for Summary Judgment are granted.


1
  The District Court initially dismissed this claim based on the statute of limitations, but following reconsideration
the claim was reinstated. Dkt. No. 124.
2
 The Amended Complaint also included a section 1985 conspiracy claim which Plaintiff has now withdrawn. See
Dkt. No. 154 at p. 13 n.2.
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                                    II. FACTUAL BACKGROUND

         On September 21, 2008, between 8:30 and 9:00 a.m., Plaintiff’s infant son “M.T.”

was found unresponsive in his crib. Dkt. No. 142-6 at p. 3; Dkt. No. 156-4 at p. 5.

Plaintiff dialed 911 and emergency services personnel responded to his residence in Troy,

New York. Dkt. No. 156-4 at p. 5; Dkt. No. 156-18. M.T. was transported by ambulance

to Samaritan Hospital in Troy where he underwent emergency evaluation. Dkt. No. 156-

9. As a result of M.T.’s critical condition he was transferred to Albany Medical Center.

Id. at pp. 3-4. Upon arrival at Albany Medical Center, M.T. was initially treated by Dr.

Walter Edge. Dkt. No. 142-9. At some point on September 21, staff at Albany Medical

Center, concerned that the child had been the victim of abuse, contacted Child Protective

Services (“CPS”). Id. Troy Police were eventually contacted and Defendants Fountain

and Mason went to Albany Medical Center at around 9:00 p.m. Dkt. No. 142-7 at ¶ 11.

         At the hospital, police spoke with Dr. Edge and Wilhelmina Hicks, M.T.’s mother.

At one point during discussions with police, Dr. Edge reported that M.T.’s injuries were

the result of “high impact,” either from being shaken or having his head hit against a hard

object. Dkt. No. 156-21. Detectives Mason and Fountain eventually went to Plaintiff’s

residence and asked Plaintiff to come to the police station for questioning. Dkt. No. 142-

2 at ¶ 21. Mr. Thomas went with Defendants and was interviewed for approximately two

hours. Id. at ¶ 24. 3 During that interview, Plaintiff expressed suicidal thoughts which led



3
  The entirety of Plaintiff’s interrogation was recorded. The recording is a part of the record on these Motions. Dkt.
No. 142-15. The formatting of the video does not permit ready citation to timestamped portions of the video and so
references to the recording of this video are cited simply by reference to the file name for the particular portion of
the video being cited.
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police to bring him to Samaritan Hospital where he remained hospitalized for psychiatric

evaluation for the next fifteen hours. Id. at ¶¶ 27-28; Dkt. No. 142-5. Upon Plaintiff’s

release, he agreed to return to the police station for further questioning. Dkt. No. 142-7

at ¶ 34. That questioning, lasting over seven hours, concluded with Plaintiff signing a

statement implicating himself in injuring M.T. Id. at ¶¶ 36 & 41. On September 23,

Plaintiff was arrested and charged with the attempted murder of M.T. Dkt. No. 142-7 at

¶¶ 45-46. Later that day, M.T. was pronounced dead. Dkt. No. 156-27.

       On September 25, 2008, Dr. Sikirica performed an autopsy on M.T. Dkt. No. 143-

35 at ¶ 33. He concluded that the cause of M.T.’s death was homicide resulting from

blunt force trauma. Dkt. Nos. 156-27 & 156-28.

       On September 26, 2008, Plaintiff was indicted for murder in the second degree

related to M.T.’s death. Prior to trial, Plaintiff’s criminal defense counsel sought to

suppress Plaintiff’s statements made to Troy police investigators during the second

interview on the ground that they were not voluntarily given. The trial court judge denied

the motion. Dkt. No. 163-3 at pp. 6-17. Plaintiff then proceeded to trial. As relevant to

the pending Motions, the trial involved extensive, and often conflicting, medical

testimony between doctors called by the prosecution and defense regarding M.T.’s cause

of death. See, e.g., Dkt. Nos. 156-3, 156-9. 156-25, 156-26, 156-34, & 156-35. At the

conclusion of the trial, Plaintiff was convicted.

       On appeal, Plaintiff’s conviction was affirmed by the Appellate Division. People

v. Thomas, 93 A.D.3d 1019 (3d Dep’t 2012). That court concluded, as part of its decision,

that Plaintiff’s incriminating statements to police “were voluntary and admissible.” Id. at
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1028. Plaintiff sought leave to appeal to the New York Court of Appeals, which was

granted.   19 N.Y.3d 1105 (2012).         The Court of Appeals ultimately reversed the

conviction, finding that Plaintiff’s confession had been coerced. 22 N.Y.3d 629 (2014).

Plaintiff was retried and acquitted.

              III. LEGAL STANDARD FOR SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56(a), summary judgment is

appropriate only where “there is no genuine dispute as to any material fact and the movant

is entitled to judgment as a matter of law.” The moving party bears the burden to

demonstrate through “pleadings, depositions, answers to interrogatories, and admissions

on file, together with [ ] affidavits, if any,” that there is no genuine issue of material fact.

F.D.I.C. v. Giammettei, 34 F.3d 51, 54 (2d Cir. 1994) (quoting Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986)).

       The party seeking summary judgment bears the burden of informing the court of

the basis for the motion and identifying those portions of the record that the moving party

claims will demonstrate the absence of a genuine issue of material fact. Celotex Corp. v.

Catrett, 477 U.S. at 323. To defeat a motion for summary judgment, the non-movant

must set out specific facts showing that there is a genuine issue for trial and cannot rest

merely on allegations or denials of the facts submitted by the movant. FED. R. CIV. P.

56(c); see also Scott v. Coughlin, 344 F.3d 282, 287 (2d Cir. 2003) (“Conclusory

allegations or denials are ordinarily not sufficient to defeat a motion for summary

judgment when the moving party has set out a documentary case.”); Rexnord Holdings,

Inc. v. Bidermann, 21 F.3d 522, 525-26 (2d Cir. 1994).
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        When considering a motion for summary judgment, the court must resolve all

ambiguities and draw all reasonable inferences in favor of the non-movant. Nora

Beverages, Inc. v. Perrier Group of Am., Inc., 164 F.3d 736, 742 (2d Cir. 1998). “[T]he

trial court’s task at the summary judgment motion stage of the litigation is carefully

limited to discerning whether there are any genuine issues of material fact to be tried, not

to deciding them. Its duty, in short, is confined at this point to issue-finding; it does not

extend to issue-resolution.” Gallo v. Prudential Residential Servs., Ltd. P’ship, 22 F.3d

1219, 1224 (2d Cir. 1994).

                                            IV. DISCUSSION

                   A. The City Defendants’ Motion for Summary Judgment 4

                      1. Effect of the New York Court of Appeals Ruling

        In opposing the City Defendants’ Motion for Summary Judgment, Plaintiff first

argues that this Court must give “preclusive effect” to the Court of Appeals’ finding that

Plaintiff’s confession was involuntary. Dkt. No. 152 at pp. 12-13. This Court is not

obligated to do so for several reasons.

        First, the very nature of the claim here makes affording the state court’s finding

preclusive effect inappropriate. While federal courts “normally give great deference to

the factual findings of the state court. . . . the ultimate issue of voluntariness is a legal

question requiring independent federal determination.” Arizona v. Fulminante, 499 U.S.

279, 287 (1991) (internal quotations, citations, and alterations omitted).


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  Plaintiff’s section 1983 conspiracy claim which is asserted against each Defendant is considered in Part IV(C) of
this Opinion.
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       Second, in a section 1983 action, the Court must give a state court judgment the

same effect it would be given under New York law. Johnson v. Watkins, 101 F.3d 792,

794 (2d Cir. 1996). “Under New York law, the doctrine of collateral estoppel, or issue

preclusion, ‘bars a party from relitigating in a subsequent proceeding an issue clearly

raised in a prior proceeding and decided against that party where the party to be precluded

had a full and fair opportunity to contest the prior determination.’” Id. (quoting Weiss v.

Manfredi, 83 N.Y.2d 974, 976 (1994)). Here, Plaintiff seeks to preclude the individual

Defendants from relitigating the question whether Plaintiff’s confession was voluntary.

Those Defendants were not parties to Plaintiff’s criminal trial and thus had no opportunity

to litigate the voluntariness of Plaintiff’s conviction in state court. McLaurin v. New

Rochelle Police Officers, 439 F. App’x 38, 39 (2d Cir. 2011); Jenkins v. City of New York,

478 F.3d 76, 85 (2d Cir. 2007). Owens v. Treder, 873 F.2d 604 (2d Cir. 1989), on which

Plaintiff relies, is not to the contrary. In Owens, the issue before the court was whether

the plaintiff could relitigate an issue decided during his criminal trial. 873 F.2d at 606.

The Second Circuit held only that the requirements for applying collateral estoppel had

not been met. Id. at 611-12. The same is true here. Defendants were not parties to

Plaintiff’s criminal prosecution and thus could not litigate their individual roles. As a

result, collateral estoppel does not bar them from arguing that they did not violate

Plaintiff’s rights. Jenkins v. City of New York, 478 F.3d at 85.

                                2. Malicious Prosecution

       Plaintiff’s first cause of action is one for malicious prosecution. Am. Compl. at ¶¶

84-93. Plaintiff alleges that Defendants lacked probable cause to arrest him because his
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confession was the product of unlawful coercion and, without it, Defendants knew they

lacked probable cause. Id. at ¶ 50.

       “To state a § 1983 malicious prosecution claim a plaintiff ‘must show a violation

of his rights under the Fourth Amendment and must establish the elements of a malicious

prosecution claim under state law.’” Cornelio v. Connecticut, 32 F.4th 160, 178 (2d Cir.

2022) (quoting Manganiello v. City of New York, 612 F.3d 149, 160-61 (2d Cir. 2010)).

In New York, that substantive showing requires Plaintiff to prove “(1) the commencement

or continuation of a criminal proceeding by the defendant against the plaintiff, (2) the

termination of the proceeding in favor of the accused, (3) the absence of probable cause

for the criminal proceeding and (4) actual malice.” Kee v. City of New York, 12 F.4th

150, 161-62 (2d Cir. 2021) (quoting Smith-Hunter v. Harvey, 95 N.Y.2d 191, 195 (2000)).

No party contests that Plaintiff, given his acquittal, satisfies the favorable termination

element. See McDonough v. Smith, 139 S. Ct. 2149, 2160 n.10 (2019). Defendants do,

however, maintain that summary judgment is appropriate as to the remaining elements.

                         a. Initiation of the Criminal Prosecution

       It is “well settled that in order for an individual to initiate a prosecution for these

purposes, . . . it must be shown that defendant played an active role in the prosecution,

such as giving advice and encouragement or importuning the authorities to act.” Rohman

v. New York City Transit Auth., 215 F.3d 208, 217 (2d Cir. 2000) (internal quotations and

alterations omitted) (citing cases). An active role can be inferred when a defendant had

the plaintiff arraigned, filled out a complaining and corroborating affidavit, or signed a

felony complaint. See Cameron v. City of N.Y., 598 F.3d 50, 63 (2d Cir. 2010); Costello
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v. Milano, 20 F. Supp. 3d 406, 415 (S.D.N.Y. 2014). In this case, Mason filed the arrest

report against Plaintiff. Dkt. No. 142-12. For purposes of the present Motion, that is

sufficient to satisfy this element as to Mason. Taylor v. City of New York, 2022 WL

744037, at *16 (S.D.N.Y. Mar. 11, 2022); Eldridge v. Hofstetter, 2018 WL 5961289, at

*3 (N.D.N.Y. Nov. 14, 2018).

       In addition, “a defendant could have initiated a prosecution by creating material,

false information and forwarding that information to a prosecutor or by withholding

material information from a prosecutor.” Ying Li v. City of New York, 246 F. Supp. 3d

578, 605 (E.D.N.Y. 2017) (internal quotations omitted) (citing cases). This may include

“some showing that the defendant distorted the process by which plaintiff was brought to

trial.” Bailey v. City of New York, 79 F. Supp. 3d 424, 449 (E.D.N.Y. 2015). Forwarding

a confession obtained through coercion may support a finding that police officers initiated

the prosecution. See Pizarro v. City of New York, 2015 WL 5719678, at *4 (E.D.N.Y.

Sept. 29, 2015).

       Defendant Fountain argues that he is entitled to summary judgment because while

he was present early in the interrogation, he played no role in the later portion during

which Plaintiff offered his ultimately excluded confession. Dkt. No. 142-16 at p. 12. In

concluding that the interrogation was unduly coercive, the Court of Appeals referred

several times to “the totality of the circumstances.” People v. Thomas, 22 N.Y.3d at 642

& 645. In doing so, it rejected the attempt by the prosecutors, similar to that made by
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Defendant Fountain here, to compartmentalize different portions of the interrogation, 5

finding that what happened early in the questioning “was pivotal to the course of the

ensuing interrogation and instrumental to [Plaintiff’s] final self-inculpation.” Id. at 643.

The summary judgment record does not suggest a basis for concluding otherwise at this

stage of the proceedings. The recording of the portion of the interrogation for which

Fountain was present demonstrates that he was an active participant. See, e.g., Dkt. No.

142-15, 1st Interview at VTS_01_0 & VTS-01_1. Defendant Fountain contends that his

sole relevant role was to testify at pretrial proceedings and Plaintiff’s initial criminal trial

and that under the rationale of Costello v. Milano this was insufficient to support

initiation. Dkt. No. 142-16 at p. 12. Costello, however, specifically recognized that a

police officer “can also initiate a prosecution by creating material, false information and

forwarding that information to a prosecutor.” Costello v. Milano, 20 F. Supp. 3d at 415.

Fountain took part in nearly two hours of interrogation and is alleged to have been a part

of doing exactly that. That is sufficient for purposes of this Motion.

        Colaneri makes a similar argument, stating that he had only five minutes of

interaction with Plaintiff during the hours-long interrogation and that this, coupled with

the fact that he had no subsequent role during the criminal proceedings, means he cannot

be said to have initiated the prosecution. Dkt. No. 142-16 at pp. 12-13. This argument

fails for several reasons. First, as with Fountain, the Court declines to parse out individual

roles in a lengthy interrogation that the Court of Appeals found to be coercive. Second,


5
 The Court of Appeals referenced “[t]he interrogation” which it found had been “broken into” two sessions. People
v. Thomas, 22 N.Y.3d at 637. Fountain concededly took part in the first two hour session. Dkt. No. 142-2 at ¶ 24.
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the record belies the suggestion that Colaneri had no significant role in the decision to

arrest Plaintiff. Defendant Mason’s deposition testimony indicates that Colaneri’s role,

though limited in time, was significant in bringing about statements leading to Plaintiff’s

arrest. Dkt. No. 156-13 at pp. 113-115. Moreover, Mason and Colaneri met after Plaintiff

confessed and it was then that “it was determined that Mr. Thomas would be arrested and

charged with attempted murder.” Dkt. No. 142-7 at ¶ 45. Based upon these facts, a

question of fact exists as to whether Colaneri assisted in the initiation of the prosecution.

         “The record is replete with evidence that the detectives who interfaced with

[Plaintiff] before, during, and after his interrogation were in coordination with one

another.” Hincapie v. City of New York, 2022 WL 2870411, at *10 (S.D.N.Y. July 21,

2022). A reasonable jury could infer from this evidence that each of the three Defendants

played a role in the initiation of the prosecution. Hincapie v. City of New York, 2022 WL

2870411, at *10. 6

                                              b. Probable Cause

         “Probable cause is a complete defense to a malicious prosecution claim.”

Kanderskaya v. City of New York, 11 F. Supp. 3d 431, 436 n.1 (S.D.N.Y. 2014), aff’d,

590 F. App’x 112 (2d Cir. 2015). “[U]nder New York law, indictment by a grand jury

creates a presumption of probable cause that may only be rebutted by evidence that the

indictment was procured by ‘fraud, perjury, the suppression of evidence or other police



6
  A jury might well conclude that the roles of Fountain and Colaneri in this investigation overall were so limited and
distinct from the conduct during that part of the interrogation that ultimately resulted in Plaintiff’s confession that
they cannot be said to have initiated the prosecution. The Court holds here only that a reasonable jury might also
conclude otherwise.
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conduct undertaken in bad faith.’” Savino v. City of New York, 331 F.3d 63, 72 (2d Cir.

2003) (quoting Colon v. City of New York, 60 N.Y.2d 78, 82 (1983)). “[I]t is the plaintiff

who bears the burden of proof in rebutting the presumption of probable cause that arises

from the indictment.” Id. at 73; see also Dufort v. City of New York, 874 F.3d 338, 352

(2d Cir. 2017); Bernard v. United States, 25 F.3d 98, 104 (2d Cir. 1994). Though that

burden has been characterized as “heavy,” Cunny v. City of New York, 2001 WL 863431,

at *5 (S.D.N.Y. July 31, 2001) (citing Simms v. Village of Albion, 115 F.3d 1098, 1107

(2d Cir. 1997)), a plaintiff may do so by offering evidence “sufficient for a reasonable

jury to find that his indictment was procured as a result of police conduct undertaken in

bad faith.” Savino v. City of New York, 331 F.3d at 73.

       Plaintiff contends that Defendants lacked probable cause to arrest him, Am.

Compl. at ¶ 50, and that the presumption of probable cause is rebutted by the Court of

Appeals finding that Defendants coerced Plaintiff’s confession. Dkt. No. 152 at p. 16.

The Court has little difficulty concluding that the ultimate suppression of those statements

based on a finding of coercion gives rise, at least, to questions of fact about whether

Plaintiff’s prosecution was the result of police conduct undertaken in bad faith. The

significance of Plaintiff’s confession cannot be understated on these facts. Defendant

Mason testified regarding Plaintiff’s incriminating statements “that’s when I knew

probable cause had been established.” Dkt. No. 156-13 at p. 113. Indeed, Mason testified

that at least part way through the interrogation “I didn’t think I was going to arrest

[Plaintiff].” Id. at pp. 113-114. The statements given by Plaintiff during the interrogation,

therefore, were a critical component in forming probable cause to arrest Plaintiff. Without
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the confession, a reasonable juror may conclude that police lacked probable cause to

arrest Plaintiff.   Hincapie v. City of New York, 2022 WL 2870411, at *14; Niemann v.

Whalen, 911 F. Supp. 656, 668 (S.D.N.Y. 1996) (“the issue of whether [defendants]

coerced plaintiff’s confession is material to resolving the issue of probable cause.”).

       The City Defendants, while citing the presumption, make no real argument to the

contrary that the facts alleged could not be sufficient to overcome it. Dkt. No. 142-16 at

pp. 13-14. Plaintiff’s allegations of misconduct, in the context of this case, are sufficient

to overcome the presumption created by the indictment.

       In considering probable cause, a court can set aside the evidence obtained from an

arguably coerced confession and assess whether there was, in any event, probable cause

for an arrest. See Edwards v. Pretsch, 180 F. Supp. 2d 499, 507 (S.D.N.Y. 2002). Despite

Mason’s testimony about the significance of Plaintiff’s statements while being

interrogated, Defendants maintain that there was probable cause sufficient to justify

Plaintiff’s arrest without reliance on these statements. First, the City Defendants rely on

an alleged confession by Plaintiff to CPS workers after his arrest. Second, they maintain

that Dr. Edge told police that M.T.’s death was “a murder.” Finally, they maintain that

the New York Court of Appeals decision to order a new trial, rather than dismissing the

indictment outright, demonstrates that probable cause existed apart from Thomas’s

confession. None of these arguments represents a basis for granting summary judgment.

       With regard to the first two arguments, material questions of fact preclude

summary judgment. The City Defendants cite to evidence in the record that Plaintiff told

CPS staff that he had harmed M.T. This allegedly occurred at the Rensselaer County Jail,
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sometime after being arrested. Dkt. No. 142-7 at ¶ 47. During his deposition Plaintiff,

however, repeatedly denied having hurt M.T. in any way and making any statements

about having done so to CPS staff. Dkt. No. 142-21 at pp. 173-180. Plaintiff’s deposition

testimony, in fact, alleged that CPS staff had fabricated the report of this interview with

Plaintiff. Id. at pp. 179-180. Thus, a clear question of fact exists as to whether Plaintiff

made these statements.

       Defendants also maintain that statements from Dr. Edge provide probable cause

for Plaintiff’s arrest. Defendant Fountain’s Affidavit recites a conversation with Dr. Edge

at the hospital during which Dr. Edge purportedly stated that “this is a murder.” Dkt. No.

142-2 at ¶ 15. During his deposition Dr. Edge testified that he did not recall ever having

used the word murder when speaking with police officials. Dkt. No. 156-10 at p. 9. Later

in his deposition, Dr. Edge testified that he was aware police officials had attributed that

word to him, but specifically disputed that account by police. Id. at pp. 10 & 11. Whether

Dr. Edge made that statement at all is, therefore, plainly in dispute and Defendants cannot

rely on it to establish probable cause to arrest Plaintiff. The record does contain a

statement from Dr. Edge, given September 22, 2008 indicating that he believed M.T.’s

injuries had been caused by “severe trauma.” Dkt. No. 142-9. But that statement

unsurprisingly did not directly connect Plaintiff to the trauma and Defendants do not

dispute that probable cause to arrest Plaintiff did not exist at the time of this statement.

Dkt. No. 155-1 at ¶ 53; Dkt. No. 164-9 at ¶ 53 (noting that probable cause did not exist

yet even at the early stages of Plaintiff’s second interrogation session).
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       As to the final argument, the Court declines to accept the City Defendants’

invitation to surmise what the Court of Appeals intended to say about the sufficiency of

probable cause when it reversed Plaintiff’s conviction. “[I]n New York, a conviction

ultimately upset is accorded only the force of prima facie evidence of probable cause; this

evidence can be surmounted in a suit for malicious prosecution if the plaintiff can show

that the judgment was obtained by fraudulent or otherwise undue means.” Charlotten v.

Heid, 2011 WL 3423826, at *5 (N.D.N.Y. Aug. 4, 2011) (quoting McCray v. City of N.Y.,

2007 WL 4352748, at *22 (S.D.N.Y. Dec. 11, 2007)). Even assuming the Court of

Appeals reversal suggests that probable cause to prosecute continued to exist, see Pierre

v. City of Rochester, 2018 WL 10072453, at *12 (W.D.N.Y. Sept. 7, 2018), summary

judgment would still not be appropriate on these facts. For purposes of this malicious

prosecution claim, the relevant inquiry is whether Defendants had probable cause at the

time they initiated a prosecution against Plaintiff. Phillips v. DeAngelis, 571 F. Supp. 2d

347, 354 (N.D.N.Y. 2008), aff’d, 331 F. App’x 894 (2d Cir. 2009). Defendant Mason

continued to investigate this case and consider evidence long after Plaintiff’s arrest and

indictment. Dkt. No. 142-7 at ¶ 57. Evidence sufficient to establish probable cause apart

from the confession could, therefore, have been developed in the investigation following

Plaintiff’s arrest. The record establishes that Plaintiff’s confession was the principal

evidence on which Defendants relied for moving forward with a prosecution of Plaintiff.

Precluding that evidence raises at least a question of fact on the issue of whether probable

cause existed at the time the prosecution was initiated against Plaintiff.
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                                       c. Actual Malice

         The City Defendants also seek summary judgment on the ground that Plaintiff

cannot establish any personal animus towards him that would warrant a jury finding the

presence of actual malice. Dkt. No. 142-16 at pp. 14-15. However, “actual malice can

be inferred when a plaintiff is prosecuted without probable cause.” Rentas v. Ruffin, 816

F.3d 214, 221 (2d Cir. 2016). Here, the presence of factual questions regarding the

existence of probable cause is sufficient to deny summary judgment on this ground as

well. “Once we find an issue of material fact as to probable cause, the element of malice

also becomes an issue of material fact as well.” Boyd v. City of New York, 336 F.3d 72,

78 (2d Cir. 2003).

                                   3. Right to a Fair Trial

         Plaintiff’s claim regarding the denial of a fair trial relates to the alleged coercion

of a confession by the City Defendants. Am. Compl. at ¶¶ 94-97. This claim relies on a

theory that Defendants developed their version of the events leading to M.T.’s

hospitalization and then coerced Plaintiff into adopting those facts as his own. Id. at ¶¶

35-50.

         Criminal defendants have a constitutional right to a fair trial. Ramchair v. Conway,

601 F.3d 66, 73 (2d Cir. 2010). It is a violation of that right “[w]hen a police officer

creates false information likely to influence a jury’s decision and forwards that

information to prosecutors.” Ricciuti v. N.Y.C. Transit Auth., 124 F.3d 123, 130 (2d Cir.

1997). “To succeed on a fabricated-evidence claim, a plaintiff must establish that an (1)

investigating official (2) fabricated information (3) that is likely to influence a jury’s
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verdict, (4) forwarded that information to prosecutors, and (5) the plaintiff suffered a

deprivation of life, liberty, or property as a result.” Jeanty v. Cerminaro, 2023 WL

325012, at *5 (2d Cir. Jan. 20, 2023) (quoting Ashley v. City of New York, 992 F.3d 128,

139 (2d Cir. 2021)).

       Plaintiff alleges that the City Defendants fabricated his confession in violation of

this fair trial right. The only real question presented on this Motion is whether the

coercion Plaintiff alleges could be considered the equivalent to fabrication. There is no

doubt that the confession was forwarded to prosecutors by investigating officials, that this

confession would likely have influenced a jury’s decision, and that Plaintiff suffered some

deprivation as a result.

       Coercion and fabrication are distinct. “There is clearly a difference between

‘coercing witnesses to testify and fabricating witness testimony.’” McDonough v. Smith,

2022 WL 3279348, at *24 (N.D.N.Y. Aug. 11, 2022) (quoting Petty v. City of Chicago,

754 F.3d 416, 422 (7th Cir. 2014)). “Coerced testimony is testimony that a witness is

forced by improper means to give; the testimony may be true or false.” Fields v. Wharrie,

740 F.3d 1107, 1110 (7th Cir. 2014). “Fabricated testimony is testimony that is made up;

it is invariably false.” Id. Plaintiff’s fair trial claim requires him to prove fabrication,

evidence of coercion is not enough. The City Defendants maintain that unlike other cases

where police officers wrote out a false statement which they then had a defendant adopt,

see Ricciuti v. N.Y.C. Transit Auth., 124 F.3d 123, they did not “create” Plaintiff’s

statement. Dkt. No. 142-16 at p. 16. As a result, they contend that summary judgment is

appropriate.
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       The Court disagrees, however, that there are insufficient facts in the record from

which a jury could conclude that Defendants did indeed fabricate Plaintiff’s statement.

While the evidence of fabrication is slight, the Court must view the summary judgment

record in the light most favorable to Plaintiff, Donohue v. Hochul, 32 F.4th 200, 206 (2d

Cir. 2022), and in doing so concludes that Plaintiff has alleged enough to survive

summary judgment on the merits.

       Throughout much of his interrogation, Plaintiff consistently denied harming M.T.

Dkt. No. 142-2 at ¶ 25. He maintained his innocence at two criminal trials and does so

here. See Am. Compl. at ¶ 3. The Amended Complaint alleges that Defendant Mason

repeatedly put forth a version of events regarding how M.T.’s injuries may have occurred

that, as a result of coercion, Plaintiff ultimately adopted as his own. See Am. Compl. at

¶¶ 44-49. The parties agree that, as the Court of Appeals found, “[a]ll the statements

made by Mr. Thomas regarding bumping, throwing, or slamming M.T. were first

suggested to him by defendants.” Dkt. No. 155-1 at ¶ 55; Dkt. No. 163-7 at ¶ 55; People

v. Thomas, 22 N.Y.3d at 646. In Plaintiff’s view, this was the equivalent of fabricating a

story about M.T.’s death. If true, a jury could conclude that the City Defendants

fabricated those facts and coerced Plaintiff to adopt them. See Jocks v. Tavernier, 316

F.3d 128, 138 (2d Cir. 2003) (“Although there was certainly not overwhelming evidence

of falsification, a reasonable jury would be entitled to credit [Plaintiff’s] testimony”).

This is particularly true given Plaintiff’s view that M.T.’s death was the result of sepsis,

not trauma, see Dkt. No. 155-1 at ¶ 2, which the jury could also credit. See, e.g., Dkt. No.

158 (Plaintiff’s expert report concluding cause of death to be sepsis).
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       Implied in Defendants’ Motion is the suggestion that the facts in Plaintiff’s

confession were not fabricated because, even if coerced, they were nonetheless true. See

Dkt. No. 142-16 at pp. 16-17. Plaintiff’s ultimate acquittal raises a question of fact on

that point. In a case such as this where the alleged fabrication is the coercion of a

confession and questions of fact exist as to whether the confession was coerced, those

same questions of fact are relevant to the fabrication question. Sedunova v. City of New

York, 652 F. App’x 29, 31 (2d Cir. 2016).

       Upon hearing the facts regarding the interrogation, together with the other

evidence known to Defendants at the time, a jury could conclude that Defendants’ actions

had the effect of creating a false confession from Plaintiff. Summary judgment, therefore,

is not appropriate on the merits.

                                      4. Qualified Immunity

       42 U.S.C. § 1983 was designed to enforce the provisions of the Fourteenth

Amendment and to provide a remedy for those whose constitutional rights have been

violated by state actors. The “shall be liable” language of the statute is both succinct and

direct and does not specifically provide for exceptions.        Nevertheless, subsequent

interpretation of the statute by the courts, in particular with respect to the doctrine of

qualified immunity, has developed such that the straightforward remedial command of

the statute is no longer so direct.

       The doctrine of qualified immunity provides an immunity from suit, and thus

liability, for public officials acting reasonably under the circumstances presented.

“Qualified immunity attaches when an official’s conduct does not violate clearly
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established statutory or constitutional rights of which a reasonable person would have

known.” White v. Pauly, 580 U.S. 73, 78-79 (2017) (internal quotation and citation

omitted); see also Behrens v. Pelletier, 516 U.S. 299, 305 (1996). “A clearly established

right is one that is sufficiently clear that every reasonable official would have understood

that what he is doing violates that right.” Mullenix v. Luna, 577 U.S. 7, 11 (2015) (internal

quotation omitted); see also Reichle v. Howards, 566 U.S. 658, 664 (2012) (“To be clearly

established, a right must be sufficiently clear that every reasonable official would have

understood that what he is doing violates that right.”) (internal quotations and citations

omitted). “The principles of qualified immunity shield an officer from personal liability

when an officer reasonably believes that his or her conduct complies with the law.”

Pearson v. Callahan, 555 U.S. 223, 244 (2009).

                                  a. The Coercion Claim

       Plaintiff’s malicious prosecution claim against the City Defendants is premised on

their alleged coercion of a confession from him. This is because clearly had Plaintiff’s

confession not been suppressed it would have provided probable cause to arrest Plaintiff.

White v. City of New York, 2018 WL 1545676, at *5 (E.D.N.Y. Mar. 29, 2018) (“A

confession can be used to establish probable cause”). On the contrary, “[a] known false

confession does not provide probable cause to believe a criminal prosecution would be

successful.” Ortiz v. Wagstaff, 523 F. Supp. 3d 347, 365 (W.D.N.Y. 2021).

       It was clearly established well before Plaintiff’s interrogation that “police could

not lawfully coerce incriminating statements from an in-custody criminal suspect.”

Weaver v. Brenner, 40 F.3d 527, 534 (2d Cir. 1994). That the right was clearly established
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at this basic level, however, does not answer the question of Defendants’ entitlement to

qualified immunity. “The more complex question is whether a reasonable officer would

understand the conduct to be a violation of Plaintiff’s rights.” Tankleff v. Cnty. of Suffolk,

2017 WL 2729084, at *17 (E.D.N.Y. June 23, 2017). Lower courts have consistently

been reminded, if not reprimanded, that for purposes of qualified immunity, they should

not consider the right at issue at too broad a level of generality. “It is important to

emphasize that this inquiry ‘must be undertaken in light of the specific context of the case,

not as a broad general proposition.’” Brosseau v. Haugen, 543 U.S. 194, 198 (2004)

(quoting Saucier v. Katz, 533 U.S. 194, 201 (2001); see also White v. Pauly, 580 U.S. at

79 (“Today, it is again necessary to reiterate the longstanding principle that clearly

established law should not be defined at a high level of generality.”) (internal quotations

and citations omitted).

       For purposes of qualified immunity, Plaintiff’s malicious prosecution claim

“turn[s] on whether the defendant officers’ probable cause determination was objectively

reasonable - that is, whether there was ‘arguable’ probable cause to arrest.” Betts v.

Shearman, 751 F.3d 78, 83 (2d Cir. 2014). “Arguable probable cause exists ‘if officers

of reasonable competence could disagree on whether the probable cause test was met.’”

Dufort v. City of New York, 874 F.3d 338, 354 (2d Cir. 2017) (quoting Gonzalez v. City

of Schenectady, 728 F.3d 149, 157 (2d Cir. 2013)). “In short, if at least some reasonable

officers in the defendant’s position could have believed that the challenged conduct was

within the bounds of appropriate police responses, the defendant officer is entitled to
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qualified immunity.” Mara v. Rilling, 921 F.3d 48, 69 (2d Cir. 2019) (internal quotation

and citation omitted).

       “Any interview of one suspected of a crime by a police officer will have coercive

aspects to it, simply by virtue of the fact that the police officer is part of a law enforcement

system which may ultimately cause the suspect to be charged with a crime.” Oregon v.

Mathiason, 429 U.S. 492, 495 (1977). “It is difficult to determine whether a confession

is voluntary; case law ‘yield[s] no talismanic definition’ for the term.” United States v.

Taylor, 745 F.3d 15, 24 (2d Cir. 2014) (quoting Schneckloth v. Bustamonte, 412 U.S. 218,

224 (1973)). “Whether a confession is a product of coercion may only be determined

after a careful evaluation of the totality of all the surrounding circumstances, including

the accused’s characteristics, the conditions of interrogation, and the conduct of law

enforcement officials.” United States v. Anderson, 929 F.2d 96, 99 (2d Cir. 1991) (citing

cases). Consideration of these facts leads to the conclusion that reasonable police officers

could have believed that Plaintiff’s interrogation was not unconstitutionally coercive. Or,

at least, that they could reasonably disagree on the question.            Accordingly, these

Defendants are entitled to qualified immunity.

       With regard to his personal characteristics, Plaintiff had no criminal record when

he was questioned by police and was, therefore, likely unfamiliar with police

interrogations. At the time of his interrogation, his son was in critical condition in the

hospital. Moreover, Plaintiff’s interrogation was interrupted by a period of psychiatric

evaluation. These facts could certainly have made Plaintiff more susceptible to coercive

tactics. Despite these personal characteristics, however, no facts suggest that the basic
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circumstances of the interrogation itself was unduly coercive. Plaintiff was advised of

his rights several times. He was not shackled or otherwise restrained at any time. At

times the door to the interrogation room remained open. He never asked to leave or to

speak with counsel. He was offered food and drink and provided cigarettes. No measure

of physical intimidation or abuse is alleged or evident from the record. These facts all

suggest a lack of coercion.

       Plaintiff places much of his emphasis on the conduct of investigators themselves,

and relies heavily on the New York Court of Appeals finding of coercion. See Dkt. No.

152 at pp. 23-25. This is entirely appropriate since this is often the most critical

component of the inquiry. Green v. Scully, 850 F.2d 894, 902 (2d Cir. 1988). The Court

of Appels decision identified a number of actions taken by Defendants that it concluded

were problematic, which are discussed in more detail below. Before turning to the

specifics of the conduct, however, it is important to make note of the scope of this Court’s

review. The Court of Appeals wrote a comprehensive and compelling decision. It is

binding on police officers within the State of New York, and its powerful reasoning

should be persuasive for federal courts. At no point is this Court stating its conclusion

was in error.    Rather, this Court is being called upon to make a vastly different

determination; to view the conduct of the police officers at the time prior to the Court of

Appeals decision, in light of then clearly established federal law, and consider whether

any reasonable police officer could have concluded that the interrogation techniques used

did not violate that law.
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       First, the Court of Appeals took exception to Defendants’ tactic “to threaten that

if defendant continued to deny responsibility for his child’s injury, his wife would be

arrested and removed from his ailing child’s bedside.” People v. Thomas, 22 N.Y.3d at

643. The Court of Appeals noted that “[t]he premise of the interrogation was that an adult

within the Thomas-Hicks household must have inflicted traumatic head injuries on the

infant.” People v. Thomas, 22 N.Y.3d at 638. Given what the investigators knew about

M.T.’s condition at the time, including that Plaintiff and his wife were the only adults in

the household, it is hard to say that that premise was itself unreasonable. A number of

district courts have held that absent probable cause to arrest a family member, such a

threat may be unduly coercive. See, e.g., United States v. Melendez, 2015 WL 3767178,

at *5 (S.D.N.Y. June 17, 2015) (citing cases). In a related context, however, the Second

Circuit has also recognized that “[p]leas in exchange for a promise by the government not

to prosecute a third party are valid.” United States v. Shapiro, 29 F. App’x 33, 35 (2d

Cir. 2002). Defendants have not suggested that there was ever probable cause to charge

M.T.’s mother regarding his injuries, but their decision at the time to highlight for Plaintiff

that given their exclusive control over their children, one or the other of them was most

likely responsible was not unreasonable.          For purposes of a qualified immunity

discussion, however, what is most critical is that “neither the Second Circuit nor the

Supreme Court has ‘squarely addressed whether threats to charge third-parties amount to

coercion.’” United States v. Zimmerman, 480 F. Supp. 3d 446, 456 (E.D.N.Y. 2020)

(quoting Lewis v. Graham, 2018 WL 3819557, at *4 (W.D.N.Y. Aug. 10, 2018) (citing
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cases)). The district court opinions expressing this view do not clearly establish the law

for qualified immunity purposes. Hawkins v. Steingut, 829 F.2d 317, 321 (2d Cir. 1987).

       Next, exception was taken to Defendants’ repeated statements to Plaintiff that fully

disclosing what happened to M.T. was necessary to assist in his treatment. People v.

Thomas, 22 N.Y.3d at 643.        The Court of Appeals found this tactic particularly

problematic because the statements were not true; nothing Plaintiff said about causation

would have helped M.T. People v. Thomas, 22 N.Y.3d at 643. This Court agrees with

the Court of Appeals that such statements potentially played on the familial heartstrings

in a way which could have been coercive. Id. But the mere fact that the police lie to a

suspect to elicit his confession does not necessarily render it coerced. Santiago Ortiz v.

Kelly, 687 F. Supp. 64, 65 (E.D.N.Y. 1988). The use of trickery, deception, or some form

of ruse is a common practice, and does not automatically render a confession involuntary.

United States v. Anderson, 929 F.2d at 99; Whitlatch v. Senkowski, 344 F. Supp. 2d 898,

903 (W.D.N.Y. 2004) (citing cases); see also Illinois v. Perkins, 496 U.S. 292, 296 (1990)

(“Ploys to mislead a suspect or lull him into a false sense of security that do not rise to

the level of compulsion or coercion to speak are not within Miranda’s concerns.”).

District courts have denied qualified immunity to police officers accused of coercing a

confession by “withholding medical treatment from an injured family member.”

Matthews v. City of New York, 889 F. Supp. 2d 418, 441 (E.D.N.Y. 2012). However, this

Court has found no controlling case issued prior to September 2008, holding that it was

unlawfully coercive to tell a suspect undergoing interrogation that providing truthful

information could assist in providing necessary medical treatment to a victim.
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Significantly, Plaintiff also points to no such case either.         See Rivas-Villegas v.

Cortesluna, 142 S. Ct. 4, 8 (2021) (“to show a violation of clearly established law,

[plaintiff] must identify a case that put [defendant] on notice that his specific conduct was

unlawful.”) Pointing to the general proposition that one cannot coerce a confession, see

Dkt. No. 152 at pp. 23-24, is not enough. Kisela v. Hughes, 138 S. Ct. 1148, 1153 (2018).

       Finally, Plaintiff refers to the countless times investigators told Plaintiff that they

knew what had happened and that they were not going to arrest him as examples of

inappropriate police conduct. Promises of leniency, which this conduct most closely

resembles, however, are not per se coercive. United States v. Jaswal, 47 F.3d 539, 542

(2d Cir. 1995); United States v. Guarno, 819 F.2d 28, 31 (2d Cir. 1987). What the

recording of the interrogation makes clear is that Defendants made numerous statements

to the effect that police did not want to arrest Plaintiff and if he told them what happened

he would be able to go home. “A court will not, however, readily imply an improper

promise or misrepresentation from vague or ambiguous statements by law enforcement

officers.” United States v. Shores, 2019 WL 2428774, at *7 (D. Vt. June 11, 2019)

(citation omitted). Significantly, as Plaintiff began to make incriminating statements, the

tone of police comments changed and Defendant Mason made it clear to Plaintiff that he

could not promise him that he would not be prosecuted.

       The Court has little doubt that the police tactics may have felt coercive to Plaintiff,

but the voluntariness inquiry is a purely objective one. United States v. Dzionara-Norsen,

2020 WL 1897179, at *7 (W.D.N.Y. Apr. 17, 2020), report and recommendation

adopted, 2020 WL 3401267 (W.D.N.Y. June 18, 2020); United States v. Ortiz, 943 F.
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Supp. 2d 447, 456 (S.D.N.Y. 2013). “[T]he single issue before the court is whether the

statements were voluntary, i.e., the ‘product of an essentially free and unconstrained

choice by [their] maker.’” United States v. Haak, 884 F.3d 400, 409 (2d Cir. 2018)

(quoting Schneckloth v. Bustamonte, 412 U.S. at 225). Despite the tactics used and the

emotional context of this interrogation, the Court concludes that some police officers

could very reasonably believe that Defendants conduct did not have the effect of

overbearing Plaintiff’s will. Because reasonable police officers could disagree on the

point, qualified immunity is appropriate.

       The Court ends this analysis by recognizing that the state court judge presiding at

Plaintiff’s trial found that Plaintiff’s inculpatory “statements were voluntarily made.”

Dkt. No. 163-3 at p. 18. A unanimous panel of the state’s Appellate Division agreed,

finding that the prosecution “satisfied their burden of demonstrating beyond a reasonable

doubt that his statements were voluntary” and that “[t]he circumstances and atmosphere

of the interviews fail to demonstrate involuntariness.” People v. Thomas, 93 A.D.3d at

1026. “We cannot realistically expect that reasonable police officers know more than

reasonable judges about the law.” Barts v. Joyner, 865 F.2d 1187, 1193 (11th Cir. 1989).

“To say the least, when a state court judge upholds the constitutionality of police actions,

that alerts us to be particularly careful in concluding that the law was truly clearly

established before we permit the officers to be held civilly liable.” Id. at 1194. “If judges

thus disagree on a constitutional question, it is unfair to subject police to money damages

for picking the losing side of the controversy.” Wilson v. Layne, 526 U.S. 603, 618

(1999). “There is, as case law teaches, a line separating tolerable deception from
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unconstitutional coercion.” United States v. Shehadeh, 940 F. Supp. 2d 66, 74 (E.D.N.Y.

2012), aff’d, 586 F. App’x 47 (2d Cir. 2014). The state court judges who considered

Defendants’ actions were split almost equally as to what side of that line the conduct fell.

That six state jurists, in the calm of their chambers with time to review the record and

hear arguments of attorneys, concluded that Defendants’ actions were not coercive is

exceptionally strong evidence, in this Court’s view, that Defendants themselves could

have reasonably believed in the moment that their actions were not transgressing

Plaintiff’s clearly established rights.

         Apart from the above analysis, the Court concludes that an additional factor

relevant to Colaneri independently entitles him to qualified immunity.

         Colaneri participated in the interrogation for less than five minutes. See Dkt. No.

142-15, 2nd Interview-Part 2 at VTS_01_4. The video of the interrogation shows that he

took a more forceful approach with Plaintiff than Defendant Mason took during much of

the interview; the admitted “bad cop” to Mason’s “good cop.” Id; Dkt. No. 142-1 at ¶

14. During this portion of the interview, Colaneri told Plaintiff that he had served in a

medical role in the military during Operation Desert Storm and had significant experience

with head injuries and that he believed Plaintiff was lying about his role in causing M.T.’s

injuries. 7 “This evidence supports a conclusion that [Colaneri was] confrontational, but

it does not support a conclusion that [he was] coercive.” United States v. Artis, 2010 WL

3767723, at *10 (D. Vt. Sept. 16, 2010). Defendant Mason concedes the importance of


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 Colaneri admits that this was untrue, but was done to bolster his credibility on the subject to Plaintiff. Dkt. No.
142-1 at ¶ 16.
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Colaneri’s tactic in ultimately obtaining a confession, but the success of the tactic alone

does not make it coercive. Nor would a reasonable police officer believe that such an

exceedingly brief interaction of the nature Colaneri had with Plaintiff could possibly have

been viewed as “the type of coercion that, without more, would overbear a normal

person’s will and cause him to confess involuntarily.” Diaz v. Senkowski, 76 F.3d 61, 65

(2d Cir. 1996).

                                 b. The Fabrication Claim

       The heart of Plaintiff’s fair trial claim is that the individual police Defendants in

this case developed their own “theory of death” to explain M.T.’s death and justify the

prosecution of Adrian Thomas. See Dkt. No. 152 at p. 1. As a result, Plaintiff alleges

that they “created false evidence” in the form of Plaintiff’s confession. Am. Compl. at ¶

95. While the Court agrees with Plaintiff that a reasonable juror might conclude that

Defendants did so, it is also clear that given the evidence available to Defendants at the

time of the investigation, a reasonable police officer could have believed that the working

theory of the investigation was accurate and not a fabrication. As a result, qualified

immunity is appropriate as to this claim.

       That police officials may not, within the bounds of the Constitution, fabricate

evidence was well-established at the time of Plaintiff’s prosecution. Zahrey v. Coffey,

221 F.3d 342, 344 (2d Cir. 2000). As noted, however, that does not end the inquiry. “The

relevant question in this case . . . is the objective (albeit fact-specific) question whether

a reasonable officer could have believed [Defendants’ conduct] to be lawful, in light of

clearly established law and the information the . . . officers possessed” at the time of their
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investigation. Anderson v. Creighton, 483 U.S. 635, 641 (1987). In other words,

summary judgment for the defendant is required where “the only conclusion a rational

jury could reach is that reasonable officers would disagree about the legality of the

[defendants’] conduct under the circumstances.” Cugini v. City of New York, 941 F.3d

604, 615 (2d Cir. 2019).

       M.T. was originally taken to Samaritan Hospital in Troy before being transferred

for more acute care to Albany Medical Center. Dr. Edge was the treating doctor at Albany

Med. Dr. Edge expressed a concern that M.T. might be the victim of child abuse. Dkt.

No. 156-21. As a result, Child Protective Services and Troy Police were notified. It was

after this notification that Defendants became involved in the case. Defendants spoke

with Dr. Edge who told them that M.T.’s injury was the result of trauma, the likely result

of a violent shaking or an “acceleration, deceleration injury.” Dkt. No. 156-21; Dkt. No.

156-10 at p. 11. While Plaintiff was at Samaritan Hospital, Defendant Fountain observed

the questioning of another one of Plaintiff’s children. During that questioning, the child

indicated that she had witnessed Plaintiff throw M.T. down on a bed. Dkt. No. 156-33 at

p. 2; Dkt. No. 142-7 at ¶ 32. M.T.’s mother had also told Detectives that a few weeks

prior she had witnessed Plaintiff “beating my daughter . . . with a belt.” Dkt. No. 142-3.

       As a result, Defendant Mason, who was primarily responsible for the interrogation

had this information to work with: 1) medical providers treating M.T. believed his injuries

were the result of trauma, perhaps shaking or hitting his head hard against an object; those

providers did not believe M.T.’s injuries could be caused by “merely bumping” his head;

2) there was testimony from someone who told authorities that she had seen Plaintiff
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throw M.T. onto a bed; 3) statements that Plaintiff had a few weeks earlier been seen

“beating” a nine year old with a belt; and 4) reports that Plaintiff had what his own wife

termed “anger issues when dealing with the kids.” Given these facts, a police officer

could, at that time, very reasonably have suspected that Plaintiff had, whether out of

frustration or malice, injured M.T. Pursuing an interrogation strategy based on that theory

was not unreasonable.      And, whatever one makes of the tactics used during the

interrogation, it cannot be said that reasonable police officers would have known that they

were fabricating the version of events to which Plaintiff eventually admitted. Remember

that the hallmark of fabricated evidence is that “it is invariably false. False testimony is

the equivalent; it is testimony known to be untrue by the witness and by whoever cajoled

or coerced the witness to give it.” Fields v. Wharrie, 740 F.3d at 1110.

       Plaintiff makes an impassioned plea in this case that his prosecution was a tragic

error. That M.T. was not murdered, but instead died as a result of sepsis. The Court

cannot, and need not, resolve that issue on these Motions. Much of the evidence on which

Plaintiff now relies in support of that theory, however, developed after Plaintiff’s

interrogation and Plaintiff has offered no evidence in opposition to the police officers’

Motion to establish that they were aware of it earlier. The availability of qualified

immunity turns on “the facts known to police at the time” of the conduct in question.

Figueroa v. Mazza, 825 F.3d 89, 99 (2d Cir. 2016); see also Hanrahan v. Doling, 331

F.3d 93, 98 (2d Cir. 2003) (“qualified immunity is analyzed from the perspective of the

defendant at the time of the challenged conduct.”). “A court must evaluate the objective

reasonableness of the [Defendants’] conduct in light of the information the officers
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possessed.” Zellner v. Summerlin, 494 F.3d 344, 370 (2d Cir. 2007) (internal citations,

alterations, and quotations omitted). In so doing, the Supreme Court has “cautioned

against” evaluating qualified immunity with the “20/20 vision of hindsight in favor of

deference to the judgment of reasonable officers on the scene.” Saucier v. Katz, 533 U.S.

at 205 (internal quotation omitted). Defendants had been told by medical personnel that

M.T. was a trauma victim; that his injuries were the result of him having been shaken or

hit with some velocity. There was an eyewitness report that M.T. had been thrown on a

bed by Plaintiff days before being hospitalized. It simply cannot be said that reasonable

police officers would have believed that Mason and the other Defendants were fabricating

a story about M.T. having been thrown down by Plaintiff.

       The Amended Complaint itself calls Dr. Edge’s initial view of M.T.’s condition a

“misdiagnosis,” Am. Compl. at ¶ 4, but Plaintiff never disputes what Dr. Edge told

officers about the likely cause of M.T.’s injuries and offers no reason for finding that they

should have known of Dr. Edge’s alleged error. None of the police officers sued here are

medical professionals and they were most certainly entitled to rely on what they were

being told by those who were. Given the information available to Defendants at the time

of Plaintiff’s interrogation, reasonable law enforcement officials would not have thought

that the version of events pursued during that interrogation was a pure fabrication by

Defendants. Accordingly, Defendants are entitled to qualified immunity with respect to

Plaintiff’s fair trial claim.
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               B. Defendant Sikirica’s Motion for Summary Judgment

       The Amended Complaint alleges that Sikirica acted intentionally to render a “false

medical opinion” regarding M.T.’s cause of death. Am. Compl. at ¶ 55. Defendant

Sikirica seeks summary judgment on the ground that his autopsy report was not false or

fabricated and, therefore, he cannot be liable for either malicious prosecution or denial of

a fair trial. Dkt. No. 143-1 at pp. 8-12. In opposing summary judgment, Plaintiff

identifies two slightly different arguments: 1) Sikirica specifically chose to downplay

exculpatory explanations for M.T.’s death to aid the prosecution of Plaintiff, Dkt. No. 154

at pp. 11-12, and 2) his failure to identify sepsis as a cause of death “constituted an

intentional withholding of exculpatory evidence.” Id. at p. 12.      Based on this record,

these arguments are not a basis for denying summary judgment.

                               1. Fabrication of Evidence

       “[A] coroner’s reckless or intentional falsification of an autopsy report that plays

a material role in the false arrest and prosecution of an individual can support a claim

under 42 U.S.C. § 1983.” Galbraith v. Cnty. of Santa Clara, 307 F.3d 1119, 1126 (9th

Cir. 2002); see also Ferris v. City of Cadillac, Mich., 726 F. App’x 473, 478 (6th Cir.

2018). Defendant Sikirica does not dispute this general principal but argues that the

record is devoid of evidence from which a reasonable juror could conclude that he

fabricated the autopsy report for M.T. Dkt. No. 143-1 at pp. 8-12. The Court agrees.

       Plaintiff has long maintained that M.T.’s death was the result of sepsis. Sepsis is

variously defined in the record, but generally stated is the presence of a virus or bacteria

in the bloodstream. Dkt. No. 143-14 at p. 14 (Sepsis is “[a] blood infection with
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bacteria”); Dkt. No. 143-24 at p. 54 (“Sepsis is a probable or documented infection in the

body that produces a systemic response.”). Plaintiff maintains that Dr. Sikirica’s failure

to identify sepsis as a cause of death in his autopsy report renders the report false or

fabricated. Though Sikirica did not use that specific term in his autopsy report, in the

Anatomic Diagnoses section of the report Sikirica noted there was a “Blood culture

positive for streptococcus pneumonia.” Dkt. No. 156-28 at p. 12. There does not appear

to be any dispute that this references a blood infection.             Sikirica himself has

acknowledged that M.T. was septic. Dkt. No. 143-35 at ¶ 57. He testified to it as well

during Plaintiff’s criminal trial on both direct and cross examination. Dkt. No. 143-18 at

pp. 39, 76, & 93. Dr. Klein, an expert witness for Plaintiff at his first criminal trial,

testified that although the autopsy report did not specifically use the word sepsis, Dr.

Sikirica recognized the presence of sepsis. Dkt. No. 143-19 at p. 69 (“Q. And although

[the autopsy report] doesn’t mention the word sepsis, the medical examiner doesn’t

disagree that sepsis is there? A. No, and he identifies the positive blood culture”). Dr.

Jan Leestma, another expert for Plaintiff, also testified that the positive blood culture

identified in the autopsy report was an indication of sepsis. Dkt. No. 143-26 at p. 36.

Plaintiff offers no authority from which the Court can conclude that the fact that the word

“sepsis” does not appear in the report itself is of constitutional significance.

       What is left of Plaintiff’s argument is that it was, in fact, sepsis, not trauma that

caused M.T.’s death and so Sikirica’s autopsy report must be false.                Dr. Sikirica

concluded that M.T. died as the result of “[s]evere closed head injuries with cerebral

edema due to blunt force trauma” and determined the manner of death to be homicide.
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Dkt. No. 156-28 at p. 1. The autopsy report noted subgaleal and subdural hemorrhages.

Id. at pp. 7-11. Dr. Michael Baden, retained as expert witness by Dr. Sikirica, agreed.

Dkt. No. 143-3. In fact, Plaintiff’s own expert recognized the presence of “scalp and

subgaleal hemorrhages, retinal hemorrhages, and subdural hemorrhage,” but determined

only that they were not the result of trauma. Dkt. No. 158-2 at p. 4.

           Multiple doctors testified at Plaintiff’s criminal trials that the cause of death was

trauma. Dr. Edge testified that it was his opinion that the cause of death was trauma. Dkt.

143-14 at p. 28. 8 Dr. Carole Jenny, an expert retained by the prosecution, testified that

M.T.’s death was the result of trauma. Dkt. No. 143-16 at p. 101; see also id. at pp. 51-

52 (Dr. Jenny’s testimony that she agreed with the finding of Dr. Sikirica that M.T. died

of head trauma). Dr. Waldman testified that the cause of M.T.’s death was “subdural

hematomas.” Dkt. No. 143-15 at p. 34. Even Dr. Jan Leestma, Defendant’s expert in his

criminal retrial, though testifying that M.T. died of sepsis, recognized that M.T. had also

suffered from head trauma which he identified as “[a] contributing cause” of his death.

Dkt. No. 143-26 at pp. 46 & 50.

           A medical examiner’s conclusion about the medical cause of death is a medical

judgment. See Manocchio v. Moran, 919 F.2d 770, 779 (1st Cir. 1990). The record

establishes, at best, a difference of opinion as to the medical judgment Sikirica rendered

about the cause of M.T.’s death. It falls short of establishing any question of fact that he

fabricated his conclusion. Several other doctors, who either directly treated M.T. or have



8
    He did note that sepsis may have contributed to the death as well.
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acted as expert witnesses reached the same conclusion as Dr. Sikirica. See Dkt. No. 143-

3 at p. 39 (Dr. Baden concluding that M.T.’s “death was caused by multiple homicidal

blunt force impacts to his head that caused subdural hemorrhages and cerebral edema,

and direct brain damage”); Dkt. No. 143-15 at 34 & 46 (Dr. Waldman testified at

Plaintiff’s 2009 criminal trial that the cause of M.T.’s death was “subdural hematomas”

not sepsis); Dkt. No. 143-16 at pp. 51-52 (Dr. Jenny testified at the 2009 trial that M.T.

died as a result of head trauma). Neither Waldman nor Jenny denied that M.T. was septic,

but neither attributed the primary cause of death to sepsis. Dkt. No. 143-15 at p. 34; Dkt.

No. 143-16 at p. 127.

       Plaintiff has produced an expert report in this case from Dr. Katherine Maloney.

That report clearly disputes Dr. Sikirica’s findings regarding the cause of death. Dkt. No.

158. But that does not make them fabricated. In fact, Dr. Maloney confirms the medical

finding of hemorrhages, but concluded in her medical judgment that they were “not due

to violent trauma” and were not fatal. Dkt. No. 158-2 at p. 4. “The question for this court

is not whether a self-interested litigant can find an expert to say the defendant[] got it

wrong, but whether the evidence - including any expert opinions - creates a genuine issue

of material fact that Defendant[] fabricated that evidence.” Ferris v. City of Cadillac,

Mich., 726 F. App’x at 480-81. Here, the answer to that question is no. Dr. Maloney’s

opinion does not allege any fabrication on a part of Dr. Sikirica. See Dkt. No. 158-2.

“Testimony that is incorrect or simply disputed should not be treated as fabricated merely

because it turns out to have been wrong.” Rodriguez v. Derienzo, 2020 WL 615052, at

*3 (S.D.N.Y. Feb. 7, 2020). As a result, even accepting that there may be a question of
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fact about the cause of M.T.’s death, there remains no evidence, beyond what are

essentially conclusory allegations, that Dr. Sikirica fabricated his report to bolster the case

being made by the police. To accept Plaintiff’s theory that Dr. Sikirica’s conclusion was

fabricated would essentially also require the Court to conclude that multiple other medical

professionals who reached a similar conclusion were also fabricating their findings.

There is simply no basis on which any reasonable juror could reach that conclusion.

       It is critical to recognize in considering this Motion that Plaintiff himself does not

appear to allege that Dr. Sikirica falsified any actual medical finding. Instead, much of

Plaintiff’s claim relies on the allegation that Sikirica’s conclusions were tailored to match

the supposedly false narrative built from the City Defendants’ interrogation of Plaintiff.

This argument, however, appears to be entirely conclusory. The record establishes that

Fountain, Colaneri, and Sikirica never discussed M.T.’s autopsy. Dkt. No. 145 at ¶¶ 84-

85; Dkt. No. 155 at ¶¶ 84-85. Mason and Sikirica did briefly discuss the matter. Id. at ¶

86. No allegation is made by Plaintiff that Dr. Sikirica contacted other testifying

witnesses to have them coordinate their medical conclusions with his.

       Finally, Plaintiff’s reliance on Dr. Sikirica’s alleged failure to follow what he

contends were best practices regarding the conduct of the autopsy also does not provide

a basis for denying summary judgment. Dkt. No. 154 at p. 15. Plaintiff offers no evidence

to support that Sikirica deviated from accepted practice. Dr. Baden stated that “Dr.

Sikirica’s conclusions and procedures abided by all forensic pathology standards of

practice.” Dkt. No. 143-3 at p. 35. Dr. Maloney, Plaintiff’s expert, does not specifically

dispute this, saying only that she considers the matter “irrelevant.” Dkt. No. 158 at ¶ 7.
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Even if Sikirica had not complied with acceptable practices, “such allegations would rise

at most to the level of negligence or malpractice, but neither is actionable as a § 1983

claim.” Freire v. Zamot, 2016 WL 6330405, at *5 (E.D.N.Y. Oct. 27, 2016) (citing

Estelle v. Gamble, 429 U.S. 97, 106 and n.14 (1976)).

       Medical judgments regarding cause of death will often involve some degree of

uncertainty. See Consolidation Coal Co. v. Necessary, 272 F. App’x 273, 276 (4th Cir.

2008). Plaintiff has not come forward with any evidence on this Motion to demonstrate

any question of fact from which a jury could conclude that fabrication, rather than an error

in medical judgment, resulted in the allegedly false findings of Dr. Sikirica. Summary

judgment for Dr. Sikirica is, therefore, warranted.

                                     2. Brady Claim

       Insofar as Plaintiff seeks to pursue a claim under Brady v. Maryland regarding Dr.

Sikirica’s alleged withholding of exculpatory evidence, that claim must also be dismissed.

First, the Court notes that the Amended Complaint makes no reference to Brady or

exculpatory evidence. See generally Am. Compl. Nor does the summary judgment

record suggest that Plaintiff has ever before pursued any type of Brady claim.

       Even if it were properly a part of this litigation, this claim is easily denied on the

merits. “A classic Brady violation contains three elements: The evidence at issue must

be favorable to the accused, either because it is exculpatory, or because it is impeaching;

that evidence must have been suppressed by the State, either willfully or inadvertently;

and prejudice must have ensued.” Ying Li v. City of New York, 246 F. Supp. 3d 578, 627
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(E.D.N.Y. 2017) (quoting Fappiano v. City of New York, 640 F. App’x 115, 118 (2d Cir.

2016)) (internal quotation omitted). These elements are plainly not satisfied here. 9

        As Defendant Sikirica points out, there was extensive testimony about M.T.’s

septic condition during Plaintiff’s criminal proceedings. Multiple medical professionals

acknowledged that the autopsy report provides evidence regarding sepsis. Plaintiff’s own

expert testified at the initial criminal trial that Dr. Sikirica had identified the presence of

sepsis. That trial testimony alone defeats any claim that Sikirica withheld evidence. The

prosecution questioned Sikirica about the presence of sepsis during the first trial. Dkt.

No. 143-18 at pp. 9 & 39. He was also cross-examined about sepsis, id. at pp. 64-65, and

the role it may have played in M.T.’s death. Id. at p. 94. So there appears to be no basis

upon which to suggest that information in this regard was withheld from Plaintiff. Given

the trial record in the state court, Plaintiff has no colorable claim that Sikirica withheld

M.T.’s septic condition.

        Nor has Plaintiff articulated a basis for finding prejudice. There is a “reasonable

probability” of prejudice when the suppression of evidence “undermines confidence in

the outcome of the trial.” Kyles v. Whitley, 514 U.S. 419, 434 (1995). Plaintiff was

ultimately acquitted. “[T]o show prejudice the claimant ‘must demonstrate a reasonable

probability that, had the evidence been disclosed, the result of the proceeding would have


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 Defendant Sikirica does not challenge the assertion that he had some obligation independent of prosecutors under
Brady to disclose exculpatory evidence, so the Court presumes solely for purposes of this Motion that he did. But
see D’Ambrosio v. Marino, 2012 WL 4504523, at *4 (N.D. Ohio Oct. 1, 2012) (“the Court concludes that the duty
of prosecutors to disclose exculpatory or impeachment evidence to criminal defendants does not extend to
coroners.”).
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been different.’” Bellamy v. City of New York, 914 F.3d 727, 751 (2d Cir. 2019) (quoting

United States v. Ulbricht, 858 F.3d 71, 112 (2d Cir. 2017)). “Thus, a § 1983 plaintiff

proceeding on a Brady theory can succeed on his claim if he can demonstrate that, had

the withheld information been disclosed prior to trial, he would have been acquitted based

on reasonable doubt or convicted on a lesser charge.” Jeanty v. Cerminaro, 2023 WL

325012, at *4. “When a criminal defendant is acquitted notwithstanding an alleged Brady

violation, the criminal defendant has not suffered prejudice and Brady has not been

implicated.” Cannistraci v. Kirsopp, 2012 WL 1801733, at *17 (N.D.N.Y. May 16,

2012). Plaintiff’s acquittal, therefore, is fatal to his purported Brady claim.

                                  3. Qualified Immunity

       Even were the record such that questions of fact precluded summary judgment on

the merits of Plaintiff’s claim against Sikirica, he is nonetheless entitled to qualified

immunity. As discussed above, that doctrine shields state actors from liability when a

reasonable person in their position could not have known that their actions were

unconstitutional.

       It is not enough that Plaintiff identifies a question of fact regarding M.T.’s cause

of death. In the qualified immunity context, the Court must consider whether a reasonable

individual in Dr. Sikirica’s position could have known that he was violating Plaintiff’s

rights. Several of the medical professionals who either treated M.T. or reviewed this

tragic case reached the same conclusions about his death as did Dr. Sikirica. Others did

not. The facts establish only that each did so based upon their own independent, reasoned

medical judgment. In light of that evidence, Dr. Sikirica is clearly entitled to qualified
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immunity. To hold otherwise, based on a purely conclusory claim of misconduct, would

“open the floodgates for civil rights claims against coroners by acquitted criminal

defendants who believe a coroner made a mistake in performing an autopsy or in reaching

a conclusion about the cause or causes of death of a victim.” Storey v. Chelan Cnty., 2011

WL 1575506, at *9 (E.D. Wash. Apr. 26, 2011). Given that multiple other doctors

reached the same conclusion as Dr. Sikirica, that trauma, not sepsis, caused M.T.’s death,

no reasonable medical professional would conclude that Dr. Sikirica’s conclusion was the

result of fabrication.           “Defendant made a reasonable medical judgment, that even if

mistaken, does not deprive him of qualified immunity.” Laurent v. Edwin, 528 F. Supp.

3d 69, 92 (E.D.N.Y. 2021).

                             C. Plaintiff’s Section 1983 Conspiracy Claim

           Finally, the Court addresses Plaintiff’s claim alleging that the four individual

Defendants “conspired to undermine Adrian Thomas’ rights to be free from malicious

prosecution and fabrication of evidence and/or deprivation of his right to a fair trial.” Am.

Compl. at ¶ 105. 10 All Defendants seek summary judgment on this claim. Dkt. No. 142-

16 at pp. 17-18; Dkt. No. 143-1 at pp. 12-14.

           “To prove a § 1983 conspiracy, a plaintiff must show: (1) an agreement between

two or more state actors . . . ; (2) to act in concert to inflict an unconstitutional injury; and

(3) an overt act done in furtherance of that goal causing damages.” Pangburn v.

Culbertson, 200 F.3d 65, 72 (2d Cir. 1999); see also Rasheen v. Adner, 356 F. Supp. 3d



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     Following the Motion to Dismiss Decision, this claim relates only to the malicious prosecution claim.
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222, 235 (N.D.N.Y. 2019). “Conspiracies are by their very nature secretive operations,

and may have to be proven by circumstantial, rather than direct evidence. Importantly,

though, a plaintiff must provide some factual basis supporting a meeting of the minds,

such that defendants entered into an agreement, express or tacit, to achieve the unlawful

end.” Sotak v. Bertoni, 501 F. Supp. 3d 59, 85 (N.D.N.Y. 2020) (internal quotations,

citations, and alterations omitted). “[S]trictly conclusory” allegations of a conspiracy are

insufficient to state a claim. Ciambriello v. Cnty. of Nassau, 292 F.3d 307, 325 (2d Cir.

2002); see also Pangburn v. Culbertson, 200 F.3d at 72.

       “A conspiracy requires an agreement or meeting of the minds to violate federally

protected rights.” Bhatia v. Yale Univ., 2007 WL 2904205, at *1 (D. Conn. Sept. 30,

2007), aff’d sub nom. Bhatia v. Yale Sch. of Med., 347 F. App’x 663 (2d Cir. 2009). In

opposing these Motions, Plaintiff argues that “a jury could conclude that Dr. Sikirica

rendered his medical opinion in conspiracy with, and to be consistent or ‘congruent’ with,

Thomas’ false coerced confession.” Dkt. No. 152 at p. 21; see also Dkt. No. 154 at p. 13

(“Dr. Sikirica rendered his medical opinion to be consistent with Thomas’ coerced false

confession”). Plaintiff’s opposition to the Motions speaks exclusively of conduct Sikirica

is alleged to have taken. Dkt. No. 152 at pp. 21-22; Dkt. No. 154 at pp. 13-14. Plaintiff

identifies no actions taken by any member of the Troy Police Department that he suggests

were acts in furtherance of a conspiracy with Dr. Sikirica. Allegations of this sort on the

part of Dr. Sikirica, even accepting them as true for purposes of the Motion, suggest, at

most, a motive on his part to modify his own conduct to match that of others, not “a

‘meeting of the minds’ whose conscious objective was to deprive plaintiff[] of [his]
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constitutional rights.” Farag v. United States, 587 F. Supp. 2d 436, 470-71 (E.D.N.Y.

2008). Such a meeting of the minds is a requirement of a conspiracy claim under section

1983. That is an exceptionally thin read on which to base a claim, especially in light of

the absence of any questions of fact suggesting Dr. Sikirica falsified his report.

       Defendants Colaneri and Fountain expressly deny ever discussing M.T.’s case

with Dr. Sikirica. Dkt. No. 142-1 at ¶ 24; Dkt. No. 142-2 at ¶ 35. Nothing in the record

suggests to the contrary and the Court does not understand Plaintiff to maintain otherwise.

As noted earlier, Plaintiff concedes that Fountain and Colaneri never spoke with Dr.

Sikirica specifically about his autopsy of M.T. Dkt. No. 145 at ¶¶ 84-85; Dkt. No. 155 at

¶¶ 84-85. A conspiracy complaint “must contain ‘enough factual matter (taken as true)

to suggest that an agreement was made.’” Chamberlain v. City of White Plains, 986 F.

Supp. 2d 363, 388 (S.D.N.Y. 2013) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

556 (2007)).

       Plaintiff also concedes that Sikirica and Mason met only once about this case, at

the autopsy. Dkt. No. 145 at ¶ 86; Dkt. No. 155 at ¶ 86. Mason admittedly was present

at M.T.’s autopsy and spoke with Sikirica at that time. Dkt. No. 156-6 at pp. 166-167.

The record establishes that the presence of officials from the Police Department was not

unusual at the autopsy of a child. That fact alone, therefore, falls far short of establishing

a conspiracy. See, e.g., Gutierrez v. New York, 2021 WL 681238, at *19 (E.D.N.Y. Feb.

22, 2021) (conclusory allegation that defendants met to conspire against plaintiff

insufficient). Plaintiff relies largely on his assumption that Sikirica’s conduct was

designed to assist the police officers in making a case against Plaintiff, but there simply
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is little evidence to support that. His conclusory claim that as a result of this meeting

Defendants “disregarded potentially exculpatory evidence, and shared information gained

during their investigation” with the intent to conspire against Plaintiff “fall[s] short of the

necessary facts sufficient to establish a meeting of the minds and an express or implied

agreement to act in concert.” Butler v. Hesch, 286 F. Supp. 3d 337, 363 (N.D.N.Y. 2018)

(citing cases).

          Taken together, Plaintiff offers nothing more than the sort of broad, conclusory

allegations of a conspiracy that are clearly insufficient to survive summary judgment.

“‘Unsubstantiated speculation’ will not defeat summary judgment as to a § 1983

conspiracy claim.”      Faulk v. New York City Dep’t of Corr., 2014 WL 239708, at *5

(S.D.N.Y. Jan. 21, 2014) (quoting Scotto v. Almenas, 143 F.3d 105, 114 (2d Cir. 1998)).

Defendants’ Motions for Summary Judgment are granted as to the section 1983 claims.

                                    V. CONCLUSION

          WHEREFORE, it is hereby

          ORDERED, that City Defendants’ Motion for Summary Judgment (Dkt. No. 142)

is GRANTED; and it is further

          ORDERED, that Defendant Sikirica’s Motion for Summary Judgment (Dkt. No.

143) is GRANTED; and it is further

          ORDERED, that the Clerk is directed to enter judgment for Defendants, and it is

further

          ORDERED, that the Clerk of the Court serve a copy of this Decision and Order
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upon the parties to this action.

Dated: March 30, 2023
       Albany, New York




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  UNITED STATES DISTRICT COURT
  NORTHERN DISTRICT OF NEW YORK
  ***************************************************
  ADRIAN THOMAS,
                                        Plaintiff,
                                -v-     17-cv-626
  ADAM R. MASON, ET AL.,
                                        Defendants.
  ***************************************************


                       TRANSCRIPT OF PROCEEDINGS
                 BEFORE THE HONORABLE DANIEL J. STEWART
                            December 5, 2022
                     445 Broadway, Albany, New York


  FOR THE PLAINTIFF:
  BRETT H. KLEIN, ESQ.
  305 Broadway, Suite 600
  New York, New York 10007

  FOR DEFENDANTS MASON, FOUNTAIN & COLANERI
  PATTISON SAMPSON GINSBERG & GRIFFIN PLLC.
  By: Michael Ginsberg, Esq.
       Rhiannon Gifford, Esq.
  P.O. Box 208
  Troy, New York 12180
  FOR DEFENDANT RENSSELAER COUNTY
  BAILEY, JOHNSON & PECK, P.C.
  By: William Firth, Esq.
  5 Pine West Plaza, Suite 507
  Albany, New York 12205
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 1                  COURT CLERK:      Monday, December 5th, 2022,
 2     11:02 a.m.      The case -- you want to do one case?
 3                  THE COURT:     Do Thomas.
 4                  COURT CLERK:      The case is Adrian Thomas versus
 5     Adam R. Mason and others, case number 17-cv-626.
 6                  Appearances for the record, please.
 7                  MR. KLEIN:     Brett Klein, for the plaintiff.
 8     Good morning, Judge.
 9                  THE COURT:     Good morning, Mr. Klein.
10                  MR. FIRTH:     Good morning, your Honor.          William
11     Firth, on behalf of Dr. Sikirica.
12                  THE COURT:     Good morning to you.
13                  MR. GINSBERG:      Michael Ginsberg for Pattison,
14     Sampson, Ginsberg and Griffin, for the City of Troy and
15     the police officer defendants.
16                  MS. GIFFORD:      Rhiannon Gifford, Pattison,
17     Sampson, Ginsberg and Griffin, on behalf of Adam R.
18     Mason, Ronald Fountain and Tim Colaneri.
19                  THE COURT:     All right.      Thank you.     Rhiannon,
20     if I call your Rhiannon Spencer, I apologize in advance.
21                  MS. GIFFORD:      I understand.      I still call
22     myself the wrong name.
23                  THE COURT:     So what we are going to do -- I
24     want to have oral argument on both of these cases; we
25     will do Thomas first.         After we're done with Thomas, I'm


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 1     going to take a little break and talk with my chambers,
 2     and we will come back out and we will do the second
 3     case.
 4                  So, with regard to Adrian Thomas, we have got
 5     two motions for summary judgment, one on behalf of the
 6     City defendants and one on behalf of Dr. Sikirica.
 7                  So, why don't I have the City defendants go
 8     first if they wish.
 9                  MR. GINSBERG:      Thank you, your Honor.         If it's
10     acceptable to the Court, I would just like to make a
11     quick comment or statement about this matter, and then
12     Ms. Gifford -- I had to make a note in my notes as well
13     not to refer to her as Spencer -- then Miss Gifford will
14     address the matters in detail if that's acceptable to
15     the Court.
16                  THE COURT:     I have no objection to that.
17                  MR. GINSBERG:      Your Honor, in this matter, the
18     Thomas matter, the plaintiff has failed to demonstrate
19     the existence of genuine issue of material facts so as
20     to avoid summary judgment.          I think it's important to
21     point out to the Court that with regard to violation of
22     the right to a fair trial or with regard to any other
23     right on the basis of the involuntary confession as
24     determined by the Court of Appeals, we can't ignore the
25     applicable standard.


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 1                  The standard is whether a reasonable police
 2     officer in the same position would have understood that
 3     their conduct was in violation of law.             We can't hold
 4     the officers to a higher standard than the standard that
 5     we hold the learned judges of the appellate division or
 6     the trial judge to.        Those judges ruled that the
 7     techniques used by the officer defendants in obtaining a
 8     confession were not in violation of law.
 9                  How could the officers understand more than
10     the judges?
11                  THE COURT:     Well, it was clearly established
12     at the time, however, that the police could not rely
13     upon the coerced confession in order to make a probable
14     cause determination.         Correct?
15                  MR. GINSBERG:      Not at the time that it was
16     taken and certainly not --
17                  THE COURT:     That was the state of the law,
18     right?     Back in -- trying to remember.          I'm sure I have
19     it.    So 2008 -- September of 2008 the state of the law
20     was the police couldn't rely on a coerced confession in
21     order to establish probable cause for a prosecution.
22                  MR. GINSBERG:      On a coerced confession, yes,
23     your Honor.      But what constituted a coerced confession
24     is what was at issue, and neither the officers at that
25     time nor the trial judge nor the five members of the


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 1     panel at the appellate division considered the conduct
 2     of the officers and techniques used to be a violation of
 3     law to be coercive.
 4                  It wasn't until the Court of Appeals addressed
 5     that issue and essentially rendered new law on that
 6     matter in regard to the totality of the circumstances
 7     and the techniques that were used.            So at the time that
 8     those techniques were used, it was not settled law that
 9     that constituted coercion.
10                  THE COURT:     Well, are you conceding, then, for
11     purpose of the motion, that the confession was coerced?
12                  MR. GINSBERG:      Not at the time that it was
13     taken.
14                  THE COURT:     I mean as we sit here today, are
15     you conceding that this was a coerced confession?
16                  MR. GINSBERG:      We concede that the Court of
17     Appeals determined that the techniques used in totality
18     constituted coercive behavior but only because it was
19     addressed at that time by the Court of Appeals and the
20     law then changed.
21                  THE COURT:     Well, I mean, they relied upon
22     cases, Supreme Court cases that predated this event in
23     coming to their conclusion.          But what I'm trying to
24     figure out, because the plaintiff's counsel has made an
25     argument that the -- that you're collaterally estopped


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 1     from arguing that the confession was not coerced.                    And I
 2     understand what you're saying is the Court of Appeals
 3     made the determination that they -- they made it also on
 4     the basis of state law as well.
 5                  So, for purposes of -- if we have a trial in
 6     this case, is one of the issues is going to be presented
 7     at the trial as to whether this -- this confession was
 8     coerced, are you conceding that it was coerced?
 9                  MR. GINSBERG:      Your Honor, we don't believe
10     that that's the inquiry that should be made here.                    The
11     inquiry that should be made is whether or not the
12     officers at the time knew that the techniques and
13     behavior that they engaged in was in violation of law.
14                  There was no way that they could have known
15     that because the judges who addressed the issues didn't
16     know it.     We can't hold the officers to a higher
17     standard.     So, yes, while perhaps ultimately the courts
18     determined that it was coercive, the officers did not
19     know and had no reason to believe that it was coercive
20     conduct at the time that they engaged in it and
21     therefore it cannot constitute a constitutional
22     violation.
23                  THE COURT:     Wasn't there a Second Circuit
24     precedent about withholding medical cases of two
25     brothers with withholding medical treatment for the one


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 1     brother in order to get the other brother to confess to
 2     the possession of the gun, they ruled that was
 3     unconstitutional?        Isn't that a similar-type case?
 4                  MR. GINSBERG:      I don't believe so because no
 5     medical attention was withheld here.
 6                  THE COURT:     Well, yeah, but the theory here is
 7     that they're going to -- you know, Mr. Thomas, in
 8     telling him you have to do this or else your child is
 9     going to die and, therefore, that's why it's
10     involuntary.
11                  MR. GINSBERG:      I believe what Mr. Thomas was
12     told by the officers was if you tell us what happened,
13     then the medical personnel will be in a better position
14     to help your son.
15                  THE COURT:     Right.
16                  MR. GINSBERG:      Not that they wouldn't provide
17     any medical attention to him unless he rendered a
18     confession.      I think that those are completely separate
19     issues.
20                  THE COURT:     Okay.
21                  MR. GINSBERG:      And Miss Gifford will address
22     the -- the particulars in more detail, your Honor.
23                  THE COURT:     All right.
24                  MS. GIFFORD:      I think the crux of the analysis
25     for the qualified immunity issue is really at what level


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 1     of generality does the Court define the relevant legal
 2     right here.      And as you state, it is generally known
 3     that a coerced confession cannot be used against a
 4     defendant in a criminal trial.
 5                  THE COURT:     Let me start there, then.          Okay?
 6     Assume for the moment that we extract the confession
 7     from the probable cause analysis.            Was there probable
 8     cause to arrest Mr. Thomas or prosecute Mr. Thomas in
 9     the absence of that confession?
10                  MS. GIFFORD:      Yes, I do believe there was.
11     There was significant evidence prior to the police even
12     being involved where the doctors at Albany Medical
13     Center stated that it was suspicious causes to the
14     injuries, that they are injuries that are typically only
15     found in acceleration and deceleration matters, shaking
16     of a child.      That raises a question as to what occurred
17     in questioning of the parents and individuals who had
18     access to the child is incredibly relevant.
19                  And at that point, the children who were also
20     residing at the Thomas household were brought into this
21     CPS interview rooms and questioned.             During those
22     questioning, I believe one of the older children, India
23     Thomas, stated that she personally saw Mr. Thomas get
24     angry with the child and shake him and put him down in
25     the bed and his head hit the crib and his head hit the


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 1     mattress.
 2                  There were reports that Mr. Thomas utilized
 3     a stick to prop open a window to hit the top of the
 4     children's head.       There was the subsequent confession
 5     prior to the grand jury indictment where Mr. Thomas
 6     admitted to throwing the children to the bed to -- onto
 7     the bed to the CPS workers.
 8                  THE COURT:     How long after -- when did
 9     that confession occur vis-a-vis the confession which the
10     Court of Appeals found was coerced?
11                  MS. GIFFORD:      The confession to the CPS
12     workers was two days before the grand jury presentation,
13     and that was on the 26th.          So it was on or about the --
14     September 24th, 2008, which was the day after the
15     confession with the police officers.
16                  THE COURT:     So it's your position that
17     whatever obtained was caused by that improper
18     questioning, that that's somehow dissipated in that
19     period of time?
20                  MS. GIFFORD:      Yes.    That is the position, and
21     that he -- the statements made are properly considered
22     as far as the probable cause analysis at the time.                   At
23     the time, there was no indication that the confession
24     was indeed coerced, and the additional statements made
25     by Mr. Thomas to the CPS workers who did not have


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 1      knowledge -- who stated they did not have knowledge of
 2      any prior confession to the police and that they were
 3      just doing their due diligence pursuant to CPS
 4      investigations when Mr. Thomas made those incriminating
 5      statements for a second time to them.
 6                  He made incriminating statements that almost
 7      kind of were a little different than what he had said to
 8      the police but still corroborated the statements of
 9      throwing the child onto the bed, the same kind of
10      actions that Dr. Edge and Dr. Waldman had said at the
11      hospital were indicative of acceleration, deceleration
12      injuries and that Dr. Edge said that this was a homicide
13      in his opinion.      While not necessarily accurate maybe,
14      but that was his opinion at the time he was assessing
15      the children before the police.
16                  THE COURT:     He denies ever making that
17      statement, correct?
18                  MS. GIFFORD:      He did deny saying that.
19      Correct.     All of the police records and notes taken
20      contemporaneously during the investigation contained
21      notes of that nature.        Dr. Edge was deposed in 2015,
22      many years after the incident.          I think the
23      contemporaneously made notes are indicative of --
24                  THE COURT:     That becomes a question of fact.
25                  MS. GIFFORD:      Potentially.


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 1                  THE COURT:     Okay.    All right.
 2                  MS. GIFFORD:      Turning to the -- continuing
 3      with qualified immunity analysis, though, the rights
 4      needs to be clearly established.           The contours of the
 5      rights needs to be clearly established based upon the
 6      existence of current law.          Here, as the innocence that
 7      were repeatedly stated throughout their briefs,
 8      the Court of Appeals were in a unique position to
 9      finally address and create bright-line rules with regard
10      to the techniques used by police officers
11      in interrogating and interviewing and that's so because
12      at that time, when the police were interviewing
13      Mr. Thomas in 2008, there were no bright-line rules.
14      There was no out-of-contour define and there was no
15      ability to the police to be able to reject what they had
16      been taught.
17                  The innocence network had even acknowledged
18      that this was a proper time to address what the police
19      are taught and what they have been learning at police
20      academies across the state.          These were the common
21      practices and the techniques used in 2008, and they
22      weren't rejected or questioned until it was brought up
23      on this case in 2015, many years after the techniques
24      were utilized.
25                  And even if we were to, you know, say that the


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 1      rule was clearly established and the contours of the
 2      rule were defined, there's still the alternative basis
 3      for qualified immunity, which was that it was
 4      objectively reasonable to believe the techniques were
 5      permissible under settled principles.
 6                  You mentioned when you were speaking with
 7      Mr. Ginsberg that the Court of Appeals relied upon
 8      Supreme Court cases in New York State to render their
 9      determination, but those Supreme Court cases were not on
10      point with what the Court was analyzing in the Thomas
11      decision.     Those Supreme Court cases -- I believe it was
12      Abonds (phonetic) and Garrity, they related to an
13      individual's right to seek jobs and to apply for
14      government positions.
15                  And in one of the cases, the Court held that
16      it was improper to force the employee to testify at the
17      grand jury because he could lose his right to bid on
18      contracts later on in the process.
19                  THE COURT:     Right.
20                  MS. GIFFORD:      That's not any of the scenarios
21      here.    That's --
22                  THE COURT:     It goes to the issue of
23      voluntariness.       In other words, the Garrity warnings
24      generally in employment cases go to the issue of whether
25      or not the statements are voluntary.            But you've relied


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 1      and Mr. Ginsberg pointed out, you know, the decisions of
 2      the Appellate Division as a basis for qualified immunity
 3      and generally, you know, we look to what's clearly
 4      established federal law.         We don't necessarily look to
 5      what a state court has determined or not determined.
 6                  So, wasn't it clearly established by the
 7      Second Circuit that at least on a basic level that the
 8      police could not falsify evidence and use that to
 9      prosecute an individual, correct?
10                  MS. GIFFORD:      Yes.    That level of generality
11      was defined at that time.         I believe that we're not
12      dealing with a falsified confession here.
13                  THE COURT:     That's what the plaintiff is
14      maintaining.      In other words, I understand there's a
15      difference between something that's coerced and
16      something that's falsified.          So theoretically you could
17      have a coerced confession that's not falsified and also
18      the possibility exists it could be a coerced confession
19      that is falsified.
20                  MS. GIFFORD:      Correct.     And in this case, we
21      do not have a identified coerced confession that was
22      falsified.     The cases where they have identified a
23      falsified confession were instances where the criminal
24      defendants stated I never made those statements.               I was
25      not -- I didn't say that I had no gun on me, I didn't


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 1      have drugs on me, they made that up.
 2                  THE COURT:     Right.     I absolutely agree with
 3      you.    That's one possibility, where the police basically
 4      write the whole statement, forge the person's signature
 5      and says this is his confession.           Obviously that's
 6      unconstitutional.
 7                  MS. GIFFORD:      Yes.
 8                  THE COURT:     But what -- you know, what if they
 9      go in and basically hold a gun to the person's head and
10      basically say we need you to confess to owning the drugs
11      and the person says okay, I'll write this down?              He
12      wrote it down.      It's not the police manufactured it but
13      they manufactured in a sense that they coerced it.
14                  MS. GIFFORD:      I would disagree and say that I
15      think the police did manufacture the confession in that
16      scenario that you presented because they are forcing the
17      individual by a threat of violence to adopt and make
18      statements that he never made or agreed to make.
19                  Here, they -- the officers were sitting with
20      Mr. Thomas and having a conversation and then he agreed
21      to -- and made the statements himself and never stated
22      that there was conduct that was performed by the police
23      officers outside the confines of the recorded interview.
24                  Each of the tactics and techniques that were
25      utilized by the police in this scenario were available


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 1      for review by the trial court judge and the Third
 2      Department when they determined that the techniques used
 3      were not so coercive or inappropriate to vitiate the
 4      voluntariness of the confession.
 5                  In a scenario where the officers are holding a
 6      gun to the individual's head, we obviously know that his
 7      statements are not being made voluntarily because maybe
 8      here the police determined -- or the Court of Appeals
 9      determined that the totality amounted to a kind of
10      coercive technique but doesn't necessarily mean for --
11      and I submit that means it does not mean that at all,
12      that the police knew that those statements made by
13      Mr. Thomas and adopted by Mr. Thomas were in fact false.
14                  When a cop is holding a gun to an individual,
15      it's pretty apparent, I think, that those statements
16      cannot be reliable at all.
17                  THE COURT:     Isn't that kind of what the Court
18      of Appeals was saying?        In other words, each of the
19      statements that was elicited were statements that were
20      fed to Mr. Thomas and that, coupled with his mental
21      health status, coupled with the threat to his wife to
22      prosecute her, the threat with, you know, the -- the
23      threat with regard to the fact that the child wasn't
24      going to get proper medical attention unless he's -- you
25      know, his memory was -- got better, whatever the phrase


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 1      is that they used -- I know it's not a gun to the head
 2      but isn't it along the same lines you're basically
 3      feeding that information to the person, trying to coerce
 4      them to agree with it so they can close the case?
 5                  MS. GIFFORD:      At that time, the police
 6      officers were not aware -- there was no settled case law
 7      that those techniques were inherently coercive to
 8      overcome his voluntariness of the statement -- of the
 9      statements.
10                  Here, you know, ultimately the Court of
11      Appeals took a broader look and had the opportunity and
12      benefit of time to see that, you know, actually the
13      techniques that have been in use and permissible all the
14      way up until 2015 when they made the decision actually
15      maybe aren't as voluntary as we had always been holding
16      or acknowledging.
17                  THE COURT:     Well, you're relying on the state
18      court case.     So, there may be federal -- I mean -- my
19      responsibility is to determine what the state of law
20      federally was at the time, not necessarily what the
21      appellate definition concluded at the time.
22                  I'm just wondering whether or not a more
23      prudent thing would be to have a jury make a
24      determination as to whether it was coerced, whether --
25      how it was coerced, and then make a determination as to


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 1      qualified immunity at that point in time once you have
 2      that specific information because obviously plaintiff's
 3      counsel is taking a different view with regard to the
 4      level of misconduct of the pleas, and I'm wondering if
 5      it creates a question of fact.
 6                  MS. GIFFORD:      I submit it does not create a
 7      question of fact.       There is no federal court precedent
 8      at least that I'm aware of or that I believe the
 9      plaintiff argued or pointed to that did set forth the
10      bright-line or have a sufficient contour of the rule to
11      make it so that our officers at the time in 2018 were
12      aware that their techniques were in fact coercive and
13      potentially violation of Mr. Thomas's constitutional
14      rights.
15                  I think the analysis is important to consider
16      the Third Department in the Huntley hearing and
17      what cases the Court of Appeals relied upon in the state
18      cases because those were relevant to how the police
19      understood what techniques were permissible.              From my
20      knowledge and at least I haven't seen or recall any
21      arguments to the contrary from the plaintiff's side
22      relying upon federal cases to overcome that.
23                  THE COURT:     Okay.    As far as the Huntley
24      hearing goes, obviously your position is once the judge
25      makes a determination to admit the statement, that's an


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 1      intervening superseding cause which cuts off all
 2      liability, correct?
 3                  MS. GIFFORD:      Correct.     That's the argument as
 4      far as the causation element, and I think that the
 5      prosecutor's decision to do -- to rely upon and admit
 6      the confession and the portions of the reporting I
 7      believe at the trial also overcomes and eliminates the
 8      causation in this matter because they all made
 9      independent judgment to admit and rely upon this
10      confession.
11                  THE COURT:     Well, really comes down under
12      Townes, it comes down to what the judge makes an
13      independent determination.         So you -- I don't have it in
14      front of me but do you know at what point in time that
15      the Huntley hearing was made to allow it to come in?
16                  MS. GIFFORD:      I did not write the date.         I
17      apologize.
18                  THE COURT:     That's all right.       Obviously it's
19      sometime between September 2008 when the -- when the
20      matter went to trial in -- it was indicted
21      September 26th.      So October of 2009 was the trial.
22      Okay.    So you're looking at a year and a month.
23                  MS. GIFFORD:      I'm sorry?
24                  THE COURT:     I just said you're looking at a
25      year and a month.       In other words, under that scenario,


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 1      assuming that there was a constitutional violation, the
 2      state defendants would be responsible for his
 3      incarceration for a year and a month up until the time
 4      that the -- it was admitted into evidence at which point
 5      in time that's basically on the judge for allowing it to
 6      come in.
 7                  MS. GIFFORD:      I would dispute that in that
 8      other probable cause existed to prosecute absent the
 9      confession.
10                  THE COURT:     Okay.
11                  MS. GIFFORD:      So that confinement was still
12      legal and justified based upon the additional probable
13      cause.
14                  THE COURT:     Okay.
15                  MS. GIFFORD:      That was available.
16                  THE COURT:     All right.      Let me just check and
17      see if I had any other questions for you.              I think
18      that's it.
19                  MS. GIFFORD:      Okay.    Thank you, your Honor.
20                  THE COURT:     All right.      Let me hear from the
21      county defendants at this point in time.
22                  MR. FIRTH:     Your Honor, good morning.
23                  THE COURT:     Good morning.
24                  MR. FIRTH:     I have the pleasure of being
25      before you on both cases today due to -- Crystal


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 1      unfortunately had a family member pass away.
 2                  THE COURT:     Okay.
 3                  MR. FIRTH:     So I am here in her place instead.
 4                  THE COURT:     All right.
 5                  MR. FIRTH:     If I'm -- go ahead, your Honor.
 6                  THE COURT:     You can go ahead.       I understand
 7      your situation.
 8                  MR. FIRTH:     To that point, I was going to say
 9      if I'm not able to field some of your more difficult
10      questions, then that's kind of my "get out of jail free"
11      card.
12                  THE COURT:     Okay.    Well, tell me what your
13      position is with regard to the county defendants and, in
14      particular, Dr. Sikirica.
15                  MR. FIRTH:     Yes, Judge, so I think the -- the
16      primary thing to keep in mind here from our perspective
17      is that we're dealing with a grand jury indictment.
18      Okay?    So we have a presumption of probable cause.
19                  Plaintiff is required in that situation then
20      to come up with some evidence on the part of
21      Dr. Sikirica showing that he engaged in perjury or
22      suppression of evidence or fraud and were some type of
23      other bad faith conduct on his part and that just has
24      not been done.
25                  Crystal articulated it best in her memorandum


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 1      of law in this case.        This comes down to a disagreement
 2      of eight medical experts, doctors, in terms of the
 3      interpretation of the objective findings on autopsy.
 4      All agree essentially that M.T. suffered from subdural
 5      hematoma and hemorrhaging as a result of trauma.
 6                  And to draw a parallel here, whether it's
 7      appropriate or not, plaintiff argued just as he does in
 8      the Davis case that the omission of the particular word
 9      or a very collateral issue constitutes the suppression
10      of evidence; in this case, it's the condition of sepsis.
11      Even plaintiff's experts, the criminal -- the criminal
12      defendants' experts agree that the autopsy report very
13      sufficiently identified the condition of sepsis.
14                  If anything, Dr. Sikirica would be guilty of
15      being overly verbose in his report, describing the
16      condition itself instead of just stating the work.                  So,
17      you know -- and, regardless, the prosecution was aware
18      that M.T. had sepsis.        The criminal defendants' team was
19      well aware of the septic condition.           Everyone was well
20      aware.    It was heavily discussed, heavily litigated in
21      both trials And during the grand jury proceeding
22      Dr. Sikirica tested [sic] consistently.
23                  There's just no question that sepsis was
24      present as a condition.        So, really, a nonissue for
25      purposes of this motion.


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 1                  You know, and plaintiff also talks about
 2      Dr. Sikirica's consideration, I believe he does, of
 3      the inculpatory statement of Mr. Thomas, but
 4      Dr. Sikirica is neither law enforcement or an officer of
 5      the court.     He's entitled to consider all facts
 6      surrounding the manner of death and, in fact, he's
 7      charged to do that under county law.            That's exactly
 8      what he did in this case.
 9                  THE COURT:     Any problem with the police
10      sitting in on the autopsy?
11                  MR. FIRTH:     No, Judge.      Plaintiff's only
12      doctors testified that's appropriate.
13                  THE COURT:     Any constitutional violation for
14      disclosing the statements or confession as we referred
15      it to here of the plaintiff to Dr. Sikirica?
16                  MR. FIRTH:     On the part of the -- of the city
17      defendants?
18                  THE COURT:     Right.
19                  MR. FIRTH:     I don't think so, Judge.
20                  THE COURT:     Okay.    Well, let me ask you.
21                  MR. FIRTH:     I mean --
22                  THE COURT:     You know, if you have a
23      pathologist who altered their findings in order to
24      comport with the police investigation where the outcome --
25      where the police wanted to and intentionally did that,


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 1      that would be a constitution violation, correct?
 2                  MR. FIRTH:     I would agree that it's
 3      intentionally --
 4                  THE COURT:     And that would get over
 5      the presumption of normalcy or whatever the grand jury
 6      indictment gets over because you could say it's
 7      fraudulent or false.
 8                  MR. FIRTH:     Tend to agree with you, Judge.
 9      Certainly that's not what happened in this case.
10                  THE COURT:     That's your position, is that this
11      is a dispute with regard to their analysis and what --
12      initial cause of death that he listed was what?              I mean,
13      he mentioned sepsis but the cause of death was
14      blunt-force trauma, correct?
15                  MR. FIRTH:     Yes, Judge.      That is correct.
16                  THE COURT:     All right.      So Dr. Waldron, Jenny
17      and Dr. Baden agree with that, right?
18                  MR. FIRTH:     That is correct.
19                  THE COURT:     Dr. Klein doesn't know,
20      Dr. Maloney disagrees and Dr. Seema (phonetic)?
21                  MR. FIRTH:     Leestma.
22                  THE COURT:     Okay.     Leestma indicates it was
23      trauma but really it was sepsis.
24                  MR. FIRTH:     She agrees it was trauma, just
25      secondary to sepsis.        Right.


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 1                  THE COURT:     Okay.
 2                  MR. FIRTH:     Your Honor, yes.       Again, it's --
 3      it's really just a case of, you know, Dr. Sikirica's
 4      medical opinion through his extensive education and
 5      experience conducting over 10,000 autopsies, this was
 6      his opinion.      And some doctors agree with him.          At the
 7      very least this is qualified immunity.
 8                  THE COURT:     All right.      Thank you.
 9                  MR. FIRTH:     Thank you, your Honor.
10                  THE COURT:     All right.      Mr. Klein.
11                  MR. KLEIN:     Thank you, Judge.       Thank you,
12      Counsel.
13                  Your Honor, I guess I'm not going to go
14      through the whole brief, which we rely on and reiterate.
15      But to touch on a few things.          Adrian Thomas -- this
16      case does not involve any crime; I think that's what
17      makes this significant.
18                  Looking at the case at this stage of the
19      proceeding, I think that the defendants kind of gloss
20      over the fact that is not a case where there was a crime
21      and it's just a -- a disputed -- as to who committed a
22      crime.     This is a case where in the light most favorable
23      to Mr. Thomas, there was no crime.
24                  This is a child who died of natural causes,
25      who was septic, fever, vomiting, et cetera, for two days


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 1      before he was found unresponsive, and other than
 2      Dr. Sikirica and the defendants, there was no evidence
 3      linking Adrian Thomas to any purported time, which is a
 4      disputed fact.      So I think --
 5                  THE COURT:     There was -- you know, as you
 6      pointed out, I mean, all these cases have a particular
 7      narrative but here it seems like -- based upon what I
 8      have read here, that there was an inquiry and the
 9      concern by Dr. Edge with regard to what happened here,
10      he alerted the authorities with regard to that.              He may
11      have been incorrect with regard to his assessment but
12      that's what started the ball rolling, it seems to me.
13                  MR. KLEIN:     Right.     And they -- these are all
14      going to be credibility issues as to what we allege
15      through our -- what we intend to prove at trial through
16      our expert in coerced false confessions, whose testimony
17      in evidence before Your Honor and through our
18      pathologist, that this incorrect information is very
19      frequently how a -- what's referred to as a bias cascade
20      starts with law enforcement going down a road that
21      results in law enforcement doing what they did in this
22      case and what the Court of Appeals found was a -- a
23      clear -- a flagrant violation of due process to get the
24      result that they want.        And this is a phenomenon that
25      occurs unfortunately in other cases and it occurred


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 1      here.
 2                  So even with that flawed information, there
 3      was no evidence linking Mr. Thomas to an acceleration or
 4      deceleration injury.        It was the police who then made a
 5      conscious choice to interrogate Mr. Thomas for two
 6      hours, getting nothing but denials and credible and
 7      consistent unawareness of any information that would
 8      have led -- would have explained how the child died.
 9                  Giving a coerced statement that the Court of
10      Appeals found at the first two-hour session was part of
11      this larger coerced confession.
12                  And the -- the officers conceding that the
13      information he gave didn't give them probable cause.                It
14      wasn't consistent with the flawed information from
15      Dr. Edge who, by the way, had been up for two days,
16      spoke with these officers for two minutes, disputes what
17      they attribute to him.
18                  THE COURT:     He disputes the word murdered but
19      he doesn't dispute that he had a concern.              He relayed
20      the concern to the authorities.          What do you expect the
21      police to do?      They have to investigate.
22                  MR. KLEIN:     They do but they don't have to --
23                  THE COURT:     They didn't make this up out of
24      whole cloth.
25                  MR. KLEIN:     Well, the part with Mr. Thomas


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 1      I -- we will show at trial, Judge, if the Court will
 2      allow, what the Court of Appeals laid out as -- and we
 3      think should be the law of the case.
 4                  THE COURT:      Let's talk about that for a
 5      moment.     I mean, that's not the rule of the Second
 6      Circuit law.      You know, it's not how is it the
 7      collateral estoppel?
 8                  MR. KLEIN:      Judge, we think that the -- the
 9      issues was squarely litigated.
10                  THE COURT:      Was -- by whom?
11                  MR. KLEIN:      By Mr. Thomas and by the -- you
12      know, the District Attorney on behalf of the --
13      defending the conduct of the police.
14                  THE COURT:      Well, the police weren't
15      represented at that hearing.
16                  MR. KLEIN:      Well, the -- their conduct -- they
17      were, in essence, represented by the prosecutors.
18                  THE COURT:      But that's not what the Second
19      Circuit says.      Right?    Just read Jenkins versus City of
20      New York.     Detectives Maxshine, Shulman and Hunter and
21      Parrino were witnesses in but not parties to Jenkins'
22      criminal proceeding.        The detectives are no more in
23      privity with the state than the city was in Brown;
24      therefore, it was error for the district court to
25      preclude the defendants from asserting that they had


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 1      probable cause to arrest Jenkins.
 2                  So, clearly if Mr. Thomas had lost the issue,
 3      that would be res judicata against him because he was
 4      there, he litigated it, he had the opportunity, but not
 5      against the police officers who were not parties to the
 6      proceeding.
 7                  So it's a defense abuse of collateral
 8      estoppel.     You can't use it in an offensive manner in
 9      this circumstance I don't believe once unless you can
10      find --
11                  MR. KLEIN:     We cite the Owens versus Treder
12      case, Second Circuit 1989.
13                  THE COURT:     Yes, and that case involves the
14      determination against the plaintiff who is a party to
15      the proceeding.      It's not against the -- it's not
16      against the -- the police officers.
17                  MR. KLEIN:     Well, I think that there is
18      privity in the District Attorney.           I -- you know, the
19      police were represented, in essence, by the state in
20      that case.     They were defending their conduct and
21      litigated the constitutionality of it.
22                  THE COURT:     If I made that ruling, it would
23      take a split second for the Second Circuit to reverse
24      me, which they do like to do.
25                  MR. KLEIN:     Which I don't want them to do.


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 1                  THE COURT:     No.
 2                  MR. KLEIN:     None of us do.
 3                  THE COURT:     It may not be a huge issue but --
 4      and that's why I asked Rhiannon with regard to it.                  They
 5      are not taking the position that they concede that this
 6      was coercive in nature.          Obviously the Court of Appeals
 7      made the decision but I don't think it's binding upon --
 8      on the individual detectives who were not party to that
 9      proceeding.
10                  MR. KLEIN:     Well, Judge, even if you find that
11      it's not, which we hope that you do in a way that won't
12      be reversed on appeal, the -- the -- there clearly are
13      questions of fact here.          The plaintiff denies that he
14      engaged in any crime for all the reasons set forth in
15      that decision.      The dozens of times that -- in other
16      words, he was there for -- not just the first two hours
17      after being hospitalized for -- after expressing an
18      intent to kill himself because he was so distraught, he
19      was hospitalized for 12, 14 hours, I believe.
20                  He's then picked up by one of the defendants
21      and taken back right to this interrogation room, with
22      his child still in the hospital and what condition he
23      didn't know at that point, cut off from his family, and
24      even more distraught, sleep deprived and all of that.
25      And also there was circumstances that Your Honor pointed


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 1      out about his mental state, his ability to comprehend
 2      that I think the jury would have to evaluate, and he --
 3      he -- and even there, the defendants concede for the
 4      next several hours until I believe Defendant Colanari
 5      comes in the room, up until that point he maintained
 6      that he didn't do anything wrong, and they didn't have
 7      probable cause.      It was only when there was
 8      this additional threat for, you know, I'll call it, that
 9      he was so distraught, so ready to -- to, you know, told
10      so many times you'll leave, we will let you go, you're
11      not in trouble.      You know, we need you to --
12                  Making all these threats to his vital
13      interests, which were set forth in the Court of Appeals
14      decision -- his wife, his family, his overall
15      well-being, his kid's survival -- did he give them what
16      they suggested to him dozens and dozens of times and
17      they concede in their testimony that after the Court of
18      Appeals decision in this case, that everything that the
19      Court of Appeals found with regard to their -- their --
20      their conduct was accurate.
21                  Yes, we -- we -- he did not say any of these
22      facts before we fed them to him and so these questions
23      of fact are profound.        There may be questions about
24      whether they should -- I don't think -- well, let's say
25      this.    I don't know that anyone would disagree that if


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 1      Dr. Edge rightly or wrongly expresses a concern that
 2      there was some acceleration or deceleration of injury,
 3      which is disputed that they would have a right to look
 4      into it.
 5                  The question is whether they coerced a false
 6      confession creating fabricated evidence as well as
 7      maliciously prosecuting the plaintiff.            Those are
 8      questions of fact that can't be resolved on summary
 9      judgment as well as qualified immunity.
10                  THE COURT:     How do we deal with the fact that
11      we have five judges in the appellate division who looked
12      at this and they're experienced judges -- Malone,
13      Spain -- all these judges I know looked at this and said
14      this is not impermissible.
15                  MR. KLEIN:     Well, I don't know them as well as
16      you do, Judge, but I think, you know, there is -- these
17      are invalidated decisions.         So I'm not sure that we need
18      to concern ourselves with that here and that they are --
19      they are not binding decisions.          I think as you pointed
20      out, I'm not aware of -- of the standard of giving the
21      defendants a free pass on immunity because state court
22      decided, you know, and ultimately improperly in their
23      favor.     Courts make mistakes, respectfully, all the time
24      and -- and --
25                  THE COURT:     If you are going to say -- I guess


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 1      this is another area, the qualified immunity is supposed
 2      to protect all, plainly.         You've got five judges with
 3      law degrees who felt that what they did was appropriate.
 4                  How can you say that the police officers
 5      then -- that they knowingly violated the law?              That a
 6      reasonable police officer would have known that they
 7      were -- knowingly violated the law when judges on the
 8      appellate division felt that they didn't?
 9                  MR. KLEIN:     Well, because I think that the
10      police officers' conduct was misleading, and I think the --
11      thank God the Court of Appeals got it right.              But I
12      think --
13                  THE COURT:     It's not -- it's not misleading in
14      the sense that -- I mean, it was videotaped.              So they
15      knew what it was.       They're not -- they didn't lie about
16      it.   They didn't go in and say we never asked him any
17      leading questions.       He just blurted it out in the first
18      five minutes.      It wasn't -- that's not what you're
19      saying, right?
20                  MR. KLEIN:     No, but the fact that it was --
21      what they did, Judge, was -- I think there was
22      discussion about briefs in the Court of Appeals about
23      how these are tried and true techniques.
24                  The testimony in this case is not that there
25      were any tried and true techniques used.             The evidence


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 1      at trial will show, Judge, and I think before the Court
 2      in this motion, that Detective Fountain, the lead here,
 3      was a juvenile officer and that this was his first, I
 4      believe, murder case and that he jumped in after going
 5      to one -- a couple of hour training session on
 6      interrogations, and he didn't remember the details of
 7      that at that time and basically went on instinct and
 8      intuition and that his colleagues went along with it.
 9                  And that they basically went to such lengths
10      that -- threatening interests, threatening in such a way
11      that were clearly established to reasonable police
12      officers that -- and --
13                  THE COURT:     Clearly established by what
14      federal case as of 2006?         In other words, if I were to
15      ask you give me your four best cases that would put a
16      police officer on notice, which cases would you rely
17      upon?
18                  MR. KLEIN:     I'm probably going to have to ask
19      you to let me send you a letter or follow up because we
20      have thousands of pages of materials we are using and
21      just don't have it off the top of my head to quote for
22      you.
23                  THE COURT:     Okay.
24                  MR. KLEIN:     But I think it's obvious that --
25      and the -- for the reasons in the Court of Appeals


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 1      decision that the threats made in this case, the
 2      information created --
 3                  THE COURT:     The Court of Appeals decision was
 4      after the fact.      So we are talking about what a
 5      reasonable officer would have known at the time that
 6      they did it.      They didn't have the benefit of the judges
 7      of the Court of Appeals years later.
 8                  MR. KLEIN:     Right.     The police officers had
 9      notice -- this is the -- I can think of a case that I
10      had in the Eastern District where Judge Chen denied
11      summary judgment on a case where the police were looking
12      for individuals who shot at them, and they obtained a
13      statement from a -- a purported witness that was alleged
14      to have been coerced and they said this was what the
15      witness told us and we relied on it, and the Court found
16      that that created a -- that -- that coercion created a
17      question of fact whether they created fabricated
18      evidence that was used to commit -- a prosecutor can
19      deprive a defendant of his liberty.
20                  THE COURT:     I will give you time to submit, a
21      week or two weeks.       I want to make sure I get this right
22      but I have to concentrate on what was clearly settled
23      law at the time and how much of an on-force case do I
24      need?    Obviously that's a -- a shifting sands, depending
25      upon the Court of Appeals decision I read with you.


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 1                  MR. KLEIN:     Right.     Because there's --
 2      there's, you know -- there's a lot of cases where it
 3      doesn't have to be specifically that holding for the
 4      Court to find that there's -- as long as they are on
 5      notice.    But, Judge, I would say this in this case, the
 6      evidence was that Adrian Thomas was involved was in fact
 7      created by the officers.         They had no evidence.
 8                  THE COURT:     He was the custodial parent who
 9      had -- with the child when -- when the child became
10      sick.
11                  MR. KLEIN:     The mother was as well but they
12      zoomed in on him and -- and immediately removed him from
13      the home to headquarters and started with their tell us
14      what happened, tell us -- we know you did this.              The
15      doctor told us this baby was hit with a force of a bus.
16      You know, if you want to save his life, you've got to
17      tell -- if you want to see your wife, if you want to go
18      home, you know, you're not in trouble.            Just tell us.
19      And they wore this man down.
20                  And so I think that -- that the creation of
21      this false, fabricated evidence, which is at this stage
22      the Court should has to credit as in the light most
23      favorable to the plaintiff, this was a coerced false
24      confession with evidence created by these officers who
25      concede.


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 1                  THE COURT:     You're using the word coerced and
 2      false interchangeably.        You can have a coerced
 3      confession and it could be true.
 4                  MR. KLEIN:       Correct.    This is a coerced and
 5      false confession.       He -- it was coerced.        We think for
 6      the reasons set forth in the Court of Appeals decision
 7      that we have -- the officers concede that they suggested
 8      all of the incriminating facts to plaintiff before he
 9      ever said them independently.
10                  And, two, that these facts were false.             The
11      plaintiff denies them, his expert validates that this
12      is exactly what happened here, and we think will -- you
13      know, can -- can convince a jury that more likely than
14      not that this was a coerced false confession and at
15      least are questions of fact.
16                  THE COURT:     Do you concede that the point when
17      the judge allows a confession in that that breaks the
18      causal chain?
19                  MR. KLEIN:     I don't.     I think we are talking
20      about Townes -- my understanding of Townes is it's a --
21      it's a case where someone was seeking damages for
22      malicious prosecution based on a bad stop and so, if I
23      recall correctly, the person was in the back of the cab
24      and had a gun.
25                  THE COURT:     Yes.


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 1                  MR. KLEIN:     And so it was probable cause to --
 2      grounds to -- or to arrest that person even --
 3                  THE COURT:     No grounds to stop.
 4                  MR. KLEIN:     To stop.     And so the individual
 5      sought to benefit from the fruit of the poisonous tree
 6      in seeking damages for a bad stop, and the Court said no
 7      once that gun is recovered, we have grounds to prosecute
 8      you.
 9                  THE COURT:     But the Court also said -- and I
10      agree with what you said there.          The Court also said
11      separately and independently that once -- when the judge
12      makes a determination to allow it in, that's a
13      superseding intervening cause and that cuts the causal
14      chain.    So that would end any type of damages at that
15      point.
16                  MR. KLEIN:     I think -- that's, I think, a
17      different scenario where someone is seeking damages.
18      Yeah, I -- I -- my understanding is that the -- the --
19      the defendants' conduct reasonably and foreseeably
20      resulted in plaintiff being, you know, a -- a court
21      adopting this coerced false statement.            And so I don't
22      see how that can insulate them from the reasonable and
23      foreseeable consequences of their misconduct.
24                  THE COURT:     Well, because -- as long as they
25      don't lie to the judge.        In other words, if they


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 1      don't -- you know, say we brought him in and he
 2      voluntarily wrote this down in three minutes and we
 3      never asked him a single question.           All right?
 4                  MR. KLEIN:     Never threatened him and the
 5      threats are on tape or --
 6                  THE COURT:     As long as a judge is making an
 7      independent decision.        If he makes a decision to allow
 8      that into evidence and he's wrong about that, he should
 9      have suppressed it but he did not, that is a superseding
10      and intervening cause by definition.            But let me --
11                  MR. KLEIN:     If I could just make one final
12      point.
13                  THE COURT:     Yes.
14                  MR. KLEIN:     I think that what's different here
15      is this bias cascade that continues even after the
16      confession is suppressed, is thrown out by the Court of
17      Appeals.
18                  THE COURT:     Let me ask you this question:            Why
19      didn't the Court of Appeals, if they suppressed a
20      confession, there's no probable cause for the
21      prosecution, why didn't they dismiss the case at that
22      point in time rather than set it down to be retried?
23                  MR. KLEIN:     I don't know that they went to the
24      question of probable cause.         I think the motion was just
25      on the -- on the suppression.          So I'm not sure of the


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 1      logistics of that, whether the Court had that authority
 2      or whether the Court weighed that or not.              But my
 3      understanding is that the Court did not make any
 4      determination of probable cause.           It just made a
 5      determination that the -- the motion to suppress should
 6      have been granted and -- and sent it back to the trial
 7      court for further proceeding.
 8                  We don't think he should have been
 9      re-prosecuted in the absence of any evidence linking him
10      to it, but that was part of the bias cascade in this
11      case.
12                  Dr. Sikirica stuck to his theory, even in the
13      absence of the information that was given to him with --
14      within hours of the -- of the coerced false confession
15      being created, and he writes blunt-force trauma on the
16      death certificate, doesn't issue his autopsy for months
17      and months and months later and goes to a grand jury and
18      reports that to this theory that only came about via the
19      suggestions and coerced statements made by the
20      defendants.
21                  THE COURT:     What's the proof of that?         It
22      seems that Dr. Sikirica did an autopsy and made his
23      conclusion, which some other doctors agree with and some
24      others disagree.
25                  MR. KLEIN:     Others agree I think who are not


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 1      experts in the case.        After the fact maybe the -- the
 2      neurologist was asked in a deposition what do you think
 3      about this?     People -- I think there's a credibility
 4      issues about --
 5                  THE COURT:     Do you have an expert opinion to
 6      say that the doctor committed malpractice in that
 7      determination?
 8                  MR. KLEIN:     In -- in essence, I don't think
 9      the question of malpractice was asked of Dr. Maloney.
10      The deputy county medical examiner for Erie County,
11      New York, is our expert in this case, and she says
12      flat-out that this -- there's no evidence of trauma,
13      that this was sepsis leading to meningitis that resulted
14      in the -- the swelling and bleeding and -- and evidence
15      of subdural collection in the brain and that
16      Dr. Sikirica was flatly wrong.
17                  There are post hoc questions or expert reports
18      from the defense but at this stage, yes, the plaintiff
19      does submit that that was flatly wrong, and combined
20      with the testimony of Doctor -- of plaintiff's
21      confession expert squares -- supports the inference that
22      can only be decided by a jury that this was a cascade, a
23      bias cascade.      Started with this premise that there
24      was a homicide, and whether that was right or wrong, the
25      defendants then endeavored to get plaintiff to, you


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 1      know, sign a coerced false confession that was then
 2      shared with Dr. Sikirica, who then issues a cause of
 3      death determination that's at odds with what our expert
 4      says the evidence shows.
 5                  So we do think there are credibility issues
 6      that can only be resolved at trial.
 7                  THE COURT:     Okay.    All right.     Why don't --
 8      I'm going to take a break for a couple of minutes just
 9      to talk with my staff, and we will come out and finish
10      this one and move on to the next one.            If you want to
11      take a break and get a drink of water or something, feel
12      free.
13                  MR. KLEIN:     Thank you.
14                  (Pause in proceeding, 11:58 a.m.)
15                  (Following recess, 12:10 p.m.)
16                  THE COURT:     Before I get the decision over to
17      Davis-Guider, any further arguments that anyone wants to
18      make that I haven't heard from?          Pretty extensive brief.
19      This one goes along.        All right.     Not hearing anything.
20                  So -- and obviously for purposes of this oral
21      argument, I have heard -- we talked about general
22      principles of the law that are generally applicable to
23      coroners and police officers, so we probably don't need
24      to repeat that except as to the specifics.             But why
25      don't I -- I'm going to turn to the City and just have


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 1      them summarize what your argument is in this case.
 2                  MS. GIFFORD:      Thank you, your Honor.        The
 3      City's position in this case --
 4                  THE COURT:     Before you do, I'll just call a
 5      different case.      So, with regard to this matter, we
 6      talked a little bit about giving plaintiff's counsel and
 7      defense counsel a short period of time if you want to
 8      submit to me.      What I'm looking for particular cases
 9      that deal with what was clearly established at the time
10      of this interrogation from a federal point of view that
11      you want to rely upon.
12                  I'm not looking for hundreds of them but you
13      have three or four that are your best cases at the time,
14      Mr. Klein, can you do that within a week or so?
15                  MR. KLEIN:     Yes.
16                  THE COURT:     All right.      So seven days.      And
17      how about defense counsel?         Can I get those within a
18      week -- unless you want to rely upon what's in your
19      brief.
20                  MR. GINSBERG:      To the extent that those cases
21      don't appear in the plaintiff's brief, we would like an
22      opportunity to at least see them and then respond to
23      them before the defense would have to submit.
24                  THE COURT:     You made the motion for qualified
25      immunity.     So it's your obligation to tell me what the


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 1      clearly established law was at the time.             So we will
 2      just ask for whatever you give me.
 3                  MR. GINSBERG:      Certainly, your Honor.
 4                  THE COURT:     Okay.    Same for the --
 5      Dr. Sikirica.
 6                  MR. FIRTH:     Yes.
 7                  THE COURT:     It may not be an issue with regard
 8      to this whole issue of -- the confession is separate
 9      from what your issue is?
10                  MR. FIRTH:     That's correct, your Honor.
11                  THE COURT:     All right.      So, feel free.      I just
12      want to give you an opportunity with regard to that.                So
13      that marks the end of the oral argument in the first
14      case and then going to transition over to the Michael
15      Davis-Guider case.
16                  (Proceeding concluded.)
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